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                        EXHIBIT A
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                                                                    Underberg & Kessler LLP
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                                                                                                                                                                           10t25t18      5:50 PM
Account:                     Pamela Small/Pamela Small vs. NYS Department of Corrections
Requested By:                Lucretia Holt
Draft Bill Number:           364935
Draft Bill Date:              10t25t18



Client(s) / Matter(s):        999250 /   1

                              Pamela Small / Pamela Small vs. NYS Department of Corrections



Contact Name:

Billing Address:
                              Pamela Small




Timekeeper Assignments:
Billing:                      JENNIFER SHOEMAKER
                              Responsible:              JENNIFER SHOEMAKER
                              Originating:              JENNIFER SHOEMAKER



BILLING TO DATE                                                 HOURS                           FEES    DIRECT EXPENSES       INDIRECT EXPENSES                 AGED ACCOUNTS RECEIVABLE
 RELIEVED:                                                         0.00                         $0.00              $0.00                        $0.00     CURRENT                           $O.OO
 BILLED:                                                           0.00                         $0.00              $0.00                        $0.00     30 DAYS                          $0.00
 VARIANCE:                                                                                      $0.00               $0.00                        $0.00    60 DAYS                           $0.00
                                                                                                                                                          90 DAYS
                                                                                                                                                     o/
 % OF REALIZATION:                                                                            100.0 %           100.00 %                      00.00 /o                                      $0.00
 BILLING WRITE UP:                                                                              $0.00              $0.00                        $0.00     120+DAYS                          $0.00
 BILLING WRITE DOWN:                                                                            $0.00              $0.00                        $0.00     TOTAL                             $O.OO
 RECEIVABLE WRITE OFF:                                                                          $0.00              $0.00                        $0.00
 TOTAL OUTSTANDING:                                                                             $0.00              $0.00                        $0.00     UNAP. CASH:                       $0.00
                                                                                                                                                          TRUST BAL.:                       $o .00
           Billino lnshuctions:
              Bill ln Full                                                Reject ln Full                                    Bookkeeping Depadment Only:
              Bill Fees       $                                           Write Off in Full                                 Bill Number:
              Bill Costs       $                                          Apply Trust Funds                                 Bill Date
              Total Fees/Costs $                                          Apply Unapplied Cash c                            Bill Mail Date:
                                                                                                                            Billed By:
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Matter Opened:    911   12011




Assigned Bill Format:            UKDOLLAR
Billing Frequency:               Demand


Draft Bill Fee Amount:           $1,054,600.00   Draft Bill Cost Amouni:   $0.00   Draft Bill   Total:   $1,054,600.00   Last Bill Amount:    $0.00

Last Payment:                    nla
Last Bill Date:                  n/a
Last Time Worked:                10t25t2018
Last Cost Entered:               10t25t2018

Fees and Costs Thru      Date:   9l28n018


Area of Law:                     DOMESTIC RELATIONS



Office:                          ROCHESTER
Department:                      LITIGATION
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                                                       Timekeeper Summarv

Timekeeper Name                                    Rate              Hours                 Amount      Brt-r- Tnrs
                                                                                                       Aruoutr:
ALINA NADIR                                     $235.00               411.6           $96,726.00
ALINA NADIR                                     $250.00               1   18.6        $29,650.00
ALINA NADIR                                     $255.00               351.8           $89,709.00
ALINA NADIR                                     $260.00               435.6          $1 13,256.00
CAROL A. CROSS                                  $160.00                tlt.o          $20,416.00
CAROL A. CROSS                                  $165.00                    2.8             $462.00
COLIN D. RAMSEY                                 $300.00                    3.2             $960.00
COLIN D. RAMSEY                                 $310.00                    1.4             $434.00
DAVID H. FITCH                                  $295.00                    0.1               $29.50
ELIZABETH A. CORDELLO                           $265.00                    0.3               $79.50
JANICE HANCE                                    $135.00                   10.3            $1,390.50
JANICE HANCE                                    $140.00                   19.9            $2,786.00
JANICE HANCE                                    $145.00                   18.5            $2,682.50
JANICE HANCE                                    $150.00                   44.9            $6,735.00
JANICE HANCE                                    $160.00                454.3          $72,688.00
JANICE HANCE                                    $165.00
                                                                          oo(         $16,417.50
JANICE HANCE                                    $170.00                218.1          $37,077.00
JANICE HANCE                                    $175.00               314.6           $55,055.00
JENNIFER A. COLEMAN                             $1 15.00                   0.3               $34.50
JENNIFER A. COLEMAN                             $125.00                   49.1            $6,137.50
JENNIFER SHOEMAKER                              $225.00                   64.1        $14,422.50
JENNIFER SHOEMAKER                              $235.00                   41.7            $9,799.50
JENNIFER SHOEMAKER                              $250.00                   39.5            $9,875.00
JENNIFER SHOEMAKER                              $265.00                141.3          $37,444.50
JENNIFER SHOEMAKER                              $275.00                108.8          $29,920.00
JENNIFER SHOEMAKER                              $290.00                346.7         $1   00,543.00
JENNIFER SHOEMAKER                              $300.00                   80.2        $24,060.00
                                                                                       'l
JENNIFER SHOEMAKER                              $310.00                376.5         $1 6,715.00
JENNIFER SHOEMAKER                              $320.00                471.8         $150,976.00
JESSIE GREGORIO                                 $240.00                    6.3            $1 ,512.00
JILLIAN K. FARRAR                               $255.00                    J.    I         $790.50
JILLIAN K. FARRAR                               $260.00                         5         $1,300.00
JODI SMITH-SCHULER                              $180.00                    0.6             $108.00
Maria D. Soeffing                               $170.00                    7.6            $1,292.00
Maria D. Soeffing                               $175.00                     /.b           $1,330.00
PAUL F, KENEALLY                                $325.00                    0.2               $65.00
PAUL F. KENEALLY                                $350.00                    u.l               $70.00
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   Timekeeper Name                                                        Rate                 Hours                                      Amount           BrLL THrs
                                                                                                                                                           Atvtourr:
   PAUL F. KENEALLY                                                    $360.00                    0.2                                      $72.00
   PAUL F. KENEALLY                                                    $370.00                    0.9                                     $333.00
   PAUL F. KENEALLY                                                    $375.00                    1.2                                     $450.00
   PAUL V, NUNES                                                       $335.00                    0.6                                     $201.00
   PAUL V, NUNES                                                       $360.00                    0.3                                     $108.00
   RONALD G. HULL                                                      $330.00                       1                                    $330.00
   TRACY BANSBACH                                                      $175.00                    0.9                                     $157.50
                                                                                  TOTAL:                                              $1054600.00

                                                                                     Fees

CLIENT CoDE          Merren Cooe      WoRx   Dlr=    TuHucrrolr    TIMEKEEPER          DEscRtPTtoN                                             HoURs              RATE      AMoUNT           BILL THIs
                                                     No.                                                                                                                                     AMoUNT:
999250                                08/1 0/1   1   2232526       JENNIFER            Telephone conference with Pam Small.                         2.00      $225.00       $450.00
                                                                   SHOEMAKER
999250                                08129t11       2232598       JENNIFER            Review documents provided by client.                         1.50      $225.00       $337.50
                                                                   SHOEMAKER
999250                                08/31 /1   1   2232492       JENNIFER            Meet with client                                             l.5u      $235.00       $s87.50
                                                                   SHOEMAKER
999250                                09107 t11      2241486       JENNIFER            Telephone conference with client.                             .70       $225.00      $157.50
                                                                   SHOEMAKER
999250                                09/08/1    1   2241493       JENNIFER            Review additional documents from client                       .90      $225.00       $202.50
                                                                   SHOEMAKER
999250                                09t12t11       2238267       JANICE HANCE        Review flle regarding status, all client and                 2.10       $140.00      $294.00
                                                                                       SDHR documents to prepare for upcoming
                                                                                       litigation; open and organize file.
999250                                09/1 3/1   1   2241779       JENNIFER            Continue review of voluminous documents.                     1.90      $225.00       $427.50
                                                                   SHOEMAKER
999250                                09114111       2236209       JENNIFER            Continue to review documents from client                     3.80       $225.00      $855.00
                                                                   SHOEMAKER
999250                                09t15t11       2241781       JENNIFER            Continue to review documents.                                2.70       $225.00      $607.50
                                                                   SHOEMAKER
999250                                09t19t11       2241619       JENNIFER            Continue to review documents.                                 .80      $225.00       $180.00
                                                                   SHOEMAKER
999250                                09t20t11       2241656       JENNIFER            Telephone conference with client.                            1.00      $225.00       $225.00
                                                                   SHOEMAKER
999250                                09t21t11       2241782       JENNIFER            Continue document review.                                    2.60      $225.00       $585.00
                                                                   SHOEMAKER
999250                                09t27t11       2241783       JENNIFER            Continue document review.                                     .90      $225.00       $202.50
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                                          No.                                                                                                              Atvtoultr:
                                                      SHOEMAKER
999250                     09t28t11       2241778     JENNIFER        Prepare for client conference                  2.50    $235.00      $587.50
                                                      SHOEMAKER
999250                     09t29t11       2240927     JANICE HANCE    Travel to and from Buffalo and attend          8.00    $140.00    $1,120.00
                                                                      consultation with client with J. Mereau
9992s0                     09t29t11       2241415     JENNIFER        Meet with client in Buffalo                    8.00    $235.00    $1,880.00
                                                      SHOEMAKER
999250                     09/30/1   1    2241887     JANICE HANCE    Arrange for the copying of client                .30   $140.00       $42.00
                                                                      documents and begin organizing file.
999250                     10t03t11       2243745     JANICE HANCE    Continue organizing file and preparing for       .50   $140.00       $70.00
                                                                      future litigation.
999250                     10t05n1        2244245     JENNIFER        Prepare for meeting with client; contact        2.50   $235.00      $587.50
                                                       SHOEMAKER      DHR; review file to prepare releases.
999250                     10/06/1   '1
                                          2243775      JANICE HANCE   Review file for upcoming meeting with            .20   $140.00       $28.00
                                                                      client.
999250                     10t07 t11      2247777      JANICE HANCE   Review notes; prepare medical release           1.20   $140.00      $1 68.00
                                                                      authorization and authorization for release
                                                                      of workers compensation records and
                                                                      workers' compensation attorney's fi les.
999250                     10t11t11       2244547      JENNIFER       Travel to Buffalo and meetwith client.         10.00   $235.00     $2,350.00
                                                       SHOEMAKER
999250                     10t11t11       2247795      JANICE HANCE   Travel to and from Buffalo; attend client      10.00   $135.00     $1,350.00
                                                                      meeting with client and J. Mereau.
999250                     10t12t11       2247877      JANICE HANCE   0rganize file following meeting with client      .40   $140.00        $56.00
                                                                      and to request various records.
999250                     10t12t11       2247948      JANICE HANCE   Prepare lefters to Workers' Compensation         .90   $140.00      $126.00
                                                                      Board and Workers' Compensation
                                                                      attorney requesting copies of files; review
                                                                      file regarding additional work to be done
                                                                      and e-mails to and from J. Shoemaker
                                                                      regarding same.
999250                     10t12t11       2253405      JENNIFER       Conference with Workeis Compensation            1.50 $235.00        $352.50
                                                       SHOEMAKER      attorney; prepare releases; review
                                                                      documents.
999250                     10t13t11       2253404      JENNIFER       Review documents from client.                   2.70   $235.00      $634.50
                                                       SHOEMAKER
999250                     10t17 t11      2253412      JENNIFER       Research regarding damages; review              1.80   $225.00      $405.00
                                                       SHOEMAKER      releases.
999250                     10t20111       2253507      JENNIFER       Prepare for meeting with Division of            1.20   $225.00       $270.00
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                                     No,                                                                                                                  AuouHr:
                                                    SHOEMAKER      Human Rights.
9992s0                    10t21t11   2249301        JANICE HANCE   Review file for contact information for J.        .20    $140.00       $28.00
                                                                   Gee.
999250                    10t24t11   2249685        JENNIFER       Review file and meet with division of            3.70    $235.00      $869.50
                                                    SHOEMAKER      human rights.
999250                    10t25t11   2253495        JENNIFER       Prepare timeline regarding harassment.           3.40    $235.00      $799.00
                                                    SHOEMAKER
999250                    10t26t11   2250663        JANICE HANCE   Receipt and review of letter from workers'        .20    $140.00       $28.00
                                                                   compensation attorney regarding obtaining
                                                                   copy of his file.
999250                    10126111   2253496        JENNIFER       Continue preparing timeline                      '1.50
                                                                                                                            $235.00      $352.50
                                                    SHOEMAKER
999250                    10t26t11   2253500        JENNIFER       Review conespondence regarding worke/s            .50    $235.00      $1 17.50
                                                    SHOEMAKER      compensation; prepare releases.
999250                    10t27t11   t.)F   2-704
                                                    JANICE HANCE   Prepare lefters to client and workers'            .40    $140.00       $56.00
                                                                   compensation attorney.
999250                    11103111   2262583        JENNIFER       Work on timeline of events.                      2.50    $225.00      $562.50
                                                    SHOEMAKER
999250                    11t04t11   ltJt lJo       JANICE HANCE   Review file regarding status of workers           .40    $140.00       $56.00
                                                                   comp authorization; prepare letter to client
                                                                   forwarding new authorization for her
                                                                   signature.
999250                    11t08t11   2257305        JANICE HANCE   Prepare letter to Workers Comp forwarding         .40 $140.00          $56.00
                                                                   updated authorization; revise and finalize
                                                                   same.
999250                    11t08t11   2262495        JENNIFER       Conference with client.                          1.40    $235.00      $329.00
                                                    SHOEMAKER
999250                    11t16t11   2262543        JENNIFER       Continue preparing outline of events.            '1.50
                                                                                                                            $235.00      $352.50
                                                    SHOEMAKER
999250                    11t29t11   2262574        JENNIFER       Review documents relating to Division of         2.30    $225.00      $517.50
                                                    SHOEMAKER      Human Rights claim.
999250                    12101t11   2267514        JANICE HANCE   Receipt and review of conespondence               .20    $140.00       $28.00
                                                                   from the Workers' Compensation Board
                                                                   regarding our request for records and cost
                                                                   to obtain same; review file to obtain clients
                                                                   telephone number.
999250                    12t02t11   2267524        JANICE HANCE   Telephone call to client requesting               .20    $140.00       $28.00
                                                                   payment of $75 to obtain copies of
                                                                   Workers' Compensation records.
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                                           No.                                                                                                                AruouHr:
999250                         12t07 t11   2267681       JANICE HANCE   Receipt and review of check from client for        .20   $140.00       $28.00
                                                                        Workers' Compensation Board records;
                                                                        anange for deposit and payment of same.
999250                         12108111    2267995       JANICE HANCE   Receipt and review of check from client,           .30   $140.00       $42.00
                                                                        deposit and request check made payable
                                                                        to the Workers'Comp Board to receive
                                                                        requested records; receipt and review of
                                                                        check and mail same.
999250                         12t12t11    2268143       JANICE HANCE   Telephone call from client requesting that         .80   $140.00      $1 12.00
                                                                        we prepare a request to be sent to the
                                                                        psychologist to obtain records for the 12122
                                                                        workers' comp hearing; obtain contact
                                                                        information; telephone call to doctor to
                                                                        obtain fax number; prepare request and
                                                                        complete authorization.
999250                         12t13t11    2266353       JENNIFER       Review worker's compensation file.                2.00   $225.00      $450.00
                                                         SHOEMAKER
999250                         12113111    2268184       JANICE HANCE   Telephone call from Dr. Mogerman's office          .JU   $140.00       $42.00
                                                                        regarding request for records.
999250                         12t15t11    2271569       JENNIFER       Review records from Mogerman.                      .50   $225.00      $112.50
                                                         SHOEMAKER
999250                         12t20t11    2269810       JANICE HANCE   Receipt and review of letter and medical           .60   $140.00       $84.00
                                                                        records from Dr. Mogerman; research
                                                                        status for limitation on charging for medical
                                                                        records.
999250                         12t20t11    2271578       JENNIFER       Letter to Mogerman's office regarding              .20   $225.00       $45.00
                                                         SHOEMAKER      payment for medical records.
999250                         12t21t11    226981 8      JANICE HANCE   Prepare letter to Dr. Mogerman forwarding          .90   $140.00      $126.00
                                                                        payment and citing law for payment of
                                                                        records; revise and finalize same; make
                                                                        arrangements for payment of records; scan
                                                                        medical records and e-mail to client for use
                                                                        at workers' comp hearing; telephone call
                                                                        from client inquiring ofevaluation narrative
                                                                        prepared by Dr. Mogerman and not
                                                                        received.
999250                         12t23t11    2271168       JANICE HANCE   Telephone conference with client regarding         .30   $140.00       $42.00
                                                                        medical received and not received and
                                                                        hearing.
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                                            No.                                                                                                              Attrtouttt:
999250                          12t28t11    2271178       JANICE HANCE   Lengthy telephone conference with client         .50   $140.00       $70.00
                                                                         regarding results of workers' comp hearing
                                                                         and reduction in income award, upcoming
                                                                         termination from DOCS, repayment of
                                                                         $20,000 award, etc.
999250                          12t29t11    2271345       JANICE HANCE   Review file with J. Shoemaker to obtain          .40   $140.00       $56.00
                                                                         answers to clients questions, e-mail to
                                                                         client advising of same; receipt and review
                                                                         of response from client.
999250                          01104t12    2273992       JANICE HANCE   Telephone call from client regarding receipt     .20   $145.00       $29.00
                                                                         of social security and medicare
                                                                         reimbursement from Attica.
999250                          01t04t12    2281980       JENNIFER       Conference regarding clients check from          .20   $250.00       $50.00
                                                          SHOEMAKER      Attica.
999250                          01t11t12    2277428       JANICE HANCE   Lengthy telephone conferences with client        .80   $145.00      $116.00
                                                                         regarding probable cause, diversity
                                                                         management, pay back ofdouble pay and
                                                                         how to proceed; interoffice conference with
                                                                         J. Shoemaker regarding same.
999250                          01t11t12    2282523       JENNIFER       Review email from client regarding              1.70 $250.00        $425.00
                                                          SHOEMAKER      worker's compensation; conference with
                                                                         Hance regardign same; work on summary
999250                          01t13t12    2277500       JANICE HANCE   Receipt and review of termination lefter         .20   $145.00       $29.00
                                                                         client received from DOCS; scan and e-
                                                                         mail to J. Shoemaker for her review
999250                          01t13t12    2282941       JENNIFER       Review termination letter from DOCS.             .20   $250.00       $50.00
                                                          SHOEMAKER
999250                          01t24t12    2283733       JENNIFER       Timeline and record review                      2.10   $225.00      $472.50
                                                          SHOEMAKER
999250                          01t25t12    2283032       JENNIFER       Timeline and record review                      2.60   $225.00      $585.00
                                                          SHOEMAKER
999250                          01t31t12    2283062       JENNIFER       Review medical records                          1.60   $250.00      $400.00
                                                          SHOEMAKER
999250                          03t01t12    2303237       JENNIFER       Review records from Division of Human            .bu   $225.00      $135.00
                                                          SHOEMAKER      Rights.
999250                          03t06t12    2297791       JANICE HANCE   E-mail from client regarding status and e-       .zu   $145.00       $29.00
                                                                         mail to J. Shoemaker inquiring of same.
999250                          03t07t12    2297798       JANICE HANCE   E-mail to and from client regarding status.            $145.00       $29.00
999250                          03t07 t12   2303245       JENNIFER       Email with Gee regarding status of               .20   $250.00       $50.00
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                                    No,                                                                                                                Atttoultr:
                                                  SHOEMAKER      probable cause determination.
999250                  03t08112    2303249       JENNIFER       Email with DHR and client regarding Dep           1.40    $250.00      $350.00
                                                  SHOEMAKER      Brown; review file.
ooot^n                  03/09/1 2   2297821       JANICE HANCE   Receipt and review of e-mail from J.                .20   $145.00       $29.00
                                                                 Shoemaker and SDHR representative.
999250                  03t13t12    2303262       JENNIFER       Conference with DHR; review documents               .90   $250.00      $225.00
                                                  SHOEMAKER
999250                  03t14t12    lsuSloJ       JENNIFER       Continue review of documents.                     1.30    $250.00      $325.00
                                                  SHOEMAKER
999250                  03130112    230381 7      JANICE HANCE   E-mails to and from client regarding receipt        .20   $145.00       $29.00
                                                                 of letter determining "probable cause".
999250                  04t04t12    2304713       JENNIFER                                                           .50   $250.00      $125.00
                                                  SHOEMAKER
999250                  04t12t12    2313354       JENNIFER       Begin preparing Federal complaint.                 1.80   $225.00      $405.00
                                                  SHOEMAKER
999250                  04t17t12    2313198       JENNIFER       Continue drafting Complaint.                      3.30    $22s.00      $742.50
                                                  SHOEMAKER
9992s0                  04119112    231 3355      JENNIFER       Federal court complaint; research.                 2.00   $225.00      $450.00
                                                  SHOEMAKER
999250                  04t23t12    2312776       JANICE HANCE   E-mail to and from client requesting copy of        .40   $145.00       $58.00
                                                                 Decision; telephone call from client
                                                                 advising she receive notice of preliminary
                                                                 hearing and request she send a copy; e-
                                                                 mail to J. Shoemaker advising of same.
999250                  04t23t12    2313283       JENNIFER       Review division status; conference with            1.30 $250.00        $325.00
                                                  SHOEMAKER      Hance regarding same; conference with
                                                                 client.
9992s0                  04t24t12    2312846       JANICE HANCE   Receipt of Decision from client; prepare            .40   $145.00       $58.00
                                                                 letter to client returning same for her files;
                                                                 telephone conference with client regarding
                                                                 workers' compensation hearing and
                                                                 possible lump sum payment; e-mail to J.
                                                                 Shoemaker regarding same.
999250                  04t25t12    2310984       JENNIFER       Conference with client regarding workers            .80   $250.00      $200.00
                                                  SHOEMAKER      compensation claim.
999250                  04t25t12    2312869       JANICE HANCE   Receipt and review of the notice of pre-            .20   $145.00       $29.00
                                                                 hearing date.
999250                  04t26t12    2312895       JANICE HANCE   Reviewfile regarding status and need to            2.10   $145.00      $304.50
                                                                 prepare complaint; thorough review of
                         Case 1:12-cv-01236-WMS-MJR Document 201-2 Filed 10/25/18 Page 12 of 162


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CLIENT CoDE   Mlrren   Cooe   Wonr   Dnre   Tulsacrror    Truereeprn     Descruprror                                      Houns     RATE       AMoUNT         Brr-r-   Tnrs
                                            No.                                                                                                               Attrtourur:
                                                                         Decision; obtain and complete dismissal
                                                                         form; prepare letter to FOlL SDHR
                                                                         requesting copy of investigative file;
                                                                         prepare letter to SDHR serving dismissal
                                                                         form; begin preparing complaint; review
                                                                         lengthy notes taken during initial client
                                                                         interview regarding timeline and history of
                                                                         harassment.
999250                        04t26t12      2313344       JENNIFER       Continue drafting Complaint.                      1.50   $225.00      $337.50
                                                          SHOEMAKER
ooot(n                        04t27t12      2312899       JANICE HANCE   Revise and finalize dismissal form and            3.40   $145.00      $493.00
                                                                         letters to SDHR; fax same; receipt and
                                                                         review of e-mail and objections from DOCs
                                                                         counsel; complete first draft of complaint.
999250                        04t27 t12     231 331 8     JENNIFER       Conference with client; email from                1.30 $2s0.00        $325.00
                                                          SHOEMAKER      opposing counsel; flnalize submission
                                                                         requesting administrative dismissal.
999250                        05t01t12      2315932       JANICE HANCE   Receipt and review of conespondence                .40   $145.00       $58.00
                                                                         from SDHR requesting payment to receive
                                                                         a copy ofthe investigative file; request
                                                                         check; prepare letter to SDHR forwarding
                                                                         payment.
999250                        05t08t12      2316222       JANICE HANCE   Review file regarding status; pull from file       .40   $145.00       $58.00
                                                                         the request to change forum form to send
                                                                         with additional letter to SDHR; telephone
                                                                         call to H. Reinhold's office to obtain his fax
                                                                         number.
999250                        05t08t12      2322934       JENNIFER       Conference with J. Vespoli from NYSDHR;            .40   $250.00      $100.00
                                                          SHOEMAKER      conference with client.
999250                        05t14t12      2317423       JENNIFER       Review letter from DHR                             .20   $250.00       $50.00
                                                          SHOEIVAKER
999250                        05t14t12      2318246       JANICE HANCE   E-mails from and to client regarding               .30   $145.00       $43.50
                                                                         upcoming conference.
999250                        05t24t12      2322501       JANICE HANCE   Receipt and review of the SDHR flle in             .90   $145.00      $130.50
                                                                         response to FOlL request.
999250                        06t27t12      2332347       JANICE HANCE   Review file regarding status of filing of          .lu   $145.00       $29.00
                                                                         Complaint.
999250                        06t28t12      2332s04       JANICE HANCE   Research filing specifics for complaint and        .40   $145.00       $58.00
                                                                         telephone conference with court clerk
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                                           No.                                                                                                                AnrtouHr:
                                                                        regarding same.
999250                       06129112      2332554       JANICE HANCE   Research venue.                                  .30    $135.00        $40.50
999250                       07110112      2336914       JANICE HANCE   Review file regarding status.                    .20    $145.00        $29.00
999250                       07113112      2336944       JANICE HANCE   E-mails from client regarding status of           .30   $145.00        $43.50
                                                                        medical care and ireatment-
999250                       09t17t12      2358680       JANICE HANCE   E-mails from and to client regarding status;      .40   $145.00        $58.00
                                                                        receipt and review of dismissal order and
                                                                        review file regarding same.
999250                       09t21t12      2360796       JANICE HANCE   E-mails to and from client regarding future       .20   $145.00        $29.00
                                                                        pr0cess.
999250                       11t12t12      2379413       JANICE HANCE   Telephone call from client regarding recent       .lu   $145.00        $29.00
                                                                        event and review file regarding same.
999250                       11t26t12      2383224       JENNIFER       Review file to prepare complaint.               2.70    $250.00       $675.00
                                                         SHOEMAKER
999250                       11t21t12      2383225       JENNIFER       Continue research, work on complaint.            1.90   $225.00       $427.50
                                                         SHOEMAKER
999250                       11t29t12      2383341       JENNIFER       Work on complaint.                                .70   $250.00       $175.00
                                                         SHOEMAKER
oootEn                       12t05t12      2390998       JENNIFER       Work on complaint; research.                    7.50    $250.00     $1,875.00
                                                         SHOEMAKER
999250                       12t06t12      2384366       JENNIFER       Complaint revisions; Research.                  8.30    $225.00     $1,867.50
                                                         SHOEMAKER
999250                       12t07 t12     2390552       JANICE HANCE   Lengthy telephone conference with client         1.20   $145.00       $174.00
                                                                        review review, comment and revise
                                                                        complaint; scan and e-mail to J.
                                                                        Shoemaker for her review.
999250                       12t07 t12     2391019       JENNIFER       Review comments from client; revise              1.20   $250.00       $300.00
                                                         SHOEMAKER      complaint
999250                       12t11t12      2387153       JENNIFER A.    Revision to Complaint format                      .30   $1 15.00       $34.50
                                                         COLEMAN
999250                       12t11t12      2390597       JANICE HANCE   Arrange for payment of filing fee; prepare        .60   $145.00        $87.00
                                                                        civil cover sheet and summons.
999250                       12t11t12      239'1039      JENNIFER       Complaint revisions.                            4.50    $250.00     $1,125.00
                                                         SHOEMAKER
999250                       12t12t12      2385835       JENNIFER       Revise complaint.                                 .lu   $250.00        $50.00
                                                         SHOEMAKER
999250                       12t12t12      2388054       JENNIFER       Work on complaint; research regarding           8.20    $250.00     $2,050.00
                                                         SHOEMAKER      section 1983 claims
999250                       12t12t12      2390614       JANICE HANCE   lnteroffice conference with J. Shoemaker          .30   $145.00        $43.50
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                                           No.                                                                                                                   Amourr:
                                                                          regarding preparation of civil cover sheet
                                                                          and summons, status and filing procedure.
999250                     12t13t12        2386225         JENNIFER       Research; Revise complaint.                       4.50    $225.00    $1 ,012.50
                                                           SHOEMAKER
999250                     12t13112        2390700         JANICE HANCE   Lengthy telephone conference with client to       1.30    $145.00      $188.50
                                                                          review and revise complaint.
999250                     12t14t12        2390804         JANICE HANCE   lnteroffice conferences with J. Shoemaker         2.10    $145.00      $304.50
                                                                          and revise and finalize civil cover sheet;
                                                                          proof read, revise, reformat and finalize
                                                                          complaint; arrange to have complaint put
                                                                          on CD in pdf format for filing with the court;
                                                                          copy and anange for filing of complaint
                                                                          with District Court; receipt and review of
                                                                          fi   led complaint; interoffice conferences
                                                                          regarding service, etc.
999250                     12t14t12        2391424         JENNIFER       Work on complaint.                                 6.20   $225.00    $1,395.00
                                                           SHOEMAKER
999250                     12t17t12        2391   1   58   JANICE HANCE   Review file for civil action number.                .20   $145.00       $29.00
999250                     12t18t12        2391475         JENNIFER       Review documents from court; review                1.50   $250.00      $37s.00
                                                           SHOEMAKER      procedures regarding service of process
                                                                          and time of service; review mediation order
                                                                          and conference with PFK regarding same.
999250                     12t19t12        2381662         JENNIFER       Review orders from court; conferences              1.00   $250.00      $250.00
                                                           SHOEMAKER      regarding mediation.
999250                     12t19t12        2391252         JANICE HANCE   Review status and recent court filings; e-          .40   $145.00       $58.00
                                                                          mail to client fonruarding filed complaint and
                                                                          other court documents.
999250                     12t19t12        2395054         PAUL F.        Office conference with J. Shoemaker                 .20   $325.00       $65.00
                                                           KENEALLY       regarding mediation requirement and
                                                                          strategy regarding same.
999250                     01t07t13        2397123         JANICE HANCE   Review file regarding receipt of new                .20   $150.00       $30.00
                                                                          retainer agreement for the Federal Couh
                                                                          action.
999250                     01   i08l1 3    2402430         JENNIFER       review status of service and agreement;            1.10   $265.00      $291.50
                                                           SHOEMAKER      review federal rules of civil procedure.
999250                     01t14t13        2402498         JENNIFER       Rule 16 disclosures.                               1.70   $265.00      $450.50
                                                           SHOEMAKER
999250                     01 /1 6/1   3   2402447         JENNIFER       Begin preparing rule 16 disclosures.               1.30   $265.00      $344.50
                                                           SHOEMAKER
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                                            No.                                                                                                                Auouur:
999250                          01t17 t13   2398288       JANICE HANCE   Review file regarding retainer agreement         .20    $150.00        $30.00
                                                                         and service of complaint; e-mail to client
                                                                         requesting address of officer for serving
                                                                         purp0ses.
999250                          01121113    2401591       JANICE HANCE   Review file and send additional e-mail to         .20   $150.00        $30.00
                                                                         client requesting Defendant Cue/s address
                                                                         for service of summons and complaint.
999250                          01t21t13    2402463       JENNIFER       Review emails from client regarding               50    $265.00       $132.50
                                                          SHOEMAKER      contact from Defendant Cuer; review file
                                                                         for order of protection.
999250                          01t22t13    2401617       JANICE HANCE   E-mails from client advising of Defendant         .60   $150.00        $90.00
                                                                         Cue/s address; review file regarding
                                                                         service of complaint; prepare summons
                                                                         and complaint for service; communications
                                                                         with process server requesting service of
                                                                         same.
999250                          01t22t13    2402460       JENNIFER       Review documents for Rule 16 disclosure.         t.ou   $265.00       $689.00
                                                          SHOEMAKER
999250                          01t25t13    2402499       JENNIFER       Review file for letter from Cuer                  .80   $265.00       $212.00
                                                          SHOEMAKER
999250                          01t29t13    2402420       JANICE HANCE   E-mails to and from process server                .20   $150.00        $30.00
                                                                         regarding status of service of summons
                                                                         and complaint.
999250                          01/31/1 3   2403054       JANICE HANCE   E-mail to process server inquiring of status      .20   $'150.00       $30.00
                                                                         of service of summons and complaint.
999250                          02t04t13    2408934       JENNIFER       Review status of service.                         .20   $265.00        $53.00
                                                          SHOEMAKER
999250                          02105113    2404860       JANICE HANCE   Communications with process server                .30   $150.00        $45.00
                                                                         regarding status of service of summons
                                                                         and complaint on all defendants and advise
                                                                         J. Shoemaker of same.
999250                          02t06t13    2404882       JANICE HANCE                                                     .20   $150.00        $30.00
999250                          02t07t13    2410807       JENNIFER       Review file and work on timeline; review         3.20   $265.00       $848.00
                                                          SHOEMAKER      medical records.
999250                          02t14t13    2408792       JANICE HANCE   Review file regarding status of service and       .20   $150.00        $30.00
                                                                         emails to and from process service
                                                                         regarding same.
999250                          02t14t13    2411368       JENNlFER       Review medical records.                          3.60   $265.00       $954.00
                                                          SHOEMAKER
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999250                         02t15t13     2408804       JANICE HANCE   Communications with process server                 .20    $150.00       $30.00
                                                                         regarding status of service in Albany and
                                                                         on Defendant Cuer and advise J.
                                                                         Shoemaker of same.
                                                                                                                             EA
999250                         02t15113     2411371       JENNIFER       Review status of service; conference re:                  $265.00      $132.50
                                                          SHOEMAKER      same
999250                         02t18t13     2411478       JENNIFER       Document review.                                  t.5u    $265.00      $662.50
                                                          SHOEMAKER
999250                         02t19t13     2408822       JANICE HANCE   Review file regarding service and emails to         .30   $150.00        $45.00
                                                                         and from process server advising process
                                                                         must be complete immediately.
999250                         02t19t13     2411405       JENNIFER       review records                                   - 4.00   $265.00     $1,060.00
                                                          SHOEMAKER
999250                         02t21t13     2411407       JENNIFER       Review medical records and client                  1.20   $265.00       $318.00
                                                          SHOEMAKER      documents.
999250                         02t22t13     2410972       JANICE HANCE   Telephone conference with process server            .40   $150.00        $60.00
                                                                         confirm service of complaint in Albany and
                                                                         status ofservice on Cuer; advise J.
                                                                         Shoemaker of same.
999250                         02122113     2411440       JENNIFER       Review status of service.                           .40   $265.00       $106.00
                                                          SHOEMAKER
999250                         02t25t13     2411479       JENNIFER       Review client documents.                           2.40   $265.00       $636.00
                                                          SHOEMAKER
999250                         03104113     2413905       JANICE HANCE   E-mail from process server confirming               .30   $150.00        $45.00
                                                                         service of C. Cuer and advise J.
                                                                         Shoemaker of same, e-mail to and from
                                                                         process server requesting all affidavits of
                                                                         service to e-file with the Court.
999250                         03104113     2420867       JENNIFER       Review status of service.                           .20   $265.00        $53.00
                                                          SHOEMAKER
999250                         03t07t13     2413949       JANICE HANCE   Review file regarding receipt of affidavits of      .20   $150.00        $30.00
                                                                         service and e-mail to process server
                                                                         requesting same.
999250                         03t11t13     2417812       JANICE HANCE   E-mails to and from process server                  .20   $150.00        $30.00
                                                                         regarding affidavits of service.
999250                         03t11t13     2421026       JENNIFER       Review updated records.                            1.60   $265.00       $424.00
                                                          SHOEMAKER
999250                         03/1 3/1 3   2417832       JANICE HANCE   Receipt and review of all afiidavits of             .JU   $150.00        $45.00
                                                                         service and arrange for payment of same.
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                                             No.                                                                                                                Aruourur:
999250         I                03/1 3/1 3   2421697       JENNIFER       Work on Rule 16 disclosures                     3.20    $265.00      $848.00
                                                           SHOEMAKER
999250         I                03t14t13     2417844       JANICE HANCE   Lengthy telephone conversation with client      1.30    $150.00      $195.00
                                                                          regarding status and advise of extension of
                                                                          time provided to defendant to answer
                                                                          complaint and to be aware that she may be
                                                                          followed by a private investigator; email to
                                                                          J. Shoemaker advising of client's status.
9992s0                          03t14t13     2421002       JENNIFER       Conference regarding client's update.             .50   $265.00      $132.50
                                                           SHOEMAKER
999250                          03120113     241 8506      JANICE HANCE   Copy Retainer Agreement and forward               .20   $150.00       $30.00
                                                                          same to client for her files.
999250                          03t20t13     2421067       JENNIFER       Conferences regarding client update;            2.70    $265.00      $715.50
                                                           SHOEMAKER      digest documents.
999250                          03125113     2421027       JENNIFER       Conference with client.                          1.40   $265.00      $371.00
                                                           SHOEMAKER
999250                          04/03/1 3    2422645       JANICE HANCE   Review file regarding service of Answer to        .JU   $150.00       $45.00
                                                                          Complaint; review court docket regarding
                                                                          same.
999250                          04/03/1 3    2432769       JENNIFER       Letter to opposing counsel regarding              .20   $265.00       $53.00
                                                           SHOEMAKER      default judgment because answer is late.
999250                          04t04t13     2432772       JENNIFER       Conference with opposing counsel.                 .40   $265.00      $106.00
                                                           SHOEMAKER
999250                          04/08/1 3    2424307       JANICE HANCE   Review file and prepare letter to D. Sleight      .JU   $150.00       $45.00
                                                                          regarding failure to serve answer to
                                                                          complalnt and now in default.
999250                          04t10t13     2433652       JENNIFER       Research regarding default judgment and          2.30   $265.00      $609.50
                                                           SHOEMAKER      liability of State.
999250                          04t11t13     2433649       JENNIFER       Research regarding state of new york as          4.20   $265.00    $1 ,1 13.00
                                                           SHOEMAKER      entity incapable of lawsuit; research
                                                                          regarding S '1983 liability.
999250                          04t15t13     2427586       JANICE HANCE   Review file regarding service and receipt of      .20   $150.00       $30.00
                                                                          Answer to Complaint.
999250                          04t16t13     2428093       JANICE HANCE   E-mails from and to client regarding status       .30   $150.00       $45.00
                                                                          and additional extension to answer
                                                                          complaint.
999250                          04t16t13     2433132       JENNIFER       Review letter from AG's office regarding          .50   $265.00      $132.50
                                                           SHOEMAKER      extension; conference with J Hance
                                                                          regarding client updates.
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999250                       04117113     2428375      JANICE HANCE   E-mails from and to client regarding status,       .30   $150.00       $45.00
                                                                      extension and preparation of Will; review
                                                                      file regarding same.
999250                       04t22113     2433288      JENNIFER       Review Defendant's motion to dismiss;            2.70    $265.00      $715.50
                                                       SHOEMAKER      begin response papers.
999250                       04t22t13     2433321      JENNIFER       Review scheduling notice from court.               .20   $265.00       $53.00
                                                       SHOEMAKER
oootAn                       04t23t13     2433291      JENNIFER       Research caselaw regarding motion to             3.10    $265.00      $821.50
                                                       SHOEMAKER      dismiss; continue preparing response.
999250                       04t24t13     2430250      JENNIFER       Respond to motion to dismiss; research.          3.40    $265.00      $901.00
                                                       SHOEMAKER
999250                       04t25t13     2433464      JENNIFER       Research motion to dismiss                        2.70   $265.00      $71 5.50
                                                       SHOEMAKER
999250                       04/30/1 3    2433575      JENNIFER       Work on response to motion to dismiss.            4.30   $265.00    $1 ,I 39.50
                                                       SHOEMAKER
999250                       05/0'l/13    2434777      JENNIFER       Respond to motion to dismiss.                     3.60   $265.00      $954.00
                                                       SHOEMAKER
999250                       05102113     2435558      JENNIFER       Work on motion to dismiss response.               2.40   $265.00      $636.00
                                                       SHOEMAKER
999250                       05/05/1 3    2434524      JENNIFER       Research and respond to motion to                 5.20   $265.00    $1,378.00
                                                       SHOEMAKER      dismiss.
999250                       05/06/1 3    2434528      JENNIFER       Respond to motion to dismiss.                     6.20   $265.00    $1,643.00
                                                       SHOEMAKER
999250                       05/06/1 3    2435644      JANICE HANCE   Assist with motion preparation and                1.00   $150.00      $1 50.00
                                                                      finalization; prepare certificate of service;
                                                                      scan motion papers to a pdffor eflling; e-
                                                                      file motion papers; receipt and review of
                                                                      confirmation of same and download flled
                                                                      copy; telephone conference with clerk
                                                                      regarding the filing of the motion.
999250                       05/15/'l 3   2442968      JENNIFER       Work on discovery demands                         1.80   $265.00      $477.00
                                                       SHOEMAKER
999250                       05/1 6/1 3   2442962      JENNIFER       Review Reply to motion to dismiss.                 .50   $265.00      $132.50
                                                       SHOEMAKER
999250                       05128113     2441854      JANICE HANCE   E-mail from client inquiring as to status and      .20   $150.00       $30.00
                                                                      review file regarding same.
999250                       05t28t13     2441863      JANICE HANCE   Begin preparing for discovery stage of case       1.00   $150.00      $150.00
                                                                      by reviewing depositions and demands
                                                                      from previous sexual harassmentfile, etc.
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999250        1                05t29t13     2441881       JANICE HANCE   E-mail to and form client regarding status       .20    $150.00       $30.00
                                                                         and review file regarding same.
999250        I                05/30/1 3    2443242       JANICE HANCE   Begin review of discovery documents and         1.80    $150.00      $270.00
                                                                         depositions transcripts from previous
                                                                         DOCCS case to prepare for drafting
                                                                         discovery and documents demands in
                                                                         present case.
999250                         05/31/'13    2443307       JANICE HANCE   Continue review of depositions transcripts      2.60    $150.00      $390.00
                                                                         of DOCs employees.
999250                         06/03/1 3    2444317       JANICE HANCE   Continue review of DOCs transcripts;             2.50   $150.00      $375.00
                                                                         review pleadings and copy relevant
                                                                         discovery and document demands; prepare
                                                                         list of documents, files and records we
                                                                         need to demand and obtain from
                                                                         Defendants.
999250                         06/04/1 3    2443815       JENNIFER       Conference with client regarding status and       .50   $265.00      $132.50
                                                          SHOEMAKER      worke/s compensation matter.
999250                         06/04/1 3    2444387       JANICE HANCE   lnteroffice conference with J. Shoemaker to      2.20   $150.00      $330.00
                                                                         review file to determine what work needs to
                                                                         be done; pull all documents that will be
                                                                         produced to the AG's office and anange for
                                                                         copying of same; organize file; review court
                                                                         docket and download missing pleadings;
                                                                         begin preparing pleadings binder.
999250                         06/05/1 3    2444391       JANICE HANCE   Complete the pleadings binder; begin             3.20   $150.00      $480.00
                                                                         review of voluminous documents to Bates
                                                                         stamp and produce to AG's office.
999250                         06/05/1 3    2451926       JENNIFER       Review documents to be produced.                 1.40   $265.00      $371.00
                                                          SHOEMAKER
999250                         06/06/1 3    2445165       JANICE HANCE   Complete review and elimination of all           2.40   $150.00      $360.00
                                                                         duplicates of voluminous document to
                                                                         produce; complete organization of file.
9992s0                         06t11t13     2452173       JENNIFER       Review documents to be disclosed.                3.20   $265.00      $848.00
                                                          SHOEMAKER
999250                         06/1 3/1 3   2452508       JENNIFER       Continue document review                         3.10   $265.00      $821.50
                                                          SHOEMAKER
999250                         06/1 B/1 3   2452267       JENNIFER       Conference with client regarding workers          .50   $265.00      $132.50
                                                          SHOEMAKER      compensation hearing.
999250                         06t20t13     2448366       JANICE HANCE   E-mails from and to client regard workers'        .20   $150.00       $30.00
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                                             No.                                                                                                                     AMOUNT:

                                                                            compensation hearing and results ofsame
                                                                            and review file regarding same.
999250                         06t25t13      2451506         JANICE HANCE   Lengthy telephone conference with client             .40   $150.00        $60.00
                                                                            regarding a possible worker's comp
                                                                            settlement; lien and procedure for same; e-
                                                                            mail to J. Shoemaker regarding same.
999250                         07/03/1 3     2462588         JENNIFER       Review documents and transcript from             1.80      $265.00       $477.00
                                                             SHOEMAKER      workers compensation.
999250                         07 t17 t13    2462962         JENNIFER       Research and review other cases                  1.70      $265.00       $450.50
                                                             SHOEMAKER      regarding DOCS.
999250                         07 t24t13     2460334         JANICE HANCE   Review file and court docket for status and          .30   $'150.00       $45.00
                                                                            possible issuance of Decision pertaining to
                                                                            motion to dismiss.
999250                         07124t13      2462556         JENNIFER       Review status.                                       .50   $265.00       $132.50
                                                             SHOEMAKER
999250                         07 t29t13     2462569         JENNIFER       Review court order                                   .20   $265.00        $53.00
                                                             SHOEMAKER
999250                         0B/07/1 3     2466009         JANICE HANCE   Review file regarding Decision regarding             .20   $150.00        $30.00
                                                                            motion to dismiss and the need to file the
                                                                            Amended Complaint.
999250                         08t07t13      2472029         JENNIFER       Review final amended complaint;                  1.50      $265.00       $397.50
                                                             SHOEMAKER      confernce with J. Hance regarding same
999250                         08/08/1 3     24660   1   6   JANICE HANCE   Review docket regarding text order;                  .bu   $150.00        $90.00
                                                                            download same and update pleadings
                                                                            binder; review file regarding finalizing and
                                                                            filing the Amended Complaint; fonruard to J
                                                                            Shoemaker for one final review.
999250                         08/1 3/1 3    2466637         JANICE HANCE   Revise and flnalize amended complaint;           1   .30   $150.00       $195.00
                                                                            prepare certificate of service; scan to pdf
                                                                            and e-file same; update pleadings index.
999250                         08t20t13      2472081         JENNIFER       Review Order referring to mediation                  .80   $265.00       $212.00
                                                             SHOEMAKER
999250                         08t27 t13     2472074         JENNIFER       Review answer                                        .50   $265.00       $'132.50
                                                             SHOEMAKER
999250                         09t02t13      2479953         JENNIFER       Review ADR order                                     .20   $265.00        $53.00
                                                             SHOEIVAKER
999250                         09/05/1 3     2473931         JANICE HANCE   Review file regarding status and receipt             .50   $150.00        $75.00
                                                                            and review of court's order for preliminary
                                                                            conference; e-mails to and from client
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                                      No.                                                                                                                Aruoum:
                                                                  advising and discussing same; prepare
                                                                  letter to client confirming date and time of
                                                                  conference.
999250                    09/05/1 3   2479971      JENNIFER       Conference regarding upcoming court                  .20   $265.00       $53.00
                                                   SHOEMAKER      date.
999250                    09/06/1 3   2476778      JANICE HANCE   Review file regarding upcoming court                 .60   $150.00       $90.00
                                                                  conference and conference with client;
                                                                  confirm date is on litigation calendar and J
                                                                  Shoemake/s calendar; prepare letter to
                                                                  client confirming meeting with J.
                                                                  Shoemaker prior to conference; reserve
                                                                  conference room in Buffalo.
999250                    09t17t13    2480740      JENNIFER       Review proposed scheduling order.                    .20   $265.00       $53.00
                                                   SHOEMAKER
999250                    09t24t13    2480544      JANICE HANCE   Review file regarding status and need to             .20   $150.00       $30.00
                                                                  prepare motion to opt out of medication
                                                                  pr0cess.
9992s0                    09t25t13    2480623      JANICE HANCE   Conduct research to locate form to use           1   .20   $150.00      $180.00
                                                                  when preparing motion to opt out of
                                                                  mediation process; email to attorneys
                                                                  regarding same; interoffice conference with
                                                                  P. Nunes regarding same and advise J.
                                                                  Shoemaker to discuss same with P.
                                                                  Nunes.
999250                    09t25t13    2480753      JENNIFER       Prepare for court conference.                    3.20      $265.00      $848.00
                                                   SHOEMAKER
999250                    09/30/1 3   2481114      JANICE HANCE   Many emails from and to client regarding         1.60      $150.00      $240.00
                                                                  upcoming pretrial conference and meeting
                                                                  with J. Shoemaker; lengthy telephone
                                                                  conference with client regarding recent
                                                                  workers' comp seftlement offer and
                                                                  whether she should take it; discuss same
                                                                  with J. Shoemaker and advise client that
                                                                  she needs to meet with aftorney to discuss
                                                                  further; obtain court address and email
                                                                  same to client and J. Shoemaker;
                                                                  download missing documents from court
                                                                  docket; update pleadings binder and
                                                                  pleadings index.
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                                               No.                                                                                                                  Amouur:
999250                         10t01t13        2482603      JANICE HANCE    E-mail from Court regarding conducting              .bu   $150.00       $90.00
                                                                            conference by phone; many e-mails to and
                                                                            from and telephone conferences with client
                                                                            and J. Shoemaker regarding court
                                                                            appearance, no need to appear, workers'
                                                                            comp attorney and offer of settlement;
                                                                            review file regarding same.
999250                         1   0/01 /1 3   2491162      JENNIFER        Conference regarding upcoming court                 .80   $265.00      $212.00
                                                            SHOEMAKER       appearance; conference with client.
999250                         10102t13        2482622      JANICE HANCE    Review file regarding workers' comp                 .20   $150.00        $30.00
                                                                            settlement offer and court appearance.
999250                         10t02t13        2482989      PAUL V. NUNES   Ofiice conference with J. Shoemaker                 .40   $335.00      $134.00
                                                                            regarding NYS Workers Compensation
                                                                            settlement proposal, case value,
                                                                            "automatic" mediation of all federal claims,
                                                                            recommended strategy, etc.
ooorAn                         10t02t13        2486702      JENNIFER        Prepare for and attend court conference           4.70    $265.00     $1,245.50
                                                            SHOEMAKER       via telephone. Review records for initial
                                                                            disclosures.
999250                         10t02113        249117s      JENNIFER        Conference with Workers Compensation               1.00 $265.00        $265.00
                                                            SHOEMAKER       attorney; conference with Nunes regarding
                                                                            settlement for Workers Compensation.
999250                         1   0/03/1 3    2482634      JANICE HANCE    Review file following Court conference              70    $150.00       $105.00
                                                                            telephone conference with workers' comp
                                                                            attorney and settlement, etc.; prepare
                                                                            updated medical release authorizations for
                                                                            client's signature; e-mails to and from client
                                                                            regarding same; telephone call from client
                                                                            regarding cancellation of workers' comp
                                                                            hearing.
999250                         1   0/03/1 3    2491814      JENNIFER        Review court order.                                 .30   $265.00        $79.50
                                                            SHOEMAKER
999250                         1   0/03/1 3    2491822      JENNIFER        Continue document review                           3.10   $265.00      $B21.50
                                                            SHOEMAKER
999250                         10t04t13        2482641      JANICE HANCE    Receipt and review of Scheduling Order              .40   $150.00        $60.00
                                                                            and download same; assist with the
                                                                            diarying of due dates from Scheduling
                                                                            Order.
999250                         1   0/08/1 3    2485929      JANICE HANCE    Obtain contact information for J. Moncher           .30   $150.00        $45.00
                    Case 1:12-cv-01236-WMS-MJR Document 201-2 Filed 10/25/18 Page 23 of 162


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                                                                       and telephone call to him to provide him
                                                                       with J. Shoemaker's email address; receipt
                                                                       and review of signed authorizations from
                                                                       client.
999250                    1   0/08/1 3    2491828      JENNIFER        Conference with Moncher regarding             1.00 $265.00            $265.00
                                                       SHOEMAKER       workers compensation settlement;
                                                                       conference with client.
999250                    1   0/09/1 3    2491847      JENNIFER        Email Moncher regarding workers                    .20   $265.00        $53.00
                                                       SHOEMAKER       compensation.
999250                    1   0/1 0/1 3   2486000      JANICE HANCE    E-mail from client advising that she               .20   $150.00        $30.00
                                                                       received an increased offer to settlement
                                                                       workers'comp claim up to 90%.
999250                    10t11t13        2487867      JANICE HANCE    Update pleadings index and binderwith              .40   $150.00        $60.00
                                                                       recently  led documents.
                                                                                  fi

999250                    10t11t13        2491 858     JENNIFER        Email with Moncher regarding workers               .50   $265.00       $132.50
                                                       SHOEMAKER       compensation settlement; review lengthy
                                                                       email from client.
999250                    10t15113        2487067      ELIZABETH A.    Office conference with J. Shoemaker                .30   $265.00        $79.50
                                                       CORDELLO        regarding strategy related to possible
                                                                       default motion.
999250                    10t15113        2488107      JANICE HANCE    Review file regarding defendant serving            .30   $150.00        $45.00
                                                                       amended answer; review docket regarding
                                                                       same.
999250                    1   0/1 5/1 3   2488303      PAUL V. NUNES   Office conference with J. Shoemaker                .20   $335.00        $67.00
                                                                       regarding cunent default by defendant,
                                                                       proposed strategy.
999250                    10t15t13        2491867      JENNIFER        Review court docket to see if defendants           .lu   $265.00        $53.00
                                                       SHOEMAKER       amended answer.
999250                    10117113        2487570      JENNIFER        Document review; prepare mediation list.       4.20      $265.00     $1 ,1 I 3.00
                                                       SHOEMAKER
999250                    10t17 t13       2489624      JANICE HANCE    Review file and court docket regarding the         .30   $150.00        $45.00
                                                                       filing of the Amended Answer by the AGA's
                                                                       office.
999250                    10t18113        2492s43      JENNIFER        Review email from Sleight regarding                .20   $265.00        $53.00
                                                       SHOEMAKER       mediator choices.
999250                    10t25t13        249 1 588    JANICE HANCE    Review file regarding obtaining updated            .30   $150.00        $45.00
                                                                       medical records and worke/s comp file; e-
                                                                       mails to and from client regarding same.
999250                    10t29t13        2491592      JANICE HANCE    E-mails from and to client regarding           1   .00   $150.00       $150.00
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                                          No.                                                                                                               ANourur:
                                                                      medical providers and next steps in
                                                                      litigation; prepare medical records requests
                                                                      and complete authorizations for same.
999250                         10/31/13   2492592      JENNIFER       Conference with Sleight regarding initial       3.30    $265.00      $874.50
                                                       SHOEMAKER      disclosure; review documents and medical
                                                                      records.
999250                         11t05t13   2494896      JANICE HANCE   Receipt and review of records from Dr.            .40   $150.00       $60.00
                                                                      Trock and anange for payment of invoice.
999250                         11t11t13   2496493      JANICE HANCE   Review file regarding selecting mediator          .40   $150.00       $60.00
                                                                      and process to select and notify court of
                                                                      same; interoffice conferences with J.
                                                                      Shoemaker and P. Nunes regarding same.
999250                         11t11t13   2501 430     JENNIFER       Review resumes for mediator; conference           .60   $265.00      $159.00
                                                       SHOEMAKER      with J. Hance.
999250                         11t12t13   249651 8     JANICE HANCE   Review file regarding status and the need         .30   $150.00       $45.00
                                                                      to select a mediator; review procedure and
                                                                      policies for same and interofiice
                                                                      conference with J. Shoemaker regarding
                                                                      same.
999250                         11t12t13   2501432      JENNIFER       Conference with mediatois offices                 .50   $265.00      $132.50
                                                       SHOEMAKER      regarding conflict.
999250                         11t13t13   2496571      JANICE HANCE   Review file regarding the selection of the       1.80   $150.00      $270.00
                                                                      mediator; research form for Stipulation to
                                                                      file with the court to advise of selected
                                                                      mediator; prepare same; review docket and
                                                                      download recently eJiled documents and
                                                                      updated court docket; update pleadings
                                                                      index and pleadings binder.
999250                         11t13t13   2501 439     JENNIFER       Conference with Sleight; submit stipulation       .80   $265.00      $212.00
                                                       SHOEMAKER      to court; review amended answer to
                                                                      complaint.
999250                         11t18t13   2501455      JENNIFER       Review filings regarding motion to extend         .20   $265.00        $53.00
                                                       SHOEMAKER      mediation deadline and order granting


999250                         11t19t13   2498888      JANICE HANCE   Receipt and review of letter from Attorney        .40   $150.00        $60.00
                                                                      General regarding the case management
                                                                      order and mediation session; organize file
999250                         11t21t13   2498906      JANICE HANCE   Prepare letter to Workers' Compensation           .40   $150.00        $60.00
                                                                      Board requesting updated records.
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999250                        11t22t13          2498917       JANICE HANCE   Receipt and review of additional medical          .40    $150.00       $60.00
                                                                             records; copy records recently received for
                                                                             J. Shoemakeis review for disclosure;
                                                                             anange for payment of invoice for copying
                                                                             medical records.
999250                        12102113          2503073       JANICE HANCE   Email from J. Shoemaker to counsel and             .20 $150.00         $30.00
                                                                             mediator regarding availability to conduct
                                                                             mediation.
999250                        12t03t13          2503077       JANICE HANCE   Emails from J. Saile and D. Sleight                .20   $150.00       $30.00
                                                                             confirming availability for mediation.
999250                        12t03113          2507020       JENNIFER       Review flnal documents to be disclosed.          5.30    $265.00    $1,404.50
                                                              SHOEMAKER
999250                        12t04113          2503084       JANICE HANCE   Emails from counsel and mediatior                  .40   $150.00       $60.00
                                                                             confirming date of mediation; email to client
                                                                             advising of same; review file regarding
                                                                             discovery and production of documents.
999250                        12t04t13          2507021       JENNIFER       Review discovery.                                 4.80   $265.00    $1,272.00
                                                              SHOEMAKER
999250                        12t05t13          2507562       JENNIFER       Review discovery documents                        7.30   $265.00     $1,934.50
                                                              SHOEMAKER
999250                        12t06t13          2504967       JANICE HANCE   Review file to ensure mediation has been           .20   $150.00        $30.00
                                                                             diaried on the litigation calendar.
999250                        12t09113          2505025       JANICE HANCE   Prepare letter to client conflrming date and       .30   $150.00        $45.00
                                                                             time of mediation.
999250                        12t09t13          2508574       JENNIFER       Conference regarding client and status.            .20   $265.00        $53.00
                                                              SHOEMAKER
999250                        12t10t13          2505036       JANICE HANCE   Prepare all document for production and           3.20   $150.00      $480.00
                                                                             initial disclosures; scan all documents;
                                                                             Bates stamp same; download for
                                                                             production; prepare letter to D. Sleight
                                                                             serving same; prepare binder to contain
                                                                             Bates stamp documents.
999250                        12t16t13          2506826       JANICE HANCE   Review file regarding services of initial          .30   $150.00        $45.00
                                                                             disclosures and status.
999250                        12124113          2509'176      JENNIFER       Begin preparing mediation statement.              2.00   $265.00       $530.00
                                                              SHOEMAKER
999250                        12t30t13          25091 84      JENNIFER       Review status; email with Sleight regarding       1.30   $265.00       $344.50
                                                              SHOEMAKER      disclosures; Work on mediation statement.
999250                        0   1   /06/1 4   l3 I tooJ     JANICE HANCE   Review file regarding receipt of initial           .20   $160.00        $32.00
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                                          No.
                                                                     disclosures and adjourning mediation.
999250                       01t07 t14    2511679     JANICE HANCE   Lengthy telephone conference with client         .90    $160.00      $144.00
                                                                     regarding status, mediation, no receipt of
                                                                     initial disclosures from Defendants, and
                                                                     expectations   reg arding settlement;
                                                                     interoffice conference with J. Shoemaker
                                                                     regarding same.
999250                       01t07 t1'4   251 9408    JENNIFER       Email with mediator regarding                    .20    $275.00        $55.00
                                                      SHOEMAKER      postponement of mediation due to lack of
                                                                     disclosures.
999250                       01t08t14     251 1 690   JANICE HANCE   E-mails from Mediator and D. Slight               30    $160.00        $48.00
                                                                     regarding initial documents and
                                                                     rescheduling the mediation; e-mail to client
                                                                     advising that Mediaiion has been
                                                                     adjourned.
999250                       01t08114     2s19412     JENNIFER       Email with Sleight regarding State's failure      .20   $275.00        $55.00
                                                      SHOEMAKER      to send initial disclosures.
999250                       01t09114     251 1698    JANICE HANCE   Prepare letter to client advising that the        .40   $160.00        $64.00
                                                                     Mediation has been adjourned; e-mail from
                                                                     client acknowledging adjournment of
                                                                     Mediation.
999250                       01113114     2519422     JENNIFER       Review documents from client.                    3.20   $275.00       $880.00
                                                      SHOEMAKER
999250                       01t21t1'4    2519552     JENNIFER       Review documents                                 3.50   $275.00       $962.50
                                                      SHOEMAKER
999250                       01t23t14     2516670     JANICE HANCE   Review file regarding status and prepare         1.70   $160.00       $272.00
                                                                     notices of deposition to all Defendants;
                                                                     prepare letter to D. Sleight serving notices
                                                                     and advising still have not received initial
                                                                     disclosures.
999250                       01t23114     2519541     JENNIFER       Review scheduling order; conference with         4.30   $275.00     $1 ,182.s0
                                                      SHOEMAKER      J.Hance; prepare deposition notices;
                                                                     review documents.
999250                       01t24t14     2516677     JANICE HANCE   Revise all notices of deposition for all         'r.'10 $160.00       $176.00
                                                                     defendants and letter to counsel serving
                                                                     same; reserve conference room in the
                                                                     Buffalo office to hold depositions; e-mails
                                                                     to and from client advising of same and
                                                                     confirming her availability to attend same;
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                                             No.                                                                                                            AwtouHr:
                                                                        interoffice conference with J. Shoemaker
                                                                        regarding deposiiions and interrogatories.
999250                        01t27t1'4      2517973     JENNIFER A.    Review bate stamped documents and             2.00     $125.00      $250.00
                                                         COLEMAN        beginning of summary of each document
999250                        01t28t14       25 1 9626   JENNIFER       Document review                               3.50     $275.00      $962.50
                                                         SHOEMAKER
999250                        01t30t14       251 8998    JENNIFER A.    Continuation of summary of documents           1.50    $125.00      $187.50
                                                         COLEMAN
999250                        02t03t14       2523167     JANICE HANCE   Review file regarding receipt of initial        .20    $160.00       $32.00
                                                                        disclosures.
999250                        Q2t04114       2523823     JENNIFER A.    Review of documents and summarizing            2.00    $125.00      $250.00
                                                         COLEMAN
999250                        02t04t14       2527563     JENNIFER       Review email from Sleight regarding             .20    $275.00       $55.00
                                                         SHOEMAKER      discovery.
999250                        02104114       2527616     JENNIFER       Document review                                 .80    $275.00      $220.00
                                                         SHOEMAKER
999250                        02t06t14       2523834     JENNIFER A.    Continuation of review and summary of          2.00    $125.00      $250.00
                                                         COLEMAN        documentation
999250                        02111114       2523278     JANICE HANCE   Receipt and review of workers'                  .30    $160.00       $48.00
                                                                        compensation conespondence for the
                                                                        receipt of records; complete same and
                                                                        return.
999250                        02t11t14       2523839     JENNIFER A.    Continuation of review and summaries of        2.50    $125.00      $312.50
                                                         COLEMAN        documents
999250                        02t11t14       2527585     JENNIFER       Conference reg arding woker's                   .40    $275.00      $1 10.00
                                                         SHOEMAKER      compensation records; review notice.
999250                        02t12t14        2522585    JENNIFER       Review documents from defendants.              2.00    $275.00      $550.00
                                                         SHOEMAKER
999250                        02114114       2523860     JENNIFER A.    Review and summary continued of                1.50    $125.00      $187.50
                                                         COLEMAN        documents
999250                        02t19t14        2525281    JENNIFER A.    Continuation of review of documents and        1.50    $125.00      $187.50
                                                         COLEMAN        documenting the same
999250                        02t20t14        2525282    JENNIFER A.    Continuation of review of documents and        1.80    $125.00      $225.00
                                                         COLEMAN        documenting the same
999250                        02t21t14        2525283    JENNIFER A.    Continuation of review of documentation        1.30    $125.00      $162.50
                                                         COLEMAN        and documenting the same
                              02t24t14        2525298    JENNIFER       Review defense documents.                      '1.80   $275.00      $495.00
999250
                                                         SHOEMAKER
999250                        02t24t14        2527019    JENNIFER A.    Continuation with review of documents and      1.00    $125.00      $125.00
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                                            No.
                                                         COLEMAN        summary
999250                       02t27114       2527615      JENNIFER       REview documents                               1.20    $275.00      $330.00
                                                         SHOEMAKER
999250                       03/06/1 4      253'l 130    JENNIFER A,    Continuation of reviewing documents and         1.00   $125.00      $125.00
                                                         COLEMAN        summarizing the same
999250                       03107114       2531131      JENNIFER A.    Continuation of reviewing documents and        2.00    $125.00      $250.00
                                                         COLEMAN        summarizing the same
999250                       03110t14       2531 135     JENNIFER A.    Continuation of reviewing documents and         2.00   $125.00      $250.00
                                                         COLEMAN        summarizing
999250                       04t02t14       2545980      JENNIFER A.    Continuation of review of documents and         1.00   $125.00      $125.00
                                                         COLEMAN        summarizing the same
999250                       04t29t14       2548253      JENNIFER       Review discovery.                               1.00   $275.00      $275.00
                                                         SHOEMAKER
999250                       05107114       2552891      JENNIFER A.    Continuation of summarizing documents           4.50   $125.00      $562.50
                                                         COLEMAN
999250                       05t19t14       2557293      JENNIFER       Review documents.                               1.60   $275.00      $440.00
                                                         SHOEMAKER
999250                       06125114       2564294      JENNIFER A.    Continuation of summarizing documents           6.50   $125.00       $812.s0
                                                         COLEMAN
999250                       06/30/1 4      2566958      JENNIFER       Review status; email with Sleight regarding      .80   $275.00       $220.00
                                                         SHOEMAKER      mediation.
999250                       07 t09114      2573266      JENNIFER A.    Continuation of review of documents and         6.00   $125.00       $750.00
                                                         COLEMAN        summarizing the same
999250                       07 t10t14      2573275      JENNIFER A.    Continuation of review of documents and         3.00   $125.00       $375.00
                                                         COLEMAN        summarizing the same
999250                       07 t14t14      2573281      JENNIFER A.    Continuation of review of documents and         2.00   $125.00       $250.00
                                                         COLEMAN        summarizing the same
999250                       07 t24t14      2574304      JENNIFER A.    Continuation and finalization of reviewing      4.00   $125.00       $500.00
                                                         COLEMAN        documents and summarizing the same
999250                       08127114       2586817      JENNIFER       Review status; conference with Sleight          1.50   $275.00       $412.50
                                                         SHOEMAKER      regarding upcoming conference; review
                                                                        motion from Sleight.
999250                       09t02114       2594950      JENNIFER       Letter to McCarthy regarding scheduling         1.50   $275.00       $412.50
                                                         SHOEMAKER      order; review status.
999250                       09/03/1 4      2587856      JANICE HANCE   Review file regarding status, amended           4.30   $160.00       $688.00
                                                                        scheduling order and work to be done;
                                                                        review docket and download updated
                                                                        docket and recently filed pleadings; updaie
                                                                        pleadings binder and pleadings index;
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                                                                  organize directory; scan Defendants initial
                                                                  disclosures to directory; review notes,
                                                                  client documents and voluminous initial
                                                                  disclosures to determine all witnesses to
                                                                  be deposed and obtain full names and
                                                                  titles of individuals to testify; review file
                                                                  regarding same and who to call and not
                                                                  call.
999250                    09/03/1 4   2595'158     JENNIFER       Court conference; work on deposition              4.30    $275.00    $1,182.50
                                                   SHOEMAKER      notices and document requests; contact
                                                                  mediator.
999250                    09t04t14    2587861      JANICE HANCE   Lengthy telephone conference with client           5.10   $160.00      $816.00
                                                                  regarding witnesses to call to testify, status
                                                                  of case and disappointment with how long
                                                                  the case is taking; telephone conference
                                                                  with J. Shoemaker regarding same;
                                                                  continue review of documents; prepare
                                                                  interrogatories, request for production of
                                                                  documents and notices of depositions to all
                                                                  DOCs employees; e-mals from J.
                                                                  Shoemaker regarding scheduling of
                                                                  mediation; review flle regarding the need to
                                                                  obtain dental records and updated records
                                                                  from Dr. Trock, receipt and review of intake
                                                                  form to retain Dr. Reagles.
999250                    09t04t14    2595167      JENNIFER       Lenghty conversation with client; work on          2.50   $275.00      $687.50
                                                   SHOEMAKER      discovery.
999250                    09/05/1 4   2587866      JANICE HANCE   Review file regarding dates the depositions        2.20   $160.00      $352.00
                                                                  will be held; prepare letter to D. Sleight to
                                                                  confirm depositions, advise that demands
                                                                  are forthcoming and no further
                                                                  adjoumments or amendments to
                                                                  scheduling order; revise and finalize same;
                                                                  finalize medical and dental records
                                                                  requests; complete intake form for Dr.
                                                                  Reagles; e-mails to and from the Buffalo
                                                                  office to reserve conference room and
                                                                  obtain contact information for court
                                                                  reporter.
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                                           No.                                                                                                                Attrtout'tt:

999250                         09/05/1 4   2595171       JENNIFER       Letter to Sleight regarding depositions;          .20    $275.00       $55.00
                                                         SHOEMAKER      notices.
999250                         09/08/1 4   2589459       JANICE HANCE   Complete intake form for Dr. Reagels; e-         1.00    $160.00      $160.00
                                                                        mails to and form T. Leatherland regarding
                                                                        same and forward completed intake form;
                                                                        review file reg arding depositions,
                                                                        intenogatories and request for production
                                                                        of documents; e-mail from client regarding
                                                                        depositions in November and frustration
                                                                        with slow progress; review file regarding
                                                                        criminal action and making motion to obtain
                                                                        a copy of the criminal file pertaining to C.
                                                                        Cuer and the order of protection.
999250                         09/08/1 4   25951 89      JENNIFER       Conference regarding discovery.                    .20   $275.00       $55.00
                                                         SHOEMAKER
999250                         09/09/1 4   2588630       JENNIFER       Conference with client regarding status and       1.00   $275.00      $275.00
                                                         SHOEMAKER      upcoming depositions.
999250                         09/09/1 4   2589471       JANICE HANCE   Revise and finalize all depositions notices,      1.50   $160.00      $240.00
                                                                        intenogatories and request for productions
                                                                        of documents; prepare letter to D. Sleight
                                                                        serving same; scan and e-mail all to client
                                                                        for her file; e-mails to and from T.
                                                                        Leatherland regarding the intake form;
                                                                        scan and e-mail complaint to Dr. Reagles
                                                                        office; e-mails to and from T. Leatherland
                                                                        regarding Agreement and Checklist; receipt
                                                                        and review same.
oootAn                         09t10t14    2595206       JENNIFER       Conference regading lnspector General's            .80   $275.00      $220.00
                                                         SHOEMAKER      office; conference with client update
                                                                        medical authorizations.
999250                         09t11t14    2591 568      JANICE HANCE   Continue preparing file for depositions and       2.00   $160.00      $320.00
                                                                        continued discovery; prepare updated
                                                                        requests for medical records; review file for
                                                                        order of protection; review Reagles'
                                                                        checklist to begin pulling documents
                                                                        together to send to Dr. Reagles; format
                                                                        Plaintiffs initial disclosures to create a
                                                                        searchable text document and review
                                                                        records for order of protection and any
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                                       No.                                                                                                            AruouHr:
                                                                   other criminal records for C. Cuer; e-mails
                                                                   to and from J. Coleman regarding order of
                                                                   protector; begin preparing motion to obtain
                                                                   criminal file pertaining to C. Cuer.
999250                      09t12t14   2591575     JANICE HANCE    Continue reviewing file and initial              2.20 $160.00       $352.00
                                                                   disclosures for order of protection;
                                                                   additional e-mails to and from J. Coleman
                                                                   regarding order of protection, reformat
                                                                   defendant's initial disclosures to searchable
                                                                   text and review for order of protection and
                                                                   other criminal records; complete motion to
                                                                   obtain criminal records; e-mails from J.
                                                                   Shoemaker and D. Sleight regarding Rule
                                                                   30 limitation to the number of individuals
                                                                   who can be deposed without leave from
                                                                   the Court; receipt and review of letter from
                                                                   D. Sleight with notice to take the deposition
                                                                   of Plaintiff.
999250                      09t12t14   2595200      JENNIFER       Review email from Sleight regarding limit          70    $275.00    $192.50
                                                    SHOEMAKER      on depositions; review packetfrom Dr.
                                                                   Reagles; review deposition notices from
                                                                   counsel.
999250                      09t15t14   2591 585     JANICE HANCE   lnteroffice conference with J. Shoemaker          3.00   $160.00    $480.00
                                                                   regarding depositions, Reagles, medical
                                                                   records, etc.; receipt and review of records
                                                                   from Dr. Trock and anange for payment of
                                                                   same; prepare letter to client forwarding
                                                                   notice of deposition and informational
                                                                   packet received from Dr. Reagles for her
                                                                   completion; prepare lengthy e-mail to client
                                                                   detailing same and explaining Rule 30
                                                                   limitation and the need to bring a motion to
                                                                   depose more than 10 individuals, retaining
                                                                   expert and obtaining approval to obtain
                                                                   dental records; research and obtain contact
                                                                   information and telephone number for
                                                                   Lansing Village Courl prepare FOIL
                                                                   request letter to obtain criminal file of C.
                                                                   Cuer; revise and finalize letter to dentist
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                                           No.                                                                                                                 AtrrtouNt:
                                                                        requesting records; prepare medical
                                                                        authorizations for same; scan Dr. Trock
                                                                        records to directory.
999250                        09/1 6/1 4   259 1 593     JANICE HANCE   E-mals from and to client regarding            1   .40   $160.00      $224.00
                                                                        witnesses to depose and iax returns; e-
                                                                        mails from   J.   Shoemaker and D. Sleight
                                                                        regarding stipulating to depose witnesses;
                                                                        interoffice conference with J. Shoemaker
                                                                        regarding Reagles checklist and what we
                                                                        have to send to Dr. Reagles and revised
                                                                        Retainer Agreement; review file for
                                                                        personnel file and performance
                                                                        evaluations; e-mails from J. Shoemaker
                                                                        and D. Sleight regarding stipulating to
                                                                        depositions.
999250                        09/1 6/1 4   259531 8      JENNIFER       Email with Sleight regarding depositions.          .lu   $275.00       $55.00
                                                         SHOEMAKER
999250                        0sh7 t14     259'1605      JANICE HANCE   Review file regarding complying with Dr.        1.00     $160.00      $1 60.00
                                                                        Reagles' checklist and what we have to
                                                                        send and what we don't; e-mal from client
                                                                        regarding tax returns and the scheduling of
                                                                        the mediation; e-mails from J. Shoemaker,
                                                                        D. Sleight and mediator regarding the
                                                                        scheduling of the mediation; print Reagles'
                                                                        Retainer Agreement; receipt and review of
                                                                        retainer check to retain Dr. Reagles as
                                                                        expert
999250                        09t18114     2593329       JANICE HANCE   Revise and finalize letter to Dr. Reagles      2.20      $160.00      $352.00
                                                                        and organize all documents to be sent to
                                                                        him for his review and analysis; prepare
                                                                        lengthy letter to Dr. Reagles fonrvarding
                                                                        signed retainer agreement, retainer check
                                                                        and documents for his review and
                                                                        explanation for documents not being
                                                                        forurarded; begin preparing digest of
                                                                        defendants' initial disclosure.
999250                        09t19t14     2593344       JANICE HANCE   Continue preparing digest of Defendants'       2.30      $160.00      $368.00
                                                                        initial disclosures.
999250                        0st22t14     2591752       JENNIFER       Review medical records.                            .50   $275.00      $137.50
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                                       No.                                                                                                                 ArrnouHt:
                                                   SHOEMAKER
999250                      09t22t14   2593355     JANICE HANCE   Receipt and review of FOIL response;               2.00 $160.00         $320.00
                                                                  telephone call to Lansing Village Court
                                                                  regarding same; research and obtain name
                                                                  and contact information for Lansing Village
                                                                  attorney; receipt and review of dental
                                                                  records and interoffice conference with J.
                                                                  Shoemaker regarding production of same;
                                                                  receipt and review of tax returns from
                                                                  client; e-mail to and from client regarding
                                                                  return of original tax returns; receipt and
                                                                  review of updated records from Dr.
                                                                  Gallacher; prepare letter to Dr. Reagles
                                                                  forwarding same and tax returns, continue
                                                                  preparing digest of Defendanis' initial
                                                                  disclosures.
s9s250                      09t23t14   2593957     JANICE HANCE   Review the tax returns from client; revise          1.80 $160.00        $288.00
                                                                  and finalize letter to Dr. Reagles fonrtrarding
                                                                  updated information; continue preparing
                                                                  digest of Defendants' initial disclosures.
999250                      09124114   2593970     JANICE HANCE   E-mails from J. Shoemaker, D. Sleight and            .40   $160.00       $64.00
                                                                  mediator regarding scheduling of
                                                                  mediation; revise and finalize letter to client
                                                                  returning original tax returns.
999250                      09t25t14   2592768     ALINA NADIR    Conference with J. Shoemaker re case                 .30   $235.00       $70.50
                                                                  status and necessary research regarding
                                                                  number of depositions allowed.


999250                      09t25t14   2592779     ALINA NADIR    Conduct Iegal research regarding seeking             .80   $235.00      $188.00
                                                                  leave of court for more depositions than
                                                                  allowed in federal rules of civil procedure.


999250                      09t29t14   2593564     ALINA NADIR    Draft motion seeking leave to conduct               1.40 $235.00        $329.00
                                                                  more than ten depositions.


999250                      09t29t14   2593659     ALINA NADIR    Review complaint.                                    .60   $235.00      $14'1 .00


999250                      09t29t14   2593711     ALINA NADIR    Emails to/from J. Hance regarding potential          .30   $235.00       $70.50
                                                                  deponents.
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999250                       09t29t14    2595440       JANICE HANCE   E-mails from and to A. Nadir regarding           .50   $160.00       $80.00
                                                                      motion to conduct depositions of certain
                                                                      DOCs employees; review file regarding
                                                                      same and e-mail detailed information to A.
                                                                      Nadir about each individual, along width
                                                                      appropriate title and any other information
                                                                      to assist with determining who to depose
                                                                      and include in motion.
999250                       09t29t14    2595675       JENNIFER       Work on discovery and prepare for               3.70   $275.00    $1,017.50
                                                       SHOEMAKER      depositions.
999250                       09/30/1 4   2594827       ALINA NADIR    Review emails between J. Hance and               .20   $235.00       $47.00
                                                                      client regarding potential deponents.
999250                       09/30/1 4   259561 0      JANICE HANCE   Review file regarding criminal records and      3.80   $160.00      $608.00
                                                                      individuals to depose; prepare additional
                                                                      FOIL requestto Lansing Village Court
                                                                      broadening scope ofthe request; e-mails to
                                                                      and from client regarding individuals from
                                                                      lG's office and which one, if not both,
                                                                      should be deposed; continue preparing
                                                                      digest of Defendants initial disclosures.;
999250                       |U01t14     2595305       ALINA NADIR    Review emails between J. Hance and               .30   $235.00       $70.50
                                                                      client regarding potential deponents.
999250                       1U01t14     2595967       ALINA NADIR    Review defendants and plaintiffs lnitial        4.30   $235.00     $1,010.50
                                                                      Disclosures; review NYSDHR
                                                                      investigatory findings and probable cause
                                                                      findings.


999250                       1U01t14     2596905       JANICE HANCE   Continue preparing digest of Defendants'        3.00 $160.00        $480.00
                                                                      initial disclosures; many e-mails to and
                                                                      from J. Shoemaker and A. Nadir regarding
                                                                      representative to depose from the lG's
                                                                      office and review records regarding same;
                                                                      e-mails to and from client regarding same;
                                                                      receipt and review of e-mail from client
                                                                      regarding anti-anxiety medication linked to
                                                                      Alzheime/s and download same.
999250                       10t01t14    2605824       JENNIFER       Conference regarding Dr. Reagles; review        2.40   $275.00      $660.00
                                                       SHOEMAKER      documents; conferences regarding Bradt
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                                                                         and Annarino and the lG investigation;
                                                                         prepare for depositions.
999250                      10102t14        2596308       ALINA NADIR    Review plaintiffls lnitial Disclosures.             1.80    $235.00      $423.00
999250                      10t02114        2596438       ALINA NADIR    Telephone call with client; reschedule call          .20    $235.00       $47.00
                                                                         lor 1013114.

999250                      10102t14        2596919       JANICE HANCE   Receipt and review of information received           .50    $160.00       $80.00
                                                                         from client (photographs, union book,
                                                                         information competed for Dr. Reagles) e-
                                                                         mails from and to A. Nadir regarding
                                                                         individuals to depose and provide clients
                                                                         telephone number; e-mails from J.
                                                                         Shoemaker and D. Sleight regarding Cuer
                                                                         attending mediation and firm up deposition
                                                                         dates and individuals being deposed.
9992s0                      10t02t14        2606028       JENNIFER       Conference with Sleight regarding                    1.00 $275.00        $275.00
                                                          SHOEMAKER      depositions and Cue/s presence; prepare
                                                                         for depositions.
999250                      1   0/03/1 4    2596748       ALINA NADIR    Prepare for telephone call with client;              1.80 $235.00        $423.00
                                                                         telephone call with client to discuss
                                                                         potential deponents.
999250                      1   0/03/1 4    2596777       ALINA NADIR                                                         2.40   $235.00      $564.00
999250                      10t03t14        2598537       JANICE HANCE   Many emails to and from J. Shoemaker                 3.00   $160.00      $480.00
                                                                         regarding information received from client
                                                                         and fonruarding same to Dr. Reagles;
                                                                         prepare letter to Dr. Reagles forwarding
                                                                         information received from client; emails to
                                                                         and from T. Leatherland inquiring as to
                                                                         whether Dr. Reagles will travel to Buffalo
                                                                         and if so if there is an additional fee for that
                                                                         travel; emails to and from J. Shoemaker
                                                                         regarding same and discuss same with
                                                                         client; e-mails to and from A. Nadir
                                                                         regarding documents received from client
                                                                         and telephone conference with client
                                                                         regarding Bryan and Mark Bradt; continue
                                                                         preparing digest of Defendants' initial
                                                                         disclosures.
s99250                      1   0/03/14     2606029       JENNIFER       Conferences regarding expert witness and              .80   $275.00      $220.00
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                                           No.                                                                                                                  AMoUNT:
                                                          SHOEMAKER        documents to fonruard; revise deposition
                                                                           schedule.
999250                      10t04t14       2606031        JENNIFER         Review emails from client.                        .50   $275.00      $137.50
                                                          SHOEMAKER
999250                      10/06/'r4      2596976        ALINA NADIR      Draft affidavit of plaintiff and attorney in    3.80    $235.00      $893.00
                                                                           support of plaintiffls motion to take more
                                                                           than ten depositions.
999250                      1   0/06/1 4   2597058        ALINA NADIR      Meet with J. Shoemaker and J. Hance to           1.00   $235.00      $235.00
                                                                           discuss discovery issues and upcoming
                                                                           mediation.
999250                      10t06t14       2597264        ALINA NADIR      Draft letter to judge requesting conference      1.20   $235.00      $282.00
                                                                           on discovery matters. Review and revise
                                                                           same.


999250                      10106114       2597287        JENNIFER         Work on discovery; conference A. Nadir           1.00 $275.00        $275.00
                                                          SHOEMAKER        and J. Hance; review letterfrom Lancaster
                                                                           Town Court.
999250                      10t06t14       2598545        JANICE HANCE     Emals from client regarding additional           1.80 $160.00        $288.00
                                                                           medical treatment and damages; interoffice
                                                                           conference with Emails. Shoemaker and A.
                                                                           Nadir regarding status, depositions,
                                                                           medicals, Dr. Reagles out of town costs,
                                                                           work to be done and strategy; conference
                                                                           call with D. Sleight regarding depositions;
                                                                           review file regarding additional FOIL
                                                                           response of no documents found.
999250                      10t07t14       2597361        DAVID H. FITCH   Analyze issue of FOIL requests to the              10   $295.00        $29.50
                                                                           village and the need to contact village
                                                                           counsel.
999250                      10t07 t14      2597511        ALINA NADIR      Review emails regarding deposition                .30   $235.00        $70.50
                                                                           scheduling.
999250                      10107114       2597598        ALINA NADIR      Continue drafting motion for additional           .80   $235.00      $188.00
                                                                           depositions with supporting papers.
9S9250                      10t07 t14      2598561        JANICE HANCE     Review file regarding status of medical          2.30   $160.00      $368.00
                                                                           requested and those received to date;
                                                                           telephone call to ACR Reporting to arrange
                                                                           for a stenographer at depositions; e-mails
                                                                           to J. Shoemaker and A. Nadir advising of
                                                                           same; e-mail from D. Sleight regarding
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                                                                                                                                                          AMOUNT:
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                                                                   schedule of depositions; e-mails to and
                                                                   from J. Shoemaker regarding dates of
                                                                   depositions; prepare letter to D. Sleight
                                                                   conecting dates of scheduled depositions
                                                                   and e-mail same; prepare letter to OB/GYN
                                                                   requesting records; e-mails to and from
                                                                   client advising of Dr. Reagles' fee to travel
                                                                   to Buffalo and confirm that she will travel to
                                                                   Rochester to avoid those fees; interoffice
                                                                   conference with D. Fitch regarding difficult
                                                                   in obtaining criminal records and how to
                                                                   resolve these difficulties; e-mail to J.
                                                                   Shoemaker advising that we should
                                                                   contact the Village Attorney to discuss
                                                                   criminal records prior to serving subpoena;
                                                                   organize file and prepare folders for
                                                                   medicals records received; prepare letter to
                                                                   D. Sleight forwarding Drs. Trock and
                                                                   Gallacher records; prepare letter to Dr.
                                                                   Reagles forwarding Dr. Trock records.
999250                     10t07t14   2606393       JENNIFER       Conference regarding criminal file of Cuer;        1.50 $275.00        $412.50
                                                    SHOEMAKER      email from Judge McCarthy's clerk
                                                                   regarding depositions; conference
                                                                   regarding motion to depose additional
                                                                   witnesses; letter to Sleight regarding
                                                                   deposition dates.
999250                     10t08t14   2597666       ALINA NADIR    Continue drafting memorandum of law                5.00   $235.00     $1,175.00
                                                                   regarding motion to depose more than ten
                                                                   individuals and supporting affidavits;
                                                                   conduct legal research as needed.
999250                     10t08t14   2598565       JANICE HANCE   Telephone call to ACR Reporting to                 2.00 $160.00 $320.00
                                                                   change the dates of the Deposiiions;
                                                                   continue digesting Defendants' initial
                                                                   disclosures.
999250                     10t09t14   2598128       ALINA NADIR    Review and revise affidavits in support of         2.30   $235.00      $540.50
                                                                   motion for more than ten depositions.
999250                     10t09t14   2598576       JANICE HANCE   Continue review of file, status of receipt of      1.60   $160.00       $256.00
                                                                    medical records and information sent to Dr.
                                                                    Reagles; continue digesting Defendants'
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                                            No.                                                                                                                   Auouttt:
                                                                         initial disclosures.
999250                        10t10t14      2598268       ALINA NADIR    Telephone call with client to review her           4.60     $235.00    $1,081.00
                                                                         affidavit in support of motion for additional
                                                                         depositions; review and revise same.
999250                        10t10t14      2601 530      JANICE HANCE   Continue preparing digest of Defendanfs            2.50     $160.00      $400.00
                                                                         initial disclosure.
99S250                        10t13t14      2598685       ALINA NADIR    Revise plaintifls affidavit in support of            .60    $235.00      $141 .00
                                                                         motion for additional depositions and email
                                                                         same to client for her review.
999250                        10t13t14      2598722       ALINA NADIR    Work on mediation statement.                        6.20    $235.00    $1,457.00
999250                        10t13t14      2601541       JANICE HANCE   Complete preparing digest of defendants             4.50    $160.00      $720.00
                                                                         initial disclosures.
999250                        10t14t14      2599060       ALINA NADIR    Telephone call with client to review                2.30    $235.00      $540.50
                                                                         affidavit; review and revise clients affidavit.
                                                                                                                             '1.00
999250                        10114t14      2601547       JANICE HANCE   Format and finalize spreadsheet of                          $160.00      $160.00
                                                                         Defendants initial disclosures; e-mails to
                                                                         and from A. Nadir regarding same and
                                                                         regarding clients telephone number.
999250                        10t14t14      2606625       JENNIFER       Review and revise motion to depose                   .50    $275.00      $137.50
                                                          SHOEMAKER      additional witnesses.
999250                        1'U15t14      2600566       ALINA NADIR    Telephone call with client regarding her            1.60    $23s.00      $376.00
                                                                         affidavit in support of motion for additional
                                                                         depositions; review and revise her affidavit.
999250                        10t15t14      2603481       JANICE HANCE   E-mails from and to T. Leatherland and J.            .30    $160.00       $48.00
                                                                         Shoemaker regarding meeting with Dr.
                                                                         Reagles.
999250                        10t16114      /but,/5.1     ALINA NADIR    Revise plaintiffs affidavit in support of             20    $235.00       $47.00
                                                                         motion for additional depositions.
999250                        10t16t14      2606689       JENNIFER       Email with Sleight regarding depositions.             20    $275.00       $55.00
                                                          SHOEMAKER
999250                        10t17 t14     2601 340      ALINA NADIR    Work on motion.                                      .30    $235.00       $70.50
999250                        10t20t14      2601718       ALINA NADIR    Work on motion.                                     3.00    $235.00      $705.00
999250                        10120114      260201 6      ALINA NADIR    Conference with J. Shoemaker regarding              1.40    $235.00      $329.00
                                                                         clients affidavit in support of motion for
                                                                         additional depositions; revise same and
                                                                         send to client; emails to/from client re
                                                                         same.
999250                        10120t14      2605927       JANICE HANCE   Receipt and review of medical records from           .30    $160.00       $48.00
                                                                         Dr. Rojeck.
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999250                         10t20t14    2606769       JENNIFER       Conference with client regarding                  2.00    $275.00      $550.00
                                                         SHOEMAKER      depositions; review and revise motion
                                                                        papers.
999250                         10t21t14    2602080       ALINA NADIR    Draft and revise mediation position                420    $235.00      $987.00
                                                                        statement; review plaintifls medical
                                                                        records.


999250                         10t21t14    2602253       ALINA NADIR    Emails to/from J. Shoemaker re finalizing           70    $235.00      $164.50
                                                                        motion for additional depositions; review
                                                                        and revise motion and supporting papers.
999250                         10121114    2605945       JANICE HANCE   E-mails from and to J. Shoemaker                   1.90 $160.00        $304.00
                                                                        regarding letter to D. Sleight advising that
                                                                        the is overdue on responses to demands;
                                                                        prepare letter to D. Sleight re same and
                                                                        need responses prior to depositions; e-
                                                                        mails to and from A. Nadir regarding
                                                                        workers' comp case and amount of
                                                                        settlement; review file regarding same;
                                                                        review file regarding the filing of motion for
                                                                        leave to depose additional witnesses;
                                                                        prepare motion for filing; scan to pdf and e-
                                                                        file same; receipt and review of court
                                                                        notification and download and save filed
                                                                        motion.
9992s0                         10t21t14    2606897       JENNIFER       Prepare for depositions; Begin drafting            4.60   $275.00     $1,265.00
                                                         SHOEMAKER      question outlines.
999250                         10t22t14    2602392       ALINA NADIR    Prepare for depositions.                           3.10   $235.00      $728.50
999250                         10t22t14    t6ut53J       ALINA NADIR    Conference with J. Shoemaker re status of           .90   $235.00      $21 1.50
                                                                        depositions and discovery; prepare
                                                                        additional deposition notices.
999250                         10t22t14    2602580       JENNIFER       Prepare for depositions; conference with           3.40   $275.00      $935.00
                                                         SHOEMAKER      Sleight and court regarding motion to take
                                                                        depositions.
999250                         10t22t14    2603492       JANICE HANCE   Receipt and review of text order for motion         .30   $160.00        $48.00
                                                                        due dates regarding and calendar same.
999250                         10123114    2602642       ALINA NADIR    Review and revise mediation statement;             1.60   $235.00      $376.00
                                                                        conference with J. Shoemaker and J.
                                                                        Hance regarding upcoming depositions
                                                                        schedule; emails to/from J. Hance and J.
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                                           No.                                                                                                               AmouHr:
                                                                        Shoemaker re same.
999250                         10123114    2602907       JENNIFER       Work on mediation statement; deposition          4.00    $275.00    $1,100.00
                                                         SHOEMAKER      preparation.
999250                         10t23114    2603503       JANICE HANCE   lnteroffice conference and e-mails to and        5.00    $160.00      $800.00
                                                                        from J. Shoemaker and A. Nadir regarding
                                                                        status, scheduling depositions and work to
                                                                        be done; finalize additional deposition
                                                                        notices and prepare letter to d. Sleight
                                                                        serving same; prepare schedule of
                                                                        depositions of all witnesses; several
                                                                        revisions to same and flnalize; receipt and
                                                                        review of e-mails from D. Sleight and J.
                                                                        Shoemaker regarding the schedule of
                                                                        depositions; e-mails to and from Buffalo
                                                                        office reserving conference room for
                                                                        additional depositions; telephone call to
                                                                        court reporter to reserve stenographer;
                                                                        review and revises mediation statement;
                                                                        review flle regarding workers'
                                                                        compensation records and settlement;
                                                                        receipt and review of and download eJiled
                                                                        text order withdrawing motion to depose
                                                                        additional witnesses and remove from
                                                                        calendar; additional e-mail to J. Shoemaker
                                                                        regarding criminal records.
999250                         10t24t14    260351   1    JANICE HANCE   lnteroffice conference with A. Nadir               .20   $160.00       $32.00
                                                                        regarding depositions.
999250                         10t27t14    2603742       ALINA NADIR    Prepare outline for R. Worthington's              2.90   $235.00      $681.50
                                                                        deposition; review initial disclosures for
                                                                        relevant documents.
999250                         10t27 t14   2605889       JANICE HANCE   Review file regarding upcoming mediation;          .50 $160.00         $80.00
                                                                        pull Plaintiffs and Defendants initial
                                                                        disclosures for use at mediation; interoffice
                                                                        conference with J. Shoemaker regarding
                                                                        Dr. Reagles; e-mails to and from T.
                                                                        Leatherland regarding status, travel to
                                                                        Rochester and when to meet with client.
999250                         10t27t1'4   2606733       JENNIFER       Prepare for mediation and depositions;            3.00 $275.00        $825.00
                                                         SHOEMAKER      Draft deposition outlines.
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99S250                        10t28t14    2604478       ALINA NADIR    Travel to and from Buffalo; attend               9.20    $235.00    $2,162.00
                                                                       mediation session; meet with client to
                                                                       prepare for depositions.
999250                        10t28t14    2605955       JANICE HANCE   E-mails from T. Leatherland advising of          2.10    $160.00      $336.00
                                                                       cost of travel to Rochester; e-mail to J.
                                                                       Shoemaker regarding OB/GYN records
                                                                       and Nazon's deposition on the lBth; assist
                                                                       J. Shoemaker during mediation to obtain
                                                                       and/or locate medical records requested
                                                                       and those received to date, workers'comp
                                                                       transcript; research and obtain contact
                                                                       information for J. Moncher; telephone call
                                                                       to J. Moncher requesting a copy of the
                                                                       workers' comp transcript; prepare letter to
                                                                       D. Sleight advising of the need to receipt
                                                                       responses to demands ASAP since no
                                                                       settlement at mediation and upcoming
                                                                       depositions.
999250                        10t28t14    2606729       JENNIFER       Attend mediation; prepare for depositions         9.00   $275.00     $2,475.00
                                                        SHOEMAKER      with client.
999250                        10t29t14    2604290       ALINA NADIR    Prepare deposition outline for Russell            1.50   $235.00      $352.50
                                                                       Worthington.
999250                        10t29t14    2606093       JANICE HANCE   Telephone call to J. Moncher to follow up         1.20   $160.00      $192.00
                                                                       on workers'comp transcript; additional call
                                                                       from J. Moncher to provide telephone
                                                                       number for stenographer to call to obtain
                                                                       transcript; telephone call to stenographer to
                                                                       request copy of transcript and advise J.
                                                                       Shoemaker of when to expect to receive it;
                                                                       emails to and from client regarding meeting
                                                                       with Dr. Reagles and communications with
                                                                       J. Shoemaker pertaining to same.
999250                         10t30t14   2604542       ALINA NADIR    Prepare deposition outline for Christi            2.50   $235.00      $587.50
                                                                       Robinson and review relevant documents.
999250                         10t30t14   2604855       ALINA NADIR    Telephone call with D. Sleight regarding his       .70   $235.00      $164.50
                                                                       conflict of interest in representing all
                                                                       defendants in the case; telephone call with
                                                                       J. Shoemaker regarding the conflict of
                                                                       interest; review documents for D. Sleight's
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                                                                         contact information; emails to/from J.
                                                                         Shoemaker regarding confl ict.
999250                        10t30114     2606107        JANICE HANCE   E-mails from and to client regarding             1.20 $160.00       $192.00
                                                                         meeting with Dr. Reagles via phone
                                                                         conference; e-mails to and from T.
                                                                         Leatherland regarding Dr. Reagles meeting
                                                                         with client; review scheduling order for due
                                                                         date of expert disclosure and advise T.
                                                                         Leatherland of same; review status of
                                                                         depositions and D. Sleight's unavailability
                                                                         to attend depositions on the 'l3th; e-mail to
                                                                         D. Sleight forwarding deposition schedule
                                                                         chari and inquiring as to his availability on
                                                                         the 13th and status of D. Nazon's
                                                                         deposition on the 1Bth.
999250                        10t30t14     260690'l       JENNIFER       Conference with Sleight and Nadir                  .50   $275.00    $137.50
                                                          SHOEMAKER      regarding conflict of interest and
                                                                         depositions.
999250                        10t31t14     2604965        ALINA NADIR    Conduct legal research regarding motions          1.00 $235.00      $235.00
                                                                         to withdraw as counsel; emails to/from J.
                                                                         Shoemaker regarding status of cancelled
                                                                         depositions; emails to/from D. Sleight
                                                                         regarding conference with the court.
999250                        10t31t14     2606132        JANICE HANCE   lnteroffice conference with A. Nadir              1.80 $160.00      $288.00
                                                                         regarding possible conflict with D. Sleight
                                                                         and postponement of depositions and e-
                                                                         mails to and from J. Shoemaker regarding
                                                                         same; telephone call to ACR Reporting to
                                                                         cancel reservations for stenographer for
                                                                         depositions; e-mail to and from A. Reeves
                                                                         cancelling reservations for conference
                                                                         room in Buffalo office; receipt and review of
                                                                         workers'comp hearing transcript; scan and
                                                                         save to directory and e-mail to J.
                                                                         Shoemaker and A. Nadir; thorough review
                                                                         of workers' comp testimony.
999250                        10t31t14     2606900        JENNIFER       Conference with Sleight and Yusek                  .50   $275.00    $137.50
                                                          SHOEMAKER      regarding depositions and conflict of
                                                                         interest.
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999250                          11t03t14    2608292      JANICE HANCE   E-mail from D. Sleight asking that we               1.00    $160.00      $160.00
                                                                        reconsider motion to extend scheduling
                                                                        order since motion will further prolong
                                                                        litigation; review file regarding production of
                                                                        PEF file; Bates stamp additional
                                                                        documents; prepare letter to D. Sleight
                                                                        forwarding additional documents; review
                                                                        file regarding need to revise spreadsheet
                                                                        for Plaintiffs initial disclosure to add more
                                                                        information to make locating documents
                                                                        more simplified.
999250                          11t03t14    2614358      JENNIFER       Email with Sleight regarding depositions              .50   $275.00      $137.50
                                                         SHOEMAKER      and motion to extend discovery; prepare
                                                                        cross motion.
999250                          11t04114    2607387      ALINA NADIR    Work on motion to compel.                            5.40   $235.00     $1,269.00
999250                          11t04t14    2608299      JANICE HANCE   AssistA. Nadir in locating supplemental              2.20   $160.00       $352.00
                                                                        documents to support motion to compel;
                                                                        receipt and review of e-filing notification
                                                                        and Defendants'motion to extend CMO;
                                                                        download and save same to directory; e-
                                                                        mail motion to J. Shoemakerfor her
                                                                        review; e-mails from J. Shoemaker and A.
                                                                        Nadir regarding same and motion response
                                                                        strategy; organize file; prepare file index
                                                                        and e-mail to J Shoemaker, A. Nadir and
                                                                        C. Caternolo; e-mails to and form C.
                                                                        Caternolo requesting that she prepare
                                                                        labels for the flles pursuant to the file index.
                                                                        Conferences regarding motion compel;                   on   $275.00       $247.50
999250                          11t04114    261 4386     JENNIFER
                                                         SHOEMAKER      review motion to extend CMO.
999250                          11t05t14    2607489      ALINA NADIR    Review and revise motion to compel and               2.30   $235.00       $540.50
                                                                        response in opposition to motion to amend
                                                                        CMO.
999250                          11t05t14    2608307      JANICE HANCE   Receipt and review of text order for due             1.50 $160.00         $240.00
                                                                        dates for Defendants' motion to extend
                                                                        CMO and diary same; update pleadings
                                                                        binder and index; receipt and review of file
                                                                        labels and complete indexing file;
                                                                        interoffice conference with A. Nadir
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                                          No.                                                                                                                     AmouHt:
                                                                       regarding motion to compel and supporting
                                                                       documentation for same.
999250                      11t06t14      2607829       ALINA NADIR    Review and revise motion to compel and            3.10        $235.00      $728.50
                                                                       response in opposition to defendants'
                                                                       motion to amend CMO; conference with J.
                                                                       Shoemaker regarding same.
999250                      11106114      2610134       JANICE HANCE   Organize file and update file and pleadings        1   .00 $160.00 $160.00
                                                                       indexes and pleadings binder; move flle to
                                                                       A. Nadir's office.
999250                      11t06t14      2614495       JENNIFER       Finalize motion to compel.                         1.20       $275.00      $330.00
                                                        SHOEMAKER
999250                      11t06t14      2614509       JENNIFER       Review revised motion                                  ,BO    $275.00      $220.00
                                                        SHOEMAKER
999250                      11t07 t14     2608076       ALINA NADIR    Revise motion to compel and response in                 .50   $235.00      $1 17.50
                                                                       opposition to motion to amend CMO;
                                                                       finalize exhibits and prepare for filing.
999250                      11t07 t14     2610141       JANICE HANCE   Review file regarding filing motion to                  .90   $160.00      $144.00
                                                                       compel; prepare motion and exhibits for
                                                                       filing; preparing certificate of service; scan
                                                                       and e-file motion; receipt and review of e-
                                                                       filing notification; download filed motion
                                                                       and save to directory; e-mail from and to
                                                                       client regarding meeting with Dr. Reagles
                                                                       and whether she should keep the
                                                                       appointment scheduled for Dec. '1; receipt
                                                                       and review of letter from Workers'
                                                                       Compensation advising new address to
                                                                       send request for records.
999250                      11t07 t14     2614517       JENNIFER       Conference with J. Hance regrading expert               .bu   $275.00      $'16s.00
                                                        SHOEMAKER      witness; finalize motion.
999250                      11t10t14      2610148       JANICE HANCE   Additional e-filing notification and text               .30   $160.00       $48.00
                                                                       order; diary due dates for motion
                                                                       responses, etc.
999250                      11t11t14      2610160       JANICE HANCE   Organize file; update pleadings index and          '1
                                                                                                                               .00   $160.00      $160.00
                                                                       binder regarding motion to compel; letter to
                                                                       Workers' Compensation at new address
                                                                       requesting updated records.
999250                      11t12t14      2609098       JENNIFER       Review additional documents for                    1.70 $275.00            $467.50
                                                        SHOEMAKER      disclosure.
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999250                        11t12t14    2609124      ALINA NADIR    Research New York penal law and                    70    $235.00      $164.50
                                                                      possible cause of action for failure to allow
                                                                      Plaintiff to attend court hearing.
999250                        11t12114    261 51 06    JANICE HANCE   E-mail from J. Shoemaker to client                .20    $160.00       $32.00
                                                                      regarding review of notebook and
                                                                      photographs.
999250                        11t13114    2609577      ALINA NADIR    Emails to/from J. Shoemaker regarding             .20    $235.00       $47.00
                                                                      status ofcase and defendants' reply to
                                                                      motion to amend CMO.
999250                        11t13t14    2614552      JENNIFER       Review response to motion; conference              .60   $275.00      $165.00
                                                       SHOEMAKER      with A. Nadir.
999250                        11t|4t14    2609609      ALINA NADIR    Review defendants' reply to motion to              .50   $235.00      $1 17.50
                                                                      amend CMO and response to plaintiffs
                                                                      motion to compel discovery and
                                                                      depositions; emails to/from J. Shoemaker
                                                                      regarding status; call Rochester Attorney
                                                                      General's office and leave voicemail for D.
                                                                      Martin.
999250                        11t14t14    2612046      JANICE HANCE   Receipt and review of Defendant's                  .60   $160.00       $96.00
                                                                      response to motion to compel; download
                                                                      and save same; e-mail copy to J.
                                                                      Shoemaker for her review; e-mails from
                                                                      and to J. Shoemaker and A. Nadir
                                                                      regarding response to motion and strategy
                                                                      and review text orders; update pleadings
                                                                      index and binder.
999250                         11t18t14   2612065      JANICE HANCE   Review file regarding the date and time of         .20   $160.00       $32.00
                                                                      oral argument for motion to extend CMO
                                                                      and compel.
999250                         11t18t14   2612075      JANICE HANCE   Telephone call form T. Leatherland at              .20   $160.00       $32.00
                                                                      Reagles inquiring as to Plaintiffs earnings
                                                                      and advise tax returns have already been
                                                                      provided.
999250                         11t19t14   2612086      JANICE HANCE   Revise and reformat digest of Plaintiffs          1.50   $160.00      $240.00
                                                                      initial disclosures.
999250                         11119114   26'15300     JENNIFER       Prepare for oral argument.                        2.10   $275.00      $577.50
                                                       SHOEMAKER
999250                         11t20t14   2612095      JANICE HANCE   Continue revising and reformatting digest         2.00   $160.00      $320.00
                                                                      of initial disclosures.
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                                           No.                                                                                                                  AmouHr:
999250                         11t21t14    2614468       JANICE HANCE   Continue revising and reformatting digest      2.80       $160.00      $448.00
                                                                        of Plaintiff s initial disclosures.
999250                         11t24t14    2614474       JANICE HANCE   Continuing revising and reformatting digest    2.00       $160.00      $320.00
                                                                        of Plaintiffs initial disclosures.
999250                         11t24t14    26 1 5569     JENNIFER       Conference with court regarding oral           1.00       $275.00      $275.00
                                                         SHOEMAKER      arguments; call to AG's office; prepare for
                                                                        depositions.
999250                         11125114    2614479       JANICE HANCE   Receipt and review of text order                1   .00   $160.00      $160.00
                                                                        rescheduling oral argument; update
                                                                        pleadings index and pleadings binder.
999250                         11t26t14    2614917       JANICE HANCE   Continue revising and reformafting digest       1.70      $160.00      $272.00
                                                                        of Plaintiff s initial disclosures.
999250                         11t26t14    2615602       JENNIFER       Prepare for Cuer deposition.                    2.60      $275.00      $715.00
                                                         SHOEMAKER
999250                         12t01t14    2617232       JANICE HANCE   E-mail to client inquiring as to status of          .20   $160.00       $32.00
                                                                        meeting with Dr. Reagles.
999250                         12t02t14    2617240       JANICE HANCE   E-mail from client advising that she has            .20   $160.00       $32.00
                                                                        already metwith Dr. Reagles and advise J.
                                                                        Shoemaker of same.
999250                         12102114    2622354       JENNIFER       Conference regarding meeting with Dr.               .50   $275.00      $137.50
                                                         SHOEMAKER      Reagles.
999250                         12t04114    261 861 4     ALINA NADIR    Review Dr. Reagles'expert report                    .70   $235.00      $164.50
                                                                        regarding economic damages.
999250                         12t04t14    IOIIJ I J     JENNIFER       Review expert report; conference with           1.70      $275.00      $467.50
                                                         SHOEMAKER      client.
999250                         12t05t14    2618622       ALINA NADIR    Draft letter withdrawing motion to compel           .60   $235.00      $141.00
                                                                        and requesting settlement conference.
999250                         12t05t14    2622381       JENNIFER       Letter to McCarthy withdanring motion;          1.50      $275.00      $412.50
                                                         SHOEMAKER      telephone conference with client.
999250                         12t08t14    2619145       JANICE HANCE   Receipt and review of text order scheduling         .30   $160.00        $48.00
                                                                        conference to address December Sth letter;
                                                                        diary same.
999250                         12t09t14    2618648       ALINA NADIR    Telephone status conference with the                .80   $235.00      $188.00
                                                                        Court, J. Shoemaker and opposing
                                                                        counsel; search for experts on emotional
                                                                        damages.
999250                         12t09t14    2619,I66      JANICE HANCE   lnteroffice conference with J. Shoemaker            .50   $160.00        $80.00
                                                                        regarding retaining an expert to value
                                                                        emotional pain and suffering; receipt and
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                                            No.                                                                                                                   AuouHr:
                                                                          review of two notifications from the Court
                                                                          scheduling status conference and
                                                                          extending the court management order;
                                                                          download same and save to directory.
999250                        12t09t14      2622399       JENNIFER        Prepare for court conference; attend              4.50    $27s.00    $1,237.50
                                                          SHOEMAKER       telephone conference with court. Research
                                                                          expert witnesses for PTSD; conferences
                                                                          with potential experts.
999250                        12t10t14      2619172       JANICE HANCE    Review file regarding expert psychologist         2.00 $160.00         $320.00
                                                                          and research additional possible experts;
                                                                          e-mails from J. Shoemaker regarding
                                                                          possible experts and review same; e-mails
                                                                          from and to client regarding scheduling
                                                                          hysterectomy; review file regarding the
                                                                          scheduling of depositions; organize files
                                                                          and update pleadings binder and pleadings
                                                                          index.
999250                        12t10t14      261 91 73      JANICE HANCE   Thorough review of Dr. Reagles' report.             .30   $160.00       $48.00
ss9250                        12t10t14      2622418        JENNIFER       Review Reagles report; conference with P.          3.20   $275.00      $880.00
                                                           SHOEMAKER      Small and K. Reagles; conference with A.
                                                                          Nadir.
999250                        12t11t14      26'19381       JANICE HANCE   E-mails from client regarding e-mail from          1.60 $160.00        $256.00
                                                                          R. Worthington and Dr. Reagles'report;
                                                                          receipt and review of invoice from Dr.
                                                                          Reagles and research previous payments
                                                                          to Dr. Reagles; anange for the payment of
                                                                          same; review file to locate R. Worthington
                                                                          e-mail; scan to client and return original via
                                                                          mail; Bates stamp same and add to digest
                                                                          and to draft letter to defense counsel to
                                                                          produce at a later time.
999250                        12t11t14      2621395        ALINA NADIR    Review email from client; conference with           .50   $235.00      $1 17.50
                                                                          J. Shoemaker re same; review file for client
                                                                          document.
999250                        12t11t|4      2622423        JENNIFER       Research regarding expert witnesses.               2.50   $275.00      $687.50
                                                           SHOEMAKER
999250                        12t12t14      261 9559       JANICE HANCE   Receipt and review of e-filing notification         .40   $160.00       $64.00
                                                                          advising of substitution of counsel for C.
                                                                          Cuer; download and save to directory and
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                                               No.                                                                                                                     Atr,touHt:

                                                                            e-mail to J. Shoemaker and A. N
                                                                                       call from T. Leatherland




999250                          12t12t14       2624093       JENNIFER       Review notice of appearance for Cuer.               .20      $275.00       $55.00
                                                             SHOEMAKER
999250                          12t15t14       2621262       JANICE HANCE   Receipt :nd review of e-mail from Workers'          .60      $160.00       $96.00
                                                                            Compersation with link to obtain and
                                                                            download records; download voluminous
                                                                            records and save to directory; quick review
                                                                            of same.
999250                          12t15t14       2624212       JENNIFER       Email   wlh Benitez.                                   .lu   $275.00       $55.00
                                                             SHOEMAKER
999250                          12t16114       2621283       JANICE HANC=   Continue review of Workers Compensation                .50   $160.00       $80.00
                                                                            records.
999250                          12117114       t6l4tt   4    JENNIFER       Confererce with Reagles.                               .50   $275.00      $137.50
                                                             SHOEMAKER
999250                          12t18t14       2622424       JENNIFER       Review locuments for supplemental                  3.60      $275.00      $990.00
                                                             SHOEMAKER      disclosure.
999250                          12t22114       2622824       JANICE HANCE   Continue revising the digest of Plaintiffs         1.40      $160.00      $224.00
                                                                            initial disclosures.
999250                          12t22t14       2624414       JENNIFER       Review status; email to counsel regarding          1.70      $275.00      $467.50
                                                             SHOEMAKER      schedul ng; proposed order.
999250                          12t24t14       2622841       JANICE HANCE   Continue revising the digest to the initial        1   .00   $160.00      $160.00
                                                                            disclosures.
999250                          12t30t14       IOIJJJV       JANICE HANCE   Continue revising digest of Plaintiffs initial     1.50      $160.00      $240.00
                                                                            disclosures.
999250                          01   /05/1 5   2625454       ALINA NADIR    Draft proposed scheduling order.                       .80   $235.00      $188.00
999250                          01/05/1 5      2625466       JENNIFER       Conference with opposing counsel                       .50   $290.00      $145.00
                                                             SHOEMAKER      regardirg scheduling order; conference
                                                                            with A. Nadir.
999250                          01   /05/1 5   2627607       JANICE HANCE   Review file regarding new Attorney                     .50   $160.00        $80.00
                                                                            General and new attorney for C. Cuer and
                                                                            providing them with a copy of the initial
                                                                            disclosures; e-mails from counsel advising
                                                                            that receipt via CD will suffice.
999250                          01   /05/1 5   2634111       JENNIFER       Conference with R. Benitez and J. Wujcik           1.50 $290.00            $435.00
                                                             SHOEMAKER      regardirrg status and scheduling order;
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                                          No.                                                                                                                   Auoultr:
                                                                      review file.
999250                     01   /06/1 5   2627613      JANICE HANCE   Receipt and review of CDs containing initial       1   .20   $160.00      $192.00
                                                                      disclosures to serve on defense
                                                                      counsel,prepare lefter to new defense
                                                                      counsel serving initial disclosures; receipt
                                                                      and review of proposed Amended case
                                                                      management order; revise and finalize
                                                                      same; prepare certificate of service; scan
                                                                      and e-file same; receipt and review of e-
                                                                      filing confirmation and download same and
                                                                      filed papers.
999250                     01/06/1 5      2634125      JENNIFER       Review supplemental disclosures;                    1.10 $290.00          $319.00
                                                       SHOEMAKER      conference with court regarding status
                                                                      conference; letter to counsel; prepare and
                                                                      file proposed scheduling order.
999250                     01t07t15       2627630      JANICE HANCE   Receipt and review of calendar event                   .30   $160.00       $48.00
                                                                      notification scheduling court conference for
                                                                      1-12-15; download and diary same.
999250                     01t07 t15      2634594      JENNIFER       Review WC records                                   3.20     $290.00      $928.00
                                                       SHOEMAKER
999250                     01   /09/1 5   2629514      JANICE HANCE   Telephone call to Detective Converse                   .20   $160.00       $32.00
                                                                      inquiring as to how to obtain the criminal
                                                                      information on C. Cuer.
999250                     01t12t15       2629530      JANICE HANCE   Return call from Detective Converse                 2.00 $160.00 $320.00
                                                                      advising to send FOIL request to Lancaster
                                                                      Police Dept. to obtain criminal records;
                                                                      review file regarding second complaint
                                                                      regarding Facebook friend request;
                                                                      prepare FOIL request to Lansing Village
                                                                      Police Department; e-mails to and from
                                                                      client regarding second complaint; revise
                                                                      and flnalize FOIL requesl receipt and
                                                                      review of e-filing notifications; organize file
                                                                      and update pleadings binder and index;
                                                                      interoffice conference with J. Shoemaker
                                                                      following court conference and the new
                                                                      scheduling order.
999250                     01t12t15       2634121      JENNIFER       Conference with court regarding                     1.30 $290.00          $377.00
                                                       SHOEMAKER      scheduling conference; finalize
                     Case 1:12-cv-01236-WMS-MJR Document 201-2 Filed 10/25/18 Page 50 of 162


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                                                                        supplemental disclosures; letter to counsel.
999250                     01t12t15        t6346tl       JENNIFER       Review discovery documents and medical            2.80    $290.00      $81 2.00
                                                         SHOEMAKER      records.
999250                     01 /1 3/1   5   2629533       JANICE HANCE   Continue review of voluminous workers'            4.00    $160.00      $640.00
                                                                        compensation records; review flle
                                                                        regarding obtaining transcripts of doctors'
                                                                        testimony at workers' comp hearings; e-
                                                                        mails to and from client regarding
                                                                        complaint for Facebook violation.
999250                     01t14115        2628438       ALINA NADIR    Conduct internet search for recently                80    $235.00      $188.00
                                                                        resigned DOCCS - lnvestigator General
                                                                        employees due to sexual harassment
                                                                        allegations and to determine their dates of
                                                                        employment.
999250                     01t14t15        2629547       JANICE HANCE   Continue review of workers' compensation           4.80   $160.00      $768.00
                                                                        records; locate article regarding
                                                                        investigation of DOCs lG's office, complaint
                                                                        filed against J. Feno and retirement of V.
                                                                        Fonda; continue research of allegations
                                                                        and investigation; review DOCs flow chart
                                                                        found on website; receipt and review of
                                                                        filed Amended Case Management Order
                                                                        and diary same; update pleadings binder
                                                                        and index.
999250                     01t14t15        2634293       JENNIFER       Conference with J. Hance and A. Nadir               50    $290.00      $145.00
                                                         SHOEMAKER      regarding lG employees and sexual
                                                                        harassment; review news article; email with
                                                                        client.
999250                     01t14t15        2634617       JENNIFER       Review workers compensation records.               3.60   $290.00     $1,044.00
                                                         SHOEMAKER
999250                     01t15t15        2629559       JANICE HANCE   Begin revising Interrogatories and Request         4.80   $160.00       $768.00
                                                                        for Production of Documents to new
                                                                        counsel; organize articles to use as
                                                                        deposition exhibits; prepare letter to
                                                                        counsel serving same; continue revising
                                                                        the digest of Plaintiffs initial disclosures.
999250                     01116115        2629563       JANICE HANCE   Continue revising digest of Plaintiffs initial     6.00   $160.00       $960.00
                                                                        disclosures.
999250                     01 /1 9/1   5   2631370       JANICE HANCE   Continue revising the digest of Plaintiffs         2.00   $160.00       $320.00
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                                      No.                                                                                                                 AMoUNT:
                                                                   initial disclosures.
999250                     01t20t15   2631 384      JANICE HANCE   Continue revising the digest of Plaintiffs        3.00    $160.00      $480.00
                                                                   initial disclosures.
999250                     01t20t15   2634600       JENNIFER       Review WC records.                                2.60    $290.00      $754.00
                                                    SHOEMAKER
9S9250                     01t21t15   2631 395      JANICE HANCE   E-mails to and from J. Shoemaker                    .30   $160.00       $48.00
                                                                   preparation of Amended lnterrogatories
                                                                   and Request for Production of Documents
                                                                   and status of clients medical procedure to
                                                                   obtain updated medical records.
999250                     01t22t15   2631423       JANICE HANCE   Continue revising digest of Plaintiffs initial    4.00    $160.00      $640.00
                                                                   disclosures.
999250                     01122115   2634343       JENNIFER       Prepare amended interrogatories and                1.20   $290.00      $348.00
                                                    SHOEMAKER      document requests.
999250                     01t23t15   2631431       JANICE HANCE   Continue revising the digest of Plaintiffs         5.00   $160.00      $800.00
                                                                   initial disclosures.
999250                     01t27t15   163   tovt    ALINA NADIR    Conference with J. Shoemaker and J.                 .80   $235.00      $188.00
                                                                   Hance regarding discovery; review
                                                                   previously drafted intenogatories and
                                                                   document requests.
999250                     01t27115   2633327       JANICE HANCE   Continue revising digest of Plaintiffs initial     2.70 $160.00        $432.00
                                                                   disclosures; review file and interoffice
                                                                   conference with J. Shoemaker and A.
                                                                   Nadir regarding new scheduling order,
                                                                   depositions and amended intenogatories
                                                                   and request for production of documents.
oootAn                     01t27tl5   2634622       JENNIFER       Review workers' compensation documents             3.30   $290.00      $957.00
                                                    SHOEMAKER      and medical records.
999250                     01t28115   2632284       JENNIFER       Conference with client.                            1.40   $290.00      $406.00
                                                    SHOEMAKER
999250                     01t28t15   2633378       JANICE HANCE   Continue revising digest of Plaintiffs lnitial     6.00   $160.00      $960.00
                                                                   Disclosures; review flle regarding
                                                                   scheduling order and due date for
                                                                   dispositive motions; ensure dates are on
                                                                   calendar.
999250                     01t29t15   2633406       JANICE HANCE   Complete the digest of Plaintiffs lnitial          5.00   $160.00      $800.00
                                                                   Disclosures; review file regarding the
                                                                   scheduling of depositions; prepare, revise
                                                                   and finalize letter to counsel regarding
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                                         No.                                                                                                                AMoUNT:
                                                                        same; receipt and review of e-mail from J.
                                                                        Shoemaker to counsel regarding
                                                                        scheduling depositions; receipt and review
                                                                        of invoice form Lancaster Police
                                                                        Department to receipt copies of criminal
                                                                        records in response to FOIL request; make
                                                                        arrangements for payment of copies of
                                                                        criminal records.
999250                    01t29t15       263451 6        JENNIFER       Letter and email to counsel regarding           1.20 $290.00        $348.00
                                                         SHOEMAKER      depositions, review documents from
                                                                        worker's compensation.
999250                    01   /30/1 5   2633442         JANICE HANCE   E-mails from defense counsel regarding           .30   $160.00       $48.00
                                                                        the scheduling of depositions; e-mail to J.
                                                                        Shoemaker regarding meeting to formulate
                                                                        a schedule of depositions of the parties
                                                                        and witnesses.
999250                    02t03t15       2635657         ALINA NADIR    Review and revise interrogatories and           4.30   $235.00    $1 ,010.50
                                                                        document requests to defendants.
9992s0                    02t03t15       2643152         JENNIFER       Review information regarding lnspector          1.20   $290.00      $348.00
                                                         SHOEMAKER      General's office and connection to DOCCS;
                                                                        several emails with client.
999250                    02t05t15       2643   1   60   JANICE HANCE   E-mails from and to J. Shoemaker                 .60   $160.00       $96.00
                                                                        regarding meeting to discuss status and
                                                                        schedule depositions; receipt and review of
                                                                        FOIL response from Lancaster Police
                                                                        Department; e-mails to and from J.
                                                                        Shoemaker regarding same and missing
                                                                        information; telephone call to Lt. Converse
                                                                        regarding missing first complaint
999250                    02t06t15       2636786         JANICE HANCE   Telephone conference with Lt. Converse           .40   $160.00       $64.00
                                                                        regarding documents provided in response
                                                                        to FOIL request and missing
                                                                        documentation; e-mail to J. Shoemaker
                                                                        regarding same.
999250                    02t09t15       2637092         ALINA NADIR    Meet with J. Shoemaker and J. Hance              .60   $235.00      $141 .00
                                                                        regarding status and deposition schedule.
999250                    02t09t15       2638632         JANICE HANCE   Telephone call from Gina at Records with        2.10   $160.00      $336.00
                                                                        the Lancaster Police Department advising
                                                                        she cannot send records pertaining to first
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                                             No.                                                                                                                Auourt:
                                                                         complaint because they are sealed;
                                                                         interoffice conference with J. Shoemaker
                                                                         regarding same; interoffice conference with
                                                                         J. Shoemaker and A. Nadir regarding
                                                                         discovery, depositions and demands;
                                                                         revise deposition schedule charts to
                                                                         updated dates of depositions; prepare
                                                                         letter to defense counsel regarding same.
999250                           02/09/1 5   2643286      JENNIFER       Conference regarding sealed criminal             2.20    $290.00      $638.00
                                                          SHOEMAKER      records; review WC records; Review and
                                                                         revise document demands and
                                                                         interrogatories.
999250                           02t1u15     2638644      JANICE HANCE   Revise and finalize charts for depositions;        .60   $160.00       $96.00
                                                                         letter to defense counsel regarding same.
999250                           02t12115    2637905      ALINA NADIR    Edit amended document demands and                  .bu   $235.00      $141 .00
                                                                         intenogatories; edit cover letter.
999250                           02t12t15    2643342      JENNIFER       Office conference regarding depositions           1.00   $290.00      $290.00
                                                          SHOEMAKER      and scheduling.
999250                           02113115    2640452      JANICE HANCE   Lengthy telephone conference with client           .80   $160.00      $128.00
                                                                         regarding previous 2009 call to the police
                                                                         regarding hearing someone outside her
                                                                         house in the middle of the night and times
                                                                         when C. Cure would show up when other
                                                                         people were assisting her with projects on
                                                                         her home/yard; e-mails to J. Shoemaker
                                                                         and A. Nadir regarding same and status of
                                                                         demands.
999250                           02t16115    2640456      JANICE HANCE   Review file regarding new case                     .40   $160.00        $64.00
                                                                         management order; pull old order and e-
                                                                         mail to and from C. Caternolo to ensure old
                                                                         dates are removed from calendar;
999250                           02116115    2643320      JENNIFER       Prepare for depositions; Draft outlines.          3.40   $290.00      $986.00
                                                          SHOEMAKER
999250                           02t17t15    2640466      JANICE HANCE   E-mails from and to J. Shoemaker                  5.00   $160.00      $800.00
                                                                         regarding disclosing Workers' Comp
                                                                         records to defense counsel; scan and
                                                                         Bates stamp all Workers'Comp records
                                                                         and instruct lT to copy to CD; prepare,
                                                                         revise and finalize letter to defense counsel
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                                               No.                                                                                                              AmouHr:
                                                                            serving same; prepare binders and title
                                                                            pages for Workers' Comp records; e-mail
                                                                            from Pam regarding additional criminal
                                                                            records.
999250                           02118115      2643173       JANICE HANCE   Reviewfile regarding criminal records and        .tu   $160.00       $32.00
                                                                            e-mail to . Shoemaker regarding same.
999250                           02t18t15      2643985       JANICE HANCE   Review file regarding status and                1.00   $160.00      $160.00
                                                                            scheduling of depositions; organize file;
                                                                            review workers' comp records; spreadsheet
                                                                            of same.
999250                           02t19t15      2639960       ALINA NADIR    Conduct legal research regarding               2.90    $235.00      $681.50
                                                                            potentially unsealing defendant Cue/s
                                                                            criminal record.
999250                           02t20t15      2640137       ALINA NADIR    Review defendant Cue/s amended                  2.30   $235.00      $540.50
                                                                            answer; continue research regarding
                                                                            unsealing defendant Cue/s criminal record.
999250                           02t20115      2640483       JANICE HANCE   Receipt and review of e-filing notification      .40   $160.00       $64.00
                                                                            and C. Cueds Second Amended Answer;
                                                                            download and save same; scan and e-mail
                                                                            to . Shoemaker and A. Nadir for review.
999250                           02t20t15      2643384       JENNIFER       Review amended answer.                           .20   $290.00       $58.00
                                                             SHOEMAKER
999250                           02t23t15      2640846       ALINA NADIR    Draft response email to opposing counsel         .70   $23s.00      $164.50
                                                                            for DOCS regarding depositions; emaib
                                                                            to/from J. Shoemaker regarding same.
999250                           02t23115      2643216       JANICE HANCE   Update pleadings index and binder with          2.50   $160.00      $400.00
                                                                            Amended Answer served by C. Cuer;
                                                                            Continue preparing index of workers'
                                                                            compensation records.
999250                           02t23115      2643391       JENNIFER       Emails with Benitez regarding depositions        .50   $290.00      $145.00
                                                             SHOEMAKER
999250                           02t24t15      2640954       ALINA NADIR    Conduct Iegal research regarding the            1.40   $235.00      $329.00
                                                                            location in which opposing party's former
                                                                            employee's deposition can be taken;
                                                                            emails to/from J. Shoemaker regarding
                                                                            same; review emails between opposing
                                                                            counsels regarding deposition.
999250                           02t24t15      2643222       JANICE HANCE   E-mails from all counsel regarding the          3.50   $160.00      $560.00
                                                                            scheduling of depositions, correspondence
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                                        No.                                                                                                               AmouHr:
                                                                    and pleadings served to date and C. Cuer
                                                                    attending depositions; interoffice
                                                                    conference with A. Nadir regarding same;
                                                                    continue preparing index of workers
                                                                    compensation records.
999250                      02t24t15    2643401      JENNIFER       Deposition scheduling, office conference          1.00    $290.00      $290.00
                                                     SHOEMAKER      and discuss strategy.
999250                      02125115    2643842      JANICE HANCE   Receipt and review of additional emails           5.00    $160.00      $800.00
                                                                    from counsel regarding the scheduling of
                                                                    depositions; continue preparing index of
                                                                    workers'comp records.
999250                      02t26t15    2643240      JANICE HANCE   Continue preparing index of workers'              4.00    $160.00      $640.00
                                                                    compensation records; review file
                                                                    regarding depositions transcripts of Dis.
                                                                    Trock and Gallacher; e-mail to and from J.
                                                                    Shoemaker regarding obtaining same; e-
                                                                    mail to J. Moncher requesting transcripts.
999250                      02t27 t15   2642552      ALINA NADIR    Review defendant Cue/s initial disclosures.         .20   $235.00       $47.00
999250                      02127115    2643250      JANICE HANCE   Receipt and review of Defendant Cue/s              3.00   $160.00      $480.00
                                                                    initial disclosures; download and save
                                                                    same; e-mail to J. Shoemaker for review;
                                                                    update pleadings index and
                                                                    binder;continue preparing .index of workers'
                                                                    compensation records.
999250                      03t02t15    2643621      ALINA NADIR    Email to opposing counsel regarding                2.10   $235.00      $493.50
                                                                    upcoming depositions; review emails from
                                                                    opposing counsel regarding same; review
                                                                    past conespondence to find past defense
                                                                    counsel's statement that C. Cuer would not
                                                                    be present for depositions; draft letter to J.
                                                                    McCarthy regarding same.
999250                      03t02t15    2646068      JANICE HANCE   E-mails from counsel regarding firm up              .30   $160.00       $48.00
                                                                    depositions dates.
999250                      03t02t15    2646281      JANICE HANCE   Continue preparing index of worke/ comp            1.00   $160.00      $160.00
                                                                    records.
999250                      03t02t15    2652123      JENNIFER       Conference regarding Cuer at depositions;           .50   $290.00      $145.00
                                                     SHOEMAKER      letter to judge.
999250                      03t04t15    264501 0     ALINA NADIR    Conference with J. Hance and J.                    1.30   $235.00      $305.50
                                                                    Shoemaker regarding upcoming
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                                            No.                                                                                                                   AruouHr:
                                                                          depositions; revise letter to J. McCarthy
                                                                          regarding C. Cue/s presence at
                                                                          depositions.
999250                        03/04/1 5     2646089        JANICE HANCE   Receipt and review of invoice from                    .20   $160.00       $32.00
                                                                          Lancaster Police Department to receive
                                                                          additional records in response to FOIL
                                                                          request and anange for payment of same.
999250                        03/04/1 5     2653648        JENNIFER       Review public officers law regarding                  bU    $290.00      $174.00
                                                           SHOEMAKER      indemnification.
999250                        03/05/1 5     2645326        ALINA NADIR    Make final edits to letter to J. McCafty              80    $235.00      $188.00
                                                                          regarding C. Cueis presence at
                                                                          depositions; review emails between parties'
                                                                          counsel regarding upcoming depositions.
999250                        03/05/1 5     2646292        JANICE HANCE   lnteroffice conference with J. Shoemaker          1.30 $160.00           $208.00
                                                                          and A. Nadir regarding the depositions
                                                                          schedule; obtaining sealed criminal
                                                                          documents, transcripts for Drs. Trock and
                                                                          Gallacher in worker's comp case and
                                                                          application to prevent Defendant Cuer from
                                                                          attending depositions; e-mails from counsel
                                                                          scheduling and rescheduling deposition
                                                                          time and dates.
999250                        03/06/1 s     2646097        JANICE HANCE   Telephone call to J. Moncher to determine         1   .50   $160.00      $240.00
                                                                          if depositions were taken of Drs. Trock and
                                                                          Gallacher to obtain transcripts; e=mail to J.
                                                                          Shoemaker advising that doctors were not
                                                                          deposed due to counsel reaching an
                                                                          agreement as to degree of disability;
                                                                          receipt and review of e-filing notification
                                                                          that a settlement conference has been
                                                                          scheduled to discuss letter of 3/5 b J.
                                                                          Shoemaker and Defendant Cuer attending
                                                                          depositions; review flle for timeline of
                                                                          service of demands upon recently retained
                                                                          counsel and dates when counsel advised
                                                                          of their representation of Defendant;
                                                                          prepare e-mail to J. Shoemaker detailing
                                                                          same; receipt and review of letter to Judge
                                                                          by J. Shoemaker and defense counsel with
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                                        No.                                                                                                                Awtourur:
                                                                     legal arguments as to why Defendant Cuer
                                                                     should or should not be allowed to attend
                                                                     all deposltions.
999250                     03/06/1 5    2653662       JENNIFER       Letter to court regarding depositions.            .50    $290.00      $145.00
                                                      SHOEMAKER
999250                     03/09/1 5    2646162       ALINA NADIR    Emails to/from J. Hance and J. Shoemaker           .60   $235.00      $141.00
                                                                     regarding upcoming depositions; review
                                                                     documents from Lancaster police
                                                                     department
999250                     03/09/1 5    2648211       JANICE HANCE   Review file regarding the scheduling of           1.50 $160.00        $240.00
                                                                     depositions and revise schedule of
                                                                     depositions; revise timeline of discovery for
                                                                     use at conference call with Judge
                                                                     McCarthy; receipt and review of eJiling
                                                                     notifications from Court following
                                                                     conference call; download same; e-mails to
                                                                     and from J. Shoemaker and A. Nadir final
                                                                     schedule of depositions and ananging for
                                                                     court reporter and conference room; e-
                                                                     mails to and from A. Reeves regarding
                                                                     same.
oootFn                     03/09/1 5    2653659       JENNIFER       Court conference regarding depositions.            .50   $290.00      $145.00
                                                      SHOEMAKER
999250                     03/1 0/1 5   2646634       ALINA NADIR    Emails to/from J. Hance and J. Shoemaker           .20   $235.00        $47.00
                                                                     regarding deposition schedule.
999250                     03/1 0/1 5   2648389       JANICE HANCE   Receipt and review of letter from J. Wujcik       3.00   $160.00       $480.00
                                                                     to Judge McCarthy advising that C. Cuer
                                                                     will be present at the depositions; receipt
                                                                     and review of additional complaint from
                                                                     Lancaster Police Department in response
                                                                     to FOIL request; revise and finalize
                                                                     depositions schedules and e-mail same to
                                                                     J. Shoemaker and A. Nadir for review;
                                                                     e=mails regarding changes to same;
                                                                     interoffice conferences with J. Shoemaker
                                                                     and A. Nadir regarding status. depositions,
                                                                     exhibits, responses to demands, etc.;
                                                                     telephone call to J.W. Hunt to reserve
                                                                     stenographer for all upcoming depositions;
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                                             No.                                                                                                                  AMOUNT:
                                                                          prepare case information sheet; scan and
                                                                          e-mail same, deposition schedule and
                                                                          caption to J.W. Hunt for their use in
                                                                          preparing for depositions.
999250                     03/1 0/1 5        2653687       JENNIFER       Conference with client regarding                  .70   $290.00      $203.00
                                                           SHOEMAKER      depositions.
999250                     03/1   1/'1   5   2648242       JANICE HANCE   Several communications with J.W. Hunt             .60   $160.00       $96.00
                                                                          reserving court reporter for upcoming
                                                                          depositions; interoffice conferences with J.
                                                                          Shoemaker regarding deposition
                                                                          preparation; pull documents for ruse as
                                                                          exhibits at depositions.
999250                     03t12115          2647315       ALINA NADIR    Review emails between counsel regarding           .40   $235.00        $94.00
                                                                          upcoming deposition.
999250                     03t12t15          2648261       JANICE HANCE   lnteroffice conferences regarding                J.UU   $160.00      $480.00
                                                                          depositions and exhibits; prepare letter to
                                                                          defense counsel fonruarding workers'
                                                                          compensation transcript; pull and copy all
                                                                          documents to use as exhibits at
                                                                          depositions; telephone call form J.W. Hunt
                                                                          confirming depositions of 3/3; e-mails from
                                                                          J. Shoemaker and defense counsel
                                                                          regarding depositions, stenographer,
                                                                          separating Plaintiff and Defendant t and
                                                                          responses to demands; e-mails form and to
                                                                          J.W. Hunt regarding stenographer and
                                                                          depositions; review workers' compensation
                                                                          records for references to Conway.
999250                     03t12t15          2648387       JENNIFER       Prepare for Conway Deposition.                   8.50   $290.00     $2,465.00
                                                           SHOEMAKER
999250                     03/1 3/1 5        2647542       ALINA NADIR    Travel to and from Attica, NY; attend the        7.00   $235.00     $1,645.00
                                                                          deposition of Defendant J. Conway;
                                                                          conference with J. Shoemaker and client
                                                                          regarding deposition.
999250                     03/1 3/1 5        2647545       ALINA NADIR    Prepare Plaintiffs Second Notice to               .40   $235.00        $94.00
                                                                          Produce to defendants.
999250                     03/1 3/1 5        2648386       JENNIFER       Deposition preparation and attendance.           7.50   $290.00     $2,1 75.00
                                                           SHOEMAKER
999250                     03/1 6/'15        2647910       ALINA NADIR    Finalize document demands to be served            .50   $235.00       $1 '17.50
                     Case 1:12-cv-01236-WMS-MJR Document 201-2 Filed 10/25/18 Page 59 of 162


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                                        No.                                                                                                                  AMoUNT:
                                                                    on opposing counsel; review an email from
                                                                    client regarding R. Worthington to prepare
                                                                    for deposition.
999250                     03/1 6/1 5   2653510      JANICE HANCE   E-mails to and from A. Reeves regarding         1.00 $160.00            $160.00
                                                                    new dates of depositions and reserving
                                                                    conferences rooms in Buffalo office to
                                                                    conduct same; telephone call to J.W. Hunt
                                                                    reserving stenographer for rescheduled
                                                                    depositions; continue preparing for
                                                                    depositions; interoffice conferences with J.
                                                                    Shoemaker and A. Nadir regarding same.
999250                     03/1 6/1 5   2653715      JENNIFER       Prepare for depositions.                         3.00      $290.00      $870.00
                                                     SHOEMAKER
999250                     03t17115     264851 5     ALINA NADIR    Conference with J. Shoemaker regarding               .60   $235.00      $141 .00
                                                                    status of discovery and depositions.
999250                     03t17115     2653717      JENNIFER       Prepare for depositions.                         3.70      $290.00     $1,073.00
                                                     SHOEMAKER
999250                     03/1 B/1 5   2648772      ALINA NADIR    Review emails between counsel; begin             2.40      $235.00      $564.00
                                                                    drafting motion for a protective order;
                                                                    conference call with counsel for parties and
                                                                    the court.
999250                     03/'18/15    2649783      JANICE HANCE   lnteroffice conference with J. Shoemaker         1.00 $160.00           $160.00
                                                                    and A. Nadir regarding change of
                                                                    deposition schedule, responses to
                                                                    demands and discovery deadline; e-mails
                                                                    from all counsel relating to same.
999250                     03/1 B/1 5   2653706      JENNIFER       Review letter from Wujcik; prepare               2.50      $290.00       $725.00
                                                     SHOEMAKER      response; several emails from client;
                                                                    several emails with court.
999250                     03/1 9/1 5   264900'1     ALINA NADIR    Review DOCCS' document production and            7.40      $235.00     $1,739.00
                                                                    interrogatory responses; conference with J.
                                                                    Shoemaker regarding same.
999250                     03/1 9/1 5   2653918      JANICE HANCE   Receipt and review of text order from court      1   .00   $160.00       $160.00
                                                                    regarding Cuer filing motion and download
                                                                    same; e-mails from counsel regarding
                                                                    responses io discovery; receipt and review
                                                                    of documents from the State responding to
                                                                    Plaintiffs demands; many e-mails from
                                                                    counsel regarding the scheduling of
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                                         No.                                                                                                                 Atuourur:
                                                                      depositions.
999250                      03/1 9/1 5   2654021       JENNIFER       Prepare for de positions.                        4.70    $290.00    $1,363.00
                                                       SHOEMAKER
999250                      03t20t15     2649280       ALINA NADIR    Review and revise outline for deposition of      4.90    $235.00    $1,151.50
                                                                      R. Worthington; conduct search for any
                                                                      additional relevant potential exhibits in new
                                                                      and previous document productions;
                                                                      review Defendant Cue/s motion to compel;
                                                                      conduct legal research to find factually
                                                                      similar cases; begin drafting response and
                                                                      cross-motion to motion to compel.
999250                      03t21t15     2649839       ALINA NADIR    Draft opposition and cross-motion to             3.60    $235.00      $846.00
                                                                      motion to compel
999250                      03t21t15     2653642       JENNIFER       Review recent disclosures from State              5.40   $290.00    $1,566.00
                                                       SHOEMAKER      defendants.
999250                      03t22t15     2649840       ALINA NADIR    Draft opposition and cross-motion to              4.30   $235.00    $1,010.50
                                                                      Defendant Cue/s motion to compel; emails
                                                                      to/from client regarding Cue/s attempts at
                                                                      contacting her; emails to/from J.
                                                                      Shoemaker regarding additional discovery
                                                                      demands.
999250                      03t22t15     2651 080      JENNIFER       Prepare for depositions; Draft Cuer outline.      6.B0   $290.00     $1,972.00
                                                       SHOEMAKER
999250                      03t23t15     2649843       ALINA NADIR    Complete drafting opposition to Defendant         b.bu   $235.00     $1,551.00
                                                                      Cueis Motion to Compel and Cross-Motion
                                                                      for Protective Order; prepare for upcoming
                                                                      depositions; telephone conference with J.
                                                                      Shoemaker and client.
999250                      03t23t15     2651079       JENNIFER       Prepare for Cuer deposition                      13.50   $290.00     $3,915.00
                                                       SHOEMAKER
999250                      03t23t15     2652098       JANICE HANCE   Many e-mails from all counsel regarding          10.50   $160.00     $1,680.00
                                                                      the scheduling and confirming of
                                                                      depositions, who can attend and who is not
                                                                      confirmed, responses to demands and C.
                                                                      Cuer being present at depositions; receipt
                                                                      and review of responses to demands;
                                                                      receipt and review of motion to compel filed
                                                                      by C. Cuer to be present at depositions
                                                                      and text orders pertaining to same; receipt
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                                           No.                                                                                                                AuouHr:
                                                                        and review of demands served by J.
                                                                        Wujcik; review documents produced by the
                                                                        State and begin preparing a digest of
                                                                        same; interoffice conferences regarding
                                                                        responses and scheduled depositions;
                                                                        telephone call from J.W. Hunt to confirm
                                                                        depositions in Buffalo office; copy and
                                                                        organize all documents to use as exhibits
                                                                        at depositions; receipt and review of
                                                                        Plaintiffls motion in opposition and in
                                                                        support of protective order; download and
                                                                        save same.
s99250                         03t23t15    2660531     CAROLA. CROSS    Conference with J. Shoemaker, J. Hance;          6.80   $160.00    $1 ,088.00
                                                                        Begin review and summary of documents
                                                                        produced in response to Plaintifls First
                                                                        Request for Documents.
999250                         03t24t15    2651 078    JENNIFER         Prepare for and attend C. Cuer deposition.      12.80   $290.00    $3,712.00
                                                       SHOEMAKER
999250                         03124115    2652072     ALINA NADIR      Travel to/from Buffalo for deposition of C.     12.60   $235.00     $2,961.00
                                                                        Cuer; attend deposition of C. Cuer; prepare
                                                                        for additional depositions; review client's
                                                                        email to ensure all emails were produced.
999250                         03t24t15    2652115     JANICE HANCE     Continue preparing digest of documents           6.30   $160.00     $1 ,008.00
                                                                        produced by the State; receipt and review
                                                                        of redacted exhibits filed regarding the
                                                                        cross motion for a protective order; receipt
                                                                        and review of reply to motion; download
                                                                        and save same; scan and e-mails to and
                                                                        from J. Shoemaker following C. Cure
                                                                        depositions and deposition scheduled for
                                                                        the next day and documents to use as
                                                                        exhibits.
999250                         03t24t15    2660532     CAROL A, CROSS   Continue review and summary of                   4.50   $160.00       $720.00
                                                                        documents produced in response to
                                                                        Plaintiffs First Request for Documents.
999250                         03t25t15    2651077     JENNIFER         Depositions and preparation for C. Smith;       14.00   $290.00     $4,060.00
                                                       SHOEMAKER        Attend deposition.
999250                         03125115    2652074     ALINA NADIR      Travel to/from Buffalo for depositions;          9.90   $235.00     $2,326.50
                                                                        attend deposition of C. Smith; conduct
                     Case 1:12-cv-01236-WMS-MJR Document 201-2 Filed 10/25/18 Page 62 of 162


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                                       No.                                                                                                               AMoUNT:
                                                                    deposition of R. Worthington; prepare for
                                                                    deposition of B. Lilac.
999250                     03t25t15    2652122       JANICE HANCE   Continue preparing digest of documents          3.oo $160.00 $48o.oo
                                                                    produced by the State; review deposition
                                                                    schedule with D. Deruoyed; receipt and
                                                                    review of C. Cuer's response to cross-
                                                                    motion for protective order; ; download and
                                                                    save same; scan and e-mail same to J.
                                                                    Shoemaker; review schedule of
                                                                    depositions and e-mail J.W. Hunt to advise
                                                                    of change of schedule and reserve
                                                                    stenographer for additional days of
                                                                    depositions; file all documents and update
                                                                    pleadings status and binder.
999250                     03t26t15    2652075       ALINA NADIR    Travel to/from Buffalo for depositions;          9.80   $235.00    $2,303.00
                                                                    attend deposition of C. Retrosi; conduct
                                                                    deposition of B. Lilac; conference with
                                                                    client and J. Shoemaker; review court
                                                                    decision regarding C. Cuels motion to
                                                                    compel and plaintiffs cross-motion for a
                                                                    protective order.
999250                     03/26/1 5   2652096       JENNIFER       Prepare for and attend depositions of C.        12.00   $290.00     $3,480.00
                                                     SHOEMAKER      Retrosi and B. Lilac.
999250                     03t26t15    2652138       JANICE HANCE   Review file for e-mail regarding                 3.00   $160.00      $480.00
                                                                    substantiated complaint; scan and e-mail to
                                                                    J. Shoemaker for use at deposition; receipt
                                                                    and review of Decision and Order
                                                                    regarding motion to compel and motion for
                                                                    a protective order; download and save
                                                                    same; scan and e-mail to J. Shoemaker;
                                                                    receipt and review of additional judgment
                                                                    against DOCS for $850,000 for sexual
                                                                    harassment claim; download same; receipt
                                                                    and review of exhibit list to date; continue
                                                                    preparing digest of documents produced by
                                                                    the State; e-mails from counsel regarding
                                                                    C. Cuer evaluations; interoffice conference
                                                                    with a. Nadir following depositions.
999250                     03t27t15    2651472       ALINA NADIR    Conduct public records and internet              5.20   $235.00     $1,222.00
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                                        No.                                                                                                                AruouHr:
                                                                     research regarding non+esponsive
                                                                     witnesses to serve subpoenas; prepare for
                                                                     deposition of T. Will; emails to/from client
                                                                     regarding court decision.
999250                      03t27t15    2653536       JANICE HANCE   Review file regarding depositions of retired    4.50    $160.00      $720.00
                                                                     D0CS employees; interoffice conferences
                                                                     with A. Nadir regarding F. Annarino;
                                                                     prepare subpoena for the deposition of F.
                                                                     Annarino; revise and finalize same; review
                                                                     address to determine if mileage should be
                                                                     paid; make anangements for the payment
                                                                     of the witness fee; assist with arranging
                                                                     service of the subpoena; review Federal
                                                                     Court Rules regarding proper subpoena
                                                                     fee and advise process server of proper
                                                                     fee; interoffice conference with A. Nadir
                                                                     regarding status and clients reaction to the
                                                                     recently issued Decision and Order;
                                                                     continue preparing digest of the State's
                                                                     documents.
999250                      03t29t15    2652088       ALINA NADIR    Prepare for deposition of T. Will.                .90   $235.00      $21 1.50
999250                      03/30/1 5   26s2651       JENNIFER       Depositions and preparation for F.              12.50   $290.00    $3,625.00
                                                      SHOEMAKER      Annarino deposition.
999250                      03/30/1 5   2653524       ALINA NADIR    Travel to/from Buffalo; conduct deposition       8.80   $235.00    $2,068.00
                                                                     of T. Will; prepare for deposition of M.
                                                                     Erhardt; telephone conference with J.
                                                                     Shoemaker and F. Annarino; conference
                                                                     with client and J. Shoemaker.
999250                      03/30/1 5   2653540       JANICE HANCE   E-mails from and to J. Shoemaker                 3.00 $160.00 $480.00
                                                                     regarding deposition schedules; locate all
                                                                     depositions scheduled prepared to date
                                                                     and foruvard to J. Shoemaker; telephone
                                                                     call to Pare Chase to confirm service of
                                                                     subpoena on F. Annarino; e-mail from C.
                                                                     Caternolo also confirming same; telephone
                                                                     conference with and e-mails to and from G.
                                                                     Resnick regarding obtaining contact
                                                                     information for C. Robinson and M. Brown;
                                                                     receipt and review of contact information
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                                      No.                                                                                                                    Aruoum:
                                                                   for C Robinson form G. Resnick; prepare
                                                                   subpoena to take the depositions of F.
                                                                   Annarino; configure mileage and arrange
                                                                   for the payment of witness fee; telephone
                                                                   conference with G. Resnick advising that
                                                                   he cannot locate M. Brown without more
                                                                   information; e-mail to G. Resnick advising
                                                                   that M. Brown's middle initial is "E"; e-mails
                                                                   from and to J. Shoemaker regarding D.
                                                                   Nazon depositions.
999250                  03131115      2653519       ALINA NADIR    Travel to and from Buffalo; conduct               11.90 $235.00         $2,796.50
                                                                   deposition of M. Erhardt; attend deposition
                                                                   of S. Dolce; conference with client and i.
                                                                   Shoemaker; prepare for depositions of M.
                                                                   Bradt and B. Bradt.
999250                  03/31 /1 5    2653643       JENNIFER       Attend depositions in Buffalo of S. Dolce         10.00      $290.00    $2,900.00
                                                    SHOEMAKER      and M. Erhardt.
999250                  03/3 1 /1 5   2653948       JANICE HANCE   Telephone conferences with G. Resnick              2.00      $160.00      $320.00
                                                                   regarding address and other up to date
                                                                   information pertaining to M. Brown; e=mails
                                                                   to and form J. Shoemaker regarding same,
                                                                   date, time and location for M. Brown's
                                                                   depositions; prepare subpoena for M.
                                                                   Brown, redact and e-mail F. Annarino's
                                                                   subpoena to R. Benitez and J. Wujcik for
                                                                   their files and information; review file for
                                                                   Bates No. 776, scan and e-mail same to J.
                                                                   Shoemaker and A. Nadir for use at
                                                                   depositions; telephone call from A. Reeves
                                                                   regarding C. Robinson.
999250                  04t01t15      2654990       JANICE HANCE   Emails from and to J. Shoemaker and A.             1   .00   $160.00      $160.00
                                                                   Nadir regarding C. Robinson deposition; e-
                                                                   mails to and from C. Caternolo regarding
                                                                   status of service of subpoena on C.
                                                                   Robinson; telephone call to C. Robinson to
                                                                   confirm date, time and Iocation of
                                                                   deposition; e-mail from A. Nadir to R.
                                                                   Benitez regarding D. Nazon deposition.
999250                  04101115      26551 93      JENNIFER       Prepare for and attend depositions of M.          14.00 $290.00          $4,060.00
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                                         No.                                                                                                                     Atvtourur:
                                                         SHOEMAKER      Bradt and B. Bradt.
999250                     04/0 1 /1 5   2664299         ALINA NADIR    Travel to/from Buffalo; conduct depositions     10.00       $235.00    $2,350.00
                                                                        of M. Bradt and B. Bradt.
999250                     04t02t15      2655   1   95   JENNIFER       Depositions of F. Annarino and J.                12.00      $290.00    $3,480.00
                                                         SHOEMAKER      Goodrich.
999250                     04t02t15      2657428         JANICE HANCE   Review the State's documents for                     4.00   $160.00      $640.00
                                                                        references to J. Good rich; pull and copy all
                                                                        relevant documents; scan and e-mail to the
                                                                        Buffalo Office for use at J. Goodrich's
                                                                        deposition; complete the digest of the
                                                                        State's documents and merge both digests
                                                                        into one digest; update binders; receipt and
                                                                        review of affidavit of service for the
                                                                        subpoena on C. Robinson.
999250                     04t02t15      2664308         ALINA NADIR    Travel to/from Buffalo; attend depositions       1   1.00   $235.00    $2,585.00
                                                                        of F. Annarino and J. Goodrich.
999250                     04/03/1 5     2657458         JANICE HANCE   Review file regarding C. Robinson's                  1.30   $160.00      $208.00
                                                                        deposition; reserve conference rooms; e-
                                                                        mails to and from J. Shoemaker and A.
                                                                        Nadir regarding conference room conflict;
                                                                        e-mail to G. Resnick regarding M. Brown's
                                                                        address; telephone conferences with J.W.
                                                                        Hunt regarding depositions.
999250                     04/03/1 5     2664344         ALINA NADIR    Emails to/from J. Shoemaker and C.                    .30   $235.00       $70.50
                                                                        Caternolo regarding upcoming deposition.
999250                     04/06/1 5     2655051         ALINA NADIR    Prepare for deposition of C. Robinson;               4.20   $235.00      $987.00
                                                                        emails to/from client regarding C.
                                                                        Robinson.
999250                     04/06/1 5     2657501         JANICE HANCE   Telephone call from J.W. Hunt confirming             1.40 $160.00        $224.00
                                                                        depositions; receipt and review of all
                                                                        depositions marked to date from J.W. Hunt,
                                                                        review file regarding M. Brown's
                                                                        depositions; research and obtain address
                                                                        for Attorney General's Ofiice in Albany for
                                                                        location of deposition; revise subpoena and
                                                                        send to J. Shoemaker and A. Nadir for
                                                                        review; telephone call to C. Robinson
                                                                        confirming deposition.
999250                     04t07t15      2655409         ALINA NADIR    Prepare for and conduct deposition of C.             4.70   $235.00     $1,104.50
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                                            No.                                                                                                                Anourur:
                                                                         Robinson.
999250                        04107t15      2655903       JENNIFER       Attend deposition.                               2.00 $290.00 $580.00
                                                          SHOEMAKER
999250                        04/08/1 5     2655747       ALINA NADIR    Review email from client.                          .30   $235.00       $70.50
999250                        04/08/1 5     2657394       JANICE HANCE   E-mails from J. Shoemaker and R. Benitez          1.00   $160.00      $160.00
                                                                         regarding D. Nazon and M. Brown
                                                                         depositions; review file regarding subpoena
                                                                         to M. Brown and address of Albany
                                                                         Attorney General's office; revise and
                                                                         finalize subpoena and anange for service
                                                                         of same; receipt and review of transcript for
                                                                         J. Conway depositions; arrange for
                                                                         payment of same.
999250                        04/08/1 5     2664122       JENNIFER       Several emails from client; conferences           2.50   $290.00      $725.00
                                                          SHOEMAKER      regarding subpoenas; prepare for Nazon
                                                                         deposition; review federal rules regarding
                                                                         length of depositions.
999250                        04/09/1 5     2657414       JANICE HANCE   E-mail from process server confirming             2.00 $160.00        $320.00
                                                                         service of subpoena on M. Brown; receipt
                                                                         and review ofc. Cueis depositions
                                                                         transcript and anange for payment of
                                                                         same; e-mails to and from J. Shoemaker
                                                                         regarding same.
999250                        04t10t15      2657036       ALINA NADIR    Draft email to opposing counsel regarding          .80   $235.00      $188.00
                                                                         clients upcoming depositions.
999250                        04t10t15      2659028       JANICE HANCE   E-mails from counsel regarding                     .50   $160.00       $80.00
                                                                         accommodating Plaintiff for Cuer
                                                                         deposition; additional e-mail from process
                                                                         server advising that M. Brown was
                                                                         subserved by serving son, ; e-mail to T.
                                                                         Leatherland inquiring as to status of Dr.
                                                                         Reagles' report; review file regarding
                                                                         upcoming depositions and reserving
                                                                         stenographer and conference rooms.
999250                        04t13t15      2657544       ALINA NADIR    Find phone number for subpoenaed                  1.30 $235.00        $305.50
                                                                         witness; call subpoenaed witness
                                                                         regarding deposition; emails to/from J.
                                                                         Shoemaker and J. Hance regarding same.
99S250                        04t13t15      2659033       JANICE HANCE   E-mails from and to T. Leatherland                 .60   $160.00        $96.00
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                                             No.                                                                                                                   Auourut:
                                                                          regarding when to expect Dr. Regales'
                                                                          report; e-mails from and to A. Nadir
                                                                          regarding M. Brown deposition, confirm
                                                                          service of subpoena and advise no
                                                                          response from witness; receipt and review
                                                                          of potential telephone number for M. Brown
                                                                          from A. Nadir; e-mail to and from G.
                                                                          Resnick regarding update on M. Brown
                                                                          and request for bill for services rendered.
999250                         04t14t15      2659050       JANICE HANCE   Receipt and review of additional transcripts      .30    $160.00         $48.00
                                                                          and arrange for the payment of same.
999250                         04t15t15      2658222       ALINA NADIR    Review documents and prepare for                 5.20    $235.00      $1,222.00
                                                                          depositions to be held on 4/16/15; draft
                                                                          letter to opposing counsel regarding
                                                                          plaintifls upcoming depositions.
999250                         04t15t15      2659063       JANICE HANCE   Review file regarding status of D. Naxon          .30    $160.00         $48.00
                                                                          deposition and M. Brown deposition and
                                                                          reserving stenographer; e-mail from J.
                                                                          Shoemaker to stenog rapher forwarding
                                                                          exhibit to use at deposition.
s99250                         04t15t15      2664252       JENNIFER       Prepare for deposition of D. Nazon; Review       5.00    $290   00     $1,450.00
                                                           SHOEMAKER      transcript of C. Harvey.
9992s0                         04t16t15      26584't6      ALINA NADIR    Attend deposition of D. Nazon.                   5.40    $235.00       $1,269.00
999250                         04t16t15      2659068       JANICE HANCE   Conduct research regarding Trostle V.            1.00    $160.00        $160.00
                                                                          DOCs; obtain and download documents
                                                                          and scan to A. Nadir for use during
                                                                          deposition.
999250                         04t16t15      2660026       JENNIFER       Prepare for and attend deposition of D.          8.00    $290.00       $2,320.00
                                                           SHOEMAKER      Nazon.
999250                         04t17 t15     2658667       ALINA NADIR    Draft additional document demands; review        3.20    $235.00        $752.00
                                                                          notes from deposition to draft demands.
                                                                          Review file regarding M. Brown failing to        '1.90
999250                         04t17 t15     2659075       JANICE HANCE                                                            $160.00        $304.00
                                                                          appear at deposition; receipt and review of
                                                                          letter from J. Wujcik and review file
                                                                          regarding final plans for P. "small's
                                                                          deposition; e-mails to and from J.W. Hunt
                                                                          reserving stenog rapher and videographer
                                                                          for P. Small's depositions; receipt and
                                                                          review of updated report form Dr. Reagles;
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                                                                                                                                                                       Atuourur:
                                           No.
                                                                             several interoffice conferences with A.
                                                                             Nadir regarding status, Nazon and Brown
                                                                             depositions, Dr. Reagles' report and P.
                                                                             Small's deposition.
999250                        04t17115     2664393       JENNIFER            Review latest demands and Reagles                  1.80   $290.00      $522.00
                                                         SHOEMAKER           report.
999250                        04t18t15     2662911       JANICE HANCE        Organize file and update pleadings binder          1.30   $160.00      $208.00
                                                                             and file               indexes.
999250                        04t20t15     265931 6      ALINA NADIR                                                            1.70   $235.00      $399.50


999250                        04t20115     2664463       JANICE   HANCE E-mails from and to J. Shoemaker          and A.        1.00   $160.00      $160.00
                                                                             Nadir            Dr        les'



                                                                             review file regarding affidavit of service for
                                                                             subpoena on M. Brown; review file
                                                                             regarding Defendants request for clienfs
                                                                             phone records; scan authorizations to
                                                                             client for her review and signature; e-mails
                                                                             from and to client and J. Shoemaker
                                                                             regarding limiting authorization to obtain
                                                                             information pertaining to C. Cuer only and
                                                                             obtaining C. Cueis phone records.
999250                        04t20115     2664482       JANICE HANCE        Organize file.                                      .60   $160.00       $96.00
999250                        04t21t15     2659874       ALINA NADIR         Review invoice from Dr. Reagles.                    .tu   $235.00       $47.00
999250                        04t21t15     2662923       JANICE HANCE        Review file regarding phone authorizations         1.20   $160.00      $1   92.00
                                                                             and records we are willing to agree to
                                                                             provide to Defendants; review file
                                                                             regarding Dr. Reagles' report and expert
                                                                             disclosure; review recent case
                                                                             management order regarding same;
                                                                             prepare letterto J. Wujcik requesting
                                                                             revised authorizations and that he provide
                                                                             the same authorizations to obtain phone
                                                                             records of C. Cuer; receipt and review of
                                                                              invoice from Dr. Reagles and forurard to J.
                                                                              Shoemaker and A. Nadir.
999250                        04t22t15     2660'140      ALINA NADIR          Review firm documents for example of              1.30 $235.00        $305.50
                                                                              expert disclosure; email to/from J.
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                                           No.                                                                                                               Atrrtouttt:
                                                                        Shoemaker and J. Hance regarding same;
                                                                        begin drafting expert disclosure.
999250                        04t22t15     2662942       JANICE HANCE   Receipt and review of affidavit of service        .20   $160.00       $32.00
                                                                        for subpoena on M. Brown.
999250                        04t23t15     2662952       JANICE HANCE   lnteroffice conferences with J. Shoemaker        1.20   $160.00      $192.00
                                                                        and A. Nadir regarding status, depositions,
                                                                        expert disclosure and Dr. Reagles' report
                                                                        and credentials; e-mails to and from t.
                                                                        Leatherland regarding same; receipt and
                                                                        review of Dr. Reagles' cuniculum vitae, fee
                                                                        schedule and trial testimony list and
                                                                        fonarard to J. Shoemaker and A. Nadir for
                                                                        preparation of expert disclosure; research
                                                                        template to use for preparation of expert
                                                                        disclosure.
999250                        04t23t15     2664797       JENNIFER       Review information from Dr. Reagle's              50    $290.00      $145.00
                                                         SHOEMAKER      regarding life care plan.
999250                        04t24t15     2662969       JANICE HANCE   Continue preparing summary of T. Will            2.50   $160.00      $400.00
                                                                        deposition testimony; receipt and review of
                                                                        letters from Dr. Reagles to Drs. Trock and
                                                                        Gallacher and forward to J. Shoemaker
                                                                        and A. Nadir for review.
999250                        04t27t15     2661277       ALINA NADIR    Telephone conference with J. Shoemaker           1.30   $235.00      $305.50
                                                                        and client to prepare for deposition.
999250                        04t27 t15    2663201       JANICE HANCE   Receipt and review of additional transcripts     2.50   $160.00      $400.00
                                                                        and anange for the payment of same;
                                                                        telephone call from J.W. Hunt to confirm
                                                                        depositions; continue preparing summary
                                                                        of t. Will deposition testimony.
999250                        04t27t15     2664084       JENNIFER       Conferences with client to prepare for           2.20   $290.00       $638.00
                                                         SHOEMAKER      depositions.
999250                        04t28t15     2662978       ALINA NADIR    Travel to/from Buffalo; attend client's         12.00   $235.00     $2,820.00
                                                                        deposition.
999250                        04t28t15     2663321       JANICE HANCE   Complete summary of T. Will's deposition         4.00   $160.00       $640.00
                                                                        testimony; begin preparing summary of c.
                                                                        Robinson's deposition testimony.
999250                        04t28115     2664083       JENNIFER       Small deposition.                               12.00   $290.00     $3,480.00
                                                         SHOEMAKER
999250                        04t29t15     2663326       JANICE HANCE   Continue preparing summary of M. Brown's         2.00   $160.00       $320.00
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                                            No.                                                                                                                  AttlouHr:
                                                                           deposition testimony; communications with
                                                                           J. Shoemaker and J.W. Hunt to determine
                                                                           and confirm that Plaintiffs deposition will
                                                                           continue.
999250                        04/30/1 5     2664081       JENNIFER         Small Deposition.                               10.00     $290.00    $2,900.00
                                                          SHOEMAKER
999250                        04t30t15      2664508       JANICE HANCE     Continue preparing summary of M. Brown's          2.00    $160.00      $320.00
                                                                           deposition testimony.
999250                        04/30/1 5     2664725       ALINA NADIR      Travel to/from Buffalo; attend second day        10.80    $235.00    $2,538.00
                                                                           of clients deposition; review text messages
                                                                           on clients old cellular phones.
999250                        04/30/1 5     2664996       CAROL A. CROSS   Begin summary of Workers' Compensation            2.10    $160.00      $336.00
                                                                           records.
999250                        05/0 1 /1 5   2664825       ALINA NADIR      Emails to/from J. Shoemaker regarding             1.40    $235.00      $329.00
                                                                           content on clients cell       revtew
                                                                           email

                                                                                              review additional
                                                                           documents to be produced to opposing
                                                                           counsel.
999250                        05/01 /1 5    2665869       CAROL A. CROSS   Continue summary of WC records.                   6.'10   $160.00      $976.00
999250                        05/0 1 /1 5   2666621       JANICE HANCE     Continue preparing summary of M. Brown            3.60    $160.00      $576.00
                                                                           depositbn testimony; interoffice conference
                                                                           with A. Nadir regarding client's deposition;
                                                                           receipt and review of appendices to Dr.
                                                                           Reagles'report.
999250                        0s/0 1 /1 5   2672981       JENNIFER         Review Trostle case and notes from                1.50 $290.00         $43s.00
                                                          SHOEMAKER        deposition; conference regarding text
                                                                           messages, review additional documents for
                                                                           disclosure.
999250                        05t04t15      2665290       ALINA NADIR      Conference with J. Shoemaker regarding            1.90 $235.00         $446.50
                                                                           drafting settlement demand letter; review
                                                                           plaintifls mediation statement; begin
                                                                           revising to draft settlement demand letter.
999250                        05/04/1 5     2665877       CAROL A. CROSS   Continue summarizing WC records.                  5.00    $160.00      $800.00
999250                        05/04/1 5     2666624       JANICE HANCE     lnterofiile conference with J. Shoemaker to       4.20    $160.00      $672.00
                                                                           discuss client's deposition, expert's report,
                                                                           settlement demand and forwarding Dr.
                                                                           Reagles' report to R. Benitez; prepare letter
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                                            No.                                                                                                                    Atrrtouttt:
                                                                              to R. Benitez fonrvarding report and
                                                                              mediation statement; forward mediation
                                                                              statement to J. Shoemaker to use in
                                                                              preparation of settlement demand letter.
999250                        05/04/1 5     2672982          JENNIFER         Review email and notes regarding Dr.            2.90 $290.00         $841.00
                                                             SHOEMAKER        Reagles report and emotional support dog;
                                                                              work on demand letter.
999250                        05/05/'15     2665575          ALINA NADIR      Draft settlement demand letter; review          4.00    $235.00      $940.00
                                                                              deposition notes for edits to demand letter.
999250                        05/05/1 5     2665879          CAROL A. CROSS   Continue summary of WC records.                 4.80    $160.00      $768.00
999250                        05/06/1 5     2665865          ALINA NADIR      Review life plan approval by Dr. Gallacher;      1.30   $235.00      $305.50
                                                                              review deposition notes for edits to
                                                                              settlement demand letter.
999250                        05/06/1 5     2667854          CAROL A. CROSS   Continue summarizing Workers'                    2.60   $160.00      $41 6.00
                                                                              Compensation records.
999250                        05/06/1 5     2673113          JENNIFER         Review Reagles report.                            .20   $290.00       $58.00
                                                             SHOEMAKER
999250                        05/06/1 5     2673649          JANICE HANCE     Receipt and review of Dr. Gallache/s             2.40   $160.00      $384.00
                                                                              response to Dr. Reagles; review file
                                                                              regarding status of summarizing
                                                                              transcripts; continue preparing summary of
                                                                              C. Robinson transcript.
999250                        05t07115      2665972          ALINA NADIR      Conespondence and phone calls with J.            4.10   $235.00      $963.50
                                                                              W. Hunt Corp. regarding deposition
                                                                              transcripts delivery; review deposition
                                                                              transcripts.
999250                        05107t15      lot 5b5l         JANICE HANCE     Continue preparing summary of C.                 2.00   $160.00      $320.00
                                                                              Robinson deposition testimony.
999250                        05/08/1 5     26662   1   0    ALINA NADIR      Review deposition transcripts for testimony      3.60   $235.00      $846.00
                                                                              to cite in settlement demand letter.
999250                        05/08/1 5     26731 3B         JENNIFER         Conference regarding demand letter;              3.20   $290.00      $928.00
                                                             SHOEMAKER        review transcripts.
999250                        05t11115      looot   tt       ALINA NADIR      Review deposition testimony; revise              6.40   $235.00     $1,504.00
                                                                              settlement demand letter.
999250                        05111t15      2666925          JANICE HANCE     Complete the summary of C. Robinson's            3.60   $160.00      $576.00
                                                                              deposition testimony; continue preparing
                                                                              digest of workers' comp records.
999250                        05t11t15      2673141          JENNIFER         Review email from client regarding incident       20    $290.00        $58.00
                                                             SHOEMAKER        in parking garage.
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999250        1               05/1 1/1 5   2673217         JENNIFER         Review transcripts; review and revise          3.30    $290.00      $957.00
                                                           SHOEMAKER        proposed demand letter.
999250        1               05t12t15     2667228         JANICE HANCE     Complete the summary of B. Lilac               6.00    $160.00      $960.00
                                                                            deposition testimony; begin summary of C.
                                                                            Smith deposition testimony; receipt and
                                                                            review of invoice from AMF Reporting and
                                                                            anange for payment of same.
999250                        05112115     2667877         CAROL A. CROSS   Continue summary of Workers' ComP              4.80    $160.00      $768.00
                                                                            records.
999250                        05/1 3/1 5   2667251         ALINA NADIR      Review deposition testimony; revise             5.20   $235.00    $1,222.00
                                                                            settlement demand letter.
999250                        05/1 3/1 5   2667886         CAROL A. CROSS   Complete summary of Workers'                    6.00   $160.00      $960.00
                                                                            Compensation records.
999250                        05/1 3/1 5   2668407         JANICE HANCE     Complete the summary of C. Smith                6.00   $160.00      $960.00
                                                                            deposition testimony; begin preparing
                                                                            summary of M. Erhardt deposition
                                                                            testimony.
999250                        05/1 3/1 5   2673237         JENNIFER         Review transcripts.                             2.70 $290.00        $783 00
                                                           SHOEMAKER
999250                        05t14t15     2667650         ALINA NADIR      Prepare expert disclosure pleading.             1.10   $235.00      $258.50
999250                        05t14t15     2667890         CAROL A. CROSS   Finalize, proof and revise summary.             2.70   $160.00      $432.00
999250                        05114115     2668408         JANICE HANCE     Complete the summary of M. Erhardt              7.00   $160.00    $1,120.00
                                                                            deposition testimony; begin preparing
                                                                            summary of J. Conway deposition
                                                                            testimony.
999250                        05t14t15     2673   1   93   JENNIFER         Email with Reagles office regarding report;     1.50   $290.00      $435.00
                                                           SHOEMAKER        review expert disclosure.
999250                        05/1 5/1 5   2667959         ALINA NADIR      Continue to revise settlement demand            2.40   $235.00      $564.00
                                                                            letter and look for additional cites in
                                                                            deposition transcripts.
999250                        05/1 5/1 5   2668409         JANICE HANCE     Complete summary of J. Conway                   7.00   $160.00     $1,120.00
                                                                            deposition testimony.
999250                        05/1 5/1 5   2670663         CAROL A. CROSS   Continue summary of Rotrosi deposition          5.40   $160.00      $864.00
                                                                            transcript.
999250                        05/1 8/1 5   2668970         JANICE HANCE     Receipt and review of deposition transcript     4.50   $160.00      $720.00
                                                                            of Plaintiff; e-mails to and from J.
                                                                            Shoemaker regarding noting requests for
                                                                            documents in deposition testimony;
                                                                            prepare document to post request for
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                                                                        documents found in testimony; begin
                                                                        preparing summary of S. Dolce deposition
                                                                        testimony.
999250                      05/1 8/1 5   2670643       CAROLA. CROSS    Complete, review and r review Rotrosi             5.40    $160.00      $864.00
                                                                        deposition summary; Begin summary of M.
                                                                        Bradt deposition transcript.
999250                      05/1 9/1 5   2670526       JANICE HANCE     Receipt and review of Plaintiffs depositions      4.00 $160.00 $640.00
                                                                        transcript and bills for services; e-mails to
                                                                        and from J. Shoemaker regarding who is
                                                                        responsible to pay invoice for
                                                                        videographer; prepare letter to defense
                                                                        counsel forwarding bill for videographer for
                                                                        payment; continue summarizing testimony
                                                                        of S. Dolce; review depositions witness list
                                                                        to determine which transcripts are lefi to
                                                                        summarize.
999250                      05/1 9/1 5   2670632       CAROLA. CRoSS    Finalize summary of M. Bradt deposition           5.80    $160.00      $928.00
                                                                        transcript; Begins summary of C. Cuer
                                                                        deposition transcript.
999250                      05t20t15     266931   1    ALINA NADIR      Continue to revise settlement demand               4.20   $235.00      $987.00
                                                                        letter and look for additional cites in
                                                                        deposition transcripts; revise expert
                                                                        disclosure pleadings.
999250                      05t20t15     2670628       CAROL A. CROSS   Continue summary of Cuer deposition                4.40   $160.00      $704.00
                                                                        transcript.
999250                      05t20t15     2673223       JENNIFER         Review Small transcript; email with                3.00   $290.00      $870.00
                                                       SHOEMAKER        Benitez.
9992s0                      05t20t15     2673269       JANICE HANCE     Email from R. Benitez regarding bill for           4.50   $160.00      $720.00
                                                                        video; receipt and review of additional letter
                                                                        to counsel for video bill for payment; e-mail
                                                                        to and from J. Shoemaker regarding
                                                                        transcripts and invoices also being sent to
                                                                        defense counsel; e=mails to and from J.W.
                                                                        Hunt inquiring as to same; continue
                                                                        preparing summary of S. Dolce's
                                                                        deposition testimony.
999250                      05t21t15     2669665       ALINA NADIR      Continue to revise settlement demand               4.20   $235.00      $987.00
                                                                        letter and look for additional cites in
                                                                        deposition transcripts.
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999250                        05t21t15    2669812       JENNIFER         Review and revise settlement letter; review     2.90    $290.00     $841.00
                                                        SHOEMAKER        transcripts.
999250                        05t21t15    2670613       CAROL A. CROSS   Continue summarizing Cuer transcript.           4.70    $160.00      $752.00
999250                        05t22t15    2669895       ALINA NADIR      Continue to revise settlement demand            5.50    $235.00    $1,292.50
                                                                         letter and look for additional cites in
                                                                         deposition transcripts; conduct legal
                                                                         research for jury verdicts to cite in demand
                                                                         letter.
999250                        05t22t15    2670540       JANICE HANCE     Continue preparing summary of S. Dolce          4.00    $160.00      $640.00
                                                                         deposition testimony.
999250                        05t22115    2670611       CAROL A. CROSS   Finish summary of Cuer deposition               b.JU    $160.00    $1,008.00
                                                                         transcript.
999250                        05t22t15    2673249       JENNIFER         C. Cuer transcript review; revisions to          J.JU   $290.00      $957.00
                                                        SHOEMAKER        letter.
999250                        05/26/1 5   2670675       ALINA NADIR      Review deposition transcripts for additional     3.10   $235.00      $728.50
                                                                         testimony to cite in settlement demand
                                                                         letter; revise settlement demand letter;
                                                                         conduct legal research to find jury verdicts
                                                                         to cite in demand letter.


999250                        05t26t15    2672443       CAROL A. CROSS   Review, revise Cuer deposition summary.           .70   $160.00      $1 12.00
999250                        05t26t15    2673286       JANICE HANCE     Organize file; continue preparing summary        4.50   $160.00      $720.00
                                                                         of S. Dolce deposition.
999250                        05t26t15    2673764       JENNIFER         Conference with client regarding parking          .80   $290.00      $232.00
                                                        SHOEMAKER        garage incident; review and revise letter.
999250                        05t27 t15   2671192       ALINA NADIR      Review deposition transcripts for additional     1.90   $235.00      $446.50
                                                                         testimony to cite in settlement demand
                                                                         letter; revise settlement demand letter.
999250                        05127115    2672455       CAROL A. CROSS   Summarize Annarino deposition testimony;         5.80   $160.00      $928.00
                                                                         Review and revise same.
999250                        05t27t15    2673290       JANICE HANCE     Continue preparing summary of S. Dolce's         4.50   $160.00      $720.00
                                                                         deposition testimony.
999250                        05t27t15    2673849       JENNIFER         Revise letter; review transcripts of Conway      1.80   $290.00      $522.00
                                                        SHOEMAKER
999250                        05t28t15    2671620       ALINA NADIR      Review deposition transcripts for additional     3.10   $235.00      $728.50
                                                                         testimony to cite in settlement demand
                                                                         letter; revise settlement demand lefter.
999250                        05t28t15    2672464       CAROL A. CROSS   Summarize, review and revise R.                  5.80   $160.00      $928.00
                                                                         Worthington deposition transcript.
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999250                           05t28t15      2673299       JANICE HANCE     Complete the summary of S. Dolce's               3.70    $160.00      $592.00
                                                                              depositions testimony and being preparing
                                                                              same for client.
999250                           05t28t15      2673908       JENNIFER         Review Conway and Dolce transcripts.             3.80    $290.00    $1,102.00
                                                             SHOEMAKER
999250                           05/29/1 5     2672185       ALINA NADIR      Review deposition transcripts for additional     2.40    $235.00      $564.00
                                                                              testimony to cite in settlement demand
                                                                              letter; revise settlement demand letter.
999250                           05t29t15      2673672       JANICE HANCE     Continue preparing summary of Plaintiffs         5.00    $160.00      $800.00
                                                                              deposltion testimony.
999250                           05t29t15      2673873       CAROL A. CROSS   Begin summary of J. Wolcott deposition           4.50    $160.00      $720.00
                                                                              transcript.
999250                           06/01 /1 5    2673852       ALINA NADIR      Conduct legal research related to punitive       5.50    $235.00    $1,292.50
                                                                              damage awards and post traumatic stress
                                                                              disorder in similar cases to include in
                                                                              settlement demand letter.


999250                           06/0 1 /1 5   2674513       JENNIFER         Conferences   reg arding damages.                  .50   $290.00      $145.00
                                                             SHOEMAKER
999250                           06/01 /1 5    2675325       JANICE HANCE     Continue preparing summary of Plaintiffs          J.5U   $160.00      $560.00
                                                                              deposition testimony.
999250                           06/01 /1 5    2675686       CAROLA. CROSS    Complete, review and revise Wolcott               6.70   $160.00    $1,072.00
                                                                              deposition summary.
999250                           06102115      2675495       JANICE HANCE     Continue preparing summary of Plaintifls          2.40   $160.00      $384.00
                                                                              deposition testimony.
999250                           06102115      2675698       CAROL A. CROSS   Begin summary of B. Bradt deposition              4.10   $160.00      $656.00
                                                                              transcript.
999250                           06/03/1 5     2675147       ALINA NADIR      Draft letter to opposing counsel regarding        1.00   $235.00      $235.00
                                                                              tardy discovery.
999250                           06/03/1 5     2675537       JANICE HANCE     Receipt and review of additional statement        2.30   $160.00      $368.00
                                                                              for services, with interest, from Dr. Reagles
                                                                              and forward same to J. Shoemaker; e-
                                                                              mails to and from J. Shoemaker regarding
                                                                              same; review file for previous inVoices and
                                                                              fonrvard to J. Shoemaker; continue
                                                                              preparing summary of Plaintiffs deposition
                                                                              testimony.
999250                           06/03/1 5     2675702       CAROLA. CROSS    Continue summary of B. Bradt deposition           5.50   $160.00      $880.00
                                                                              transcript.
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999250                         06/03/1 5    2684072       JENNIFER         Review expert disclosure and invoices            2.50    $290.00      $725.00
                                                          SHOEMAKER        conference with Reagles office.
999250                         06/04/1 5    2675420       ALINA NADIR      Email from client.                                 .20   $235.00       $47.00


999250                         06/04/1 5    2675853       JANICE HANCE     Receipt and review of e-mail from Dr.            3.50    $160.00      $560.00
                                                                           Reagles waiving interest charged to date;
                                                                           continue preparing summary of Plaintiffs
                                                                           deposition testimony.
999250                         06/04/1 5    2677074       CAROL A, CROSS   Complete summary of B. Bradt deposition          3.40    $160.00      $544.00
                                                                           testimony.
999250                         06/04/1 5    2684079       JENNIFER         Review file for outstanding discovery; letter     1.50   $290.00      $435.00
                                                          SHOEMAKER        to counsel
999250                         06/05/1 5    2677083       CAROL A. CROSS   Review and revise B. Bradt deposition             5.70   $160.00      $912.00
                                                                           summary; Begin summary of D. Nazon
                                                                           deposition transcript.
999250                         06/05/1 5    2677775       JANICE HANCE     Continue preparing the summary of                 3.00   $160.00      $480.00
                                                                           Plaintifls deposition testimony.
999250                         06/08/1 5    2677091       CAROL A. CROSS   Continue summary of D. Nazon deposition           2.80   $160.00      $448.00
                                                                           testimony.
999250                         06/08/1 5    2678079       JANICE HANCE     Continue preparing summary of Plaintiffs          4.20   $160.00      $672.00
                                                                           deposition testimony.
999250                         06/09/1 5    2677102       CAROL A. CROSS   Complete summary of D. Nazon deposition           4.00   $160.00      $640.00
                                                                           transcript.
999250                         06/09/1 5    2684097       JENNIFER         Email with Benitez; review file for workers'      3.60   $290.00     $1,044.00
                                                          SHOEMAKER        compensation determination; review and
                                                                           revise settlement letter; review Goodrich
                                                                           transcript.
999250                         06/09/1 5    2684724       JANICE HANCE     Review file for final workers' comp               4.60   $160.00      $736.00
                                                                           decision; scan and e-mail to J. Shoemaker;
                                                                           e-mails from J. Shoemaker and R. Benitez
                                                                           regarding same; continue preparing
                                                                           summary of Plaintifls deposition testimony.
999250                         06/1 0/1 5   2676988       ALINA NADIR      Conduct legal research for additional jury        2.00   $235.00      $470.00
                                                                           verdicts to cite in settlement demand letter.
999250                         06/1 0/1 5   2679426       CAROL A. CROSS   Review, revise D. Nazon deposition                1.20   $160.00      $192.00
                                                                           summary.
999250                         06/1 0/1 5   2684099       JENNIFER         Review text messages                               .60   $290.00      $174.00
                                                          SHOEMAKER
999250                         06/1 1/15    2677402       ALINA NADIR      Conduct additional legal research to find         3.70   $235.00       $869.50
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                                                                       relevant jury verdicts and settlements to
                                                                       include in settlement demand letter.
999250                       06t11t15     2684104       JENNIFER       Several conferences regarding disclosure         1.70    $290.00      $493.00
                                                        SHOEMAKER      in response to Benitez email asking for
                                                                       extended time.
999250                       06t11t15     2684807       JANICE HANCE   Review file regarding payment of Dr.               .20   $160.00         $32.00
                                                                       Reagles' invoice.
999250                       06112115     26841 09      JENNIFER       Several emails from client.                        .50   $290.00      $145.00
                                                        SHOEMAKER
999250                       06/1 5/1 5   2678553       JANICE HANCE   Continue summarizing PIaintiffs deposition       5.50    $160.00      $880.00
                                                                       testimony.
999250                       06/1 6/1 5   2679671       JANICE HANCE   Continue preparing summary of Plaintiffs         5.00    $160.00      $800.00
                                                                       deposition testimony.
999250                       06/1 6/1 5   26841 06      JENNIFER       Review cases regarding PTSD;                     2.60    $290.00      $754.00
                                                        SHOEMAKER      conferences with Nadir regarding
                                                                       damages.
999250                       06117115     2678897       ALINA NADIR    Edit settlement demand letter to include         4.70    $235.00    $1,104.50
                                                                       jury verdicts and settlements; conference
                                                                       with J. Shoemaker regarding same.
999250                       06t17 t15    2679678       JANICE HANCE   Continue preparing summary of Plaintiffs          3.50   $160.00      $560.00
                                                                       deposition testimony.
999250                       06/1 8/1 5   2679359       ALINA NADIR    Make additional revisions to settlement           1.10   $235.00      $258.50
                                                                       demand letter.


999250                       06/'18/15    2679687       JANICE HANCE   Organize file and update binders and file         2.50   $160.00      $400.00
                                                                       and pleadings indexes; continue preparing
                                                                       summary of Plaintiffs deposition testimony
999250                       06/1 8/1 5   2684130       JENNIFER       Review and revise demand letter;                  J.UU   $290.00      $870.00
                                                        SHOEMAKER      research.
999250                       06/1 9/1 5   2679699       ALINA NADIR    Review email from client.                          .10   $235.00         $23.50
999250                       06/'1 9/15   2681 398      JANICE HANCE   Continue preparing summary of Plaintiffs          2.50   $160.00      $400.00
                                                                       deposition testimony.
999250                       06122t15     268 1 406     JANICE HANCE   Continue preparing summary of Plaintifls          I.UU   $160.00      $320.00
                                                                       deposition testimony.
999250                       06t24t15     26B0675       ALINA NADIR    Revise settlement demand letter to insert         2.90   $235.00      $681.50
                                                                       clients edits; send updated letter to client;
                                                                       review email response from client; make
                                                                       additional revisions to demand letter.
999250                       06t24t15     2680992       PAUL F         Office conference with J. Shoemaker                .20   $350.00         $70.00
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                                                           KENEALLY       regarding demand letter and NYS request
                                                                          for U&K fees to date.
999250                         06t24t15      2684154       JENNIFER       Finalize letter.                                1.70    $290.00      $493.00
                                                           SHOEMAKER
999250                         06126115      2681432       ALINA NADIR    Complete final review of settlement               .50   $235.00      $1 17.50
                                                                          demand letter.
999250                         06126115      2683567       JANICE HANCE   Continue preparing summary of Plaintiffs        2.30    $160.00      $368.00
                                                                          deposition testimony.
999250                         06/29/1 5     2683569       JANICE HANCE   Continue preparing summary of Plaintifls         1.20   $160.00      $192.00
                                                                          deposition testimony.
999250                         07t01n5       2685097       ALINA NADIR    Review letterfrom J. Wujcik regarding             .20   $235.00       $47.00
                                                                          retaining an expert.
999250                         07 t02115     2685260       ALINA NADIR    Conference with J. Shoemaker regarding            .20   $235.00       $47.00
                                                                          emotional damages expert.
999250                         07 t02t15     2685357       JANICE HANCE   Receipt and review of Defendant Cure/s            .30   $160.00       $48.00
                                                                          motion to extend the case management
                                                                          order and download same; receipt and
                                                                          review of scheduling order for motion;
                                                                          review fi le regarding same.
999250                         07/06/1 5     2685440       ALINA NADIR    Review defendants' expert disclosure;            2.80   $235.00      $658.00
                                                                          conduct research regarding expert; review
                                                                          cases in which he testified; telephone
                                                                          conference with J. Shoemaker and R.
                                                                          Benitez regarding settlement and
                                                                          defendanis' motion reg arding emotional
                                                                          damages expert; telephone call with J.
                                                                          Wujcik regarding same.
999250                         07t07t1s      268567'l      ALINA NADIR    Conduct legal research regarding whether         1.80 $235.00        $423.00
                                                                          PTSD can be considered a physical injury
                                                                          in federal court; draft letter to Court
                                                                          regarding PTSD experts.
999250                         07 t08t15     2686083       ALINA NADIR    Conduct legal research regarding whether         1.60 $235.00        $376.00
                                                                          PTSD can be considered a physical injury
                                                                          in federal court; review Court's order
                                                                          staying motion to extend case
                                                                          management order.
999250                         07 t13t15     2690949       JANICE HANCE   Receipt and review of reply letter to motion      .40   $160.00       $64.00
                                                                          for extend case management order and
                                                                          download same; receipt and review of text
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                                                                      order for adjournment to negotiate
                                                                      settlement; interoffice conference with J.
                                                                      Shoemaker to discuss settlement, etc.
999250                      07 t16t15    2690990       JANICE HANCE   E-mails from and to T. Leatherland                .20 $160.00          $32.00
                                                                      regarding status and whether a trial daie
                                                                      has been set.
999250                      07 t17 t15   2692642       JANICE HANCE   E-mails from T. Leatherland regarding trial       .20    $160.00       $32.00
                                                                      date.
999250                      07120115     2692652       JANICE HANCE   lnteroffice conference with A. Nadir              .20    $160.00       $32.00
                                                                      regarding status and settlement
                                                                      negotiations.
999250                      08/05/1 5    2697234       ALINA NADIR    Telephone call with R. Benitez regarding          .lu    $235.00       $47.00
                                                                      settlement status.
999250                      08/06/1 5    2697576       ALINA NADIR    Email to client regarding status of               .40    $235.00       $94.00
                                                                      settlement discussions; email court
                                                                      requesting phone participation for status
                                                                      conference.
999250                      08/07/1 5    2697848       ALINA NADIR    Review scheduling order to draft new                     $235.00       $70.50
                                                                      suggested dates.
                                                                                                                       '1.50
999250                      0B/1 0/1 5   2698097       ALINA NADIR    Review scheduling order; participate in                  $235.00      $352.50
                                                                      settlement status conference with judge
                                                                      and opposing counsel; telephone call with
                                                                      J. Shoemaker and P. Small to discuss
                                                                      same.
999250                      0B/1 3/'15   270605'l      ALINA NADIR    Review email from client.                         .10    $235.00        $23.50
999250                      08117115     27001 50      ALINA NADIR    Research to find recent decision in favor of     1.20    $235.00      $282.00
                                                                      DOCCS female employee in discrimination
                                                                      suit; email to/from J. Shoemaker regarding
                                                                      same; review decision.
999250                      08t27 t15    2703256       ALINA NADIR    Call R. Benitez and leave voicemail.              .10    $235.00        $23.50
999250                      09/08/1 5    2708835       JANICE HANCE   lnteroffice conference with J. Shoemaker          .20    $160.00        $32.00
                                                                      regarding status.
999250                      09/08/1 5    2714321       JENNIFER       Review status of matter; conference with A.      1.00    $290.00      $290.00
                                                       SHOEMAKER      Nadir; conference with court.
999250                      09t17t15     2709963       ALINA NADIR    Email to court regarding upcoming status          .10    $235.00        $23.50
                                                                      conference.
999250                      09121115     2712230       JANICE HANCE   Receipt and review of e-filing notifications      .20    $160.00        $32.00
                                                                      regarding the scheduling of status
                                                                      conferences; download same for file.
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                                           No.                                                                                                                 AtrrtouHt:

999250                         09t23t15    2713516       JANICE HANCE   Review file regarding upcoming court              .lu    $'160.00       $32.00
                                                                        deadlines and conference dates.
999250                         09t25t15    2712021       ALINA NADIR    Participate in status conference with court       .30    $235.00        $70.50
                                                                        and opposing counsel regarding mediation.
999250                         09t25t15    2713602       JANICE HANCE   Receipt and review of two e-filing                .JU    $160.00        $48.00
                                                                        notifications from the Court following status
                                                                        conference and scheduling due dates of
                                                                        motion to compel; download same.
999250                         09t25t15    2714357       JENNIFER       Conference call with judge and counsel            1.00 $290.00         $290.00
                                                         SHOEMAKER      regarding mediation; conference with A.
                                                                        Nadir; Review demand letter.
999250                         09/29/'r5   2112990       ALINA NADIR    Conduct legal research regarding motions          1.20 $235.00         $282.00
                                                                        to compel mediation; begin drafting
                                                                        memorandum of law in support of motion to
                                                                        compel mediation.
999250                         09/30/1 5   2713625       ALINA NADIR    Conduct legal research regarding motions          4.10   $235.00       $963.50
                                                                        to compel mediation pursuant to court's
                                                                        ADR program; draft memorandum of law in
                                                                        support of motion to compel mediation;
                                                                        conference with J. Shoemaker regarding
                                                                        same.
999250                         09/30/1 5   2714359       JENNIFER       Several conferences with client regarding         2.70   $290.00       $783.00
                                                         SHOEMAKER      mediation and status.
999250                         09i30/1 5   2714875       JANICE HANCE   Several e-mails from client requesting a           .40   $160.00         $64.00
                                                                        copy of her retainer agreement; e-maib to
                                                                        and from J. Shoemaker regarding same;
                                                                        interoffice conference with A. Nadir to
                                                                        discuss status of case and client's request
                                                                        for documentation.
999250                         10t01t15    2725645       JENNIFER       Lengthy conference with client regarding          1.50   $290.00       $435.00
                                                         SHOEMAKER      mediation versus settlement.
999250                         10t02t15    2715920       JANICE HANCE   Revise and finalize motion to compel;              .90   $160.00       $144.00
                                                                        prepare certificate of service; ;scan motion
                                                                        and e-file same; download filed version of
                                                                        motion for the file.
999250                         10102115    2725647       JENNIFER       Review and revise motion for mediation.            70    $290.00       $203.00
                                                         SHOEMAKER
999250                         10t02t15    2726682       ALINA NADIR    Draft motion to compel mediation and              3.10   $235.00       $728.50
                                                                        supporting affirmation of J. Shoemaker;
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                                                                        revise based on J. Shoemake/s edits.


999250                      1   0/05/1 5    2715879      ALINA NADIR    Work on motion to compel.                         .40     $235.00        $94.00
999250                      1   0/05/1 5    2717023      JANICE HANCE   Review file regarding recent filing of motion      .30    $160.00        $48.00
                                                                        to compel mediation and possible defective
                                                                        filing; receipt and review of e-filing
                                                                        notifications from the court regarding
                                                                        incorrect filing but advising that the motion
                                                                        is being considered still pending.
999250                      1   0/05/1 5    2725650      JENNIFER       Conference regarding notice of motion;             .50    $290.00       $'145.00
                                                         SHOEMAKER      email with J. McCarthy.
999250                      1   0/05/1 5    tt   loovo   ALINA NADIR    Email to/from J. Hance regarding filed             20     $235.00           $47.00
                                                                        motion and notice.
999250                      1   0/06/1 5    2717045      JANICE HANCE   Begin preparing file for mediation; organize      1.60    $160.00       $256.00
                                                                        file and updated binders and indexes, etc.
999250                      10t07t15        2715229      ALINA NADIR    Prepare for mediation.                            2.40    $235.00       $564.00
999250                      10t07 t15       2717071      JANICE HANCE   Continue preparing file for mediation,            5.00    $160.00       $800.00
                                                                        updating pleadings binder and pleadings
                                                                        and file indexes, etc.; continue preparing
                                                                        summary of Plaintiffs deposition testimony.
999250                      1   0/08/1 5    2720391      JANICE HANCE   Continue preparing summary of Plaintiffs          1.50    $160.00       $240.00
                                                                        deposition testimony.
                                                                                                                          '1.50
999250                      I 0/09/1 5      2720402      JANICE HANCE   Continue preparing summary of Plaintiffs                  $160.00       $240.00
                                                                        deposition testimony.
999250                      10t13t15        2720431      JANICE HANCE   Complete summary of Volume I of                   J.UU    $ 160.00      $480.00
                                                                        Plaintiffs depositions testimony; review and
                                                                        finalize same; begin preparing summary of
                                                                        Volume ll of Plaintifls depositions
                                                                        testimony.
999250                      10t13115        2726008      JENNIFER       Research regarding 1983 damages                   1.00    $290.00       $290.00
                                                         SHOEMAKER
999250                      10114115        2720453      JANICE HANCE   Continue preparing summary of Plaintiffs          1.00    $160.00       $   160.00
                                                                        deposition testimony.
                                                                                                                            EN
999250                      1   0/1 6/1 5   2720262      ALINA NADIR    Review defendants' responses to plaintiffs                $235.00       $117.50
                                                                        motion to compel mediation.
999250                      10t16t15        2722467      JANICE HANCE   Receipt and review of the Declaration filed        .30    $160.00           $48.00
                                                                        by defense counsel in opposition to
                                                                        compel; download same.
999250                      1   0/1 6/1 5   2726124      JENNIFER       Review motion responses from defendants.           .50    $290.00       $145.00
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                                            No.                                                                                                              AMoUNT:
                                                          SHOEMAKER
999250                      1   0/1 6/1 5   2726209       JANICE HANCE   Continue preparing summary of Plaintiffs       2.00    $160.00      $320.00
                                                                         deposition testimony.
999250                      1   0/1 9/1 5   2722474       JANICE HANCE   Receipt and review of affidavit filed by R.      60    $160.00       $96.00
                                                                         Benitez in opposition to the motion to
                                                                         compel mediation; download same and
                                                                         update pleadings binder and index.
oootAn                      1   0/1 9/1 5   2722481       JANICE HANCE   Continue preparing summary of Plaintiffs       2.00    $160.00      $320.00
                                                                         deposition testimony.
999250                      10t20t15        2722486       JANICE HANCE   Continue preparing summary of Plaintiffs       4.00    $160.00      $640.00
                                                                         depositions testimony.
999250                      10t21t15        2725294       JANICE HANCE   E-mails from and to T. Leatherland               .20   $160.00       $32.00
                                                                         regarding status and settlement.
999250                      10t26115        2722634       ALINA NADIR    Conference with J. Shoemaker regarding           .60   $235.00      $141 .00
                                                                         mediation dates; review emails to/from J.
                                                                         Shoemaker and J. Saeli regarding
                                                                         mediation dates; review order from court
                                                                         granting motion to compel mediation.
999250                      10t26t15        2725393       JANICE HANCE   Receipt and review of Decision and Order         .20   $160.00       $32.00
                                                                         granting motion to compel mediation;
                                                                         download same.
999250                      10t26t15        2726628       JENNIFER       Review court order; contact mediator and        1.20 $290.00        $348.00
                                                          SHOEMAKER      opposing counsel to schedule date; several
                                                                         emails with client.
999250                      10t27 t15       2723288       ALINA NADIR    Emails to/from D. Derwoyed regarding             10    $235.00       $23.50
                                                                         printing judge's order granting motion to
                                                                         compel mediation.
999250                      10t27t15        2725515       JANICE HANCE   Review file regarding the Decision and           .20   $160.00       $32.00
                                                                         Order for mediation and how to proceed.
999250                      10t28t15        2723723       ALINA NADIR    Draft letter to judge requesting mediation      1.60   $235.00      $376.00
                                                                         date; review email response from judge;
                                                                         review email to J. Saeli from J. Shoemaker
                                                                         requesting mediation date.
999250                      10128115        2725788       JANICE HANCE   Continue summarizing Plaintiffs deposition      1.50   $160.00      $240.00
                                                                         testimony.
999250                      10t28t15        2726680       JENNIFER       Letter to court requesting trial date.           .50   $290.00      $145.00
                                                          SHOEMAKER
999250                      10t29115        2726079       JANICE HANCE   Continue preparing summary of Plaintiffs        4.50   $160.00      $720.00
                                                                         deposition testimony.
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                               10t29115       lt toSlu     ALINA NADIR    Review emails to/from J. Saeli and J.           .20    $235.00       $47.00
999250
                                                                          Shoemaker regarding mediation.
                                   0/30/l 5   2726527      ALINA NADIR    Review emails from defense counsel               .20   $235.00       $47.00
999250                         1

                                                                          regarding proposed mediation date.
                               11t02t15       2726796      ALINA NADIR    Telephone conference with client regarding       .90   $235.00      $21 1.50
999250
                                                                          next steps and mediation.
                               11t02t15       2732433      JENNIFER       Conference with Saeli regarding mediation;      1.20   $290.00      $348.00
999250
                                                           SHOEMAKER      conference regarding mediation.
999250                         11104115       2727483      ALINA NADIR    Update mediation statement in preparation       1.40   $235.00      $329.00
                                                                          for upcoming mediation session.
ooot(n                         11t04115       2732454      JENNIFER       Review settlement letter.                       1.00   $290.00      $290.00
                                                           SHOEMAKER
999250                         11104115       2735553      JANICE HANCE   Continue preparing Plaintifls deposition        2.00   $160.00      $320.00
                                                                          testimony.
999250                         11t05t15       2727498      ALINA NADIR    Update mediation statement in preparation       1.30   $235.00      $305.50
                                                                          for upcoming mediation session.
999250                         1   1/09/15    2728293      ALINA NADIR    Revise updated mediation statement.             1.30   $235.00      $305.50
999250                         11t10t15       2735558      JANICE HANCE   Continue preparing Plaintiff s deposition       2.00   $160.00      $320.00
                                                                          testimony.
999250                         11t11115       2729084      ALINA NADIR    Attend mediation via conference call.            .80   $235.00      $188.00
999250                         11t11n5        2729127      JENNIFER       Prepare for and attend mediation;               2.50   $290.00      $725.00
                                                           SHOEMAKER      conference with client; review expert
                                                                          witnesses for emotional damages.
999250                             11t11t15   273OO9O      JANICE HANCE   Receipt and review of Mediation Certificate      .40   $160.00        $64.00
                                                                          file by J. Saeli confirming no seftlement;
                                                                          update pleadings index and binder.
999250                             11t12t15   2129530      ALINA NADIR    Telephone call with an emotional damages        1.70 $235.00        $399.50
                                                                          expert and J. Shoemaker; perform
                                                                          background research on the potential
                                                                          expert.
999250                             11t12t15   2730 1 0S    JANICE HANCE   Receipt and review of text order for             .20   $160.00        $32.00
                                                                          conference to schedule deadlines and
                                                                          download same; send to docket clerk to
                                                                          enter on litigation calendar.
999250                             11t13t15   2735555      JANICE HANCE   Continue preparing Plaintiffs deposition        2.00   $160.00       $320.00
                                                                          testimony.
999250                             11t13t15   2735692      ALINA NADIR    Perform background research on potential        1.80   $235.00       $423.00
                                                                          experts and search for additional
                                                                          individuals who could serve as emotional
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                                           No.                                                                                                               AMoUNT:

                                                                        damages expert.


999250                        11116115     2730624      ALINA NADIR     Phone call with Dr. Reagles regarding            .20    $235.00       $47.00
                                                                        additional emotional damages
                                                                        recommendations.
999250                        11t16115     2732527      JANICE HANCE    Continuing preparing summary of Plaintiffs      2.00    $160.00      $320.00
                                                                        deposition testimony.
999250                        11t17 t15    2730739      ALINA NADIR     Telephone conference with Dr. Lesswing          2.90    $235.00      $681.50
                                                                        and J. Shoemaker regarding retaining him
                                                                        as emotional damages expert; telephone
                                                                        conference with client regarding same;
                                                                        email from Dr. Lesswing with fee rates and
                                                                        with cuniculum vitae attached; review
                                                                        cuniculum vitae and discuss with J.
                                                                        Shoemaker; research background
                                                                        information on expert.
999250                        11t17t15     2732537      JANICE HANCE    Review file regarding upcoming telephone          .30   $160.00       $48.00
                                                                        conference with the Court and calendaring
                                                                        of same.
999250                        11t18t15     2731248      ALINA NADIR     Email to/from plaintifls emotional damages       3.90   $235.00      $916.50
                                                                        expert to inform him plaintiff is retaining
                                                                        him; research Dr. Lesswing to gather
                                                                        background information and past case
                                                                        involvement.
999250                        11t19t15     2731637      ALINA NADIR     Review emails between J. Shoemaker and           2.60   $235.00      $61 1.00
                                                                        opposing counsel regarding plaintiffs
                                                                        proposed scheduling deadlines; draft joint
                                                                        proposed scheduling order; draft expert
                                                                        disclosure for plaintiffs emotional distress
                                                                        expert.
999250                        11t19t15     2732630       JANICE HANCE   Revise and finalize third amended case           1.00 $160.00        $160.00
                                                                        management order; prepare certificate of
                                                                        service; scan and e-file same; download
                                                                        filed version for file.
                                                                                                                          an
999250                        11t23t15     2732826       ALINA NADIR    Attend conference call with counsel and                 $235.00        $70.50
                                                                        judge to discuss deadlines moving fonvard.
999250                        11t23115     273381 5      JANICE HANCE   Receipt and review of minute entry from           .20   $160.00        $32.00
                                                                        the Court confirming no settlement reached
                                                                        during mediation and agreement of counsel
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                                                                      on provisions of proposed CMO; download
                                                                      same.
999250                       11t23115    2735624       JANICE HANCE   Update file index, pleadings index and           2.00 $160.00 $320.00
                                                                      pleadings binder; continue preparing
                                                                      summary of Plaintiffs deposition testimony.
999250                       11t24t15    2735368       JANICE HANCE   Continue preparing summary of Plaintiffls        4.00     $160.00      $640.00
                                                                      depositions testimony.
                                                                                                                        '1.50
999250                       11t30t15    2735511       JANICE HANCE   Receipt and review of signed and filed                    $160.00      $240.00
                                                                      case management order an download
                                                                      same; continue summarizing Plaintiffs
                                                                      deposition testimony.
999250                       12t02t15    2736135       ALINA NADIR    Email to expert Dr. Lesswing regarding             .lu    $235.00       $47.00
                                                                      required documents for his review.
999250                       12t03t15    2736306       ALINA NADIR    Email to/from Dr. Lesswing regarding               .90    $235.00      $211.50
                                                                      required documents to review; telephone
                                                                      conversation with Dr. Lesswing to discuss
                                                                      available documents and delivery methods.
999250                       12t03115    2738563       JANICE HANCE   Review file regarding status and the need          .20    $160.00       $32.00
                                                                      to provide newly retained expert with
                                                                      copies of pertinent records.
999250                       12t04t15    2736547       ALINA NADIR    Review file; email Dr. Lesswing documents         1.10 $235.00         $258.50
                                                                      for his review prior to speaking to client;
                                                                      convert flles to a readable PDF file;
                                                                      conference with J. Hance regarding
                                                                      gathering and delivery of remaining
                                                                      documents.
999250                       12t04t15    2738577       JANICE HANCE   Review file regarding status and new              2.50    $160.00      $400.00
                                                                      experts; copy all medical records and initial
                                                                      disclosures to forward to the new expert;
                                                                      prepare letter to expert fonrarding same;
                                                                      prepare and organize file for future
                                                                      litigation and update file index.
999250                       12t07t15    2737061       ALINA NADIR    Review file and deposition exhibits to            1.60 $235.00         $376.00
                                                                      identify important documents not previously
                                                                      sent to Dr. Lesswing; emails to/from Dr.
                                                                      Lesswing regarding same.
999250                       12t07t15    2738587       JANICE HANCE   Review file regarding any additional               .50    $160.00        $80.00
                                                                      records to send to expert; copy depositions
                                                                      exhibits and scan to A. Nadir to forward to
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                                             No.                                                                                                              AtrrtouHt:

                                                                          expert.
999250                        12t08115       273861 0      JANICE HANCE   Filing and organizing of file and updating       .40   $160.00       $64.00
                                                                          file and pleadings indexes.
999250                        12114115       2738805       ALINA NADIR    Conference with J. Shoemaker regarding           .40   $235.00       $94.00
                                                                          communication from expert Dr. Lesswing,
                                                                          review email from Dr. Lesswing.
999250                        12t14115       27M485        JENNIFER       Conference with N. Lesswing regarding           1.00   $290.00      $290.00
                                                           SHOEMAKER      expert report.
999250                        12t15t15       2739269       ALINA NADIR    Review and send deposition transcripts to        .80   $235.00      $188.00
                                                                          Dr. Lesswing.
9992s0                        12122115       2741322       ALINA NADIR    Convert additional deposition transcript to      .30   $235.00       $70.50
                                                                          PDF and email to Dr. Lesswing.
999250                        12122115       27 44529      JANICE HANCE   E-mails to and from T. Leatherland               .20   $160.00       $32.00
                                                                          regarding new Case Management Order
                                                                          and Court deadlines.
999250                        12t23t15       2741671       ALINA NADIR    Review ECF notice assigning case to              .20   $235.00        $47.00
                                                                          Magistrate Judge Roemer.
999250                        12t23t15       27 44012      JANICE HANCE   Receipt and review of Text Order refening        .20   $160.00        $32.00
                                                                          case to Magistrate Roemer and download
                                                                          same.
999250                        12t23t15       2744013       JANICE HANCE   E-mails to and from T. Leatherland               .20   $160.00        $32.00
                                                                          regarding status and possible trial date.
999250                        12t29t15       2742682       ALINA NADIR    Conference with J. Shoemaker regarding           .20   $235.00        $47.00
                                                                          expert review.
999250                        12t30t15       2744647       JANICE HANCE   Organize file and update pleadings binder       2.00   $160.00       $320.00
                                                                          and index; continue preparing summary of
                                                                          Plaintiff s deposition testimony.
999250                        01   /03/1 6   2754402       JENNIFER       Review email regarding expert evaluation.        .20   $300.00        $60.00
                                                           SHOEMAKER
999250                        01t04t16       2745072       ALINA NADIR    Review IME reports from client's workers'       2.30   $250.00       $575.00
                                                                          comp file; conference with J. Shoemaker
                                                                          regarding expert witnesses; emails to/from
                                                                          Dr. Lesswing regarding additional medical
                                                                          records.
999250                        01t04t16       2754403       JENNIFER       Email with Dr. Lesswing regarding lME.           .20   $300.00        $60.00
                                                           SHOEMAKER
999250                        01t04t16       2754409       JENNIFER       Conference with Dr. Lesswing; conference         .60   $300.00       $180.00
                                                           SHOEMAKER      with A. Nadir regarding Dr. Lesswing and
                                                                          requested records.
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999250                         01   /05/1 6   27 45278     ALINA NADIR    Review workers'comp records and lMEs             2.70       $250.00      $675.00
                                                                          performed on client; review same; email
                                                                          same to expert; emails to/from Dr.
                                                                          Lesswing.
999250                         0't/05/16      2746425      JANICE HANCE   Review file regarding status; review              1   .40   $165.00      $231 .00
                                                                          documents and records for all lMEs
                                                                          Plaintiff has had; copy and make folders for
                                                                          each examination;l update file index to
                                                                          include same; interoffice conference with
                                                                          A. Nadir regarding status, expert and
                                                                          summary judgment.
999250                         01   /05/1 6   2754415      JENNIFER       Conference with A. Nadir regarding                    .60 $300.00        $180.00
                                                           SHOEMAKER      requested records; conference with Dr.
                                                                          Lesswing.
999250                         01t07 t16      2745936      ALINA NADIR    Review Dr. Lesswing's draft report; email to      1.60 $250.00           $400.00
                                                                          client; email to/from Dr. Lesswing regarding
                                                                          relevant medical records.
999250                         01107116       2746435      JANICE HANCE   Receipt and review of e-mail regarding            1.20 $165.00           $198.00
                                                                          seftlement and print same to put in file for
                                                                          future reference; review file to determine if
                                                                          lMEs have been produced to defense
                                                                          counsel; copy certain reports forA. Nadi/s
                                                                          reference and use; update and organize
                                                                          file, update file index.
999250                         01t07 t16      2754467      JENNIFER       Review expert report from Dr. Lesswing.           1.00      $300.00      $300.00
                                                           SHOEMAKER
999250                         0'l/08/16      2746118      ALINA NADIR    Email expert report to client; review             1.40      $250.00      $350.00
                                                                          discovery issues; email to/from client
                                                                          regarding report.
999250                         0'1/08/'t 6    2746445      JANICE HANCE   Review file regarding status of discovery         1.80      $165.00      $297.00
                                                                          and production of all medical and workers'
                                                                          compensation records and workers'
                                                                          compensation hearing transcript and
                                                                          documents requested during depositions;
                                                                          review report prepared by new expert
                                                                          Lesswing; e-mails to and from client
                                                                          requesting new contact information and
                                                                          advise accounting of same; prepare letter
                                                                          to defense counsel fonrriarding workers'
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                                           No.                                                                                                             AuouHr:
                                                                       compensation transcript and IME reports.
999250                     01111116        2754485      JENNIFER       Conferences with client and Dr. Lesswing        1.50    $300.00      $450.00
                                                        SHOEMAKER      regarding report.
999250                     01t12t16        2748438      ALINA NADIR    Telephone conference with J. Shoemaker          1.60    $250.00      $400.00
                                                                       and Dr. Lesswing regarding his report.
999250                     01t12t16        2749915      JANICE HANCE   Review file for status of expert disclosure;      .90   $165.00      $148.50
                                                                       prepare notice to take deposition of M.
                                                                       Wolkoff; prepare letter to counsel serving
                                                                       same.
999250                     01t12t16        2754496      JENNIFER       Conference with client; review expert           2.00 $300.00 $600.00
                                                        SHOEMAKER      report; conference with Dr. Lesswing.
999250                     01/1 3/16       2748605      ALINA NADIR    Revise expert disclosure.                        1.10   $250.00      $275.00
999250                     01 /1 3/1   6   2749926      JANICE HANCE   Revise and finalize letter to counsel and         .40   $165.00       $66.00
                                                                       notices to take deposition of the State's
                                                                       expert.
999250                     01 /1 3/1   6   2754644      JENNIFER       Review expert disclosure; conference with         .50   $300.00      $150.00
                                                        SHOEMAKER      A. Nadir.
999250                     01t14t16        2749072      ALINA NADIR    Complete expert disclosure draft.                 .lu   $250.00       $50.00


999250                     01t15t16        2749276      ALINA NADIR    Finalize and produce expert disclosure;          1.60   $250.00      $400.00
                                                                       emails to/from J. Shoemaker and client
                                                                       regarding same; emails to/from J. Hance
                                                                       regarding discovery issues.
999250                     01 /1 s/1   6   2753164      JANICE HANCE   Scan and Bates stamp additional                  3.20   $165.00      $528.00
                                                                       documents to produce to counsel; prepare
                                                                       letter to defense counsel serving same;
                                                                       review file for additional work to be done
                                                                       and documents to produce before the
                                                                       discovery deadline ends; interoffice
                                                                       conference with A. Nadir regarding same;
                                                                       organize file and update file index.
999250                     01 /1 5/1   6   2754658      JENNIFER       Conference regarding additional IME               .20   $300.00       $60.00
                                                        SHOEMAKER      documents to be sent to defendants.
999250                     01t22t16        2755349      JENNIFER       Conference regarding expert examination           .20   $300.00       $60.00
                                                        SHOEMAKER      by defense.
999250                     01125116        2752003      ALINA NADIR    Conduct legal research regarding whether         2.40   $250.00      $600.00
                                                                       deposing attorney has to pay costs/fees to
                                                                       depose opponenfs expert; conference with
                                                                       legal colleague regarding whether legal
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                                     No.                                                                                                             Aruoulrr:
                                                                  representative attends an IME with the
                                                                  plaintiff.
999250                   01t25t16    2755392       JENNIFER       Research regarding expert witness              1.00    $300.00      $300.00
                                                   SHOEMAKER      depositions; conference with A. Nadir.
s9s250                   01t26t16    2752212       ALINA NADIR    Review past discovery demands and              1.80    $250.00      $450.00
                                                                  whether defendants responded; draft letter
                                                                  to opposing counsel requesting responses
                                                                  to unanswered demands.
999250                   01126116    2753204       JANICE HANCE   Review medicals to request updated             4.00    $165.00      $660.00
                                                                  records; e-mail to client regarding same;
                                                                  interoffice conferences with J. Shoemaker
                                                                  and A. Nadir regarding chart of iext
                                                                  messages and whether they need to be
                                                                  produced; review file for demands made by
                                                                  Defendants to determine if demand has
                                                                  been made for text messages; review
                                                                  demand for phone and cell records made
                                                                  by C. Cuer; review file for all demands
                                                                  made to Defendants and if they have been
                                                                  responded to and/or what remains
                                                                  outstanding; review file for demands made
                                                                  by Defendants to ensure we have
                                                                  responded to same; add recent pleadings
                                                                  to binder and update pleadings index;
                                                                  review workers' comp records regarding
                                                                  production of same; scan records initially
                                                                  received to produce to Defendants; begin
                                                                  preparing demand for documents
                                                                  demanded during depositions and never
                                                                  produced.
999250                   01t26t16    2755599       JENNIFER       Review flle regarding discovery;                 .90   $300.00      $270.00
                                                   SHOEMAKER      conference with A. Nadir regarding same;
                                                                  conference with client regarding expert
                                                                  report.
999250                    01t27t16   2752899       ALINA NADIR    Finalize letter to opposing counsel              .90   $250.00      $225.00
                                                                  regarding discovery demands; review flle to
                                                                  determine whether Thomas Will was
                                                                  deposed.
999250                   01t27t16    2753214       JANICE HANCE   Bates stamp additional workers comp             5.00 $165.00        $825.00
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                                          No.                                                                                                                    Auour,rr:
                                                                        records to produce to Defendants; create
                                                                        binder for same; prepare letter to Defense
                                                                        counsel forwarding same; update file index;
                                                                        review all depositions transcript for request
                                                                        for records during testimony of witnesses;
                                                                        lnteroffice conferences with A. Nadir
                                                                        regarding same; depositions follow-up and
                                                                        deposition of M. Brown; complete the
                                                                        demand for production of documents; copy
                                                                        and organize all attached exhibits to
                                                                        demand; prepare letter to defense counsel
                                                                        serving same; e-mail from client advising
                                                                        us to hold off on request for updated
                                                                        medical records until further notice; review
                                                                        file regarding same.
ooor(n                       01t28t16     2754892        JANICE HANCE   E-mail letter and demand for production of        2.80      $165.00      $462.00
                                                                        documents to J. Shoemaker for her review
                                                                        and approval; correct the Bates stamped
                                                                        documents; prepare letter to defense
                                                                        counsel advising of enor and forwarding
                                                                        the conected documents for use at trial;
                                                                        organize file and update file and pleadings
                                                                        index and binder.
999250                       01129116     2755021        JANICE HANCE   E-mail from client advising of medical            1   .30   $165.00      $214.50
                                                                        providers to obtain records; e-mails to and
                                                                        from J. Shoemaker and A. Nadir regarding
                                                                        same, 5th request for production of
                                                                        documents and additional Bates stamped
                                                                        documents; prepare a binder for additional
                                                                        Bates stamped documents and workers'
                                                                        comp records; organize file.
999250                       02t01t16     2764198        JENNIFER       Review email from expert; conference              1.20      $300.00      $360.00
                                                         SHOEMAKER      regarding same. Conference with client.
999250                       02t02t16     2764204        JENNIFER       Telephone conference with client;                 1.40      $300.00      $420.00
                                                         SHOEMAKER      conference with opposing counsel
                                                                        regarding lME.
999250                       02t03t16     2756226        ALINA NADIR    Review documents to select evidence to            4.60      $250.00     $1,150.00
                                                                        send to J. Fisher, defendants'emotional
                                                                        expert and email same to J. Fisher; emails
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                                            No.                                                                                                                 AruouHr:
                                                                              to/from J. Hance and J. Shoemaker
                                                                              regarding same.
999250                        02t03t16      2756361         COLIN D. RAMSEY   Appear for second portion of psychological    3.20    $300.00      $960.00
                                                                              IME of client with Dr. Fisher.
999250                        02/03/1 6     2757400         JANICE HANCE      Review file regarding IME; scan records to    1.00    $165.00      $165.00
                                                                              email to doctor conducting the IME for his
                                                                              review.
999250                        02/03/1 6     2759933         JENNIFER          Travel to Buffalo and attend IME              8.50    $300.00    $2,550.00
                                                            SHOEMAKER
999250                        02t04t16      2759934         JENNIFER          Travel to Buffalo; attend lME.                9.50    $290.00    $2,755.00
                                                            SHOEMAKER
                                                                                                                              AN
999250                        02t05t16      2759698         JANICE HANCE      Prepare requests to medical providers for             $165.00       $82.50
                                                                              updated medical records.
999250                        02t05t16      2765018         JENNIFER          Review documents to send to expert.            2.60   $300.00      $780.00
                                                            SHOEMAKER
999250                        02t09t16      2759083         JANICE HANCE      Telephone calls from Dr. Rojeck's office        .40   $165.00       $66.00
                                                                              regarding request for records; prepare
                                                                              updated authorization and fax to Dr.
                                                                              Rojeck.
999250                        02t10t16      2759090         JANICE HANCE      Receipt and review of records from Dr.          .60   $165.00       $99.00
                                                                              Trock; receipt and review of fax from Dr.
                                                                              Gallache/s office requesting an updated
                                                                              authorization; prepare updated
                                                                              authorization and letter to Dr. Gallacher
                                                                              forurarding same.
999250                        02t11t16      2764792         JENNIFER          Conference with opposing counsel                .50   $300.00      $150.00
                                                            SHOEMAKER         regarding expert disclosure.
999250                        02t12t16      2759739         JANICE HANCE      Receipt and review of Dr. Rojeck's records      .40   $160.00       $64.00
                                                                              and arrange for payment of invoice.
999250                        02t12t16      2764863         JENNIFER          Conference with opposing counsel                .20   $300.00       $60.00
                                                            SHOEMAKER         regarding expert disclosure.
999250                        02t15t16      2764900         JENNIFER          Email from client regarding expert              .lu   $300.00       $60.00
                                                            SHOEMAKER         disclosure.
999250                        02117116      27609   1   I   CAROL A. CROSS    Prepare document index for Vol. lll.           2.80   $165.00      $462.00
999250                        02t17t16      2764928         JENNIFER          Conference regarding expert disclosure.         .20   $300.00       $60.00
                                                            SHOEMAKER
999250                        02t18t16      2760150         ALINA NADIR       Email to opposing counsel requesting            .JU   $250.00       $75.00
                                                                              update as to receipt of their emotional
                                                                              damages expert report; email to/from J.
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                                                                     Shoemaker regarding same.
999250                        02118116    2760826     JANICE HANCE   Receipt and review of records from Dr.         1.00 $165.00          $165.00
                                                                     Rojeck Bates stamp all updated medical
                                                                     records; prepare letter to counsel
                                                                     fonruarding same; update binder.
999250                        02t18116    2764955     JENNIFER       Conference regarding expert disclosure          .lu    $300.00        $60.00
                                                      SHOEMAKER
999250                        02t19t16    2760477     ALINA NADIR    Email to/from J. Shoemaker regarding            .60    $250.00       $'150.00
                                                                     deposition of defendanls economic expert;
                                                                     contact opposing counsel to cancel same;
                                                                     telephone call with J. Wujcik regarding
                                                                     status of emotional damages expert report.
999250                        02t19t16    2760999     JANICE HANCE   Review file regarding defense expert             .30   $165.00        $49.50
                                                                     disclosure and the scheduled deposition of
                                                                     Dr. Wolkoff.
999250                        02t22t16    2763137     JANICE HANCE   Review file regarding postponement of Dr.        .20   $'r65.00       $33.00
                                                                     Wolkoffs deposition.
999250                        02t24116    2765158     JENNIFER       Review all demands for disclosure; review       2.80   $300.00       $840.00
                                                      SHOEMAKER      expert reports.
999250                        02t24t16    2765414     ALINA NADIR    Emails to/from J. Shoemaker regarding            .30   $250.00         $75.00
                                                                     status of defendanls emotional damages
                                                                     expert.
999250                        02t26t16    2763363     JANICE HANCE   E-mails from client regarding Wilson's           .20   $165.00         $33.00
                                                                     report being due 2115116 and following
                                                                     present schedule regarding depositions
                                                                     and discovery, etc.; fontrard same to J.
                                                                     Shoemaker and A. Nadir.
999250                        03t02t16    2775012     JENNIFER       Conference regarding expert report.              .20   $300.00         $60.00
                                                      SHOEMAKER
999250                        03t07 t16   2769416     JANICE HANCE   E-mails from and to client regarding the        1.00   $165.00       $165.00
                                                                     Scheduling 0rder, depositions, expert's
                                                                     report, return of photographs, etc.; review
                                                                     file regarding same and obtain most recent
                                                                     Scheduling Order for review; review file
                                                                     regarding no receipt of expert report from
                                                                     Defendants; prepare letter to J. Wujcik
                                                                     regarding same and fax.
999250                        03t07 t16   2775191     JENNIFER       Conference regarding medical expert              .20   $300.00         $60.00
                                                      SHOEMAKER      report.
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                                           No.                                                                                                                 AMOUNT:

999250                        03/08/1 6    2766638       ALINA NADIR    Review defendants' expert disclosure and         2.40    $250.00      $600.00
                                                                        expert report.
999250                        03/08/1 6    2769422       JANICE HANCE   E-mail from and to client regarding the           .lu    $165.00       $33.00
                                                                        Scheduling Order and depositions.
999250                        03/08/1 6    2775218       JENNIFER       Conference regarding defendants' expert            .lu   $290.00       $58.00
                                                         SHOEMAKER      report.
999250                        03/09/1 6    2775251       JENNIFER       Conference with Dr. Lesswing regarding             .60   $290.00      $174.00
                                                         SHOEMAKER      Dr. Fishe/s expert report.
999250                        03/1 0/1 6   2767805       ALINA NADIR    Telephone conference with J. Shoemaker             .20   $250.00       $50.00
                                                                        regarding defendants' emotional expert
                                                                        report.
ooot(n                        03/1 0/1 6   2767808       JENNIFER       Review expert report; conference with A.           .60   $300.00      $180.00
                                                         SHOEMAKER      Nadir.
999250                        03/1 0/1 6   2769438       JANICE HANCE   Review file regarding return of photographs        .20   $165.00       $33.00
                                                                        to client as requested.
999250                        03/1 6/1 6   2770649       JANICE HANCE   Review file regarding status and receipt of       1.00   $165.00      $165.00
                                                                        expert's report; interoffice conferences with
                                                                        J. Shoemaker and A. Nadir regarding
                                                                        same; begin review of expert's report.
999250                        03117116     2770654       JANICE HANCE   Complete review of Defendant's expert              .50   $165.00        $82.50
                                                                        report and interoffice conference with A.
                                                                        Nadir regarding same and status.
999250                        03t21t16     2770676       ALINA NADIR    Review Dr. Lesswing's memorandum in               1.10 $250.00        $275.00
                                                                        response to Defendants'expert Dr. Fishe/s
                                                                        report.
999250                        03t21t16     2773050       JANICE HANCE   Receipt and review of memo from Plaintifls          40   $165.00        $66.00
                                                                        expert in response to Defendant's expert
                                                                        report; receipt of invoice for same and e-
                                                                        mails to J. Shoemaker and a. Nadir
                                                                        regarding payment.
999250                        03t21t16     2775550       JENNIFER       Reread expert report; review Dr.                   .50   $300.00      $150.00
                                                         SHOEMAKER      Lesswing's response to report.
999250                        03t27116     2775716       JENNIFER       Conference with Lesswing; email to                 .50   $300.00      $150.00
                                                         SHOEMAKER      counsel requesting expert information.
999250                        03t29t16     2774108       JANICE HANCE   E-mails from J. Shoemaker, A. Nadir and            .JU   $165.00        $49.50
                                                                        expert regarding Defendants expert report;
                                                                        review file regarding preparing a notice to
                                                                        produce to obtain test results used in Dr.
                                                                        Fishe/s report.
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999250                         04/0'l/16    2786377       JENNIFER       Conference with Dr. Lesswing regarding           20     $300.00       $60.00
                                                          SHOEMAKER      answers to psychological examination and
                                                                         analysis.
999250                         04/06/1 6    2786480       JENNIFER       Review memo prepared by Dr. Lesswing;           1.70    $300.00      $510.00
                                                          SHOEMAKER      review Dr. Fisher report.
999250                         04/08/1 6    2779162       JANICE HANCE   Review file regarding status, revise and        1.00    $165.00      $1 65.00
                                                                         finalize Fifth Request for Production of
                                                                         Documents and letter to counsel serving
                                                                         same.
999250                         04/08/1 6    2786493       JENNIFER       Review demands; conference with A.               .50    $300.00      $150.00
                                                          SHOEMAKER      Nadir.
999250                         04t19116     2782388       JANICE HANCE   Review file regarding status, deadline to        .30    $165.00       $49.50
                                                                         file motions for summary judgment and
                                                                         scheduling trial.
999250                         04t21t16     2784393       JANICE HANCE   Organize file, update file and pleadings        2.40    $165.00      $396.00
                                                                         indexes and binders; create sub folder and
                                                                         labels and prepare file for future
                                                                         proceedings.
999250                         04t25116     2787364       JENNIFER       Review summary judgment motions and             2.80    $300.00      $840.00
                                                          SHOEMAKER      transcripts.
9992s0                         04t26t16     2784301       ALINA NADIR    Review defendants' motion for summary           l.lu    $250.00      $550.00
                                                                         judgment.
999250                         04t26116     278639'l      JANICE HANCE   Receipt and review of summary judgment           .cru   $165.00       $99.00
                                                                         motions filed by both defense counsel,
                                                                         download motions and briefs and save
                                                                         same to directory; update pleadings binder
                                                                         and index; receipt and review of several
                                                                         court notifications regarding motion filing
                                                                         deadlines and canceling status conference.
999250                         04t26t16     2787369       JENNIFER       Review settlement letter and transcripts to     2.80    $300.00      $840.00
                                                          SHOEMAKER      respond to summary judgment motion.
999250                         04127116     2786402       JANICE HANCE   Update pleadings binder and index.               .20    $165.00       $33.00
999250                         04t27116     2787430       JENNIFER       Review transcripts; work on motion              1.70    $290.00      $493.00
                                                          SHOEMAKER      response.
999250                         05/01 /1 6   279031 9      JENNIFER       Email to Dr. Lesswing regarding MIVPI            .20    $300.00       $60.00
                                                          SHOEMAKER      sc0re.
999250                         05/1 8/16    2791674       JENNIFER       Email with Dr. Lesswing; review summary         1.30    $290.00      $377.00
                                                          SHOEMAKER      judgment motion; work on response.
999250                         05t22t16     2795882       JENNIFER       Review law regarding individual liability.       .90    $300.00      $270.00
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                                       No.
                                                    SHOEMAKER
999250                      05123116   2792915      ALINA NADIR    Read defendants' motions for summary           1.20    $250.00      $300.00
                                                                   judgment in detail and outline response.
9992s0                      05t23t16   2793748      JANICE HANCE   Review file regarding motions for summary        70    $165.00      $115.50
                                                                   judgment and preparing responses to
                                                                   same; copy Defendants' motions for J.
                                                                   Shoemaker and A. Nadir review and use in
                                                                   preparing responses to same; e-mails from
                                                                   and to T. Leatherland regarding status.
999250                      05t23116   2796048      JENNIFER       Work on summary judgment response.              2.60   $300.00      $780.00
                                                    SHOEMAKER
999250                      05t24t16   2793027      ALINA NADIR    Draft responses to defendants' motions for      8.50   $250.00    $2,1 25.00
                                                                   summary judgment; conduct legal
                                                                   research.
999250                      0st24116   2793773      JANICE HANCE   Conduct research regarding whether an            .50   $165.00       $82.50
                                                                   affirmation filed in District Court must be
                                                                   submitted by an attorney.
999250                      05t24t16   2795818      JENNIFER       Work on response to summary judgment            5.50   $290.00     $1,595.00
                                                    SHOEMAKER      motion.
999250                      05t25t16   2793360      ALINA NADIR    Draft responses to defendants' motions for      7.80   $250.00     $1,950.00
                                                                   summary judgment; conduct legal
                                                                   research; draft and file motion to extend
                                                                   time to respond to defendants'summary
                                                                   judgment motions; call judge Skretny's
                                                                   chambers regarding motion to extend time.
999250                      05t25t16   2794218      PAUL F.        Office conference with A. Nadir and              .20 $360.00          $72.00
                                                    KENEALLY       telephone conferences with J. Shoemaker
                                                                    regarding summary judgment motions and
                                                                   very short settlement talks.
999250                      05t25t16   2794917      JENNIFER       Work on summary judgment response.              5.60   $300.00     $1,680.00
                                                    SHOEMAKER
999250                      05t25t16   2796638      JANICE HANCE   Interoffice conferences with A. Nadir           2.10   $16s.00       $346.50
                                                                   regarding the filing of response to the
                                                                   motion for summary judgment and
                                                                   requesting an extension for same; revise
                                                                   and finalize motion to request an
                                                                   extension; prepare and organize exhibits
                                                                   attached to same; prepare a certificate of
                                                                   service, scan and e{ile motion, receipt and
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                                         No.                                                                                                               AmouHr:
                                                                      review of confirmation for same; prepare
                                                                      template for response to statement of facts
                                                                      submitted by each defense attorney.
999250                     05/25/1 6     2796658       JANICE HANCE   Begin updated index for Bates Stamped          2.70    $165.00      $445.50
                                                                      documents.
999250                     05t26t16      2793703       ALINA NADIR    Draft responses to defendants' motions for     6.20    $250.00    $1,550.00
                                                                      summary judgment; conduct legal
                                                                      research; phone call with Judge Skretny's
                                                                      law clerk regarding consent motion to
                                                                      extend time to respond to summary
                                                                      judgment motions.
999250                     05/26/1 6     2794916       JENNIFER       Work on response to summary judgment            8.30   $290.00     $2,407.00
                                                       SHOEMAKER      motion; work on statement of facts.
999250                     05t26t16      2795378       JANICE HANCE   E-mail to and from T. Leatherland advising       .20   $165.00        $33.00
                                                                      of status, due dates for summary judgment
                                                                      motions and trial not yet scheduled.
999250                     05t27 t16     2795410       JANICE HANCE   Receipt and review of order granting             .20   $165.00        $33.00
                                                                      request for extension of time to file
                                                                      responses to summary judgment motion.
999250                     05t27 t16     2795413       JANICE HANCE   Receipt and review of order granting             .20 $165.00          $33.00
                                                                      request for extension of time to file
                                                                      response to summary judgment motion.
oootEn                     05t27t16      2796837       ALINA NADIR    Draft responses to defendanis' motions for      2.70   $250.00       $675.00
                                                                      summary judgment; conduct legal
                                                                      research.
999250                     05/3 1 /1 6   2795053       ALINA NADIR    Draft responses to defendants' motions for      5.20   $250.00     $1,300.00
                                                                      summary judgment; conduct legal
                                                                      research.
999250                     05/31 /1 6    2796737       JANICE HANCE   Continue updating the index to the Bates        2.20   $165.00       $363.00
                                                                      Stamped documents adding information
                                                                      recently received; update pleadings index
                                                                      and pleadings binder.
999250                     06/01/1 6     2796838       ALINA NADIR    Draft response to motion for summary            4.30   $250.00     $1,075.00
                                                                      judgment.
999250                     06/02/1 6     2797069       ALINA NADIR    Draft response to motion for summary            6.30   $250.00     $1,575.00
                                                                      judgment.
999250                     06t02t16      2799243       JENNIFER       Work on summary judgment response.              6.50   $300.00     $1,950.00
                                                       SHOEMAKER
999250                     06/03/1 6     2797278       ALINA NADIR    Draft response to motion for summary            4.70   $250.00     $1 ,175.00
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                                        No.                                                                                                              AlllouHr:
                                                                     judgment.
999250                     06/05/1 6    2804638       JENNIFER       Work on summary judgment response.             4.80    $300.00    $1,440.00
                                                      SHOEMAKER
999250                     06/06/1 6    2797624       ALINA NADIR    Draft response to motion for summary           8.70    $250.00    $2,1 75.00
                                                                     judgment.
999250                     06/06/1 6    2798011       JENNIFER       Work on summary judgment motion.               6.30    $300.00    $1,890.00
                                                      SHOEMAKER
999250                     06/06/1 6    2798811       JANICE HANCE   Continue indexing Bates stamped                4.30    $165.00      $709.50
                                                                     documents.
999250                     06/06/1 6    2798814       JANICE HANCE   Review file regarding preparing, finalizing      .20   $165.00       $33.00
                                                                     and filing response to motion for summary
                                                                     judgment.
999250                     06/07/1 6    2797941       ALINA NADIR    Draft response to motion for summary            9.50   $250.00    $2,375.00
                                                                     judgment.
999250                     06/07/1 6    279881 6      JANICE HANCE   Continue indexing Bates stamped                 5.50   $165.00      $907.50
                                                                     documents; begin assisting with the
                                                                     preparation of the response to the motion
                                                                     for summary judgment.
999250                     06/07/1 6    2799242       JENNIFER       Work on summary judgment response.              5.70   $300.00     $1,710.00
                                                      SHOEMAKER
999250                     06/08/1 6    2798825       JANICE HANCE   Continue to assist with preparing response      5.50   $165.00      $907.50
                                                                     to motion for summary judgment.
999250                     06/08/1 6    2799241       JENNIFER       Work on summary judgment motion                 8.70   $290.00     $2,523.00
                                                      SHOEMAKER      resp0nse.
999250                     06/08/1 6    2805206       ALINA NADIR    Draft responses to defs. motion for             5.30   $250.00     $1,325.00
                                                                     summary judgment.
999250                     06/09/1 6    2798453       ALINA NADIR    Drafi response to motion for summary           11.40   $250.00     $2,850.00
                                                                     judgment; finalize and file.


999250                     06/09/1 6    2798832       JANICE HANCE   Continue to assist with the preparation of      6.50   $165.00     $1,072.50
                                                                     response to motion for summary judgment.
999250                     06/09/'r6    2799239       JENNIFER       Work on motion for summary judgment;           12.00   $290.00     $3,480.00
                                                      SHOEMAKER      work on statement of facts.
999250                     06/1 0/1 6   280'1630      JANICE HANCE   Download filed motions; create pleadings        4.50   $165.00       $742.50
                                                                     binder, update pleadings index; continue
                                                                     indexing Bates stamped documents.
999250                     06/1 3/1 6   2801 636      JANICE HANCE   Complete the index of Bates stamped             4.00   $165.00       $660.00
                                                                     documents.
999250                     06/1 4/1 6   280 1 643     JANICE HANCE   Begin indexing all the deposition exhibits.     5.00   $165.00       $825.00
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999250                        06/15/'16    2801 658      JANICE HANCE   Continue preparing index of deposition           1.50    $165.00      $247.50
                                                                        exhibits.
999250                        06t21t16     2804839       JANICE HANCE   Receipt and review of Cuer's motion              2.50    $165.00      $412.50
                                                                        requesting an extension oftime to respond
                                                                        to motion; download and save same;
                                                                        continue preparing index of deposition
                                                                        exhibits.
999250                        06t21116     2805247       JENNIFER       Conference regarding extension; review             .20   $300.00        $60.00
                                                         SHOEMAKER      efiling.
999250                        06t22t16     2804847       JANICE HANCE   Continue preparing index of deposition            3.20   $165.00      $528.00
                                                                        exhibits; receipt and review of order
                                                                        granting extension; download and save
                                                                        same.
999250                        06/23/1 6    2804850       JANICE HANCE   Continue preparing index of deposition            3.50   $165.00      $577.50
                                                                        exhibits.
999250                        06t24t16     2804856       JANICE HANCE   Complete the index of depositions exhibits.       5.00   $165.00      $825.00
999250                        06t27116     2804866       JANICE HANCE   Review, revise and finalize deposition            1.40   $165.00      $231.00
                                                                        exhibit index.
999250                        06/28/1 6    2804879       JANICE HANCE   Create binder#6 for pleadings and update           .40   $165.00        $66.00
                                                                        pleadings index.
999250                        01112116     281080'1      JENNIFER       Transcript review of C. Robinson and D.           2.80   $290.00       $812.00
                                                         SHOEMAKER      Nazon.
999250                        07113116     281 0800      JENNIFER       Review deposition transcripts of M. Bradt         3.00   $290.00       $870.00
                                                         SHOEMAKER      and B. Bradt.
999250                        07 t14116    281 0803      JENNIFER       Deposition review of T. Will and C. Cuer.         3.90   $290.00     $1 ,131 .00
                                                         SHOEMAKER
999250                        07 t15t16    2811076       ALINA NADIR    Review Defendant Cuer's reply to motion            .60   $250.00       $150.00
                                                                        for summary judgment.
999250                        07 t15t16    2815907       JANICE HANCE   Receipt and review of Defendant Cue/s              .50   $165.00        $82.50
                                                                        Reply to the motion for summary judgment;
                                                                        download same and scan to A. Nadir;
                                                                        update pleadings index and binder.
s99250                        07118116     2811315       ALINA NADIR    Review attorney affirmation and exhibits           .90   $250.00       $225.00
                                                                        attached to Defendant Cueis reply to
                                                                        motion for summary judgment.
999250                        07/1 B/1 6   2813171       JANICE HANCE   Copy Defendant Cue/s Reply to motion for           .50   $165.00        $82.50
                                                                        summary Judgment for A. Nadir review;
                                                                        update pleadings index and binder.
999250                        09/1 3/'16   2827597       ALINA NADIR    Draft letter to judge regarding scheduling of     1.10 $250.00         $275.00
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                                                                                                                                                                     AuouHt:
                                            No.
                                                                           trial.
999250                        09/1 5/1 6    2828163        ALINA NADIR     Revise letter to judge regarding trial               .90     $250.00      $225.00
                                                                           schedule.
                              09/1 5/1 6    2830953        JANICE HANCE    lnteroffice conference with J. Shoemaker              .20    $165.00       $33.00
999250
                                                                           regarding status; e-mails from and to Dr.
                                                                           Reagles' office regarding status.
                              09/1 5/1 6    2833708        JENNIFER        Review letter to J.Skretney; email from               .40    $300.00      $120.00
999250
                                                           SHOEMAKER       Small regarding Attica.
                              09/16/'16     2830990        JANICE HANCE    E-mails from and to t. Leatherland at Dr.             .20    $165.00        $33.00
999250
                                                                           Reagles' office regarding status.
                              09t22t16      2834053        JENNIFER        Work on letter to court                              1.70    $300.00      $510.00
999250
                                                           SHOEMAKER
                              09t27116      2834883        JENNIFER        Review documents and mediation                       2.90    $300.00       $870.00
999250
                                                           SHOEMAKER       statement.
999250                        09/28/1 6     2834048        JENNIFER        Work on letter to court detailing                    2.50    $300.00       $750.00
                                                           SHOEMAKER       background and requesting expedience.
s99250                        10t12t16      2838646        JANICE HANCE    Copy and circulate article regarding recent           .20    $165.00        $33.00
                                                                           sexual harassment and hostile work
                                                                            environment verdicts.
999250                        10t20t16      2839908        ALINA NADIR      Review past conespondence in the matter;            3.40    $250.00       $850.00
                                                                            revise letter to court asking for trial date.
999250                         10t20116     2843833        JENNIFER         Review correspondence and work on letter            1.50    $300.00       $450.00
                                                           SHOEMAKER        to McCarthy.
999250                         10t29t16     2845005        JENNIFER         Conference with client regarding status and         1.00    $300.00       $300.00
                                                           SHOEMAKER        possible move.
999250                         11t02t16     2845323        ALINA NADIR      Revise letter to judge re: obtaining a trial         .60    $250.00       $150.00
                                                                            date.
                                                                                                                                '1.00
999250                         11t02t16     2846174         JANICE HANCE    Organize file; review file regarding status of              $165.00       $165.00
                                                                            summary judgment decision, trial,
                                                                            settlement, etc.
999250                         11t02t16     2851 849        JENNIFER        Finalize letter to court requesting trial date.      .20    $290.00        $58.00
                                                            SHOEMAKER
999250                         11t03t16     2846178         JANICE HANCE    Put original depositions exhibit in                  .80    $165.00       $132.00
                                                                            chronological order.
999250                         12t15t16     286051 7        JENNIFER        Review letter from court; conference with            .50    $300.00       $150.00
                                                            SHOEMAKER       A. Nadir.
999250                         12t22t16     2860797         JENNIFER        Conference regarding letter to court and             .20    $300.00        $60.00
                                                            SHOEMAKER       trial date.
999250                         01t16t17     2871319         JENNIFER        Work on motion to set trial date.                   2.80    $310.00       $868.00
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                                       No.                                                                                                              Arucum:
                                                     SHOEMAKER
999250                     01t18t17    2868080       JANICE HANCE   E-mails from and to T. Leatherland from          .20    $170.00      $34.00
                                                                    Dr. Reagles regarding status of case.
999250                     01t19117    2868097       JANICE HANCE   E-mail to J. Shoemaker and A. Nadir              .tu    $170.00      $34.00
                                                                    inquiring as to status following request by
                                                                    Dr. Reagles.
999250                     01t23t17    2871496       JENNIFER       Continue transcript review.                     2.20    $310.00     $682.00
                                                     SHOEMAKER
999250                     01t24117    28681 75      JANICE HANCE   lnteroffice conference with A. Nadir              .20   $170.00      $34.00
                                                                    regarding status.
999250                     01t24t17    2871494       JENNIFER       Work on motion; Review transcripts of           3.B0    $310.00    $1,178.00
                                                     SHOEMAKER      Small.
999250                     01t26117    2868478       ALINA NADIR    Telephone call with J. Skretny's chambers         .30   $255.00       $76.50
                                                                    re: what kind of motion to bring in lieu of
                                                                    letter asking for expedited scheduling of
                                                                    trial; conference with J. Shoemaker re:
                                                                    same.
999250                     01t27t17    2868574       ALINA NADIR    Draft affirmation in support of motion for a     3.00   $255.00      $765.00
                                                                    status conference.
999250                     01131117    2871499       JENNIFER       Work on motion.; conference with A. Nadir        3.50   $310.00    $1,085.00
                                                     SHOEMAKER
999250                     03t29t17    2888314       JANICE HANCE   E-mail to J. Shoemaker and A. Nadir               .20   $170.00       $34.00
                                                                    regarding status.
999250                     03/30/1 7   2888003       JENNIFER       Review summary judgment decision; talk to        1.50   $310.00      $465.00
                                                     SHOEMAKER      client.
999250                     03t30t17    2888329       JANICE HANCE   Receipt and review of the Decision and            .60   $170.00      $102.00
                                                                    Order denying Defendants' motion for
                                                                    summary judgment; download and scan
                                                                    same to J. Shoemaker and A. Nadir for
                                                                    their review; save same; update pleading
                                                                    index and binder; e-mails to and from T.
                                                                    Leatherland advising of same and will let
                                                                    her know when the trial date has been
                                                                    scheduled; review file for clients phone
                                                                    number and e-=mail same to J.
                                                                    Shoemaker.
999250                     03131t17    2888450       JENNIFER       Conference with client regarding summary          70    $310.00      $217.00
                                                     SHOEMAKER      judgment.
9S9250                     03t31t17    2888474       JANICE HANCE   Receipt and review of filing by the court          20   $170.00       $34.00
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                                                                                                                                                                  AM0UNT:
                                           No.
                                                                        scheduling a court conference; e-mails to
                                                                        and from J. Shoemaker regarding same,
                                                                        Decision and advising client.
999250                         04t18t17    2894304       ALINA NADIR    Review judge's decision and order on             1.10   $255.00       $280.50
                                                                        defendants' summary judgment motion.
999250                         04t19117    2898992       JENNIFER       Prepare for court appearance; review file.       1.80   $31 0.00      $558.00
                                                         SHOEMAKER
9992s0                         05/05/1 7   2907943       JENNIFER       Email from client regarding wherabouts            .20   $310.00        $62.00
                                                         SHOEMAKER
999250                         05t16t17    29081 B5      JENNIFER       Prepare for court conference; review             2.60   $310.00       $806.00
                                                         SHOEMAKER      motions for Summary Judgment; analyze
                                                                        length of time needed for trial and number
                                                                        of witnesses.
999250                         05117117    2902781       ALINA NADIR    Review summary judgment motion and               4.30   $255.00      $1,096.50
                                                                        mediation memo in preparation for status
                                                                        conference; travel to/from Buffalo to attend
                                                                        status conference before J. Skretny.
999250                         05117117    2903206       JENNIFER       Attend court conference to set trial date.       4.00   $310.00      $1,240.00
                                                         SHOEMAKER
999250                         05t17 t17   2906095       JANICE HANCE   lnteroffice conference with J. Shoemaker          .80   $170.00       $136.00
                                                                        regarding preliminary conference; pull
                                                                        document for J. Shoemaker to reference
                                                                        during the conference; locate and provide
                                                                        Dr. Reagles'contact information to J.
                                                                        Shoemaker so she may contact him
                                                                        regarding his availability for any scheduled
                                                                        trial date.
999250                         05t18t17    2906'101      JANICE HANCE   lnteroffice conference with J. Shoemaker         1.40 $170.00          $238.00
                                                                        and A. Nadir follow court conference;
                                                                        receipt and review of pretrial order and
                                                                        minute entry following the status
                                                                        conference; diary all due dates of trial
                                                                        deadlines; e-mails from and to J.
                                                                        Shoemaker and A. Nadir regarding pretrial
                                                                        preparation; e-mail to and from Dr. Reagles
                                                                        advising of trial date and deadlines;
                                                                        telephone call to District Court regarding
                                                                        trial exhibit stickers and anange for the
                                                                        messenger to pick up same.
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999250       1               05118117      2907646       JENNIFER        Meet with trial team; review court orders;         6.50    $310.00    $2,015.00
                                                         SHOEMAKER       plan for trial
999250       1               05119117      2503423       ALINA NADIR     Review pretrial order in detail; begin             2.90    $255.00      $739.50
                                                                         preparing statement of contested and
                                                                         uncontested facts.
999250                       05t19117      2908223       JENNIFER        Review court orders regarding pretrial              .50    $310.00      $155.00
                                                         SHOEMAKER       submissions.
999250                       05t22t17      29041 80      ALINA NADIR     Email to/from J. Saeli to ascertain whether        2.10    $255.00      $535.50
                                                                         he can act as mediator again; work on
                                                                         pretrial disclosures material; review
                                                                         deposition exhibit books.
999250                       05t23t17      2904470       ALINA NADIR     Meet with J. Shoemaker and J. Hance to              2.80   $255.00      $714.00
                                                                         discuss all materials needed for pretrial
                                                                         disclosures and to assign tasks and
                                                                         deadlines; emails to/from J. Shoemaker
                                                                         and J. Hance re: same; identify which
                                                                         deponents may not be used as witnesses;
                                                                         begin reviewing transcripts to identify
                                                                         needed testimony; review past pretrial
                                                                         disclosures submitted to J. Skretny for
                                                                         examples.
999250                        05t23t17     2906498       PAUL F.         Emails with J. Shoemaker and P. Nunes                .30 $370.00        $1   1   1.00
                                                         KENEALLY        regarding possible Channel 10 media
                                                                         and/or other coverage.
999250                        05t23t17     2906688       JANICE HANCE    Many e-mails to and from Dr. Reagles'               2.40 $170.00        $408.00
                                                                         office regarding trial date, days to provide
                                                                         testimony, updating report, trial exhibits,
                                                                         trial preparation in general and forwarding
                                                                         a copy of the Trial Order; meet with J.
                                                                         Shoemaker and A. Nadir regarding trial
                                                                         preparation; prepare summary of due dates
                                                                         on Trial Order; prepare to do list; review file
                                                                         for and e-mail list of witnesses expected to
                                                                         testify and medical records to be used at
                                                                         trial.
999250                        05t23t17     2908003       PAUL V. NUNES   Telephone conference with J. Shoemaker               .30   $360.00       $108.00
                                                                         regarding media/negotiation and strategy.
999250                        05123117     290831 0      JENNIFER        Trial preparation.                                  2.50   $310.00       $775.00
                                                         SHOEMAKER
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                                            No.                                                                                                                     AtuouHr:

999250                        05124117      2904952       ALINA NADIR    Emails to/from J. Shoemaker and J. Hance            1.00    $255.00      $255.00
                                                                         re: whether updated economic damages
                                                                         report is needed; work on pretrial
                                                                         disclosure materials.
999250                        05t24t17      2906696       JANICE HANCE   Continue preparing for trial;                        1.80 $170.00        $306.00
                                                                         communications with lT to ensure we have
                                                                         WordPerfect for trial submission to comply
                                                                         with Court Order, many e-mails to and from
                                                                         Dr. Reagles' office regarding updating
                                                                         report, dates to testify and details for trial,
                                                                         etc.; re-send Trial Order to Dr. Reagles'
                                                                         assistant; e-mails to J. Shoemaker and A.
                                                                         Nadir regarding subpoenaing all witnesses
                                                                         and paying subpoena fees and mileage to
                                                                         each witness; prepare letter to Dr.
                                                                         Gallacher advising of trial and when to
                                                                         testify; docket telephone conference with J.
                                                                         Shoemaker and Dr. Reagles.
999250                         05t25t17     2905179       ALINA NADIR    Review correspondence from client re:                1.80 $255.00        $459.00
                                                                         updating economic damages report; work
                                                                         on preirial disclosures.
999250                         05125117     2906707       JANICE HANCE   Continue preparing for trial; begin                  3.50   $170.00      $595.00
                                                                         preparing the templates for the witness list,
                                                                         expert witness list and trial exhibit list; e-
                                                                         mails to and from Dr. Reagles'office
                                                                         regarding updating report, trial exhibits,
                                                                         transcripts from other cases, etc.; review
                                                                         file for initial disclosures and work with lT to
                                                                         duplicate voluminous records and send to
                                                                         J. Wujcik at his request; prepare letter to J.
                                                                         Wujcik forwarding same; e-mail from client
                                                                         regarding Dr. Reagles' updating report.
999250                         05125t17     2907656       JENNIFER       Telephone conference Dr. Reagles; trial              3.60   $310.00     $1,116.00
                                                          SHOEMAKER      preparation.
999250                         05126117     2905736       ALINA NADIR    Emails tolfrom J. Shoemaker and J. Hance             1.30   $255.00      $331.50
                                                                         re: disclosure of psychological expert
                                                                         report; search file for same.
999250                         05t26t17     2907968       JANICE HANCE   Continue preparing for trial: finish first           3.50   $170.00      $595.00
                                                                         drafts of exhibit and witness lists; review
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                                        No.                                                                                                               AttrtouHr:
                                                                   file for Drs. Reagles and Lesswing reports,
                                                                   qualifications and CVs; complete first draft
                                                                   of expert witness list; review file to confirm
                                                                   that Dr. Lesswing's expertwitness
                                                                   disclosure was served on defense counsel
                                                                   prior to discovery cut off date; many e-
                                                                   mails io and from J. Shoemaker and A.
                                                                   Nadir regarding same and trial preparation
                                                                   in general
999250                      05t29t17    2906329     ALINA NADIR    Review deposition transcripts to identify         4.20    $255.00    $1,071.00
                                                                   testimony to potentially use at trial.
999250                      05/30/1 7   2906277     ALINA NADIR    Meet with J. Shoemaker and J. Hance re:            3.10   $255.00      $790.50
                                                                   status of trial prep and next steps; review
                                                                   indexes of documents exchanged in case;
                                                                   review Dr. Lesswing expert report.
999250                      05t30t17    2907668     JENNIFER       Trial preparation; office conference               6.30   $310.00    $1 ,953.00
                                                    SHOEMAKER      regarding next steps; review possible
                                                                   exhibits.
999250                      05t30t17    2908073     JANICE HANCE   Continue preparing for trial; interoffice          4.50   $170.00      $765.00
                                                                   conference with J. Shoemaker and A.
                                                                   Nadir regarding preparation of pretrial
                                                                   submissions; e-mails to and from Dr.
                                                                   Reagles' office regarding mediation date,
                                                                   no desire to update report, trial exhibits,
                                                                   etc.; many e-mails to and from Dr.
                                                                   Lesswing advising of trial dates and other
                                                                   deadlines, mediation, exhibits and to
                                                                   anange a time to meet with J. Shoemaker
                                                                   to prepare his trial testimony; revise and
                                                                   finalize letters to Drs. Trock and Gallacher;
                                                                   begin to identify trial exhibits and copy all
                                                                   file indexes as an easy reference to
                                                                   exhibits; meet with J. Shoemaker, A. Nadir
                                                                   and M. Soeffing regarding trial preparation
                                                                   and to prepare workers' comp index of
                                                                   documents; prepare folders for trial
                                                                   documents prepared to date; work with
                                                                   staffto prepare Plaintiffs trial exhibit
                                                                   stickers.
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                                            No.                                                                                                                   Atr,touxr:
999250                          05131117    2908061         JENNIFER       Trial preparations; work on pretrial              6.60    $310.00    $2,046.00
                                                            SHOEMAKER      submissions.
999250                          05t31117    29081 84        JANICE HANCE   Additional e-mails from and to N. Leswing         1.10    $170.00      $187.00
                                                                           regarding time to meet to prepare for trial;
                                                                           research hotels in the Buffalo area and
                                                                           advise J. Shoemaker and A. Nadir of
                                                                           same.
999250                          06t01117    2912034         JANICE HANCE   E-mails from and to N. Lesswing                    .50    $170.00       $85.00
                                                                           confirming time to meet and advise J.
                                                                           Shoemaker and A. Nadir; calendar same;
                                                                           prepare letter to N. Lesswing confirming
                                                                           meeting.
999250                          06/01/17    29'16837        JENNIFER       Work on pretrial submissions.                     7.60    $310.00    $2,356.00
                                                            SHOEMAKER
999250                          06102117    2908749         ALINA NADIR    Revise letter to R. Benitez re settlement           .70   $255.00      $178.50
                                                                           demand.
999250                          06t02t17    2912045         JANICE HANCE   Receipt and review of e-mail from Highgate         1.80   $170.00      $306.00
                                                                           Medical advising that Dr. Trock is no longer
                                                                           at that practice and advising of different
                                                                           address; revise letterto Dr. Trock
                                                                           accordingly; receipt and review of e-mails
                                                                           from Reagles with attached trial exhibits;
                                                                           fonruard same to J. Shoemaker and A.
                                                                           Nadir; download same and organize for
                                                                           trial; revise trial pleadings; review file for
                                                                           witness locations; prepare letter to Benitez
                                                                           regarding State producing State
                                                                           employees.
999250                          06t02t17    291 6896        JENNIFER       Review email regarding Dr. Trock;                   .20   $310.00       $62.00
                                                            SHOEMAKER      conference with J. Hance.
999250                          06t02t17    29 1 6934       JENNIFER       Review Reagles exhibits; review letter to           .50   $310.00      $155.00
                                                            SHOEMAKER      Benitez regarding witness subpoenas.
999250                          06t04t17    29   1   6968   JENNIFER       Review potential exhibits for trial.               3.60   $310.00    $1,1 16.00
                                                            SHOEMAKER
999250                          06/05/1 7   2908972         ALINA NADIR    Conference with J. Shoemaker re: updated           4.30   $255.00     $1,096.50
                                                                           settlement demand letter re: need for
                                                                           updated jury verdict research; continue
                                                                           drafting pretrial disclosures; email to/from
                                                                           J. Shoemaker re: Defs.'expert reports.
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                                          No.                                                                                                                   Aruouttt:
999250       1               06/05/1 7    2909   1   30   JENNIFER       Review and revise exhibit list for trial;        4.40    $310.00    $1,364.00
                                                          SHOEMAKER      review all exhibits.
999250       1               06/05/1 7    291 2059        JANICE HANCE   ldentify trial exhibits with J. Shoemaker;       4.30    $170.00      $731.00
                                                                         update trial preparation list to include jury
                                                                         verdict search; e-mails to and from Dr.
                                                                         Reagles regarding State's expert
                                                                         disclosure; forward the State's economic
                                                                         expert report to Dr. Reagles for his review
                                                                         and comments in preparing rebuttal
                                                                         testimony.
999250                       06/06/1 7    2909370         ALINA NADIR    Conduct research re: recent jury verdicts to     3.70    $255.00      $943.50
                                                                         update settlement demand letter.
999250                       06/06/1 7    291 2069        JANICE HANCE   Continue identiflTing, organizing and            4.50    $170.00      $765.00
                                                                         preparing all trial exhibits; interoffice
                                                                         conference with J. Shoemaker regarding
                                                                         trial preparation and submitting all trial
                                                                         exhibits.
999250                       06/06/1 7    291 6978        JENNIFER       Trial preparation, work on pretrial brief and     5.10   $310.00     $1,581 .00
                                                          SHOEMAKER      jury instructions.
9992s0                        06107117    2909503         ALINA NADIR    Draft statements of controverted and              3.90   $255.00      $994.50
                                                                         uncontroverted facts.
999250                        06t07 t17   2912076         JANICE HANCE   Continue identifying and preparing exhibits       5.50   $170.00      $935.00
                                                                         for trial.
999250                        06107117    2917517         JENNIFER       Work on pretrial submissions.                     3.80   $310.00     $1,178.00
                                                          SHOEMAKER
999250                        06/08/1 7   2909798         ALINA NADIR    Draft statements of controverted and              5.80   $255.00     $1,479.00
                                                                         uncontroverted facts; research admission
                                                                         of deposition transcript in case of
                                                                         unavailable witness due to distance.
999250                        06/08/1 7   2909961         JENNIFER       Trial preparation.                                3.00   $310.00      $930.00
                                                          SHOEMAKER
999250                        06/08/1 7   2912079         JANICE HANCE   Continue identifying and preparing trial          5.50   $170.00      $935.00
                                                                         exhibits; interoffice conference with J.
                                                                         Shoemaker regarding trial preparation,
                                                                         filing deadlines, and status of completion of
                                                                         trial exhibits; revise and finalize letter to
                                                                         defense counsel regarding producing
                                                                         witnesses at trial.
999250                        06/09/17    2910097         ALINA NADIR    Draft statements of controverted and              1.90 $255.00         $484.50
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                                     No.                                                                                                               AMoUNT:
                                                                 uncontroverted facts; review deposition
                                                                 transcripts to ascertain agreement between
                                                                 parties' witnesses.
999250                   06/09/17    2912085      JANICE HANCE   Continue preparing trial exhibits.               4.50    $170.00      $765.00
999250                   06/09/1 7   2917198      JENNIFER       Read Conway digest.                                .50   $310.00      $1 55.00
                                                  SHOEMAKER
999250                   06110117    291 2089     JANICE HANCE   Continue preparing exhibits for trial.           2.00    $170.00      $340.00
999250                   06t10t17    2917343      JENNIFER       Work on pretrial submissions.                    4.00    $310.00    $1,240.00
                                                  SHOEMAKER
999250                    06111117   2911607      JENNIFER       Work on pretrial submissions.                    4.70    $310.00    $1 ,457.00
                                                  SHOEMAKER
999250                    06t12t17   2910542      ALINA NADIR    Complete draft statements of controverted         6.90   $255.00    $'1,759.50
                                                                 and uncontroverted facts; identify possible
                                                                 evidentiary issues for pre-trial disclosures;
                                                                 draft damages statement; research
                                                                 statutes re: damages to supplement
                                                                 damages statement.
999250                    06t12117   2911415      JENNIFER       Work on trial submissions, exhibit list,          7.90   $310.00    $2,449.00
                                                  SHOEMAKER      undisputed facts and jury instructions.
999250                    06t12t17   2912562      JANICE HANCE   Continue preparing for trial; review and          4.00   $170.00      $680.00
                                                                 identifl exhibits with J. Shoemaker;
                                                                 complete the trial exhibit list; review file
                                                                 regarding transcripts and testimony to
                                                                 reference as exhibits; review file for Word
                                                                 versions of Plaintiffs motion for summary
                                                                 judgment and fonruard to J. Shoemaker for
                                                                 use in trial preparation; e-mails from and to
                                                                 client and J. Shoemaker regarding Dr.
                                                                 Trock's move from Highgate Medical to a
                                                                 new practice; review file regarding
                                                                 Plaintiffs start date with DOCCS.
999250                    06t13t17   291 0966     ALINA NADIR    Revise statements of controverted and            '12.30 $255.00      $3,136.50
                                                                 uncontroverted facts; revise damages
                                                                 statement; review exhibit list; conference
                                                                 with J. Shoemaker re: all disclosures; input
                                                                 additional changes to settlement demand
                                                                 letter.
999250                    06113117   2911414      JENNIFER       Work on trial submissions, exhibit list,         13.20 $310.00       $4,092.00
                                                  SHOEMAKER      undisputed facts and jury instructions.
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999250                          06t13t17    2912902      JANICE HANCE   Continue preparing for trial; interoffice        5.00     $170.00      $850.00
                                                                        conferences with J. Shoemaker and A.
                                                                        Nadir regarding trial preparation;
                                                                        communications with Dr. Regales office to
                                                                        set up a meeting for J. Shoemaker and Dr.
                                                                        Regales to discuss the defense experts
                                                                        report and develop strategies for rebuttal;
                                                                        continue working on pretrial submissions,
                                                                        witness list, exhibits, statement for
                                                                        damages, etc.
999250                          06t14t17    2911225      ALINA NADIR    Draft proposed voir dire; review and revise      12.70 $255.00       $3,238.50
                                                                        all pretrial disclosures; work with J.
                                                                        Shoemaker and J. Hance to ensure all
                                                                        disclosures complete and ready for filing.
999250                           06t14t17   2911266      TRACY          Perform people search for T. Ebert; obtain         .50    $175.00       $87.50
                                                         BANSBACH       and review findings; to J. Hance to review.
999250                           06t14t17   2911413      JENNIFER       Finalize trial submissions for court.            10.80    $310.00     $3,348.00
                                                         SHOEMAKER
                                                                                                                         '11.50
999250                           06114117   2912688      JANICE HANCE   Continue preparing for trial: Several                     $170.00     $1,955.00
                                                                        revisions to all pretrial pleadings and
                                                                        submissions; continue preparing exhibits;
                                                                        assist with locating cunent address for T.
                                                                        Ebert; receipt and review of C. Cuer and
                                                                        the State's pretrial filings; download and
                                                                        save same; prepare certmcate of service;
                                                                        e-file Plaintiff s pretrial submissions;
                                                                        telephone call and e-mail to Dr. Reagles'
                                                                        office regarding Plaintiffs tax returns and
                                                                        other   fi   nancial documentation.
999250                           06t14117   2917731      PAUL F.        Ofiice conference with A. Nadir and J.              .20   $370.00        $74.00
                                                         KENEALLY       Shoemaker regarding religion jury
                                                                        instruction.
999250                           06115117   2912694      JANICE HANCE   E-mails from and to Dr. Reagles'office            5.50    $170.00       $935.00
                                                                        regarding tax returns and Plaintiffs
                                                                        financial documentation; receipt and review
                                                                        of same and add to exhibits; order supplies
                                                                        for production and organization of
                                                                        voluminous exhibits; download and save all
                                                                        of Plaintiffs e-filed pretrial submission and
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                                            No.                                                                                                                    AuouHr:
                                                                         save same; e-file expert submission; create
                                                                         and e-file certificate of services; download
                                                                         and save same; assist with preparation of
                                                                         labels for file folders; telephone call to
                                                                         Judge Skretny's chambers regarding
                                                                         experts' submission; telephone call to
                                                                         District Court Clerk in both Rochester and
                                                                         Buffalo regarding the filing of the verdict
                                                                         sheet; several interoffice conferences with
                                                                         J. Shoemaker and A. Nadir regarding
                                                                         status, filings, exhibits, etc.
999250                        06t16t17      2912710       JANICE HANCE   Copy all transcripts to be included with         5.00   $170.00       $850.00
                                                                         exhibits; mark each exhibit with District
                                                                         Court exhibit stickers; R. Benitez and J.
                                                                         Wujcik regarding the expert filing.
ooot4n                        06t16117      29 1 7395     JENNIFER       Several conferences regarding exhibits and        .50   $310.00       $155.00
                                                          SHOEMAKER      binders.
999250                        06t19t17      2912231       ALINA NADIR    Begin research re: defendanls                    7.00   $255.00     $1,785.00
                                                                         psychological expert to determine if basis
                                                                         exists to challenge his testimony.
999250                        06/1 9/17     2914607       JANICE HANCE   Receipt and review of CD from R. Benitez         2.30   $170.00       $391.00
                                                                         containing the State's trial exhibits; work
                                                                         with Business Services to copy and scan
                                                                         all exhibits and prepare binders for trial.
999250                        06t19t17      291 6851      JENNIFER       Conference with Ken Reagles regarding            4.70   $310.00     $'1   ,457.00
                                                          SHOEMAKER      economic expert report; work on motions in
                                                                         limine
999250                        06t20t17      2512691       ALINA NADIR    lncorporate J. Shoemake/s edits to               3.80 $255.00         $969.00
                                                                         settlement demand letter; review
                                                                         deposition transcripts to determine support
                                                                         for certain facts; finalize same.
999250                        06t20t17      291 4630      JANICE HANCE   lnteroffice conference with J. Shoemaker         1.00 $170.00         $170.00
                                                                         regarding scanning oftrial exhibits; work
                                                                         with business services and lT to duplication
                                                                         all trial exhibits and to put all on CDs to
                                                                         produce to defense counsel; prepare letter
                                                                         to R. Benitez and J. Wujcik forwarding trial
                                                                         exhibits; work with L. Vazquez regarding
                                                                         labels and file project.
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                              06t20t17     2917477       JENNIFER       Review and revise settlement demand               1.00    $310.00      $31 0.00
999250
                                                         SHOEMAKER      letter.
999250                        06t21t17     2912950       JENNIFER       Review and revise settlement demand.               .80    $310.00      $248.00
                                                         SHOEMAKER
999250                        06121117     291 2983      ALINA NADIR    Begin drafting motion in limine re:               2.40    $255.00      $612.00
                                                                        defendants' psychological expert.
999250                        06121117     291 4650      JANICE HANCE   Telephone conference with the District              .20   $170.00       $34.00
                                                                        Court Case Manager regarding the filing of
                                                                        the jury verdict form.
999250                        06t22t17     2913280       ALINA NADIR    Conduct legal research re: tests                   5.20   $255.00    $1,326.00
                                                                        administered by defs.' psychological expert
                                                                        to determine admissibility under FRE 702;
                                                                        email to/from N. Lesswing re: motion and
                                                                        possible affidavit in support.
999250                        06t22t17     2914778       JANICE HANCE   Receipt and review of demand letter from            .20   $170.00       $34.00
                                                                        J. Shoemaker to defense counsel.
999250                        06122117     2917472       JENNIFER       Work on motions in limine; research.               4.00   $310.00    $1,240.00
                                                         SHOEMAKER
999250                        06t23117     291 3508      ALINA NADIR    Draft motion in limine; research tests             4.90   $255.00    $1,249.50
                                                                        administered by defs.' expert.
9992s0                         06t26117    2914022       ALINA NADIR    Draft affidavit for Dr. Lesswing; draft motion     8.20   $255.00     $2,091.00
                                                                        in limine; conduct research re: additional
                                                                        motion in limine re: workers' compensation
                                                                        seftlement and lien.
999250                         06t26t17    2917534       JENNIFER       Work on motions in limine; research                5.70   $310.00     $1,767.00
                                                         SHOEMAKER      caselaw.
999250                         06t27 t17   2914590       ALINA NADIR    Conduct additional research for motion in          6.60   $255.00     $1,683.00
                                                                        limine re: workers' compensation
                                                                        settlement and lien; draft motion in limine
                                                                        re: psychological expert; telephone call
                                                                        with N. Lesswing; revise Lesswing affidavit
                                                                        and resend for his review.
999250                         06t27117    291 5668      JANICE HANCE   lnteroffice conferences with J. Shoemaker          2.20   $170.00      $374.00
                                                                        regarding Reagles' comments and input
                                                                        regarding the State's expert and R.
                                                                        Benitez's response to requestto produce
                                                                        witnesses, settlement, mediation, etc.;
                                                                        review file and prepare an additional letter
                                                                        to Dr. Trock; prepare letters to Drs.
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                                            No.                                                                                                                     Auourur:
                                                                          Mogerman and Clement and Plaintiffs
                                                                          OB/GYN and Dental practice to obtain
                                                                          certifications for medical/dental records;
                                                                          prepare certifications of records for all;
                                                                          revise and finalize all.
999250                        06t27t17      2917545        JENNIFER       Work on motions in limine; conference with       4.70    $310.00     $1,457.00
                                                           SHOEMAKER      P. Small.
999250                        06t28t17      2915298        ALINA NADIR    Travel to/from Buffalo and attend mediation      12.30   $255.00     $3,1 36.50
                                                                          session; work with J. Shoemaker to finalize
                                                                          all motions in limine and file.
999250                        06t28117      2915446        JENNIFER       Travel to and from Buffalo for mediation;        12.00   $310.00     $3,720.00
                                                           SHOEMAKER      work on motions in limine.
999250                        06128117      291 5681       JANICE HANCE   lnteroffice conference with J. Shoemaker           .50   $170.00         $85.00
                                                                          and A. Nadirfollowing mediation and
                                                                          discuss strategy, settlement, media
                                                                          release, motions in limine, etc.; e-mail to
                                                                          and from Dr. Reagles'office to advise of
                                                                          unsuccessful mediation result;
999250                        06t29117      2915494        ALINA NADIR    Review Defs.'motions in limine; outline           5.40   $255.00     $1,377.00
                                                                          possible responses.
999250                        06t29t17      2916901        JANICE HANCE   Receipt and review of all parties' motion in      1.20   $ 170.00      $204.00
                                                                          limine and other trial fllings; download and
                                                                          save all.
999250                        06129117      291 6933       JANICE HANCE   Receipt and review of the mediato/s                .20   $170.00         $34.00
                                                                          certification filed by J. Saeli; download and
                                                                          save same.
999250                        06129117      2917589        JENNIFER       Review defendants motions for summary              .50   $310.00        $155.00
                                                           SHOEMAKER      judgment.
999250                        07 t05t17     2920092        JANICE HANCE   Receipt and review of records certification        .20   $170.00         $34.00
                                                                          from the dental practice.
999250                        07106117      29'17986       ALINA NADIR    Prepare responses to motions in limine            2.80   $255.00        $71 4.00
                                                                          filed by Defendants.
999250                        07 t06t17     2925475        JENNIFER       Work on motion response.                          4.30   $310.00      $1,333.00
                                                           SHOEMAKER
999250                        07 t07 t17    2918195        ALINA NADIR    Draft response to motion in limine filed by       7.40   $255.00      $1,887.00
                                                                          Defendant Cuer.
999250                        07 t08t17     2925731        JENNIFER       Work on response to motions in limine.            3.60   $310.00      $1 ,1 16.00
                                                           SHOEMAKER
999250                        07 t10t17     291 8530       ALINA NADIR    Draft response to motion in limine filed by       8.40   $255.00      $2,142.00
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Clrerur Cooe
                                                                                                                                                                  Arr,trourur:
                                              No.
                                                                          Defendant Cuer.
999250                         07110117       2920329      JANICE HANCE   Review file for all information, letters,         .60   $170.00      $102.00
                                                                          pleadings, etc. refening to any demand for
                                                                          phone records; scan same and send to A.
                                                                          Nadir for preparing of motion papers;
                                                                          receipt and review of certification of
                                                                          records for Dr. Rojeck's records and advise
                                                                          J. Shoemaker and A. Nadir.
999250                         07 t10t17      2925566      JENNIFER       Conference regarding record certifi cations.      .20   $310.00       $62.00
                                                           SHOEMAKER
999250                         07 t11117      29'18860     ALINA NADIR    Draft response to motion in limine filed by      7.90   $255.00    $2,014.50
                                                                          Defendant Cuer.
999250                         07 t11117      2920349      JANICE HANCE   Obtain exhibits t0 attach to motion papers        .40   $170.00        $68.00
                                                                          in opposition to motions in limine;
                                                                          interoffice conference with J. Shoemaker
                                                                          and A. Nadir regarding the preparation and
                                                                          filing of the oppositional motion papers.
999250                         07 t11t17      2925708      JENNIFER       Response to defendants motions in limine.        4.10   $310.00     $1,271 .00
                                                           SHOEMAKER
999250                         07 t12t17      29 1 9904    ALINA NADIR    Draft response to motion in limine filed by     11.40   $255.00     $2,907.00
                                                                          Defendant Cuer; finalize and file responses
                                                                          to motions in limine.
999250                         07112117       2920353      JANICE HANCE   Make additional copies of motion papers,          .60   $170.00       $1   02.00
                                                                          assist with the responsive motions and
                                                                          copy exhibits; receipt and review of Cue/s
                                                                          response in opposition to the motions in
                                                                          limine; download, save and copy same.
999250                         07 t12t17      2925713      JENNIFER       Response to motions in limine                    5.50   $310.00     $1,705.00
                                                           SHOEMAKER
999250                         07 t13117      2923612      JANICE HANCE   Receipt and review of responsive motion           .40   $170.00        $68.00
                                                                          papers filed by all parties; download same
                                                                          and provide copies to J. Shoemaker and A.
                                                                          Nadir.
999250                         07 t14t17      2920s20      ALINA NADIR    Draft reply memo of law to Defendants'           4.80   $255.00     $1,224.00
                                                                          motion in limine.
999250                         07 t14t17      2923647      JANICE HANCE   Pull exhibits for A. Nadi/s use in preparing      .30   $170.00        $51.00
                                                                          responsive motions.
999250                         0t   t16117    2925882      JENNIFER       Work on reply to motions in limine.              3.30   $310.00     $1,023.00
                                                           SHOEMAKER
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ClreHr Coor
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                                              No.
                               07             2920853       ALINA NADIR    Conduct legal research related to motion in         4.50    $255.00    $1 ,147.50
999250        1                     117 117
                                                                           limine reply memorandum.
999250        1                07 t18t17      2921113       ALINA NADIR    Draft reply memo of law to motions in               6.10    $255.00    $1,555.50
                                                                           limine.
                               07 t18117      2923883       JANICE HANCE   E-mails from and to and interoffice                  .90    $170.00      $153.00
999250        1

                                                                           conferences with J. Shoemaker and A.
                                                                           Nadir regarding workers comp records and
                                                                           IME reports, trial preparation, digesting
                                                                           workers comp records and work to be done
                                                                           to be prepared for trial.
999250                         07 t18117      2925876       JENNIFER       Work on reply to motions in limine; joint            3.60   $310.00     $1,116.00
                                                            SHOEMAKER      statement of case; statement regarding
                                                                           service dog.
999250                         07 t19t17      2921374       ALINA NADIR    Review and revise reply memorandum of                8.60   $255.00     $2,193.00
                                                                           law to motions in limine and file; phone call
                                                                           with R. Benitez re: draft joint statement of
                                                                           the case; draft same and flle.
999250                         07 t19117      2923890       JANICE HANCE   Continue preparing for trial; interoffice            r.90 $170.00 $323.00
                                                                           conference with J. Shoemaker and A.
                                                                           Nadir regarding status, trial preparation,
                                                                           work to be done, pretrial conference,
                                                                            meeting with client to prepare for trial,
                                                                            records certifications, witnesses, etc.;
                                                                            prepare agenda topics to discuss at pretrial
                                                                           conference and e-mail same to J.
                                                                           Shoemaker and A. Nadir; e-mail J. Wujcik
                                                                           Affirmation to A. Nadir; receipt and review
                                                                           of filings for Reply to motions in limine for
                                                                           Plaintiff and Cuer and download and save
                                                                           same; scan and e-mail Cueis Reply to J.
                                                                           Shoemaker.
999250                         07 t19t17      2925880       JENNIFER       Work on reply to motions.                            6.50   $310.00     $2,015.00
                                                            SHOEMAKER
999250                         07 t20117      2921722       ALINA NADIR    Review Defendant Cue/s reply to motions              2.90   $255.00       $739.50
                                                                           in limine; review possible hotels for trial; try
                                                                           to reserve rooms (but could not get conect
                                                                            rate); conference with J. Shoemaker re:
                                                                           trial and accommodations.
s99250                          07t20117      2923907       JANICE HANCE   Continue preparing for trial; thoroughly             2.80 $170.00         $476.00
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                                              No.                                                                                                                AMoUNT:
                                                                           review replies to the motions in lmine;
                                                                           telephone calls to client to anange times to
                                                                           meet to prepare for trial and advise client of
                                                                           court address; interoffice conference with
                                                                           A. Nadir and e-mail to J. Shoemaker
                                                                           advising no filing by R. Benitez in reply to
                                                                           motions in limine; interoffice conference
                                                                           with J. Shoemaker and A. Nadir regarding
                                                                           trial preparation; e-mail from client advising
                                                                           of sublease in Buffalo at the end of
                                                                           August; Prepare follow-up letters to Drs.
                                                                           Mogerman and Clemente regarding
                                                                           certification of records; prepare letter to R.
                                                                           Benitez following up on request to produce
                                                                           witnesses; prepare letterto T. Ebert
                                                                           regarding testifying at trial.
999250                         07 t20t17      2926050       JENNIFER       Trial preparation.                                  .50   $310.00      $155.00
                                                            SHOEMAKER
999250                         07 t21117      2922054       ALINA NADIR    Emails to/from J. Shoemaker and J. Hance           2.50   $255.00      $637.50
                                                                           re: DOCCS' witnesses' employment
                                                                           changes; review deposition outlines to
                                                                           prepare trial questions.
999250                         07   t21t17    2923924       JANICE HANCE   Review the IME reports for doctors and             1.60 $170.00        $272.00
                                                                           agencies who ananged and conducted the
                                                                           examinations; interoffice conference with
                                                                           A. Nadir regarding obtaining certification of
                                                                           records for same; e-mails to First Choice
                                                                           Evaluations and Riverfront Medical
                                                                           inquiring as to how to obtain certifications
                                                                           for the IME reports; e-mails from R.
                                                                           Benitez, J. Shoemaker and A. Nadir
                                                                           regarding witnesses the State will produce.
999250                         07 t21117      2926056       JENNIFER       Review email from Benitez regarding                 .20   $310.00       $62.00
                                                            SHOEMAKER      witness production.
999250                         07125117       2922992       ALINA NADIR    Work with team to prepare for final pretrial       2.90   $255.00      $739.50
                                                                           conference; discuss motions in limine with
                                                                           J. Shoemaker; review pleadings and
                                                                           pretrial submissions;
ooorEn                         07t25t17       2923936       JANICE HANCE   lnteroffice conference with J. Shoemaker           2.90 $170.00        $493.00
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                                          No.                                                                                                                 Arvrouut:
                                                                      and A. Nadir regarding status, final pretrial
                                                                      conference, witnesses, meetings with
                                                                      client, hotel reservations, exhibits and trial
                                                                      preparation in general; several telephone
                                                                      conferences with client regarding times to
                                                                      meet for trial preparation; assist with the
                                                                      downloading of defendanfs trial exhibits;
                                                                      review file for Defendant Cuer's trial
                                                                      exhibits and jury instructions filed by the
                                                                      State; revise the agenda and topics to
                                                                      discuss at pretrial conference and send to
                                                                      J. Shoemaker and A. Nadir for use at
                                                                      conference.
999250                     07 t25t17      2925928      JENNIFER       Prepare for motion arguments; prepare for           4.00   $310.00     $1,240.00
                                                       SHOEMAKER      court conference.
999250                     07 t26t17      2923956      JANICE HANCE   E-mails from A. Nadir and J. Shoemaker               .40   $170.00        $68.00
                                                                      regarding R. Benitez; telephone call to
                                                                      court to advise expected time of anival for
                                                                      J. Shoemaker and A. Nadir at pretrial
                                                                      conference; interoffice conference with A.
                                                                      Nadir following pretrial conference and
                                                                      additional trial preparation, revising
                                                                      exhibits, etc.
999250                     07 t26t17      2925298      ALINA NADIR    Travel to/from Buffalo to attend final pretrial     6.40   $255.00     $1,632.00
                                                                      conference; attend same.
999250                     07126117       2925886      JENNIFER       Attend court conference in Buffalo.                 6.00   $310.00     $1,860.00
                                                       SHOEMAKER
999250                     07 t27   t17   2923973      JANICE HANCE   Continue preparing for trial; receipt and           2.20   $170.00       $374.00
                                                                      review of minute entry flled by the court
                                                                      following the pretrial conference; scan IME
                                                                      reports and e-mail them to First Choice and
                                                                      Riverfront in an attempt to obtain
                                                                      certifications; communications with A.
                                                                      Nadir inquiring as to whether the workers'
                                                                      comp records will be used as an exhibit
                                                                      and obtaining certification for those records
                                                                       and digesting same; e-mail to and from
                                                                       client regarding address to send
                                                                       correspondence to; configure mileage for
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                                        No.                                                                                                                  AMoUNT:
                                                                    witnesses to determine who can be called
                                                                    and are within the 100 mile radius for
                                                                    enforcement by subpoena; e-mail to J.
                                                                    Shoemaker and A. Nadir advising of same,
                                                                    preparing subpoenas and obtaining phone
                                                                    numbers from R. Benitez to speak to
                                                                    witnesses prior to preparing subpoenas.
999250                      07 t28t17   2924212      JANICE HANCE   Prepare letter to client confirming dates            .50    $170.00       $85.00
                                                                    and times to meet to prepare for trial;
                                                                    reserve conference rooms in Rochester
                                                                    and Buffalo for said meetings; receipt
                                                                    download text order from Court following
                                                                    pretrial conference; review file regarding
                                                                    status and work to be done.
999250                      08101117    2934705      JENNIFER       Review email from F. Gallacher.                       20    $310.00       $62.00
                                                     SHOEMAKER
                                                                                                                        '1.80                $306.00
999250                      08107117    2928938      JANICE HANCE   Review file regarding status; interoffice                   $170.00
                                                                    conferences with J. Shoemaker and A.
                                                                    Nadir regarding status and trial
                                                                    preparation; e-mails from and to First
                                                                    Choice Evaluations regarding certification
                                                                    of records for trial prepare certification form
                                                                    and forward to First Choice; additional e-
                                                                    mail to Riverfront regarding certification of
                                                                    records; telephone call from A. Clement
                                                                    regarding medical records; receipt and
                                                                    review of certiflcation for Dr. Artim and
                                                                    review same with J. Shoemaker and A.
                                                                    Nadir to ensure proper; e-mail from Dr.
                                                                    Gallacher regarding testifying at trial.
999250                      08107117    2934871      JENNIFER       Conferences regarding medical records                 50    $310.00      $'155.00
                                                     SHOEMAKER      and certifications.
999250                      08/08/1 7   2927605      JENNIFER       Prepare to meet with Dr. Lesswing.                  2.00    $310.00      $620.00
                                                     SHOEMAKER
999250                      0BI0Bl17    2929172      JANICE HANCE   Pull experts reporis and information for J.         2.40    $170.00      $408.00
                                                                    Shoemaker's review prior to meeting with
                                                                    Dr. Lesswing; compare State and Cuer trial
                                                                    exhibits with Plaintifls exhibits to determine
                                                                    duplicate exhibits to work with Defense
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                                                                                                                                                                 AnrtouHr:
                                           No.
                                                                        counsel to eliminate duplicate exhibits;
                                                                        receipt and review of article regarding the
                                                                        State paying for inmate college education
                                                                        and download same.
999250                       08/08/1 7     2935262       ALINA NADIR    Email to J. Wujcik re: copies of exhibits;            .60   $255.00      $153.00
                                                                        discuss exhibits and status with JIH and
                                                                        JAS,
99S250                       0B/09/1 7     2927880       ALINA NADIR    Review deposition transcripts.                       2.80   $255.00      $714.00
999250                       08/09/1 7     2929183       JANICE HANCE   Review flle regarding response from                   .60   $170.00      $102.00
                                                                        Riverfront and send additional e-mail
                                                                        regarding certification of records; prepare
                                                                        lengthy e-mail to R. Benitez and J. Wujcik
                                                                        regarding trial exhibits; e-mail from N.
                                                                        Lesswing advising he has been
                                                                        subpoenaed to another trial at the same
                                                                        time the Small trial is scheduled; receipt
                                                                        and review of certification from Riverfront
                                                                        and advise that we will need the original for
                                                                        trial.
999250                       08/09/1 7     2934875       JENNIFER       Travel to and from Syracuse; meet with Dr.           6.00   $310.00     $1,860.00
                                                         SHOEMAKER      Lesswing.
999250                       08110117      2927972       ALINA NADIR    Call plaintifls physicians to discuss                4.90   $255.00     $1,249.50
                                                                        upcoming trial; emails to/from JIH re:
                                                                        same; review transcripts; perform legal
                                                                        research re: privilege issues for expert
                                                                        witnesses.
999250                       08t10t17      2929219       JANICE HANCE   lnteroffice conference with J. Shoemaker             230    $170.00      $391.00
                                                                        and A. Nadir regarding trial preparation,
                                                                        meeting with Dr. Lesswing, updating to do
                                                                        list and work to be done to continue
                                                                        preparing for trial; e-mail to client asking for
                                                                        update on treatment; review witness list;
                                                                        partially complete subpoena to T. Ebert;
                                                                        prepare updated to do list and forward to J.
                                                                        Shoemaker and A. Nadir; review file for
                                                                        and forward coniact information to A. Nadir
                                                                        for Dr. Trock and Dr. Gallacher; e-mails
                                                                        from and to A. Nadir regarding telephone
                                                                        numbers for both doctors; telephone
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                                          No.
                                                                      conference with A. Clement regarding
                                                                      records certifi cation; telephone conference
                                                                      with Dr. Mogerman's office regarding
                                                                      records certifi cation; telephone
                                                                      conferences with the Court regarding
                                                                      clearance for service animal; continue
                                                                      organizing and preparing file for trial.
999250                         08t10t17   2934889      JENNIFER       Conference regarding subpoenas;                   .50      $310.00      $155.00
                                                       SHOEMAKER      conference regarding Ebert.
999250                         08111117   2929261      JANICE HANCE   Continue preparing for trial; review file        1.20      $170.00      $204.00
                                                                      regarding court room assignment for trial;
                                                                      e-mails from A. Nadir regarding book
                                                                      recommended by Dr. Lesswing for MMPI;
                                                                      review file for contact information for Drs.
                                                                      Trock and Gallacher and e-mail same to A.
                                                                      Nadir; e-mail from client advising of status
                                                                      of medical treatment; interoffice conference
                                                                      with A. Nadir regarding contacting Drs.
                                                                      Trock and Gallacher.
999250                         08114117   2929271      JANICE HANCE   Telephone call to Judge Scretny's office             .60   $170.00      $102.00
                                                                      regarding court room assigned for trial;
                                                                      revise subpoena to T. Ebert to include
                                                                      documents and things to bring to trial when
                                                                      he testifies; e-mail to J. Shoemaker and A.
                                                                      Nadir regarding witnesses and subpoenas;
                                                                      e-mails from and to First Choice
                                                                      Evaluations regarding the certification of
                                                                      records and receipt and review of same for
                                                                      Dr. Tan, along with records.
999250                         08115117   2930308      JANICE HANCE   Receipt and review of records certification      1.10 $170.00           $187.00
                                                                      from A. Clement; receipi and review of
                                                                      Defendant Cue/s rial exhibits and compare
                                                                      with other exhibits and advise J.
                                                                      Shoemaker and A. Nadir regarding same,
                                                                      duplicate exhibits and contacting defense
                                                                      counsel on consolidation and submission
                                                                      oftrial exhibits; receipt and review of
                                                                      invoice from Mediator.
999250                         08115117   2934898      JENNIFER       Review exhibits from defense; conference         1   .00   $310.00       $310.00
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                                        No.                                                                                                                     Aruoutr:
                                                        SHOEMAKER      regarding trial strategy.
999250                       08t15t17   2935349         ALINA NADIR    Email from Cuer's attorney with attached               30    $255.00     $76.50
                                                                       exhibits; review same; email to/from JIH re:
                                                                       same
999250                       08t16t17   2930358         JANICE HANCE   Telephone call to Court to obtain court                .50   $170.00     $85.00
                                                                       room number trial will be held in; telephone
                                                                       call to Dr. Mogerman's office regarding
                                                                       certification of records; e-mail to J.
                                                                       Shoemaker and A. Nadir regarding
                                                                       exhibits, witnesses, subpoenas, trial
                                                                       preparation, etc.
999250                       08117117   2930398         JANICE HANCE   Receipt and review of invoice from                     .20   $170.00     $34.00
                                                                       Mediator and download same; e-mail to J.
                                                                       Shoemaker and A. Nadir regarding
                                                                       payment of Mediatois bill, witnesses,
                                                                       subpoenas, trial preparation, etc.
999250                       08t18t17   2934713         JANICE HANCE   lnteroffice conference with J. Shoemaker               .90   $170.00    $1 53.00
                                                                       regarding trial preparation, revise and
                                                                       finalize subpoena and letter to T. Ebert and
                                                                       anange for service of same; anange for
                                                                       the payment of mediatois invoice.
999250                       08t22t17   2935356         JANICE HANCE   Additional call to Dr. Mogerman's office           1   .00 $170.00      $170.00
                                                                       regarding the certification of records; e-mail
                                                                       to client advising of new time to meet on
                                                                       September 'l3th due to conflict on
                                                                       calendar; e-mails to J. Shoemaker and A.
                                                                       Nadir regarding exhibits and witnesses for
                                                                       trial; review scheduling order for due date
                                                                       to forwarding exhibits and other trial
                                                                       materials to the court and defense counsel.
999250                       08t23t17   2931373         ALINA NADIR    Meet with JAS and JIH to discuss trial             6.70      $255.00   $1,708.50
                                                                       technology issues and make plan for
                                                                       exhibits; review emails to/from JAS and
                                                                       courtroom clerk re: same; review
                                                                       transcripts.
999250                       08t23t17   2934722         JANICE HANCE   lnteroffice conferences with J. Shoemaker,         2.00      $170.00    $340.00
                                                                       A. Nadh and lT Dept. regarding trial
                                                                       preparation, exhibits, witnesses, doctors
                                                                       hotel, budget, laptop and IT connection at
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                                            No.                                                                                                                Auouu:
                                                                         courthouse, and work to be done; e-mails
                                                                         from J. Shoemaker to defense counsel
                                                                         regarding exhibits, witnesses and phone
                                                                         numbers; e-mails from J. Shoemaker and
                                                                         M. Labuzzetta regarding marking and
                                                                         submitting exhibits and service animal
                                                                         clearance; review file regarding changing
                                                                         the time to meet with client due to tentative
                                                                         meeting wlth court; e-mails to and from
                                                                         client regarding same; prepare letter to
                                                                         client confirming rescheduled meeting
                                                                         times; change conference room
                                                                         reservations; review file regarding service
                                                                         ofsubpoena on T. Ebert and information
                                                                         for process server regarding same.
999250                        08123117      29350'16      JENNIFER       Trial preparation; transcript review.              3.00   $310.00      $930.00
                                                          SHOEMAKER
999250                        08t24t17      2931685       ALINA NADIR    Review transcripts.                                1.40   $255.00      $357.00
999250                        08t24t17      2934731       JANICE HANCE   Prepare letter to F. Annarino regarding            4.50   $170.00      $765.00
                                                                         testifying at trial; prepare letters and
                                                                         subpoenas to Drs. Trock, Gallacher and
                                                                         Mogerman; prepare certification of records;
                                                                         review exhibit list to identify documents to
                                                                         ask Defendants to stipulate to; create
                                                                         stipulated list of exhibits; prepare letter to
                                                                         R. Benitez forwarding same; correct and
                                                                         revise file labels and exhibits list; e-mails
                                                                         from process server regarding address for
                                                                         T. Ebert; e-mails from J. Shoemaker and
                                                                         R. Benitez regarding exhibits.
999250                        08t25t17      2934978       JANICE HANCE   Communications with G. Columbo and                 1.60 $170.00        $272.00
                                                                         Paper Chase regarding service of
                                                                         additional trial subpoenas; research
                                                                         witness fee requirements for Federal Court;
                                                                         calculate mileage and witness and anange
                                                                         for payment of same; prepare letter to Dr.
                                                                         Trock to serve with subpoena.
999250                        0BI2Bl17      2935319       ALINA NADIR    Review offer of judgment; review article            .80   $255.00      $204.00
                                                                         regarding such offers in employment
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                                      No.                                                                                                                    AmouHr:
                                                                     cases.
                          08t28t17    2935479      JENNIFER          Prepare for trial; review literature regarding    8.80    $310.00    $2,728.00
999250
                                                   SHOEMAKER         offer ofjudgment.
                          08t29117    2932897      ALINA NADIR       Review deposition transcripts and workers'        7.30    $255.00    $1,861.50
999250
                                                                     compensation transcript; conduct legal
                                                                     research re: offers ofjudgment and how it
                                                                     affects fees under Title Vll; draft memo to
                                                                     client re: same.
999250                    08129117    2934944      JENNIFER          Meetwith Pam Small in Buffalo.                     8.00   $310.00    $2,480.00
                                                   SHOEMAKER
999250                    08129117    293501 5     JANICE HANCE      E-mails to and from T. Leatherland                 3.10   $170.00      $527.00
                                                                     regarding status oftrial; receipt and review
                                                                     of offer ofjudgment file by defendants and
                                                                     review same with J. Shoemaker and A.
                                                                     Nadir; download and save same; review
                                                                     file for and pull exhibits and other
                                                                     documents for J. Shoemaker's use at
                                                                     meeting with client; review workers' comp
                                                                     transcript for Dolce's testimony stating
                                                                     Plaintiff to be a good employee; scan and
                                                                     e-mail testimony to J. Shoemaker; review
                                                                     file regarding service of all subpoenas; e-
                                                                     mails from Paper Chase regarding status
                                                                     of service of subpoena on T. Ebert; e-mail
                                                                     Workers' Comp hearing transcript to client;
                                                                     interoffice conference with A. Nadir
                                                                     regarding trial prep, status, exhibits,
                                                                     witnesses, trial budget, hotels, etc.; e-mail
                                                                     from Court regarding how to revise exhibit
                                                                     list and exhibits to be acceptable to its
                                                                     requirements; e-mail from J. Wujcik
                                                                     regarding revising exhibits and exhibit list.
999250                    08129117    2935441      PAUL F.           Office conference with A. Nadir regarding            20   $370.00        $74.00
                                                   KENEALLY          OOJ of $600K and effects of same.
999250                    08/30/1 7   2933173      ALINA NADIR       Review workers compensation transcript;            4.70   $255.00     $1 ,198.50
                                                                     prepare trial budgetwith projected hotel,
                                                                     travel, food and overtime costs; conference
                                                                     with JAS and JIH re: status.
999250                    0B/30/1 7   2934003      COLIN D. RAMSEY   Conference with J. Shoemaker re: trial              .40   $310.00       $124.00
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                                             No.                                                                                                                      AruouHt:
                                                                          strategy.
999250                         08/30/'r7     2934947       JENNIFER       Review workers compensation transcripts;           4.60       $310.00    $1 ,426.00

                                                           SHOEMAKER      review Will transcripts; conference with T.
                                                                          Ebert.
999250                         0B/30/1 7     2935115       JANICE HANCE   Continue preparing for trial; interoffice           1.90 $170.00 $323.00
                                                                          conference regarding trial preparation and
                                                                          work to be done, witnesses, exhibits, trial
                                                                          budget, offer ofjudgment and settlement,
                                                                          hotel, etc.; copy the Worke/s Comp
                                                                          transcriptfor J. Shoemaker and A. Nadi/s
                                                                          review; review file regarding status of
                                                                          service of subpoenas.
999250                         08/30/1 7     2935567       PAUL F.        ffice conference with J. Shoemaker and                  .20   $370.00       $74.00
                                                           KENEALLY       review OOJ as to fees and costs.
999250                         08131117      2933822       ALINA NADIR    Continue review of workers compensation             3.90      $255.00      $994.50
                                                                          transcript to prepare trial question outlines;
                                                                          emails to/from accounting re: trial budget;
                                                                          emails and call with hotel to book for trial;
                                                                           review trial budget; conference with iAS
                                                                           and JIH re: status.
999250                         08t31t17      2935225       JANICE HANCE    Receipt and review of e-mail from Dr.              1   .50   $170.00      $255.00
                                                                           Gallacher and J. Shoemaker regarding
                                                                           testifying at trial; e-mails from and to J.
                                                                           Shoemaker and A. Nadir and interoffice
                                                                           with J. Shoemaker regarding Dr.
                                                                          Gallacher's fees to testify and rules
                                                                          regarding same; communications with J.
                                                                          Shoemaker, G. Columbo and Paper Chase
                                                                          regarding status of service on T. Ebert and
                                                                          confirming that he has been served.
999250                         09t01t17      2935642       ALINA NADIR    Continue working on trial question outlines         4.20      $255.00     $1,071.00
                                                                          and trial prep; emails to/from client re: trial
                                                                          issues.
999250                         09101117      2936145       JANICE HANCE   E-mails from and to J. Shoemaker                    3.20      $170.00      $544.00
                                                                          regarding going to Court on 9/12 a review
                                                                          availability for same; review file regarding
                                                                          service of subpoenas and e-mails to and
                                                                          from G. Columbo regarding same;
                                                                          communications with A. Nadir regarding
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                                        No.                                                                                                                  AlrtouHr:
                                                                    Dr. Trock and preparing him for trial and
                                                                    Plaintiffs treatment with him; interoffice
                                                                    conferences with A. Nadir regarding
                                                                    witnesses and witness testimony schedule,
                                                                    war room; interoffice conference with K.
                                                                    Crafi regarding setting up a war room for
                                                                    trial preparation; revise trial to do list and
                                                                    prepare trial testimony schedule; e-mails
                                                                    same to J. Shoemaker and A. Nadir; e-
                                                                    mails to and from J. Shoemaker regarding
                                                                    binders and supplies needed for trial and
                                                                    exhibits; e-mails from and to L. Bumbacher
                                                                    regarding he demand the trial may place
                                                                    on her department and lead time for
                                                                    projects; review file for Dr. Trock's phone
                                                                    number and send to J. Shoemaker and A.
                                                                    Nadir; telephone call to Dr Trock regarding
                                                                    trial preparation; begin revising exhibit list.
999250                      09t01t17    2942718      JENNIFER       Conference regarding Dr. Gallacher;                 2.50 $31o.oo $775.00
                                                     SHOEMAKER      prepare for trial. Conference with J. Rebisz
                                                                    regarding technology in courtroom.
                                                                    Review trial to do list and continue
                                                                    preparing for trial.
999250                      09t05t17    2935953      ALINA NADIR    Continue working on trial question outlines         5.30   $255.00     $1,351 .50
                                                                    and trial prep.
999250                      09/05/1 7   2935961      TRACY          Perform address search on F. Annarino;               .40   $175.00        $70.00
                                                     BANSBACH       review search to determine if Jr. or Sr.;
                                                                    perform search on westlaw; search Erie
                                                                    County Clerk and locate deed and tax
                                                                    records for new address; draft and sending
                                                                    e-mail to J. Hance with findings.
999250                      09/05/1 7   2936152      JANICE HANCE   Continue revising exhibits list per Court's         5.50   $170.00      $935.00
                                                                    instruction; receipt and review of returned
                                                                    letter to F. Annarino as undeliverable and
                                                                    unable to fonruard; e-mail s to and from T.
                                                                    Bansbach regarding conducting a people
                                                                    search for F. Annarino to obtain preseni
                                                                    address; receipt and review of result of
                                                                    people search; revise letter to F. Annarino
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                                             No.                                                                                                                   AuouHt:
                                                                          addressed to new address; telephone call
                                                                          from Dr. Trock and e-mails to J.
                                                                          Shoemaker and A. Nadir regarding same;
                                                                          interoffice conference with A. Nadir
                                                                          regarding Lancaster Police and Town
                                                                          Court records and make every document
                                                                          its own exhibit and e-mail to J. Shoemaker
                                                                          regarding same.
999250                         09/05/1 7     2942726       JENNIFER       Conference regarding F. Annarino; review            3.40   $310.00     $1,054.00
                                                           SHOEMAKER      notes regarding Tim Ebert; prepare for trial.
999250                         09/06/1 7     2936308       ALINA NADIR    Continue working on trial question outlines          .10   $255.00        $25.50
                                                                          and trial prep.
999250                         09/06/1 7     293641 3      JENNIFER       Travel to and from Buffalo; conference with         6.00   $310.00     $1,860.00
                                                           SHOEMAKER      T. Ebert.
999250                         09/06/1 7     2937804       JENNIFER       Meet with client; prepare for trial.                6.00   $31 0.00     $1,860.00
                                                           SHOEMAKER
999250                         09/06/1 7     2939288       JANICE HANCE   Continue preparing for trial/ continue              3.50   $'170.00      $595.00
                                                                          revising exhibits; telephone call to Dr.
                                                                          Trock's office to anange at time to meet to
                                                                          discuss trial; telephone call from T. Ebert
                                                                          regarding meeting with J. Shoemaker and
                                                                          telephone call to J. Shoemaker to confirm
                                                                          same; organize file; review file for affidavits
                                                                          of service for all subpoenas; receipt and
                                                                          review of affidavit of service for T. Ebert;
                                                                          prepare Notice to serve on defense
                                                                          counsel informing of subpoenas served to
                                                                          date; interoffice conference with A. Nadir
                                                                          regarding trial preparation; e-mails to and
                                                                          from J. Shoemaker, A. Nadir and G.
                                                                          Columbo regarding Dr. Mogerman,
                                                                          exhibits, etc.; e-mails to and from lT to link
                                                                          calendars to scheduled meetings for J.
                                                                          Shoemaker to continue preparing for trial.
999250                         09t07t17      2936545       ALINA NADIR    Continue working on trial question outlines         2.30   $255.00        $586.50
                                                                          and trial prep.
999250                         09107 t17     2939293       JANICE HANCE   Continue preparing for trial; revise the            1.80   $170.00        $306.00
                                                                          notice for subpoenas; finalize letter to
                                                                          defense counsel serving same; prepare all
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                                          No.
                                                                       for service; continue organizing exhibits.
999250                        09107117    2942747       JENNIFER       Prepare direct examination of client and          5.50    $310.00    $1,705.00
                                                        SHOEMAKER      other witnesses; prepare for trial.
999250                        09/08/1 7   2936650       ALINA NADIR    Continue working on trial question outlines       3.10    $255.00      $790.50
                                                                       and trial prep.
999250                        09/08/1 7   293931   1    JANICE HANCE   Continue preparing for trial; copy the            3.50    $170.00      $595.00
                                                                       resumes of Drs. Lesswing and Reagles to
                                                                       make as separate trial exhibit and create
                                                                       exhibit folders; lengthy e-mail to J.
                                                                       Shoemaker and A. Nadir regarding trial
                                                                       preparation and work to be done and
                                                                       supplies to order; e-mail to L. Bumbacher
                                                                       regarding supplies needed for trial; several
                                                                       telephone conferences with Dr. Trock to
                                                                       set up a time to meet to talk before his
                                                                       testimony at trial; review file for Dr.
                                                                       Mogerman's certification of records and e-
                                                                       mails to and from J. Shoemaker regarding
                                                                       same; review conference room
                                                                       reservations to conferences taking place
                                                                       over the next few days; conference call
                                                                       with J. Shoemaker and A. Nadir regarding
                                                                       trial preparation and work to be done;
                                                                       forward stipulated exhibits to J. Shoemaker
                                                                       for her follow up with R. Benitez; continue
                                                                       review and organization of exhibits.
999250                        09t08117    2943216       JENNIFER       Lengthy conference regarding trial strategy        6.40   $310.00     $1 ,984.00
                                                        SHOEMAKER      with A. Nadir and J. Hance, prepare direct
                                                                       testimony of P. Small.
999250                        09/09/1 7   2943275       JENNIFER       Prepare for trial.                                 3.30   $310.00     $1,023.00
                                                        SHOEMAKER
999250                        09110117    2943273       JENNIFER       Prepare for trial.                                 7.50   $310.00     $2,325.00
                                                        SHOEMAKER
999250                        09t11t17    2936989       ALINA NADIR    Continue working on trial question outlines        8.70   $255.00     $2,218.50
999250                        09t11t17    2939321       JANICE HANCE   Continue preparing for trial; telephone call       5.40   $170.00       $918.00
                                                                       to Dr. Gallacher to anange a time to meet
                                                                       to prepare for irial; telephone call to
                                                                       Riverfront to make additional request for
                                                                       original certification of records; interoffice
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                                      No.                                                                                                                      Atvtourur:
                                                                       conferences with J. Shoemaker and A.
                                                                       Nadir regarding trial preparation; review file
                                                                       for all depositions transcriptto review and
                                                                       prepare direct outlines and determine who
                                                                       to subpoena to testify; communications
                                                                       with L. Bumbacher and A. Reeves
                                                                       regarding supplies and conference rooms;
                                                                       telephone call to and from client
                                                                       rescheduling times to meet to prepare for
                                                                       trial; prepare for meetings with the Court
                                                                       and Drs. Gallacher and Trock; continue
                                                                       review and revisions of trial exhibits.
999250                     09t11117   2943270      JENNIFER            Trial preparation.                                 7.80   $310.00    $2,418.00
                                                   SHOEMAKER
999250                     09t12t17   2937525      Maria D. Soeffing   Prepare and organize exhibit copies by             2.00   $170.00      $340.00
                                                                       witness.
999250                     09t12117   2937806      JENNIFER            Travel to Buffalo and meetwith witnesses           9.50   $310.00     $2,945.00
                                                   SHOEMAKER           and courtroom run though.
999250                     09t12t17   2939344      JANICE HANCE        Travel to and from Buffalo; meetwith court        10.30   $170.00     $1,751 .00
                                                                       official to discuss, set up and test lT
                                                                       connection and operation; meetwith Drs.
                                                                       Gallacher and Trock.
999250                     09t12t17   2942835      ALINA NADIR         Travel to/from Buffalo to meet with clienls        9.40   $255.00     $2,397.00
                                                                       doctors and visit courtroom to practice
                                                                       working with courtroom technology.
999250                     09t13t17   2937536      Maria D. Soeffing   Complete exhibit copies by witness.                1.00   $170.00      $170.00
999250                     09t13t17   2937538      ALINA NADIR         Continue working on trial question outlines        7.20   $255.00     $1,836.00
                                                                       and other trial prep.
999250                     09t13117   2939402      JANICE HANCE        Continue preparing for trial; create               5.50 $170.00         $935.00
                                                                       objections binder, receipt and review of Dr.
                                                                       Mogerman's records and certification of
                                                                       records; telephone call to Dr. Mogerman's
                                                                       office regarding original certiflcation of
                                                                       records; receipt and review of affidavits of
                                                                       service for Dr. Mogerman and Dr. Trock
                                                                       ;revise trial schedule spreadsheet and
                                                                       emails to and from J. Shoemaker and A.
                                                                       Nadir regarding same; prepare subpoena
                                                                       to obtain all medical records from Highgate
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                                          No.                                                                                                                       Alrrouu:
                                                                           Medical and certification for same; prepare
                                                                           letter to serve with subpoena; anange for
                                                                           payment of the subpoena fee; fax
                                                                           subpoena to Highgate and telephone call
                                                                           to the records department regarding same;
                                                                           interoffice conference with J. Shoemaker
                                                                           and A. Nadir regarding status oftrial
                                                                           preparation; conference call with J. Wujcik
                                                                           regarding trial preparation and status; meet
                                                                           with client regarding exhibits and trial
                                                                           preparation; research hotels and things to
                                                                           do in the are for client and her daughter;
                                                                           organize new exhibits.
999250                         09t13t17   2943277      JENNIFER            Trial preparation; meet with client.               6.00    $310.00    $1,860.00
                                                       SHOEMAKER
999250                         09tl4t17   2937977      ALINA NADIR         Continue working on trial question outlines         5.20   $255.00    $1,326.00
                                                                           and other trial prep.
999250                         09t14t17   2938042      Maria D. Soeffing   Break down all trial exhibits by number to          4.60   $170.00      $782.00
                                                                           be burned on CD for trial use for the jury
                                                                           and Judge. Add Certifications to medical
                                                                           record exhibits. Confirm medical records
                                                                           are the same for trial CD and exhibit folder.
999250                         09114117   2939407      JANICE HANCE        Continue preparing for trial; continue              7.80   $170.00     $1 ,326.00
                                                                           revising and updating exhibits and binders;
                                                                           meetings with client regarding exhibits;
                                                                           revise exhibit list; communications with Dr.
                                                                           Reagles' offi ce regarding status and
                                                                           updated medical records; communications
                                                                           with L. Bumbacher regarding shipping
                                                                           binders to the court; interofiice conference
                                                                           with J. Shoemaker and A. Nadir regarding
                                                                           trial preparation ; e-mail from J. Shoemaker
                                                                           to M. Labuzzetta with additional trial
                                                                           preparation and participation questions.
999250                         09t14t17   2943280      JENNIFER            Prepare for hial.                                  11.20   $310.00     $3,472.00
                                                       SHOEMAKER
999250                         09t15t17   29381 '13    ALINA NADIR         Continue working on trial question outlines         7.30   $255.00     $1,861.50
                                                                           and other trial prep.
999250                         09t15t17   2939411      JANICE HANCE        Continue preparing for trial; finalize exhibits     6.60   $170.00     $1,122.00
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                                                                     and binders; Finalize exhibit
                                                                     communications with Dr. Reagles' office
                                                                     regarding status and updated medical
                                                                     records; communications with business
                                                                     services to make arrangement for the
                                                                     deliver of the exhibit binders to the court;
                                                                     prepare letter to Judge Skretny forwarding
                                                                     the exhibit binders, CD containing the
                                                                     exhibits and an amended exhibit list;
                                                                     prepare letter to defense counsel forward a
                                                                     CD with the new exhibits and an amended
                                                                     exhibit list; interoffice conference with A.
                                                                     Nadir regarding trial preparation;
                                                                     communications with Highgate Medical
                                                                     regarding subpoenaed records.
999250                  09t15t17    2943036        JILLIAN K.        Review papers in preparation for Monday          2.10   $255.00      $535.50
                                                   FARRAR            trial strategy meeting.
999250                  09t15t17    2943283        JENNIFER          Trial preparation; prepare direct                7.20   $310.00    $2,232.00
                                                   SHOEMAKER         examinations of witnesses.
999250                   09t16t17   2943286        JENNIFER          Prepare for trial; work on questions            11.00   $310.00     $3,410.00
                                                   SHOEMAKER         outlines.
999250                   09117117   2943289        JENNIFER          Trial preparation; review transcripts.           7.70   $310.00     $2,387.00
                                                   SHOEMAKER
999250                   09t18t17   2938846        ALINA NADIR       Continue working on trial question outlines.     7.30   $255.00     $1,861.50
999250                   09t18t17   2938926        COLIN D. RAMSEY   Conference with J. Shoemaker re: trial           1.00   $310.00      $310.00
                                                                     strategy; review Federal Rules of Evidence
                                                                     re: same.
999250                   09t18t17   2939415        JANICE HANCE      Continue preparing for trial; attend meeting     6.50   $170.00     $1,105.00
                                                                     with litigation department to discuss
                                                                     evidentiary issues and rules; receipt and
                                                                     review of records from Highgate Medical;
                                                                     compare new records to records received
                                                                     and e-mail to J. Shoemaker and A. Nadir
                                                                     regarding same; e-mail WordPerfect
                                                                     version of Amended Exhibit List to the
                                                                     Judge; e-file the Amended Exhibit List;
                                                                     review supplies ordered and advise A.
                                                                     Nadir; review records Dr. Reagles has and
                                                                     scan missing records to Dr. Reagles'
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                                        No.                                                                                                                     AMoUNT:

                                                                       Office; review flle regarding M. Erhardt,   F.
                                                                       Annarino and R. Worthington; prepare
                                                                       subpoenas for same; calculate mileage
                                                                       and request payment for subpoena fees;
                                                                       confirm that all exhibits binders were
                                                                       received by the Court; interoffice
                                                                       conference with J. Shoemaker and A.
                                                                       Nadir regarding status; communications
                                                                       with Dr. Reagles'office and scan additional
                                                                       records.
999250                     09t18117     2942282       RONALD G. HULL   Conference to review pretrial evidence             1.00   $330.00      $330.00
                                                                       issues.
999250                     09/1 8/1 7   2942901       JILLIAN K.       Confer with A. Nadir and J. Shoemaker              1.00   $255.00      $255.00
                                                      FARRAR           regarding trial strategy, evidentiary issues
                                                                       and jury selection.
999250                     09t18t17     2943291       JENNIFER         Trial preparation; meet with litigation            6.70   $310.00     $2,077.00
                                                      SHOEMAKER        department to discuss strategy.
999250                     09/1 9/1 7   293941   I    JANICE HANCE     Receipt and review of text order bumping           5.80   $170.00      $986.00
                                                                       trial and scheduling a conference to set a
                                                                       new trial date; contact Drs. Reagles and
                                                                       Lesswing and T. Ebert to advise of
                                                                       adjournment of trial; review file for and
                                                                       fonarard telephone numbers for Drs. Trock
                                                                       and Gallacher to J. Shoemaker to advise
                                                                       them of adjournment of trial; e-mail from
                                                                       client requesting copies of exhibits she
                                                                       reviewed and tagged; copy same and send
                                                                       to client; organize file following trial
                                                                       adjournment; copy and scan new records
                                                                       received from Highgate Medical for a new
                                                                       trial exhibit; prepare letter to the Court and
                                                                       defense counsel serving new exhibit 244
                                                                       (Highgate).
99S250                     09120117     2941139       JANICE HANCE     Revise and finalize letters to the Judge and         70   $170.00       $1 19.00
                                                                       defense counsel fonrvarding Exhibit 244
                                                                       and notice for subpoenas; receipt and
                                                                       review of affidavit of service for subpoenas
                                                                       for Drs. Gallacher, Trock and Mogerman;
                                                                       continue organizing new exhibits and file
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                                            No.                                                                                                                   AruouHr:
                                                                        following adjournment of trial.
999250                        09t21t17      2943520      JENNIFER       Continue preparing direct examination;            4.40       $310.00    $1,364.00
                                                         SHOEMAKER      work on opening statement.
999250                        09t22t17      2941158      JANICE HANCE   Receipt and review of the affidavit of             1.60      $170.00      $272.00
                                                                        service for Highgate Medical subpoena and
                                                                        anange for the payment of the invoice for
                                                                        service; update second set of trial binders;
                                                                        Organize file and integrate additional filing
                                                                        receipt from A. Nadir.
999250                        09t25t17      2941165      JANICE HANCE   File additional document received from J.              .40   $170.00       $68.00
                                                                        Shoemaker and A. Nadir.
999250                        09t25t17      2943522      ALINA NADIR    Continue working on trial question outlines        2.70      $255.00      $688.50
                                                                         and other trial prep.
999250                        09t26t11      2940575      ALINA NADIR     Continue working on trial question outlines.      3.80      $255.00      $969.00
999250                        09t26t17      2941174      JANICE HANCE    E-mails from M. Labuzzetta with additional            .JU   $170.00       $51.00
                                                                        trial information; interoffice conferences
                                                                        with J. Shoemaker and A. Nadir regarding
                                                                        client posladjournment and continuing
                                                                        review of the transcripts.
999250                        09t26t17      2943540      JENNIFER       Continue preparing Cuer cross                      2.90      $310.00      $899.00
                                                         SHOEMAKER      examination.
999250                        09t28t17      2943046      JANICE HANCE   lnteroffice conferences with J. Shoemaker              .50   $170.00       $85.00
                                                                        regarding client and exhibits; review file for
                                                                        original depositions exhibits used/marked
                                                                        at Plaintiffs deposition
999250                        09128117      2943445      JENNIFER       Work on cross examination of Carl Cuer;            5.50      $310.00    $1,705.00
                                                         SHOEMAKER      review transcripts; notify witnesses of
                                                                        postponement; trial preparation.
999250                        09t29t17      2943167      JANICE HANCE   Receipt and review of invoice for service of           .30   $170.00       $51 .00
                                                                        subpoenas to date and review file
                                                                        regarding status of payment.
999250                        10t02t17      2945978      JANICE HANCE   e-mails from and to J. Shoemaker and A.            I   .90 $170.00        $323.00
                                                                        Nadir regarding F. Annarino; review of
                                                                        depositions exhibits with trials exhibits;
                                                                        anange for the payment of the invoice
                                                                        received for service of subpoenas.
999250                        10t03t17      2945985      JANICE HANCE   Receipt and review of motion to adjourn            1   .50   $170.00      $255.00
                                                                        the status conference due to conflict on
                                                                        State's calendar; download same; review
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                                            No.                                                                                                                 AMoUNT:
                                                                         file regarding same; continue review of
                                                                         depositions and trial exhibits.
999250                       10104t17       2946213       JANICE HANCE   Complete review of deposition exhibits with      5.00    $170.00      $850.00
                                                                         trial exhibits to determine changes that will
                                                                         be required of trial exhibits to match the
                                                                         original documents.
999250                       10t05t17       2946214       JANICE HANCE   lnteroffice conference with J. Shoemaker           .40   $170.00       $68.00
                                                                         regarding marking final exhibits and
                                                                         changes to the existing trial exhibits
                                                                         following comparison of both sets of
                                                                         exhibits.
999250                       10t06t17       2947238       JANICE HANCE   Receipt and review of C. Cueis response            .30   $170.00       $51 .00
                                                                         to motion to adjourn conference date and
                                                                         advising no opposition to adjournment;
                                                                         download and save same.
999250                       10t09t17       2947240       JANICE HANCE   Receipt and review of text order from Court        .30   $170.00       $51.00
                                                                         rescheduling the status conference and e-
                                                                         mails from J. Shoemaker and A. Nadir
                                                                         regarding same; interoffice conference with
                                                                         J. Shoemaker on how to proceed.
999250                       10t10t17       2947272       JANICE HANCE   Scan, copy and replace new and changed            1.60 $170.00        $272.00
                                                                         trial exhibits; create new folders and
                                                                         update exhibit list.
999250                       10t17t17       2949458       JANICE HANCE   File trial documents received from J.              .20   $170.00       $34.00
                                                                         Shoemaker.
999250                       11nU17         2957112       JANICE HANCE   E-mails from and to J. Shoemaker                   .30   $170.00       $51.00
                                                                         regarding upcoming court conference and
                                                                         review file pertaining to same; conflrm date
                                                                         and time of conference and ensure that it is
                                                                         docketed on litigation calendar.
999250                       11   t17 t17   2959751       JANICE HANCE   E-mails from and to T. Leatherland at Dr.          .20 $170.00         $34.00
                                                                         Reagles' office regarding status, upcoming
                                                                         court date and rescheduling trial.
999250                       11   t17 t17   2961629       ALINA NADIR    Review part of S. Dolce deposition                2.10   $255.00      $535.50
                                                                         transcript.
999250                       11127117       2958648       ALINA NADIR    Review both psychological expert reports;         4.80   $255.00    $1,224.00
                                                                         begin draft ing cross-examination questions
                                                                         for Dr. Fishe/s testimony.
999250                       11t27 t17      2959839       JANICE HANCE   Receipt and review of court conference             .40   $170.00       $68.00
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                                            No.                                                                                                                 Atritouur:
                                                                         adjournment notification; interoffice
                                                                         conference with J. Shoemaker and A.
                                                                         Nadir; e-mail to Drs. Reagles and Lesswing
                                                                         requesting times in 2018 they may not be
                                                                         available to testif,7.
999250                        11t27t17      2961 665      JENNIFER       Conference regarding court appearance.             .50   $310.00      $155.00
                                                          SHOEMAKER
999250                        11128t17      2959848       JANICE HANCE   E-mail from and to Dr. Lesswing regarding          .20   $170.00       $34.00
                                                                         availability for trail and forward same to J.
                                                                         Shoemaker and A. Nadir.
999250                        11t28117      296 1 579     ALINA NADIR    Review deposition transcript of J. Conway.       4.30    $255.00    $1,096.50
999250                        11t29t17      2959704       ALINA NADIR    Draft cross-examination outline for defs.'        2.20   $255.00      $561.00
                                                                         psych expert; review legal resources to
                                                                         search for any helpful guides to draft same;
                                                                         review to-do list prepared for trial to
                                                                         determine current status of tasks.
999250                        11t29t17      2961319       JANICE HANCE   Review file regarding response from Dr.            .20   $170.00       $34.00
                                                                         Reagles and send additional e-mail to T.
                                                                         Leatherland inquiring as to Dr. Reagles'
                                                                         schedule.
999250                        11t30t17      2960180       ALINA NADIR    Review motion in limine related to                3.70   $255.00      $943.50
                                                                         defendants' psych expert; review defs.'
                                                                         expert report; continue drafting cross-
                                                                         examination outline.
999250                        11t30t17      2961361       JANICE HANCE   E-mails from and to T. Leatherland                 .20   $170.00       $34.00
                                                                         regarding Dr. Reagles' schedule and
                                                                         advise J. Shoemaker and A. Nadir.
999250                        12t04t17      2961923       ALINA NADIR    Travel to/from Buffalo; attend status             4.00   $255.00     $1,020.00
                                                                         conference to discuss possible trial dates.
999250                        12t04t17      2962722       JANICE HANCE   Review file following Court status                 .20   $170.00       $34.00
                                                                         conference.
999250                        12t04t17      2968497       JENNIFER       Travel to and from Buffalo for Status             5.00   $310.00     $1,550.00
                                                          SHOEMAKER      conference.
999250                        12106t17      2964639       JANICE HANCE   Receipt and review of minute entry from            .20   $170.00       $34.00
                                                                         the court scheduling status conference.
999250                        12106117      2968540       JENNIFER       Review minutes from court; conference              .90   $310.00      $279.00
                                                          SHOEMAKER      regarding outstanding items; prepare for
                                                                         trial.
999250                        12t11t17      2968593       JENNIFER       Prepare for court appearance; email with          '1.00 $310.00       $310.00
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                                      No.
                                                    SHOEMAKER      opposing counsel and court.
                           12t12117   2968601       JENNIFER       Conference with client regarding trial.           1.00    $310.00      $310.00
999250
                                                    SHOEMAKER
                           12t13t17   2965920       JANICE HANCE   Receipt and review of rescheduled trial            .40    $170.00       $68.00
999250
                                                                   date; e-mails to and from Drs. Reagle and
                                                                   Lesswing's office regarding same; advise J.
                                                                   Shoemaker of Dr. Lesswing's unavailability
                                                                   during time of trial; draft e-mail to send to
                                                                   court clerk regarding same.
999250                     12t13t17   2968556       JENNIFER       Conference with court; review trial                2.00 $310.00        $620.00
                                                    SHOEMAKER      preparation list; conferences with J. Hance
                                                                   and A. Nadir.
999250                     12t14t17   2964165       ALINA NADIR    Review task list created for September trial       2.20   $255.00      $561.00
                                                                   to determine status and items left to
                                                                   complete; conference with J. Hance;
                                                                   review status of various unfinished trial
                                                                   question outlines.
999250                     12t14117   2965957       JANICE HANCE   E-mails from client and J. Shoemaker                30    $170.00        $51.00
                                                                   regarding Cuomo's upcoming speech
                                                                   regarding sexual harassment and
                                                                   recording same; receipt and review offile
                                                                   minute order from the court reschedule the
                                                                   trial date; download and save same.
999250                     12t15t17   2966952       JANICE HANCE   lnteroffice conference with A. Nadir                .30   $170.00        $51.00
                                                                   regarding trial preparation; review to do list
                                                                   and make notes to discuss at upcoming
                                                                   status meeting.
999250                     12t18117   2964671       ALINA NADIR    Work on trial cross-examination outline for        3.00   $255.00      $765.00
                                                                   Dr. Fisher.
999250                     12118117   2967944       JANICE HANCE   lnteroffice conference with J. Shoemaker           1.10   $170.00      $1 87.00
                                                                   and A. Nadir regarding discuss
                                                                   continuation of trial preparation and work to
                                                                   be done; review file for Summary
                                                                   Judgment Decision and e-mail same to J.
                                                                   Shoemaker.
999250                     12t18t17   2968046       JENNIFER       Work on trial matters; research regarding          3.60   $310.00     $1 ,1 16.00
                                                    SHOEMAKER      defendants and witnesses.
999250                     12t19t17   2968052       JANICE HANCE   Revise all letters and subpoenas to the trial      1.10   $170.00       $187.00
                                                                   witnesses advising of new trial date; review
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                                           No.                                                                                                                        Alrtouur:
                                                                             file for and forward e-mail prepared to the
                                                                             Court Clerk.
                            12t20t17       2968649       JENNIFER            Trial preparation; work on Small direct.          20n      $310.00    $1,209.00
999250
                                                         SHOEMAKER
999250                      12t21t17       2968648       JENNIFER            Trial preparation; work on Small direct.          2.80     $310.00      $868.00
                                                         SHOEMAKER
999250                      12t26t17       2969039       ALINA NADIR         Review transcript of T. Will and continue         3.70     $255.00      $943.50
                                                                             working on trial question online.
999250                      12127117       2966567       ALINA NADIR         Review deposition transcripts.                    2.60     $255.00      $663.00
999250                      12t27t17       2968704       JENNIFER            Conferences regarding trial; revise               2.60     $310.00      $806.00
                                                         SHOEMAKER           subpoenas; prepare for trial.
999250                      12t28117       2966821       ALINA NADIR         Continue working on trial prep materials.          3.50    $255.00      $892.50
999250                      12t28t17       29681 20      JANICE HANCE        lnteroffice conference with J. Shoemaker           1.70    $170.00      $289.00
                                                                             regarding witnesses and subpoenas; revise
                                                                             letter and subpoenas to witnesses; anange
                                                                             for the payment of the witness fees and
                                                                             mileage; review file for and copy certain
                                                                             leadings to continue preparing for trial;
                                                                             interoffice conferences with J. Shoemaker
                                                                             and A. Nadir regarding same.
999250                      12t28t17       2968714       JENNIFER            Trial preparation; review exhibits; prepare        4.00    $310.00     $1 ,240.00
                                                         SHOEMAKER           direct examinations P. Small and Ebert.
999250                      12t29t17       2967576       ALINA NADIR         Continue working on trial prep materials.          3.20    $255.00       $816.00
9992s0                      01102118       2978764       JENNIFER            Review to do list; conference with A. Nadir.        .40    $320.00       $128.00
                                                         SHOEMAKER
999250                      01   /03/1 8   2969404       ALINA NADIR         Trial prep and work on hotel reservations.         2.20    $260.00       $572.00
                                           2972556                                                                              '1.60
999250                      01   /03/1 8                 JANICE HANCE        E-mails from and to Dr. Lesswing regarding                 $175.00       $280.00
                                                                             trial update; review article regarding three
                                                                             guards resigning; e-mail to and from client
                                                                             to set up times to meet with J. Shoemaker
                                                                             for trial preparation; review file regarding
                                                                             hotel reservations; review file for Dr.
                                                                             Gallache/s e-mails address.
999250                      01   /03/1 8   2978775       JENNIFER            Conference regarding Dr. Lesswing                   .tu    $320.00        $64.00
                                                         SHOEMAKER           testimony.
999250                      01t04t18       2969648       ALINA NADIR         Trial prep and hotel arrangements.                 3.30    $260.00       $B58.00
999250                      01t04t18       2969754       Maria D. Soeffing   Compare and replace trial exhibits 18, 23,          .50    $175.00        $87.50
                                                                             26,72,73,127 and 148.
999250                      01t04118       2973642       JANICE HANCE        Review file for most recent irial exhibit list     1.30    $175.00       $227.50
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                                               No.
                                                                            and forward same to J. Shoemaker and A.
                                                                            Nadir; e-mail to Dr. Gallacher regarding
                                                                            new trial date and setting up a time to meet
                                                                            with J. Shoemaker to prepare for trial;
                                                                            review exhibits and exhibit list.
                                                                                                                                   EA
999250                         01   /04/1 B    2978803       JENNIFER       Review exhibit list.                                         $320.00      $160.00
                                                             SHOEMAKER
999250                         01   /08/1 8    2970392       ALINA NADIR    Review deposition transcripts and trial            3.10      $260.00      $806.00
                                                                            exhibit list; review federal rules of evidence
                                                                            for exceptions to hearsay.
999250                         0'r/08/1 B      2973693       JANICE HANCE   E-mails from and to Dr. Gallacher                  1.60      $175.00      $280.00
                                                                            confirming meeting with J. Shoemaker and
                                                                            discussing her available dates to testify;
                                                                            telephone conference with T. Ebert
                                                                            regarding trial and when he will likely be
                                                                            called to testify; interoffice conference with
                                                                            J. Shoemaker and A. Nadir regarding trial
                                                                            preparation, trial exhibits, witnesses, etc.;
                                                                            receipt and review of e-mail from J.
                                                                            Shoemaker to the Court Clerk regarding
                                                                            trial preparation and exhibits.
999250                         01   /08/1 8    2978851       JENNIFER       Emails regarding testimony; email                      .30   $320.00       $96.00
                                                             SHOEMAKER      regarding D. Gallagher; conference with J.
                                                                            Hance.
999250                         01   /09/1 8    2970601       ALINA NADIR    Trial prep; conference with JAS and JAH            2.70      $260.00      $702.00
                                                                            re: exhibit list and defendanfs omission of
                                                                            expert reports on exhibit lists; begin
                                                                            researching whether motion in limine would
                                                                            be appropriate.
999250                         01/09/1 8       2973750       JANICE HANCE   Review file regarding Defendant's exhibits             .30   $175.00       $52.50
                                                                            and identifying their experts reports for use
                                                                            at trial.
999250                         01   /09/1 B    2979041       JENNIFER       Review exhibits to see if defendants                   .40   $320.00      $128.00
                                                             SHOEMAKER      disclosed their expert report.
999250                         01t10t18        2972014       ALINA NADIR    Conduct legal research re: whether an              4.40      $260.00     $1,144.00
                                                                            omission on trial exhibit list precludes
                                                                            evidence at trial.
999250                         0'1/10/18       2972615       JANICE HANCE   Interoffice conference with J. Shoemaker           1   .oo   $175.00      $175.00
                                                                            regarding trial preparation; review file
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                                     No.                                                                                                                   AtrrtouHr:
                                                                  regarding response from the court clerk
                                                                  regarding exhibits, etc.; receipt and review
                                                                  e-mail from court Clark regarding same
                                                                  and time of final status conference and jury
                                                                  selection; prepare letter to defense counsel
                                                                  foruvarding new CD with revised trial
                                                                  exhibits and notice ofsubpoenas and
                                                                  subpoenas for witnesses; work with M.
                                                                  Soeffing and lT to create new exhibit CDs.
999250                 01111118      2972218       ALINA NADIR    Conduct legal research re: whether an            3.70        $260.00      $962.00
                                                                  omission on trial exhibit list precludes
                                                                  evidence at trial.
999250                 01h1t1B       2972744       JANICE HANCE   Continue working with M. Soeffing and lT
                                                                                                                    'r
                                                                                                                         .00 $175.00        $175.00
                                                                  to prepare revised exhibits; revise and
                                                                  finalize letter to defense counsel and
                                                                  Notice of subpoenas; review file for the
                                                                  pretrial order and forward came to A. Nadir.
999250                 01 /1 6/1 B   2977667       JANICE HANCE   Review file regarding status and e-mail to             .20   $175.00       $35.00
                                                                  J. Shoemaker regarding appointment with
                                                                  client and sending CDs with revised
                                                                  exhibits to defense counsel and Court.
999250                 01t17t18      2979244       JANICE HANCE   Review file regarding exhibits and e-mail to           .30   $175.00       $52.50
                                                                  J. Wujcik and R. Benitez regarding same.
999250                 01/1 9/1 8    2979323       JANICE HANCE   E-mail from the process server confirming              .20   $175.00       $35.00
                                                                  service of the trial subpoenas on the
                                                                  witnesses.
9992s0                 01t22t18      2977720       JANICE HANCE   Review file regarding subservice of F.                 .30   $175.00       $52.50
                                                                  Annarino and receipt of affidavits of service
                                                                  for witnesses.
999250                 01t23t18      2979332       JANICE HANCE   Locate recent article regarding taxpayers              .30   $175.00       $52.50
                                                                  paying too much for settlements of sexual
                                                                  harassment claims by State employees;
                                                                  scan and email to J. Shoemaker and A.
                                                                  Nadir for review; review file grading same.
999250                 01t24t18      2977799       JANICE HANCE   Review file regarding status, meeting with             .30   $175.00       $52.50
                                                                  client regarding trial preparation and
                                                                  subservice of f. Annarino subpoena.
999250                 01125118      2979405       JANICE HANCE   Anange for personal service of subpoena                .40   $175.00       $70.00
                                                                  upon F. Annarino; e-mail to client to
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                                        No.                                                                                                                AruouHt:
                                                                     anange time to meet to review exhibits and
                                                                     prepare for trial.
999250                      01t26t18    2977817       JANICE HANCE   E-mails from and to client regarding time to      .20    $175.00       $35.00
                                                                     meet with J. Shoemaker for trial
                                                                     preparation.
999250                      01/30/1 8   2977889       JANICE HANCE   E-mail from client confirming appointment         .20    $175.00       $35.00
                                                                     with J. Shoemaker for trail preparation and
                                                                     diary same on litigation calendar.
999250                      02t01t18    2981647       JANICE HANCE   Review file regarding personal service of F.      .20    $175.00       $35.00
                                                                     Annarino.
999250                      02t01t18    298 1 652     JANICE HANCE   Copy article regarding sexual harassment          .40    $175.00       $70.00
                                                                     cases for New York and forward to J.
                                                                     Shoemaker and A. Nadir for their review;
                                                                     review flle regarding service of subpoena
                                                                     on F. Annarino.
999250                      02/05/1 B   2981663       JANICE HANCE   Locate and e-mail an additional article to J.      .20   $175.00       $35.00
                                                                     Shoemaker and A. Nadir regarding
                                                                     banning contracts with companies who
                                                                     discriminate.
999250                      02/06/1 8   2980423       ALINA NADIR    Call with hotel to discuss arrangements for        .20   $260.00       $52.00
                                                                     trial.
999250                      02t06t18    2981742       JANICE HANCE   lnterofiice conference with A. Nadir               .40   $175.00       $70.00
                                                                     regarding F. Annarino, trial preparation,
                                                                     and response from R. Benitez regarding
                                                                     stipulated facts.
999250                      02t0Bt1B    2987474       JANICE HANCE   Review trial exhibits.                            1.20   $175.00      $210.00
999250                      02t09t18    2983573       JANICE HANCE   Scan and forward Amended Exhibit List to           .20   $175.00       $35.00
                                                                     R. Benitez and J. Wujcik.
999250                      02113t18    2983649       JANICE HANCE   lnterofiice conference with J. Shoemaker           .60   $175.00      $1 05.00
                                                                     and A. Nadir regarding status and trial
                                                                     preparation and NYS suing H. Weinstein;
                                                                     print off old and new exhibits lists for J.
                                                                     Shoemaker and A. Nadir.
999250                      02t13t18    2987481       JANICE HANCE   Continue review of trial exhibits.                1.50   $175.00      $262.50
999250                      02114118    2983674       JANICE HANCE   Receipt and review of invoice and affidavit       1.00   $175.00      $'175.00
                                                                     of service of subpoena for F. Annarino and
                                                                     anange for payment of services for same;
                                                                     interoffice conferences with J. Shoemaker
                                                                     and A. Nadir regarding status, trial
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                                                                                                                                                                    AuouHt:
                                            No.
                                                                           preparation, settlement, etc.; prepare
                                                                           additional pleadings for mailing.
                              02t14118      2987250         ALINA NADIR    Trial prep.                                      3.10    $260.00      $806.00
999250
                              02115118      2982781         ALINA NADIR    Review trial outline of T. Will; review his      2.40    $260.00      $624.00
999250
                                                                           deposition testimony; trial prep.
999250                        02t16t18      2983132         ALINA NADIR    Emails to/from Hyatt rep to discuss room           .20   $260.00       $52.00
                                                                           arrangements.
                              02t16118      2986607         JANICE HANCE   E-mail from the Court regarding trial,             .20   $175.00       $35.00
999250
                                                                           exhibits, etc.
                              02t16t18      2987       85   JENNIFER       Work on direct and opening.                       4.20   $320.00    $1,344.00
999250                                             1

                                                            SHOEMAKER
                              02t16118      2987483         JANICE HANCE   Continue review of trial exhibits                 1.60   $175.00      $280.00
999250
                              02t19118      2983408         ALINA NADIR    Meet with J. Shoemaker and J. Hance to            2.90   $260.00      $754.00
999250
                                                                           discuss status of trial and witness prep;
                                                                           trial prep.
999250                        02t19118      2986658         JANICE HANCE   E-mails from and to client regarding trial;       5.00 $175.00        $875.00
                                                                           meting with J. Shoemaker and A. Nadir
                                                                           regarding trial preparation; e-mails from
                                                                           and to T. Leatherland regarding when Dr.
                                                                           Reagles is expected to be called to testify;
                                                                           update and revise the trial "to do" list;
                                                                           revise the trial schedule; prepare subpoena
                                                                           to C. Retrosi; review exhibits list with J.
                                                                           Shoemaker regarding revising and
                                                                           shortening exhibits descriptions per Courts
                                                                           request and use with its software; organize
                                                                           file; e-mails from J. Shoemaker and M.
                                                                           Labuzzetta regarding trial preparation and
                                                                           using JERS systems prior to trial; e-mails
                                                                           from J. Shoemaker and R. Benitez
                                                                           regarding employees still at DOCCS and
                                                                           who may now need to be subpoenaed to
                                                                           testify;
999250                        02t19t18      29871 08        JENNIFER       Work on direct examination of plaintiff;          8.00   $320.00     $2,560.00
                                                            SHOEMAKER      review transcripts.
999250                        02t20t18      2983692         ALINA NADIR    Review emails to/from J. Shoemaker and            4.40   $260.00     $1 ,144.00
                                                                           R. Benitez re: trial exhibits and schedule of
                                                                           witness testimony; conference with J.
                                                                           Shoemaker re: same; reserve hotel rooms;
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                                                                                                                                                                  AttttouHr:
                                         No.
                                                                          look for contact info for M. Erhardt; trial
                                                                          prep.
999250                       02t20t18    2986698      JANICE HANCE        E-mails from Court regarding time to trial         3.50    $175.00      $612.50
                                                                          the Courts software; many e-mails from
                                                                          and to client regarding specifics for trial
                                                                          and preparation, Annarino, what to wear,
                                                                          etc.; e-mails from J. Shoemaker and R.
                                                                          Benitez regarding trial exhibits, testimony
                                                                          of J. Goodrich and address for T. Will;
                                                                          prepare additional CD of exhibits for R.
                                                                          Benitez; obtain cunent telephone numbers
                                                                          for other witnesses; review rules regarding
                                                                          the filing of affidavits of service for the
                                                                          subpoenas; revise the exhibit list per the
                                                                          Court's instruction and e-mail new list to all;
                                                                          interoffice conferences regarding printer for
                                                                          trial, exhibit list and other trial preparation
                                                                          details; revise all subpoenas to witnesses
                                                                          and prepare letters forwarding same;
                                                                          provide more speciflc information regarding
                                                                          time to testify; calculate mileage for T. Will;
                                                                          prepare letters and all subpoenas for
                                                                          service and anange for the payment of the
                                                                          subpoena fee and mileage reimbursement;
                                                                          revise trial schedule.
999250                       02t20118    2987'106     JENNIFER            Work on direct of plaintiff.                        5.60   $320.00     $1,792.00
                                                      SHOEMAKER
999250                       02t21t18    29841 33     ALINA NADIR         Trial prep; legal research re: permissible          2.70   $260.00      $702.00
                                                                          documents to be used to refresh witness'
                                                                          mem0ry.
999250                       02t21t18    2984212      Maria D. Soeffing   Assist with combining trial exhibits.                .20   $175.00       $35.00
999250                       02t21t18    2986728      JANICE HANCE        Continue preparing for trial; e-mail from           3.20   $175.00      $560.00
                                                                          and to J. Wujcik regarding exhibit list and
                                                                          exhibits; anange for service of the
                                                                          subpoena on T. Will; e-mails from and to J.
                                                                           Shoemaker regarding trial exhibits,
                                                                           consolidating all 278 exhibits into 1 pdf,
                                                                           meeting with client, general trial
                                                                           preparation; work with business services to
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                                                                                                                                                        AtrrtouHr:
                                     No.
                                                                 do same; review file for and scan e-mail
                                                                 from C. Cue/s wife to J. Shoemaker for
                                                                 review; review history regarding why the
                                                                 exhibit is not named on the exhibit list and
                                                                 fonrlrard e-mail history evidencing same to
                                                                 J. Shoemaker; review file for workers'
                                                                 comp transcript and provide copy to J.
                                                                 Shoemaker; e-jails to and from J.
                                                                 Shoemaker regarding lien clearance and
                                                                 who paid clienfs expenses and lost
                                                                 earnings; continue organizing and
                                                                 preparing file for trial.
                                                                                                                 '11.00
999250                    02t21t18   2986985      JENNIFER       Meet with client; prepare for trial.                     $320.00    $3,520.00
                                                  SHOEMAKER
oootAn                    02t22t18   2984301      ALINA NADIR    Emails with team re: witness and trial prep;     2.60    $260.00      $676.00
                                                                 trial prep; emails re: appropriate
                                                                 documents to refresh memory; emails
                                                                 to/from opposing counsel re: contact info
                                                                 for Defendants former employees.
999250                    02t22118   2986761      JANICE HANCE   Continue preparing for trial; prepare            2.40 $175.00         $420.00
                                                                 subfolders for additional documents and
                                                                 file all docs accumulated and filed since
                                                                 previous trial date; review file regarding
                                                                 exhibits for each witness; review file
                                                                 regarding Dr. Mogerman; e-mails from A.
                                                                 Nadir regarding meeting with R.
                                                                 Worthington; e-mails regarding client
                                                                 preparing list to testify from; many e-mails
                                                                 regarding contacting Gannett and other
                                                                 media; research and obtain contact
                                                                 information for reporter.
999250                    02t22t18   2987104      JENNIFER       Trial preparation.                               8.80    $320.00     $2,8'16.00
                                                  SHOEMAKER
999250                    02t23t18   2984707      ALINA NADIR    Trial prep.                                      3.40    $260.00      $884.00
999250                    02t23t18   2987176      JENNIFER       Prepare direct examinations; review              9.30    $320.00     $2,976.00
                                                  SHOEMAKER      deposition transcripts.
999250                    02t23t18   2987304      JANICE HANCE   Continue preparing for trial; many e-mails       2.60    $175.00      $455.00
                                                                 from and to J. Shoemaker and A. Nadir
                                                                  regarding article showing NYS paying
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                                                                                                                                                           AMoUNT:
                                       No.
                                                                    settlements and contacting media; locate
                                                                    and copy pleadings, documents and
                                                                    articles to forward to the media; scan and
                                                                    e-mail to J. Shoemaker and A. Nadir for
                                                                    review and approval; e-mails from and to
                                                                    client regarding transcripts and documents
                                                                    for her review; e-mail from A. Nadir and R.
                                                                    Benitez regarding T. Will.
999250                     02t24t18    2986987       JENNIFER       Prepare for trial.                              5.30     $320.00    $1,696.00
                                                     SHOEMAKER
999250                     02t25t18    2987181       JENNIFER       Review transcripts; prepare direct exam of       3.30    $320.00    $1,056.00
                                                     SHOEMAKER      B. Bradt.
999250                     02t26t18    29851 64      ALINA NADIR    Trial prep: email to/from opposing counsel       3.40    $260.00      $884.00
                                                                    re: former employees' contact information;
                                                                    phone calls with witnesses; legal research
                                                                    re: leading questions and hostile
                                                                    witnesses.
999250                     02t26t18    2985434       JODI SMITH-    Confer with J. Shoemaker regarding                .30    $180.00       $54.00
                                                     SCHULER        location of phone number; search available
                                                                    site to locate valid number; pull and review
                                                                    westlaw report for contact information for
                                                                    M. Erhardt.
999250                     02t26t18    2986977       JENNIFER        Meet with client to prepare for trial.         10.20    $320.00     $3,264.00
                                                     SHOEMAKER
999250                     02t27t18    2985625       ALINA NADIR    Trial prep.                                      3.1 0   $260.00      $806.00
999250                     02t27 t18   2986989       JENNIFER       Trial preparation; review exhibits; revise       8.60    $320.00     $2,752.00
                                                     SHOEMAKER      exhibits; prepare direct testimony for
                                                                    treating psychologist.
999250                     02t27t18    2987376       JANICE HANCE   E-mails from and to Dr. Gallacher                5.50    $175.00      $962.50
                                                                    confirming meeting with J. Shoemaker and
                                                                    review file regarding same; e-mails from J.
                                                                    Shoemaker, A. Nadir and R. Benitez
                                                                    regarding T. Will and M. Erhardt and who
                                                                    remains employed by DOCCS; receipt and
                                                                    review of CDs with trial exhibits from R.
                                                                    Benitez and J. Wuijcik; e-mails from J.
                                                                    Shoemaker and A. Nadir regarding trial
                                                                    exhibits, meeting with F. Annarino, Dr.
                                                                    Gallacher and client; copy depositions
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                                           No.                                                                                                                   AtrrtouHr:
                                                                        transcript for F. Annarino and lG's flle for
                                                                        use at meeting with F. Annarino; copy Dr.
                                                                        Gallache/s records for meeting with Dr.
                                                                        Gallacher; interoffice conference with J.
                                                                        Shoemaker and A. Nadir, regarding trial
                                                                        preparation, medial, trial schedule, etc.; e-
                                                                        mails from Dr. Lesswing and J. Shoemaker
                                                                        regarding testimony and payment; receipt
                                                                        and review of invoices from Dr. Lesswing;
                                                                        request costs report from accounting to
                                                                        ensure Dr. Lesswing was not previously
                                                                        paid; anange for payment of Dr.
                                                                        Lesswing's invoices; review file regarding
                                                                        subpoena to T. Will; review file regarding
                                                                        meetings scheduled with client; e-mails
                                                                        from A. Nadir regarding M. Erhardt; forward
                                                                        the State's voir dire to J. Shoemaker and A.
                                                                        Nadir for review; e-mails from Court
                                                                        ananging a time to practice software; e-
                                                                        mail from J. Shoemaker to R. Benitez and
                                                                        J. Wujcik regarding duplicate exhibits.
999250                       02t28118      2986340       ALINA NADIR    Travel to/from Buffalo for courtroom                8.30   $260.00     $2,158.00
                                                                        technology training; practice courtroom
                                                                        technology; trial prep.
999250                       02t28t1B      2986972       JENNIFER       Trial preparation; meet with witnesses             11.50   $320.00     $3,680.00
                                                         SHOEMAKER      Annarino and Small; meet with court clerk.
999250                       02t28t18      2987433       JANICE HANCE   Prepare for and travel to and from Buffalo          6.80   $175.00     $1 ,190.00
                                                                        to meet with Court Clerk and practice
                                                                        exhibit software; e-mails from J.
                                                                        Shoemaker and R. Benitez regarding M.
                                                                        Woeller; copy and e-mail Plaintiffs
                                                                        deposition exhibits 90 and 94; confirm that
                                                                        they are also trial exhibits; prepare letter to
                                                                        F. Annarino fonruarding same; e-mails from
                                                                        J. Shoemaker and Dr. Lesswing regarding
                                                                        testifying on 3/21 and his inability to do
                                                                        same; review file regarding Dr. Lesswing's
                                                                        dates of travel; revise trial schedule to
                                                                        show Dr. Gallachertestifying on 3/16; e-
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                                        No.                                                                                                                  AmouHr:
                                                                    mails from J. Shoemaker and A. Nadir
                                                                    regarding preparing motion to call
                                                                    witnesses out of order; many e-mails from
                                                                    and to J. Shoemaker and A. Nadir
                                                                    regarding Wayne Cuer and J. Conway,
                                                                    contact with the medial and receipt and
                                                                    review of many articles regarding J. Ferro
                                                                    pleading guilty to coercion, W. Cuer and J.
                                                                    Conway as conections officers together at
                                                                    Attica and moving up the ranks together;
                                                                    revise trial schedule and "to do" list and
                                                                    forwarding to J. Shoemaker; e-mail to client
                                                                    regarding lien clearance and contact
                                                                    information.
999250                     03/01/1 8    2987485      ALINA NADIR    Trial prep.                                        7.20   $260.00     $1,872.00
999250                     03/01/'1 8   2989076      JANICE HANCE   Continue preparing for trial; e-mails to and       4.50   $175.00       $787.50
                                                                    from client regarding workers' comp line;
                                                                    several interoffice conferences with J.
                                                                    Shoemaker and A. Nadir; prepare letter to
                                                                    workers comp regarding lien clearance;
                                                                    research and obtain contact information for
                                                                    A. David; prepare subpoena for him to
                                                                    testi! at trial; revise and finalize subpoena
                                                                    to C. Retrosi; configure mileage and
                                                                    anange for the payment of witness fee;
                                                                    work with lT to obtain better copy of article
                                                                    regarding A. David to attach to subpoena;
                                                                    anange for service of the subpoenas; e-
                                                                    mail from the Court Clerk regarding
                                                                    defense exhibits; review all subpoenas and
                                                                    affidavits of service to confirm all complete;
                                                                    creaie subfolder and spreadsheet; review
                                                                    file regarding status of service on T. Will;
                                                                    inieroffice conferences with lT regarding
                                                                    laptop and loading exhibits to practice; e-
                                                                    mail from A. Nadir and R. Benitez
                                                                    regarding subpoena to T. Will; review file
                                                                    regarding Dr. Reagles' testimony and e-
                                                                    mail to T. Leatherland regarding proposed
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                                                                                                                                                             AMoUNT:
                                         No.
                                                                      questions.
999250                     03/01/'18     2995349       JENNIFER       Prepare for trial; prepare direct                9.30    $320.00    $2,976.00
                                                       SHOEMAKER      examinations; conference with expert
                                                                      witnesses, email with opposing counsel;
                                                                      review exhibits from opposing counsel and
                                                                      compare to earlier exhibit lists; meet with
                                                                      trial team to prepare for trial.
999250                     03/02/1 8     2989086       JANICE HANCE   Continue preparing for trial; e-mail from        4.70    $175.00      $822.50
                                                                      client regarding CD and discuss same with
                                                                      J. Shoemaker and A. Nadir; e-mail from T.
                                                                      Leatherland regarding proposed questions
                                                                      for Dr. Reagles; compete review of exhibits
                                                                      and e-mails to and from J. Shoemaker
                                                                      regarding conecting the changed exhibits
                                                                      and updating the court's binders; review file
                                                                      regarding service of subpoena on C.
                                                                      Retrosi.
999250                     03/02/'18     2989380       JENNIFER       Prepare for trial; Prepare Lesswing direct.       B.B0 $320.00 $2,816.00
                                                       SHOEMAKER
999250                     03/02/1 8     2996020       ALINA NADIR    Trial preparation; prepare Reagles direct.        B.10   $260.00     $2,1 06.00

999250                     03/03/1 8     2987922       ALINA NADIR    Trial preparation; prepare Goodrich direct.       8.20   $260.00     $2,132.00
999250                     03/03/1 B     2989378       JENNIFER       Prepare for trial; work on Small direct.          7.60   $320.00     $2,432.00
                                                       SHOEMAKER
999250                     03/04/1 8     2987938       ALINA NADIR    Trial preparation; work on Will direct.           6.90   $260.00     $1,794.00
                           03/04/1 8     2989379       JENNIFER       Prepare for trial; work on Ebert direct.
                                                                                                                        o(n    $320.00     $3,040.00
999250
                                                       SHOEMAKER
999250                     03/05/1   I   2987978       ALINA NADIR    Trial preparation; Work on Goodrich direct.       8.30   $260.00     $2,1 58.00
999250                     03/05/1 B     29881 51      JODISMITH-     Confer with A. Nadir regarding skip tracing        .JU   $180.00        $54.00
                                                       SCHULER        C. Cuer; pull and review Westlaw report.
999250                     03/05/1 8     2989092       JANICE HANCE   Continue preparing for trial; prepare             4.50   $175.00       $787.50
                                                                      subpoenas to M. Wolkoff and B. Bradt,
                                                                      calculate mileage and arrange for the
                                                                      payment of same and subpoena fee;
                                                                      prepare notices ofsubpoena and letters to
                                                                      R. Benitez and J. Wujcik; review file for
                                                                      documents reviewed by client and copy for
                                                                      J. Shoemaker to bring to Buffalo when
                                                                      meeting with client; 4e-mail transcripts link
                                                                      to J. Shoemaker; review changes to exhibit
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                                                                                                                                                                          Al/louut:
                                             No.
                                                                                 list with A. Nadir; e-mails to and from T.
                                                                                 Leatherland regarding questions for D.
                                                                                 Reagles and tables to be blown up for use
                                                                                 at trail; review file regarding summary of C.
                                                                                 Cuer depositions and e-mail same to J.
                                                                                 Shoemaker; review flle regarding updating
                                                                                 exhibit binders and getting new one to the
                                                                                 Court; review file for sexual harassment
                                                                                 exhibits, directive and policies; forward the
                                                                                 State's voir dire to J. Shoemaker and
                                                                                 review file regarding the State's economic
                                                                                 expert, adding K. Cuer e-mail to exhibit list.
999250                         03/05/1 8     2989377         JENNIFER            Meet with P. Small to prepare for trial.          11.50   $320.00      $3,680.00
                                                             SHOEMAKER
999250                         03/05/1 8     29901 04        PAUL F.             Emails with J. Hance and A. Nadir                    20   $375.00         $75.00
                                                             KENEALLY            regarding no need to pay hourly rate to
                                                                                 opposing subpoenaed expert.
999250                         03/06/1 8     298822B         ALINA NADIR         Trial preparation; work on direct                  8.30   $260.00      $2,158.00
                                                                                 examinations.
999250                         03/06/1 8     2988414         Maria D. Soeffing   Replace and organize exhibits. Remove              2.00   $'175.00       $350.00
                                                                                 old exhibits from laptop and replace with
                                                                                 final versions. Cross reference for
                                                                                 accuracy all exhibit binders with loose
                                                                                 exhibits in folders.
999250                         03/06/1 8     29891 05        JANICE HANCE        Continue preparing for trial.                      6.80   $175.00      $1 ,190.00

999250                         03/06/1 B     2989383         JENNIFER            Prepare for trial.                                10.30   $320.00      $3,296.00
                                                             SHOEMAKER
999250                         03/07/1 B     2988499         ALINA NADIR         Trial prep.                                        3.30   $260.00        $858.00
999250                         03/07/1 8     2988807         Maria D. Soeffing   Commence update to trial exhibits to be            1.00   $175.00        $175.00
                                                                                 provided to the Court clerk.
999250                         03107118      2989   1   06   JANICE HANCE        Travel to and from Buffalo and meet with          12.00 $175.00        $2,100.00
                                                                                 client to review testimony and trial exhibits;
                                                                                 compare exhibits from old CD with new
                                                                                 exhibits to identify which exhibits have
                                                                                 changed in order to provide same to court.
999250                         03/07/'18     2989374         JENNIFER            Meet with P. Small to prepare for trial.           7.00   $320.00      $2,240.00
                                                             SHOEMAKER
999250                         03/0B/1 B     2988787         ALINA NADIR         Trial preparation; review transcripts.             6.90   $260.00      $1,794.00
999250                         03/08/1   I   2988857         Maria D. Soeffing   Finalize and prepare trial exhibits in CD          1.00   $175.00        $'175.00
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                                                                                                                                                                               AruouHt:
                                             No.
                                                                                    format for submission to Court and
                                                                                    counsel. Replace and add trial exhibits 32
                                                                                    and 281 on laptop. Prepare CD of all
                                                                                    replacement exhibits for Court clerk.
9992s0         1               03/08/1 B     2989117            JANICE HANCE        Continue preparing for trial.                        7.00   $175.00     $1,225.00
999250         1               03/08/1 B     2989381            JENNIFER            Prepare for hial; review transcripts and             9.40   $320.00     $3,008.00
                                                                SHOEMAKER           prepare direct examinations.
999250                         03/09/1 8     2989033            ALINA NADIR         Trial preparation; review exhibits and               7.70   $260.00     $2,002.00
                                                                                    transcripts.
999250                         03/09/1 8     2989043            Maria D. Soeffing   Add additional deposition exhibit copies for         1.80   $175.00       $31 5.00
                                                                                    Annarino and Rotrosi witnesses. Cross-
                                                                                    check other witness' exhibits previously
                                                                                    copied and swap out changes.
999250                         03/09/1 B     29891      1   8   JANICE HANCE        Continue preparing for trial.                        4.70   $175.00       $822.50
999250                         03/09/1 8     2989373            JENNIFER            Meet with P. Small to prepare for trial.         1   1.00   $320.00     $3,520.00
                                                                SHOEMAKER
999250                         03/1 0/1 8    2995330            JENNIFER            Prepare for trial; several conferences               4.40   $320.00     $1,408.00
                                                                SHOEMAKER           regarding trial adjournment.
999250                         03/1 1 /1 8   2990   1   95      PAUL F.             Telephone conference with T. O'Brien                  .40   $375.00       $150.00
                                                                KENEALLY            (AAG) regarding date of AAG Bevitez's
                                                                                    father; Telephone conferences and texts
                                                                                    with J. Shoemaker and A. Nadir regarding
                                                                                    same and settlement authority.
999250                         03/'11118     2995825            JENNIFER            Conference regarding adjournment;                     .80   $320.00       $256.00
                                                                SHOEMAKER           conference with Dr. Lesswing;
999250                         03t12t18      2989356            ALINA NADIR         Conference with aftorneys and court; tasks           6.10   $260.00     $1,586.00
                                                                                    related to postponement of trial.
999250                         03t12t18      2990931            JANICE HANCE        Many communications with J. Shoemaker                4.30   $175.00       $752.50
                                                                                    and A. Nadir regarding adjournment of trial;
                                                                                    conference call with the Court and defense
                                                                                    counsel regarding adjournment, mediation
                                                                                    and other trial and settlement strategies;
                                                                                    call all witnesses and experts to advise of
                                                                                    the adjournment of trial; prepare a letter to
                                                                                    A. David advising of adjournment of trial;
                                                                                    unload and reorganize files boxed up to
                                                                                    take to the courthouse; forward the reports
                                                                                    of Dr. Reagles and Dr. Wolkoff for use in
                                                                                    preparing letter to T. O'Brien; review file
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                                            No.                                                                                                           Amourur:
                                                                       regarding settlement demand letters;
                                                                       receipt and review of confirmation of
                                                                       service of C. Retrosi's subpoena and
                                                                       affidavit of service for same.
999250                         03t12t18      2995344    JENNIFER       Attend court telephone conference;             6.50    $320.00    $2,080.00
                                                        SHOEMAKER      conference with client; co counsel;
                                                                       conference with witnesses; review list of
                                                                       outstanding items; other matters regarding
                                                                       service of process; conference with C.
                                                                       Quackenbush regarding subpoenas.
                                                                       Revise demand letter; research; email with
                                                                       T. O'Brien.
999250                         03/'1 3/18    2990949    JANICE HANCE   Receipt and review of filing from Court          .20 $175.00         $35.00
                                                                       regarding the adjournment oftrial and
                                                                       scheduling a conference for March 26;
                                                                       download and diary same.
999250                         03t14t18      2990063    ALINA NADIR    Tasks related to postponement of trial.         1.00   $260.00      $260.00
999250                         03/1 6/1 8    2990370    ALINA NADIR    Tasks related to postponement of trial.         2.10   $260.00      $546.00
999250                         03/1 6/1 8    2990976    JANICE HANCE   Receipt and review of original affidavit of      .60   $175.00      $105.00
                                                                       service for service of the subpoena upon
                                                                       Dr. Wolkoff and C. Retrosi; organize file.
999250                         03t22t18      2993302    JANICE HANCE   E-mails from and to Dr. Gallacher                .30   $'175.00      $52.50
                                                                       regarding contact from client and review
                                                                       file regarding same.
999250                         03t23t18      2993766    JANICE HANCE   Review file regarding response from client       .40   $175.00       $70.00
                                                                       after postponement of trial; e-mails to and
                                                                       from Dr. Gallacher regarding same; receipt
                                                                       and review of correspondence from
                                                                       workers' compensation regarding potential
                                                                       lien; e-mails to and from J. Shoemaker and
                                                                       A. Nadir regarding same.
999250                         03t26t18      2992611    ALINA NADIR    Status conference; review news websites         1.90 $260.00        $494.00
                                                                       for articles related to Cuomo and sexual
                                                                       harassment policies.
999250                         03t26118      2993772    JANICE HANCE   Participate in conference call with the         1.80 $175.00        $315.00
                                                                       court; interoffice conference with J.
                                                                       Shoemaker and A. Nadir regarding same
                                                                       and status; diary next court conference
                                                                       call; e-mails to and from Drs. Reagles and
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                                           No.                                                                                                                     AMoUNT:
                                                                        Gallacher regarding potential new trial date
                                                                        and availability for same; e-mail to Dr.
                                                                        Lesswing regarding same; prepare letter to
                                                                        Dr. Wolkoff advising of new trial date;
                                                                        review file regarding media exposure.
999250                       03/26/1 8     2996051       JENNIFER       Conference call with court; trial                  2.80       $320.00      $896.00
                                                         SHOEMAKER      preparation; research regarding sexual
                                                                        harassment; conference call with client.
999250                       03127118      2993207       JENNIFER       Tasks related to trial postponement.                1.50      $320.00       $480.00
                                                         SHOEMAKER
9992s0                       03t27 t18     2993779       JANICE HANCE   E-mail from Dr. Lesswing regarding trial            2.90      $175.00       $507.50
                                                                        rescheduling; research news articles
                                                                        pertaining to M. Cuomo and sexual
                                                                        harassment; obtain contact information for
                                                                        authors of articles and newspapers and
                                                                        news channels; receipt and review of
                                                                        minute entry filed by the court for next
                                                                        conference and download same.
999250                       03t28118      2994389       JANICE HANCE   E-mails from and to T. Leatherland                      .20   $175.00        $35.00
                                                                        regarding refund of expert fees; forward
                                                                        information to J. Shoemaker.
999250                       03t29t18      2996036       JANICE HANCE   Obtain and download new article regarding               .30   $175.00        $52.50
                                                                        NYS sexual harassment claims and e-mail
                                                                        same to J. Shoemaker and A. Nadir.
999250                       04/03/1 8     2998727       JANICE HANCE   Research and obtain additional article                  .40 $175.00          $7o.oo
                                                                        regarding M. Cuomo sexual harassment
                                                                        and fonruard to J. Shoemaker and A. Nadir.
                                                                        E-mails regarding same; obtain additional
                                                                        articles regarding Jeff Klein forcibly kissing.
9992s0                       04/03/1 8     2998909       JANICE HANCE   Receipt and review of text order from court         1   .20   $175.00       $210.00
                                                                        regarding new trial date; telephone
                                                                        conference with J. Shoemaker and review
                                                                        file on how to proceed; telephone
                                                                        conferences with T. Leatherland at Dr.
                                                                        Reagles'Ofiice and Dr. Lesswing regarding
                                                                        availability to testify on short notice.
999250                       04/03/1 B     3005001       JENNIFER       Several conferences and calls regarding             1.00      $320.00       $320.00
                                                         SHOEMAKER      upcoming trial.
s99250                       04t04t18      299681   1    ALINA NADIR    Phone conference with court re: potential           1.30      $260.00       $338.00
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                                                                                                                                                                        Txts
                                      No.
                                                                     new trial date; conference with J.
                                                                     Shoemaker and J. Hance re: same and re:
                                                                     witness availability.
999250                    04104118    3OOO186         JANICE HANCE   Participate in conference call with the Court     1   .60   $175.00       $280.00
                                                                     regarding the rescheduling oftrail and the
                                                                     unavailability of Plaintiff s experts; e-mails
                                                                     to Drs. Reagles and Lesswing's offices
                                                                     requesting their availability over the next
                                                                     few months; telephone conference with T.
                                                                     Eberi regarding same; receipt and review
                                                                     of response from Dr. Lesswing.
999250                    04t04t18    3005003         JENNIFER       Telephone conference with court; several           1.30 $320.00           $416.00
                                                      SHOEMAKER      office conferences.
999250                    04/05/1 8   29970 1 9       ALINA NADIR    Review trial question outlines and revise.         4.70     $260.00     $1,222.00
999250                    04/05/1 8   30001 69        JANICE HANCE   lnteroffice conference with J. Shoemaker            .60     $'175.00      $105.00
                                                                     and A. Nadir regarding status of
                                                                     conversations with media and publishing
                                                                     article; e-mail from T. Leatherland
                                                                     regarding Dr. Reagles' upcoming schedule;
                                                                     e-mail to J. Shoemaker and A. Nadir
                                                                     detailing Drs. Reagles and Lesswing and
                                                                     T. Ebert's schedules for the next few
                                                                     months.
999250                    04/05/'18   3000   1   80   JANICE HANCE   Receipt and review of filed minute entry              30    $175.00        $52.50
                                                                     following the court conference and diary
                                                                     due dates; e-mails from and to A. Nadir
                                                                     regarding same.
999250                    04/06/1 8   2997331         ALINA NADIR    Work on trial question outlines.                   4.20     $260.00      $1,092.00
999250                    04t17t18    3000675         ALJNA NADIR    Conference with J. Shoemaker about                    .40   $260.00        $104.00
                                                                     possible media contact; review whether
                                                                     reporter still employed by paper.
999250                    04t17 t18   3001 932        JANICE HANCE   Telephone call from Dr. Wolkoff regarding             .20   $175.00         $35.00
                                                                     availabiliiy to testify in September and
                                                                     advise J. Shoemaker and A. Nadir.
999250                    04t18t18    3005383         JANICE HANCE   lnteroffice conference with J. Shoemaker              .30   $175.00         $52.50
                                                                     and A. Nadir regarding status, media blitz,
                                                                     etc.
999250                    04t23t18    300286'l        PAUL F.        Office conference and email with A. Nadir             .20   $375.00         $75.00
                                                      KENEALLY       regarding individual defendant duty to
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                                              No.                                                                                                                    AMoUNT:

                                                                            repay State for liability.
999250                         04t27118       3003232        ALINA NADIR    Review deposition transcripts and past              5.20    $260.00    $1,352.00
                                                                            pleadings to draft response to reporter;
                                                                            conference with J. Shoemaker re: same.
999250                         04t27t18       3005595        JANICE HANCE   Review file regarding B. Lyons agreeing to            .lu   $175.00       $35.00
                                                                            publish article.
999250                         05/03/1 8      300631 3       ALINA NADIR    Revise letter to B. Lyons; conference with           1.80   $260.00      $468.00
                                                                            J. Shoemaker re: same.
999250                         05/03/1 8      301 3907       JENNIFER       Work on letterto B. Lyon.                            1.00   $320.00      $320.00
                                                             SHOEMAKER
999250                         05/1 5/1 8     3008675        ALINA NADIR    Review emails to B. Lyons from J.                     .bu   $260.00      $156.00
                                                                            Shoemaker; emails to/from J. Hance re:
                                                                            required filing about expert availability.
999250                         05/1 5/1 8     301 0646       JANICE HANCE   Review file regarding advising the court of           .20   $175.00       $35.00
                                                                            the experts dates of availability to testify
                                                                            and status of media.
999250                         05/1 6/1 8     3008893        ALINA NADIR    Prepare letter to court re: expert                    .80   $260.00      $208.00
                                                                            availability.
999250                         05/1 6/1   I   301 0671       JANICE HANCE   Review file regarding advising court of               .40   $175.00       $70.00
                                                                            experts' availability; e-mails to and from T.
                                                                            Leatherland regarding Dr. Reagles'
                                                                            updated travel schedule and advise A.
                                                                            Nadir.
999250                         05t17 t18      3OO932O        ALINA NADIR    Email to/from J. Shoemaker re: email from            1.90 $260.00        $494.00
                                                                            B. Lyons; phone call with B. Lyons; review
                                                                            info about and articles by R. Silberstein.
999250                         05t17t18       3013162        JANICE HANCE   E-mails from and to J. Shoemaker and A.               .30   $175.00       $52.50
                                                                            Nadir regarding media and fonrvard new
                                                                            article regarding replacement of
                                                                            Schneiderman and new state policy reform;
                                                                            receipt and review of letter to Court
                                                                            detailing experts' availability for court.
999250                         05t17 t18      3014508        JENNIFER        Work on trial preparation.                          2.20   $320.00      $704.00
                                                             SHOEN/AKER
999250                         05/1 B/1 B     3014623        ALINA NADIR    Email to M. Labuzzetta re: rejection of              4.30   $260.00     $1,118.00
                                                                            letter to court; emails to/from J. Shoemaker
                                                                            re: same; work on trial outline forwitness.
999250                         05t21118       3009960        ALINA NADIR    Revise letter re expert availability to pretrial       60   $260.00      $156.00
                                                                            memo format; refile with court.
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                                               No.                                                                                                                    AttrtouHr:

999250         1                 05t21t18      30 1 3429       JANICE HANCE   Receipt and review of filed pretrial              .20       $175.00       $35.00
                                                                              memorandum.
999250         I                 05/30/1 B     301 3708        JANICE HANCE   Forward recent article regarding additional        .20      $175.00       $35.00
                                                                              sexual harassment claim against NYS to J.
                                                                              Shoemaker and A. Nadir.
999250                           05/30/1 B     3014458         JENNIFER       Conference with R. Benitez; conference           2.00       $320.00      $640.00
                                                               SHOEMAKER      with client; conference with Albany Times.
999250                           06/05/1 B     3016774         JANICE HANCE   Review file regarding contact with the                .20   $175.00       $35.00
                                                                              press and pushing publication of article.
999250                           06/05/'18     3022048         JENNIFER       Conference with Benitez regarding trial           1.00      $320.00      $320.00
                                                               SHOEMAKER      schedule; conference with R. Silberstein
                                                                              regarding article.
999250                           06/08/'18     3016792         JANICE HANCE   Telephone call from the Times Union                   20    $175.00       $35.00
                                                                              regarding article, no return call from client
                                                                              and photographs.
999250                           06/1 1 /1 8   3022488         JENNIFER       Several conferences regarding Albany                  .60   $320.00      $192.00
                                                               SHOEMAKER      times union story.
999250                           06t12t18      301 6538        ALINA NADIR    Phone call with J. Shoemaker and reporter         1.20      $260.00      $312.00
                                                                              completing story on the case.
999250                           06t12t18      3017684         JANICE HANCE   Review e-mail from publicist regarding            1.30      $175.00      $227.50
                                                                              preparing article for release in Sunday's
                                                                              edition of the Albany Times Union; attend
                                                                              conference call with J. Shoemaker, A.
                                                                              Nadir and publicist regarding facts for
                                                                              preparing the article.
999250                           06t12t18      3022502         JENNIFER       Conferences regarding Times Union.                    .80   $320.00      $256.00
                                                               SHOEMAKER
999250                           06t14t18      3017192         ALINA NADIR    Review rough draft of article.                        .20   $260.00       $52.00
9992s0                           06t14t18      3022634         JENNIFER       Review article.                                       .60   $320.00      $192.00
                                                               SHOEMAKER
999250                           06t14t18      3022728         JENNIFER       Redline article                                   2.00      $320.00      $640.00
                                                               SHOEMAKER
999250                           06/1 5/1 B    30   1   7339   ALINA NADIR    Conference with J. Shoemaker and J.                   7n    $260.00      $182.00
                                                                              Hance re: draft of the article.
999250                           06/1 5/1 B    3021145         JANICE HANCE   Receipt and review of rough draft of ariicle;     1.'10     $175.00      $192.50
                                                                              meet with J. Shoemaker and A. Nadir to
                                                                              review and revise same and discuss
                                                                              status.
9992s0                           06/1 5/1 B    3021 486        JANICE HANCE   Move files to other location; organize            1   .80   $175.00      $315.00
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                                          No.                                                                                                                      AttrtouNr:
                                                                         same.
999250                       07 t02t18    3023077         JANICE HANCE   Forurard article to Drs. Reagles and                  .20   $175.00       $35.00
                                                                         Lesswing.
999250                       07 t19118    3026865         ALINA NADIR    Emails to/from J. Shoemaker re: trial date;           .30   $260.00       $78.00
                                                                         review notice from court confirming trial
                                                                         date and setting pretrial conference.
9S9250                       07119118     3030078         JANICE HANCE   E-mails from Court, J. Shoemaker and A.               .40   $175.00       $70.00
                                                                         Nadir regarding new trial date; interofiice
                                                                         conference with J. Shoemaker and A.
                                                                         Nadir regarding same. receipt and review
                                                                         of court notification scheduling a
                                                                         conference call for july 26 to discuss
                                                                         status and new trial date.
999250                       07 t19t18    3031   1   02   JENNIFER       Begin preparing for trial.                       3.60       $320.00    $1 ,152.00
                                                          SHOEMAKER
999250                       07122118     3031113         JENNIFER       Conference with T. Ebert regarding DHR                .70   $320.00      $224.00
                                                          SHOEMAKER      claim.
999250                       07 t23118    3027468         ALINA NADIR    Review file and online databases for initial      2.80      $260.00      $728.00
                                                                         disclosures; emails to/from J. Shoemaker
                                                                         and J. Hance re: same and re: additional
                                                                         documents, draft letter to DHR forwarding
                                                                         relevant documents confirming T. Ebert is
                                                                         witness in P. Small case.
999250                       07 t23118    3030089         JANICE HANCE   E-mails from and to client regarding T.           1   .90   $175.00      $332.50
                                                                         Ebert and information he needs for his
                                                                         case; review file for initial disclosures and
                                                                         letters foruvarding same, review file for
                                                                         information from DHR regarding when T.
                                                                         Ebert was divulged as a potential witness;
                                                                         scan DHR witness lest to J. Shoemaker.
999250                       07t23t18     3031   1   59   JENNIFER       Conferences regarding Tim Ebert; review           2.00      $320.00      $640.00
                                                          SHOEMAKER      disclosures and DHR file.
999250                       07 t24t18    3027729         ALINA NADIR    Review prior scheduled trial's witness list       2.00      $260.00      $520.00
                                                                         and schedule; conference with J.
                                                                         Shoemaker re: same; review to-do list for
                                                                         trial outlines and trial prep.
999250                       07 t25t18    3027901         ALINA NADIR    Participate in pretrial conference re: trial      5.00      $260.00     $1,300.00
                                                                         and mediation; review past mediation
                                                                         statement and settlement demand; revise
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                                          No.                                                                                                                   AMoUNT:
                                                                         same for use as mediation statement for J.
                                                                         Feldman mediation; look for additional
                                                                         verdicts to include in letter.
999250                     07125118       3030147         JANICE HANCE   Participate in conference call with the Court      70    $175.00      $1 22.50
                                                                         regarding new trial date, mediation, etc.;
                                                                         review flle regarding trial preparation.
999250                     07 t25118      3030871         JENNIFER       Telephone conference with court.                   .40   $320.00      $128.00
                                                          SHOEMAKER
999250                     07 t25t18      3031   1   06   JENNIFER       Review/revise mediation statement.               2.80    $320.00      $896.00
                                                          SHOEMAKER
999250                     07t26t18       30301 53        JANICE HANCE   E-mail client regarding times to meet to           .30   $175.00       $52.50
                                                                         prepare for trial.
999250                     07   t27 t18   3028531         ALINA NADIR    Begin contacting hotels for reservations;         2.10   $260.00      $546.00
                                                                         revise mediation statement.
999250                     07127118       3030   1   60   JANICE HANCE   E-mails from client confirming times to            .30   $175.00       $52.50
                                                                         meet to prepare for trial; receipt and review
                                                                         of court minute entry regarding mediation,
                                                                         trial date, etc. and diary same.
999250                     07 t30t18      3028899         ALINA NADIR    Contact multiple hotels for rates for trial       1.20 $260.00        $312.00
                                                                         dates; research addl hotels as Hyatt not
                                                                         fully available.
999250                     07/30/1 8      3031   1   07   JENNIFER       Review deposition transcripts; review direct      3.30   $320.00     $1,056.00
                                                          SHOEMAKER      examinations.
999250                     07t31t18       3029929         ALINA NADIR    Begin research of whether newly                    .30   $260.00        $78.00
                                                                         discovered documents can be presented at
                                                                         trial as statements against interest.
999250                     08/0 1 /1 B    3031
                                                 ,I98     ALINA NADIR    Begin research of whether newly                   3.80   $260.00      $988.00
                                                                         discovered documents can be presented at
                                                                         trial as statements against interest.
999250                     08/01 /1 B     303881 6        JENNIFER       Email with J. Feldman and court regarding          .20   $320.00        $64.00
                                                          SHOEMAKER      mediation; strategize regarding updated
                                                                         sexual harassment memorandum from
                                                                         State.
999250                     08102t18       3031474         ALINA NADIR    Email to J. Feldman's clerk responding to         4.70   $260.00     $1,222.00
                                                                         R. Benitez email about mediation date;
                                                                         review ECF notices from court; mediation
                                                                         statement; research on statement against
                                                                         interest; trial prep.
999250                     08102118       3038821         JENNIFER       Email with court and counsel regarding             .20   $320.00        $64.00
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                                            No.
                                                          SHOEMAKER      mediation.
999250                         0B/03/1 8    303'1739      ALINA NADIR    Trial preparation.                               3.20    $260.00      $832.00
999250                         08/06/'18    3034464       JANICE HANCE   Receipt and review of court notification          .40    $175.00        $70.00
                                                                         regarding mediation and orderfor
                                                                         settlement conference for 8/14; review file
                                                                         regarding same and advising client of
                                                                         mediation; e-mails from and to J.
                                                                         Shoemaker and A. Nadir regarding
                                                                         mediation and discussing with Judge
                                                                         Feldman that the State be mandated to
                                                                         bring someone with authority to settle.
999250                         08/06/1 B    3039583       ALINA NADIR    Trial prep; review direct examinations for         .60   $260.00       $156.00
                                                                         wiinesses.


999250                         08/07/1 B    3032219       ALINA NADIR    Trial prep; review direct exams, meet with        4.40   $260.00     $1 ,144.00
                                                                         team regarding mediation and trial exhibits;
                                                                         conduct jury verdict research
999250                         08t07 t18    3034469       JANICE HANCE   lnteroffice conference with J. Shoemaker           .50   $175.00        $87.50
                                                                         and A. Nadir regarding mediation,
                                                                         mediation statement, additional DOCCS
                                                                         memo regarding strict guidelines for
                                                                         reporting complaints.
999250                         08/07/1 8    3034970       JENNIFER       Telephone conference with client; meet             .50   $320.00       $160.00
                                                          SHOEMAKER      with team.
999250                         08/08/1 B    3032582       ALINA NADIR    Trial prep; review transcripts.                   3.50   $260.00       $910.00
999250                         0B/09/1 8    3032684       ALINA NADIR    Trial prep; review exhibits.                      2.60   $260.00       $676.00
999250                         0B/09/1 B    3034521       JANICE HANCE   Receipt and review of Plaintiffls mediation        .40   $17s.00        $70.00
                                                                         statement sent to Judge Feldman prior to
                                                                         mediation and review file regarding same.
9992s0                         08/09/1 8    3039249       JENNIFER       Work on trial preparation and mediation           3.00   $320.00       $960.00
                                                          SHOEMAKER      statement.
999250                         0B/1 0/1 8   303821 4      JANICE HANCE   E-mails from and to Dr. Lesswing regarding         .20   $175.00        $35.00
                                                                         expected day he will be called to testify and
                                                                         e-mail J. Shoemaker and A. Nadir
                                                                         regarding same.
999250                         0B/1 3/1 B   3033255       JANICE HANCE   Receipt and review of court follow up              .20   $175.00        $35.00
                                                                         notification and settlement conference set
                                                                         before Judge Feldman.
s99250                         08/1 3/1 8   3033262       ALINA NADIR    Meet with client and JAS prior to mediation.       .40   $260.00       $104.00
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999250                          08/1 3/'18      30382      1   7   JANICE HANCE   Prepare for trial.                              1.20    $175.00      $210.00
999250                          08t14t18        3033653            ALINA NADIR    Attend mediation with J. Feldman, client        3.50    $260.00      $910.00
                                                                                  and JAS; conference with P. Keneally
                                                                                  regarding mediation.
999250                          08/1 4/1 8      3034992            JENNIFER       Attend mediation.                               2.50    $320.00      $800.00
                                                                   SHOEMAKER
999250                          08t14t18        3035   1   67      PAUL F.        Office conference with A. Nadir regarding         .20   $375.00       $75.00
                                                                   KENEALLY       8/1 4 settlement conference and strategy
                                                                                  going forward.
                                 08114118       3038373            JANICE HANCE   'Continue preparing for trial.                   1.00   $175.00      $175.00
999250
999250                           0B/'1   5/18   3034021            ALINA NADIR    Trial prep; meet with team regarding status     2.00    $260.00      $520.00
                                                                                  of preparation and assigned tasks.
999250                           08/1 s/1 B     3038378            JANICE HANCE   Continue preparing for trial.                   4.50    $175.00      $787.50
999250                           08/1 5/1 8     3039465            JENNIFER       Meet with team to prepare for trial.             1.00   $320.00      $320.00
                                                                   SHOEMAKER
999250                           08/1 6/1 B     3034240            ALINA NADIR    Trial prep; create tracking tool for use of      3.40 $260.00        $884.00
                                                                                  exhibits in direct examinations and input
                                                                                  referenced exhibits.
ooorAn                           0B/1 6/'18     3038389            JANICE HANCE   Continue preparing for trial.                    4.60   $175.00      $805.00
999250                           08t17 t18      3034525            ALINA NADIR    Trial prep; review exhibits, including           1.90   $260.00      $494.00
                                                                                  redacted employee manual; work on direct
                                                                                  exams.
999250                           08t17118       3038394            JANICE HANCE   Continue preparing for trial.                    2.90   $175.00      $507.50
999250                           0B/19/'l   I   3039553            JENNIFER       Review transcripts to prepare for trial.         3.00   $320.00      $960.00
                                                                   SHOEMAKER
999250                           08t20118       3034773            ALINA NADIR    Trial prep; work on testimony; schedule          3.80   $260.00      $988.00
                                                                                  based on witness availability; conference
                                                                                  with team regarding exhibits and binders
                                                                                  for Court.
999250                           08/20/1 8      3038400            JANICE HANCE   Continue preparing for trial.                    1.80   $175.00      $315.00
999250                           08t20t18       3039560            JENNIFER       Review transcripts to prepare for trial;         4.20   $320.00     $1,344.00
                                                                   SHOEMAKER      review annarino direct.
9992s0                           08t21t18       3035063            ALINA NADIR    Trial prep; review transcripts.                  6.10   $260.00     $1,586.00
999250                           08t21t18       303841 5           JANICE HANCE   Continue preparing for trial.                    2.80   $175.00      $490.00
999250                           08t22t18       3035291            ALINA NADIR    Trial prep; review Fisher report redactions.     4.90   $260.00     $1,274.00
999250                           08t22t18       303841         I   JANICE HANCE   Continue preparing for trial.                    3.20   $175.00       $560.00
999250                           08123118       3035620            ALINA NADIR    Trial prep; conference with j. Gregorio          7.10   $260.00     $1,846.00
                                                                                  regarding preparing second motion in
                                                                                  limine regarding Fisher report; review final
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                                           No.                                                                                                                AMoUNT:
                                                                        witness and exhibit lists
999250                       08123118      3035640       JESSIE         Communicate with A. Nadir regarding              1.00 $240.00         $240.00
                                                         GREGORIO       preparation of motion in limine relative to
                                                                        expert testimony; commence review of
                                                                        earlier motion in limine to preclude
                                                                        testimony, supporting memorandum of law,
                                                                        defense opposition and plaintifls reply
                                                                        papers.
9S9250                       0Bt23t1B      3035691       JESSIE         Review and analyze Defense expert                2.50    $240.00      $600.00
                                                         GREGORIO       witness report (Fisher) in order to evaluate
                                                                        portions requiring additional redaction,
                                                                        including the use and reference of formal
                                                                        evaluations precluded by the Court in
                                                                        earlier decision and order; commence draft
                                                                        of attorney affirmation for motion in limine
                                                                        in support of the same.
999250                       08t23t18      3038405       JANICE HANCE   Travel to and from Buffalo to meet with          10.20   $175.00    $1,785.00
                                                                        client and prepare for trial and update court
                                                                        exhibit binders.
999250                       08t23t18      3039539       JENNIFER       Meet with client; update court documents.         8.s0   $320.00    $2,720.00
                                                         SHOEMAKER
999250                       08t24t18      3035908       ALINA NADIR    Trial prep; confirm tests precluded in            6.20   $260.00    $1 ,612.00
                                                                        previous motion in limine regarding Fisher
                                                                        reports, review motion for reconsideration
                                                                        filed by C. Cuer.
999250                       08t24t18      3035924       JESSIE         Discuss and review with A. Nadir defense           .30   $240.00       $72.00
                                                         GREGORIO       expert witness J. Fisher, PhD, evaluations
                                                                        and formal tests, in preparation and to
                                                                        include in motion in limine.
999250                       0Bt24t1B      3038431       JANICE HANCE   Continue preparing for trial.                     1.80   $175.00      $315.00
999250                       08t27t18      30361 79      ALINA NADIR    Trial prep; begin response for                    5.50   $260.00     $1,430.00
                                                                        reconsideration.
999250                       08t27t18      3038444       JANICE HANCE   Continue preparing for trial.                     3.10   $175.00      $542.50
999250                       08127t18      3039541       JENNIFER       Meet with client                                 10.00   $320.00     $3,200.00
                                                         SHOEMAKER
999250                       08128t18      3036461       ALINA NADIR    Trial prep; legal research regarding witness      7.80   $260.00     $2,028.00
                                                                        availability over 100 miles and ability to
                                                                        read in testimony.
999250                       08/28/1   I   3038467       JANICE HANCE   Continue preparing for trial.                     3.60 $175.00        $630.00
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999250       1                 OBI2BIlB     3039542         JENNIFER       Meet with client.                                 9.50    $320.00    $3,040.00
                                                            SHOEMAKER
999250       1                 0BI29t1B     30368   1   0   ALINA NADIR    Trial prep; legal research regarding              8.10    $260.00    $2,1 06.00
                                                                           standard for motion for reconsideration and
                                                                           related federal rules.
999250                         08/29/1 8    3038470         JANICE HANCE   Continue preparing for trial.                     1.00    $175.00      $175.00
999250                         08/30/1 8    3037330         ALINA NADIR    Trial prep; draft responses to motion for         5.30    $260.00    $1,378.00
                                                                           reconsideration.
999250                         08/30/1 8    3038481         JANICE HANCE   Continue preparing for trial.                      1.60   $175.00      $280.00
999250                         0B/31/1 B    30381 98        ALINA NADIR    Trial prep; review and revise motion in           5.60    $260.00    $1,456.00
                                                                           limine regarding Fisher report.
999250                         08/31 /1 8   3038492         JANICE HANCE   Continue preparing for trial.                      1.90   $175.00      $332.50
999250                         08/31/1 8    3039551         JENNIFER       Work on direct examination of client.             5.60    $320.00    $1,792.00
                                                            SHOEMAKER
999250                         09t02t18     3046506         JENNIFER       Prepare for trial; review exhibits and            6.00    $320.00    $1,920.00
                                                            SHOEMAKER      prepare direct testimony; prepare cross
                                                                           examination questions for Carl Cuer.
999250                         09/03/1 8    3046504         JENNIFER       Prepare for trial; review exhibits; review         6.90   $320.00    $2,208.00
                                                            SHOEMAKER      transcripts, prepare opening statement;
                                                                           prepare direct examinations.
999250                         09/04/1 B    3039698         ALINA NADIR    Trial prep; revise motion in limine and             70    $260.00      $182.00
                                                                           response to motion for reconsideration.
999250                         09/04/1 8    3040470         JANICE HANCE   Continue preparing for trial.                      1.00   $175.00      $175.00
999250                         09/04/1 8    3046505         JENNIFER       Prepare for trial; review exhibits; review         5.90   $320.00    $1,888.00
                                                            SHOEMAKER      letters from Cuer to Small; review division
                                                                           of human rights file,
999250                         09/05/'18    3039808         ALINA NADIR    Trial prep; finalize and file motion in limine     4.30   $260.00    $1,118.00
                                                                           and response to motion for
                                                                           reconsideration.
999250                         09/05/1 B    3040479         JANICE HANCE   Continue preparing for trial.                      1.20   $175.00      $210.00
999250                         09/05/1 B    3046497         JENNIFER       Meet with client in Buffalo to prepare for        13.70   $320.00    $4,384.00
                                                            SHOEMAKER      trial; work on motion in limine response.
999250                         09/06/1 8    3040056         JESSIE         Analyze federal case law in Western                2.50   $240.00      $600.00
                                                            GREGORIO       District of New York in support of plaintiff
                                                                           offering statements by non-party
                                                                           employees and in order to overcome
                                                                           possible hearsay objections from defense;
                                                                           communicate the same with J. Shoemaker
                                                                           and A. Nadir.
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999250                          09/06/1 B      3040083       ALINA NADIR         Trial prep; review legal research regarding       1.20       $260.00      $312.00
                                                                                 hearsay exceptions.
999250                          09/06/1 8      3040486       JANICE HANCE        Continue preparing for trial.                     1.40       $175.00      $245.00
999250                          09/07/1 8      3040224       ALINA NADIR         Trial prep; draft B. Bradt question article;      6.50       $260.00    $1,690.00
                                                                                 review B. Bradt deposition testimony.
999250                          09/07/1 8      304041 5      Maria D. Soeffing   Merge new trial exhibits into previous                 .40   $175.00       $70.00
                                                                                 consolidated exhibit PDF for trial CD.
999250                          09/07/1 B      3040495       JANICE HANCE        Continue preparing for trial.                     7.50       $175.00    $1 ,312.50
999250                          09/08/1 B      3046496       JENNIFER            Prepare for trial; review transcripts; review     5.90       $320.00    $1,888.00
                                                             SHOEMAKER           and revise direct examinations; review
                                                                                 exhibits.
999250                          09/09/'18      3046495       JENNIFER            Review transcripts for all witnesses;            12.00       $320.00    $3,840.00
                                                             SHOEMAKER           prepare for trial.
999250                          09/1 0/1 B     3040721       Maria D. Soeffing   Prepare electronic digital copies of all               .50   $175.00        $87.50
                                                                                 original deposition exhibits.
999250                          09/1 0/1   I   3041 862      JANICE HANCE        Continue preparing for trial travel to           10.50       $175.00    $1,837.50
                                                                                 Buffalo; attend final pretrial conference;
                                                                                 meet with client to prepare for her
                                                                                 testimony.
999250                          09/1 0/1 8     3041 888      ALINA NADIR         Travel to Buffalo; attend final pretrial         11.00       $260.00    $2,860.00
                                                                                 conference; prepare for jury trial.
999250                          09/'l 0/18     3046465       JENNIFER            Travel to Buffalo; attend pretrial               12.70       $320.00     $4,064.00
                                                             SHOEMAKER           conference; prepare for trial; work on
                                                                                 opening statement; meet with client.
999250                          09/1 1/1 8     3041864       JANICE HANCE        Attend jury selection and opening                1 1   .00   $175.00     $1 ,925.00
                                                                                 statements; continue preparing for trial.
999250                          09t11t18       3041 890      ALINA NADIR         Attend trial and selection of jury.               9.80       $260.00     $2,548.00
999250                          09/1 1/18      3046468       JENNIFER            Work on opening statement; attend jury           12.00       $320.00     $3,840.00
                                                             SHOEMAKER           selection and opening statements; prepare
                                                                                 for Bradt direct.
999250                          09t11t18       3046853       JILLIAN K.          Research issue regarding whether state            2.40 $260.00             $624.00
                                                             FARRAR              must have a representative at trial.
999250                          09t12t18       3041 868      JANICE HANCE        Attend trial.                                    11.30       $175.00     $1,977.50
999250                          09t12t18       3041 891      ALINA NADIR         Attend trial.                                    11.00       $260.00     $2,860.00
999250                          09t12t18       3046473       JENNIFER            Work on Bradt direct; work on Small direct;      10.50       $320.00     $3,360.00
                                                             SHOEMAKER           attend trial.
999250                          09/1 3/1 8     3041 869      JANICE HANCE        Attend trial.                                    11.00       $175.00     $1,925.00
999250                          09/1 3/1 8     3041892       ALINA NADIR         Attend trial; travel to Rochester from           11.00       $260.00     $2,860.00
                                                                                 Buffalo.
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999250        I            09/1 3/1 8   3046474       JENNIFER            Prepare for trial; attend trial.                   8.60    $320.00    $2,7s2.00
                                                      SHOEMAKER
999250        1            09t14t18     3041 703      ALINA NADIR         Prepare for upcoming week of trial                 6.10    $260.00    $1,586.00
                                                                          testimony; communicate with Dr. Reagles'
                                                                          office re: upcoming testimony; meet with J.
                                                                          Shoemaker and J. Hance re: next week's
                                                                          testimony.
999250                     09t14t18     3041849       Maria D. Soeffing   Add new trial exhibit to consolidated trial          .20   $175.00       $35.00
                                                                          exhibits.
999250                     09t14t18     3041 873      JANICE HANCE        Continue preparing for trial.                      8.00    $175.00    $1,400.00
999250                     09114118     3042964       PAUL F.             Office conferences with A. Nadir and J.              .20   $375.00       $75.00
                                                      KENEALLY            Shoemaker regarding objection to
                                                                          opposing counsel recitation of excluded
                                                                          expert opinion.
999250                     09t14t18     3046477       JENNIFER            Prepare for trial; work on Annarino and             5.20   $320.00    $1,664.00
                                                      SHOEMAKER           Retrosi direct; review transcripts; work on
                                                                          Ebert.
999250                     09/1 6/1 8   3045882       JANICE HANCE        Drive to Buffalo and continue preparing for         2.50   $17s.00      $437.50
                                                                          trial.
999250                     09/1 6/1 8   3046481       JENNIFER            Prepare for trial; review transcripts for           5.90   $320.00    $1,888.00
                                                      SHOEMAKER           Goodrich and Will; review Worthington
                                                                          transcripts and draft direct testimony;
                                                                          prepare for Ebert, Annarino and Retrosi.
999250                     09/1 6/1 8   3046647       ALINA NADIR         Travel to Buffalo for trial; review trial           4.00   $260.00    $1,040.00
                                                                          question outlines to begin revisions.
999250                     09117118     3045884       JANICE HANCE        Attend trial.                                      11.00   $175.00    $1,925.00
999250                     09117118     3046486       JENNIFER            Prepare for trial; review exhibits; review         11.50   $320.00    $3,680.00
                                                      SHOEMAKER           lnspector General flle; prepare direct
                                                                          examination; attend trial.
999250                     09t17t18     3046705       ALINA NADIR         Attend trial; review and revise trial question     '13.50 $260.00     $3,510.00
                                                                          outline of R. Worthington and J. Goodrich.
999250                     09/1 8/1 8   3045888       JANICE HANCE        Attend trial.                                      10.30   $175.00    $1,802.50
999250                     09/18/'18    3046493       JENNIFER            Prepare for trial; work on direct                  12.40   $320.00    $3,968.00
                                                      SHOEMAKER           examination; prepare for defense case;
                                                                          review exhibits and exhibit list; attend trial.
9992s0                     09/1 8/1 8   3046708       ALINA NADIR         Attend trial; review and revise trial question     12.90 $260.00 $3,354.00
                                                                          outline for M. Erhardt; begin preparation of
                                                                          trial outline for F. Gallacher.
999250                     09/1 9/1 8   3O45BB9       JANICE HANCE        Attend trial.                                       B.B0 $175.00 $1 ,540.00
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999250                    09/1 9/1 8   3046494       JENNIFER       Prepare for trial; review Erhardt testimony;    9.70        $320.00    $3,104.00
                                                     SHOEMAKER      prepare for direct examinations; attend
                                                                    trial.
999250                    09/1 9/1 8   3046559       JILLIAN K.     Confer with T. Bansbach regarding                    .20    $260.00       $52.00
                                                     FARRAR         telephone call from W. Benion and claims
                                                                    of foreclosure of real property.
999250                    09/1 9/1 B   3046757       ALINA NADIR    Attend trial; prepare for testimony of Dr.     12.80        $260.00    $3,328.00
                                                                    Kenneth Reagles; revise exhibits to be
                                                                    submitted individually.
999250                    09t20t18     3045890       JANICE HANCE   Aftend trial.                                   8.00        $175.00    $1,400.00
999250                    09/20/1 8    3046460       JENNIFER       Prepare for Dr. Gallacheds testimony;          11.20        $320.00    $3,584.00
                                                     SHOEMAKER      prepare for Dr. Lesswing's testimony;
                                                                    telephone conferences with Dr. Lesswing
                                                                    and Dr. Gallacher; conferences with client'
                                                                    attend trial.
999250                    09t20t18     3046551       JILLIAN K.     Research issue of whether Title Vll's           1.30 $260.00             $338.00
                                                     FARRAR         damages are capped at $300K per case
                                                                    and not per claim; confer with J.
                                                                    Shoemaker regarding same.
999250                    09t20t18     3046552       JILLIAN K.     Research issue of whether plaintiff can          1   .'r0   $260.00      $286.00
                                                     FARRAR         bring up whether a defendant is
                                                                    indemnified by employer at trial.
999250                    09120t18     3046793       ALINA NADIR    Attend trial; conduct legal research re:        9.50        $260.00    $2,470.00
                                                                    affect of total disability on front pay
                                                                    recovery when disability due to conduct in
                                                                    the workplace.
999250                    09t21t18     3045891       JANICE HANCE   Attend trial.                                   5.50        $175.00      $962.50
999250                    09121t18     3046455       JENNIFER       Prepare for expert witness testimony of Dr,    10.00        $320.00    $3,200.00
                                                     SHOEMAKER      Lesswing; attend trial.
999250                    09t21t18     3046764       ALINA NADIR    Attend trial; travel from Buffalo to           10.50 $260.00           $2,730.00
                                                                    Rochester.
999250                    09t22t18     3046771       ALINA NADIR    Review testimony of J. Conway.                  2.10        $260.00      $546.00
999250                    09t23t18     3045893       JANICE HANCE   Continue preparing for trial; travel to         5.00        $175.00      $875.00
                                                                    Buffalo.
999250                    09t23t18     3046454       JENNIFER       Prepare for defense case; review                8.60 $320.00           $2,752.00
                                                     SHOEMAKER      transcripts for Conway and Dolce; prepare
                                                                    for cross examination; review transcript for
                                                                    Cuer; meet team in office to prepare for
                                                                    trial.
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999250                         09123118     3046773       ALINA NADIR    Meet with J. Shoemaker and J. Hance to           4.50    $260.00    $1 ,170.00
                                                                         prepare for upcoming week of trial; revise
                                                                         amended complaint; conduct legal
                                                                         research regarding conduct deemed
                                                                         offensive under Title Vll; travel to Buffalo.
999250                         09t24t18     3045897       JANICE HANCE   Attend trial.                                   10.00    $175.00     $1,750.00
999250                         09124t18     3046450       JENNIFER       Attend trial; review jury verdict and            12.60   $320.00     $4,032.00
                                                          SHOEMAKER      charges; research regarding causes of
                                                                         action and jury charges; work on rule 50
                                                                         motion.
999250                         09t24t18     3046815       ALINA NADIR    Attend trial; conduct legal research re:        11.30 $260.00        $2,938.00
                                                                         aiding and abetting under NYSHRL and
                                                                         what conduct required to meet standard.
999250                         09t25t18     3045898       JANICE HANCE   Attend trial; assist with preparation of         12.30   $175.00     $2,1 52.50
                                                                         closing arguments.
999250                         09t25t18     3046449       JENNIFER       Attend trial; work on rule 50 motion; work       14.00   $320.00     $4,480.00
                                                          SHOEMAKER      on summation.
999250                         09t25t18     3046836       ALINA NADIR    Attend trial; conduct legal research re:         12.30   $260.00     $3,1 98.00
                                                                         aiding and abetting retaliation under
                                                                         NYSHRL; conduct legal research about
                                                                         aiding and abetting generally in relation to
                                                                         proposed jury charge; emails to/from A.
                                                                         Moeller re: same; meet with J. Shoemaker
                                                                         and J. Hance re: closing statement.
999250                         09126t18     3045902       JANICE HANCE   Attend trial, closing arguments and               8.00   $175.00     $1,400.00
                                                                         instructions to the jury.
999250                         09t26t18     3046443       JENNIFER       Work on summation; attend trial.                11.00    $320.00     $3,520.00
                                                          SHOEMAKER
999250                         09/26/1 B    3046859       ALINA NADIR    Attend trial.                                     8.50   $260.00     $2,210.00
999250                         09127t18     3045905       JANICE HANCE   Attend trial; jury verdict.                      4.00    $175.00       $700.00
999250                         09t27t18     3046442       JENNIFER       Report to court for jury question; verdict;      4.00    $320.00     $1,280.00
                                                          SHOEMAKER      conference with client.
999250                         0st27   hB   3046865       ALINA NADIR    Wait for verdict; attend court for jury          4.00    $260.00     $1,040.00
                                                                         question and for jury verdict.
999250                         09t28t1B     3045909       JANICE HANCE   Return from Buffalo following conclusion of      4.00    $175.00      $700.00
                                                                         trial; attend conference calls with J.
                                                                         Shoemaker and A. Nadir with media;
                                                                         interoffice conferences with attorneys
                                                                         flowing trial result.
                    Case 1:12-cv-01236-WMS-MJR Document 201-2 Filed 10/25/18 Page 162 of 162


                                             Underberg & Kessler LLP
                                            Billing Instruction Worksheet
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                                      No.                                                                               AlrtouHr:
                                                                                           TOTAL:   $1054600.00


                                                                   Costs



                                                                Cost Summarv



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